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   WO AMENDMENT                                                                     1909.12_20
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               b. The Interdisciplinary Team shall identify Congressionally designated national
               scenic and historic trails and plan components must provide for the management of
               rights-of-ways (16 U.S.C 1246(a)(2)) consistent with applicable laws, regulations,
               and Executive Orders. Plan components must provide for the nature and purposes of
               existing national scenic and historic trails and for the potential rights-of-way of those
               trails designated for study (16 U.S.C. 1244(b)).

               c. The Interdisciplinary Team shall use the national scenic and historic trails rights-
               of-way maps required by 16 U.S.C. 1246(a)(2) to map the location of the trails.
               Where national trail rights-of-way have not yet been selected, the Interdisciplinary
               Team shall reference the establishing legislation (16 U.S.C. 1244(a)) as the primary
               source for identifying and mapping the national scenic and historic trails right-of-
               way. If the right-of-way has not been selected, either through legislation or
               publication in the Federal Register, the Interdisciplinary Team should use other
               information to delineate a national scenic and historic trails corridor that protects the
               resource values for which the trail was designated or is being proposed for
               designation (16 U.S.C 1244(b)).

               d. The Responsible Official shall consult with neighboring Responsible Officials
               when developing plan components for national scenic and historic trails that cross
               unit boundaries and shall strive to maintain or establish compatible management
               approaches while recognizing diverse resource conditions and needs in the different
               plan areas.

               e. Plan components must be compatible with the objectives and practices identified
               in the comprehensive plan for the management of the national scenic and historic
               trail. The objectives and practices include the identification of resources to be
               preserved and the trail’s carrying capacity.

               f. The Responsible Official shall include plan components that provide for the nature
               and purposes of national scenic and historic trails in the plan area. In doing so, the
               Responsible Official should take into consideration other aspects of the plan related to
               the trail such as access, cultural and historic resources, recreational settings, scenic
               character, and valid existing rights.

          2. The plan must include plan components including standards or guidelines for a
          designated area as described in section 24.2 of this Handbook. To meet this requirement
          the plan:

               a. Should include desired conditions that describe the national scenic and historic
               trail and the recreational, scenic, historic, and other resource values for which the trail
               was designated.




                                                                          Rvsd Plan - 00001508
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               b. May include objectives for national scenic and historic trails where existing
               conditions (settings, opportunities, scenic character, cultural and other resources
               values) are different from desired conditions. These objectives can identify intended
               activities to improve national scenic and historic trail conditions, mitigate or enhance
               associated resource values, create or improve connections with communities and
               visitors, or other desired and measureable outcomes that will improve the national
               scenic and historic trail experience.

               c. May include standards or guidelines to place limits or conditions on projects or
               activities to protect the trail and associated resource values.

               d. May include suitability plan components to limit or prevent incompatible uses and
               activities.

               e. Must identify and map National scenic and historic trails per #1c above.

               f. May, to apply plan components unique to the National and Scenic Historic Trail:
               provide one or more management or geographic areas for a national scenic and
               historic trail; reference the identified national scenic and historic trail right-of-way,
               place a corridor around the trail, or use other means to clearly identify where the plan
               components apply in reference to the trail.

  FSM 2350 has more information about national scenic and historic trails.

  24.44 - Inventoried Roadless Areas

  The plan must identify Inventoried Roadless Areas governed by the Roadless Area Conservation
  Rule (36 CFR 294 Subpart B) or the Idaho Roadless Rule (36 CFR 219 Subpart C) and Colorado
  Roadless Rule (36 CFR 219 Subpart D), or any other State roadless rule in effect and applicable.
  The spatial information for the boundaries of such roadless areas is available at the Roadless
  Area Conservation website (http:/,fs.usda.gov/roadless/).

  The Responsible Official, in the planning process, does not have the authority to modify the
  boundaries of roadless areas covered by such rules.

  Roadless areas designated under a roadless rule may be, but are not required to be, identified as
  unique management areas or geographic areas in the plan. Regardless, Responsible Officials
  shall ensure that plan components applicable to such areas are compatible with the applicable
  roadless rule. The plan can have different plan components in multiple management areas or
  geographic areas apply to the inventoried roadless areas as long as these plan components are
  compatible with the restrictions of the applicable roadless rule.




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         Rio Grande National Forest
                                                                            Need for Change, Version 2
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        The 1996 Rio Grande National Forest: What Needs to Change
  •   This document was circulated to the public following meetings held in March 2016.
  •   Comments were collected from the general public and from Forest Service employees and
      were incorporated into this document (Version 2).
  •   This document is draft and is designed to launch the proposed action development phase of
      the Rio Grande National Forest plan revision process.
  Introduction
  The current Land and Resource Management Plan (forest plan) for the Rio Grande National
  Forest is nearly 20 years old. Forest staff is currently in the process of developing a new plan that
  guides how it will be managed over the next 15 to 20 years. Recently completed assessment
  reports provide information on the current “state of the forest,” including conditions, trends, and
  risks to sustainability. A product of an extensive public process, nearly 20 years of forest
  monitoring reports, and other available reports and data, these assessment reports are informed
  by the best available scientific information and provide guidance on what needs to change in the
  1996 Forest Plan to ensure the sustainability and resiliency of resources, goods, and services on
  the Rio Grande National Forest. While we are not in a formal comment period and comments
  can be submitted at any time during the process, to be more helpful in informing the next phase
  of the process please submit comments by August 22, 2016. Please send comments to
  rguf forest plan@fs.fed.us.
  What is a Forest Plan?
  A forest plan is the overarching direction for all management decisions and projects on the Rio
  Grande, constrained by law, regulation, and policy. Written as a snapshot in time and reflecting a
  philosophy of management from both the agency and the public, a forest plan helps define the
  management direction for the forest, literally lines drawn on the map, as well as the establishes
  desired conditions and related standards and guidelines for management priorities of those areas.
  A forest plan is also a physical, bound, three-volume publication that includes a Record of
  Decision, Final Environmental Impact Statement, and Appendices, and it is used daily as a
  reference guide and dog-eared on resource managers’ and line officers’ desks.
  The current forest plan for the Rio Grande National Forest is available in hard copy at the Forest
  Service offices in La Jara, Monte Vista, Del Norte, and Saguache as well as on the website at
  http://www.fs.usda.gov/main/riogrande/landmanagement/planning .
  Why a Need for Change Document?
  To initiate the proposed action development phase of the revision process, the 2012 Planning
  Rule requires Forest Service staff to present a document to the public at the end of the
  assessment phase explaining what needs to be revised from the previous plan. This Needfor
  Change document identifies the needs and desires to change the 1996 Forest Plan, as
  recommended during the assessment phase discussed above. Change criteria are described
  below, and the specific changes under consideration are identified in Tables A through D, which
  follow.
                                                    1


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     Table A. Requirements in the forest plan revision process
     Many federal laws, regulations, and policies govern the work of forest staff every day. These requirements are non-discretionary for the forest supervisor, who is
     the deciding official in the revision process.
                                                                                                                     What we did with what we heard (internal
                         Requirement                                     Basis for Requirement                                     & external)

                                                                                                                    The analysis will consider the suitability or non­
                                                                                                                    suitability of lands based on the desired
        Re-evaluate the suitability of forest lands for
                                                                  •   National Forest Management Act                conditions and the inherent capability of the land
        multiple uses, including areas for timber                                                                   to support the use. Suitability is not determined
A1      production, communication sites, over the snow            •   Multiple Use Sustained Yield Act
                                                                  •   2012 Planning Rule                            for every resource or activity; or for every acre of
        vehicle use, mechanized and or/motorized travel,
                                                                                                                    the plan area. Over-the-snow vehicle use was
        and utility corridors.
                                                                                                                    added in response to comments received in April.


                                                                                                                    Inventory, evaluation, analysis and
        Conduct an inventory, evaluation, analysis, and           •   Wilderness Act (1964)                         recommendation process is described in FSH
A2      recommended wilderness on the Rio Grande                  •   2012 Planning Rule, Chapter 70                1909.12, Chapter 70. The process is being
        National Forest.                                                                                            implemented with thorough public involvement
                                                                                                                    (Appendix A2)

                                                                                                                    Inventory, evaluation, analysis and
        Conduct an inventory, evaluation, analysis, and           •   Wild and Scenic Rivers Act                    recommendation process is described in FSH
A3      recommend for inclusion in the Wild and Scenic            •   2012 Planning Rule, Chapter 80                1909.12, Chapter 80. The process is being
        Rivers System.                                                                                              implemented on 23 segments not included in the
                                                                                                                    analysis for the 1996 Forest Plan. (Appendix A3)

        Update direction to further promote the recovery
        and conservation of federally recognized                  •   Endangered Species Act                        The analysis will address all existing direction
A4                                                                •   2012 Planning Rule
        threatened, endangered, proposed, and candidate                                                             related to federally recognized species.
        species.

                                                                                                                    Initial Proposal will include proposed species of
        Revise the 1996 Forest Plan to provide                                                                      conservation concern list from the Regional
        management direction to manage habitat to                 •   2012 Planning Rule                            Forester. The analysis will consider a select set
A5                                                                •   Discussion in Assessment 5
        ensure viable populations of species of                                                                     of key ecological conditions, and plan
        conservation concern.                                                                                       components related to the viability of the species
                                                                                                                    of conservation concern known to occur on the



                                                                                     2


                                                                                                                                    Rvsd Plan - 00001511
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                                                                                                         forest. (hyperlink to draft list/letter as appendix
                                                                                                         A5)

      Revise the 1996 plan to incorporate management       •   2012 Planning Rule                        The analysis will determine suitability for
A6    direction related to renewable energy. including     •   Identification in Assessment 10, Energy   renewable energy resource development and
      reasonably foreseeable transmission corridors            and Minerals                              accompanying plan components.

                                                                                                         The analysis will consider ecosystem
                                                                                                         characteristics that may be vulnerable to climate
      Revise management direction related to climate       •   2012 Planning Rule
A7                                                                                                       change.
      change.



                                                                                                         The Revised Plan will consider the broad goals
      Consider goals and objectives of the Forest          •   2012 Planning Rule
A8                                                                                                       and objectives of the USDA Forest Service
      Service strategic plan.
                                                                                                         Strategic Plan: FY 2015-2020.

      Develop sustainable management direction for
      current and future recreation uses.                  •   2012 Planning Rule                        The Initial Proposal will develop plan components
A9
                                                           •   Identified in Assessment 9, Recreation    related to sustainable recreation management on
                                                                                                         the RGNF. (Draft standards in process)


      Forest plans must identify priority watersheds for   •   2012 Planning Rule
A10                                                                                                      Moved from Table C. The revised forest Plan will
      maintenance and restoration. The Forest Service      •   Identification in Assessments 1 and 2
                                                                                                         incorporate the Watershed Condition Framework
      National Watershed Condition Framework must          •   Internal staff recommendations            (Appendix A10).
      be used in plan revisions.




                                                                              3


                                                                                                                         Rvsd Plan - 00001512
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Table B. Changes needed throughout the previous plan
These needs for change are the first level of discretionary needs identified by the deciding official. They represent overarching general needs that were
commonly, and in many cases overwhelmingly, identified through a combination of the assessments, public comments, tribal consultation, internal comments, or
a combination of all of these means of seeking input for the revised forest plan.

                                                                                                                What we did with what we heard
                      Needed Change                                  Basis for Change                               (internal and external)

           Revise the accessibility of the previous                                                         1996 Forest Plan, amendments and monitoring
           plan to the public, including incorporating                                                      reports are now available on forest website.
 B1        current and changing technology and web-        •    Identification in public meetings
           based tools to facilitate the diverse needs
           of the public

                                                                                                            The Initial Proposal will include tiered
           Re-evaluate the number, arrangement,                                                             geographic areas, management approaches,
           and boundaries of Management Areas,                                                              management areas, and desired conditions
           and plan direction in the current forest plan   •    Identification by the public and Forest
                                                                                                            ranging from primitive to active management
 B2        management areas to minimize complexity              Service staff
                                                                                                            and related management discretion.
           and promote ecosystem integrity and                                                              (Appendix B2 - Map and Ecosystem
           connectivity
                                                                                                            Integrity)

                                                                                                            The Initial Proposal includes three overarching
                                                                                                            Goals centered on:
                                                                                                             •   Protecting and restoring watershed
                                                                                                                 health, water resources, and the systems
           Revise the current plan to allow for more                                                             that rely on them;
           adaptive management to better meet and                                                            •    Maintaining and restoring sustainable
           monitor desired conditions related to:          •    Identification by the public and Forest          and resilient ecosystems;
 B3            •    potential climate change effects            Service staff                                •   Contributing to social and economic
               • fluctuations in forest budgets,                                                                 sustainability in the broader landscape
               • using partnerhips, volunteers,                                                                  and connect citizens to the land.
                    and citizen scientists                                                                       (Appendix B4)

                                                                                                            The Revised Plan Monitoring Framework will
                                                                                                            be designed with partners, volunteers and
                                                                                                            citizen science in mind.

           Revise the current plan to include                                                               This is a consideration and approach that will
 B4        management approaches that consider             •    Identification by the public                be carried throughout the development of plan
           local economies, markets, and partnership                                                        components.

                                                                               4


                                                                                                                          Rvsd Plan - 00001513
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       opportunities as tools for meeting desired
       conditions

       Revise the current plan to include
       management direction that ensures            •   2012 Planning Rule
B5     sustainable infrastructure related to        •   Identification by Forest Service staff   Considerations to be included in the analysis.
       recreation, forest health, and habitat
       connectivity




                                                                       5


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Table C. Changes ident,fied through the assessment phase
These needs for change are the second level of discretionary needs identified by the deciding official. They may be considered due to clear gaps in the previous
plan, or represent specific needs that were identified through a combination of the assessments, public comments, tribal consultation, internal comments, or a
combination of all of these means of seeking input for the revised forest plan. At this time, the deciding official believes these needs for change are relevant,
timely, and appropriate for evaluation as a proposed action in the environmental analysis phase of the revision process under the National Environmental Policy
Act (NEPA phase).
                                                                                                                      What we did with what we heard
                       Identified Change                                  Basis for Change                                 (internal & external)

     C1      Revise the current forest plan to allow for       •    Identification in Assessment 1, Ecosystem     Plan direction language would be updated to
             better integration, clearer direction, and             Integrity                                     comply with the Wild Fire Decision Support
             more flexibility with regard to the use of        •    Identification by the public                  System. Direction should be adaptive in nature
             prescribed and naturally occurring fire as a                                                         but fit with the area prescription and direction.
             management tool and disturbance agent
             within the constraints of human health and
             safety

     C2      Update the existing forest-wide air               •   Identification in Assessment 2, Air, Soils,    The forest plan must include plan components
             monitoring plan and 1994 Wilderness Air               and Water Resources                            related to air quality. All aspects of air quality
             Quality Monitoring Plan reflecting current        •   Internal staff recommendations                 monitoring will be updated in the analysis.
             best management practices

     C3      Revise the previous plan and identify long­       •   Identification in Assessments 1 and 2          Moved to A.
             term priority watersheds to reflect the           •   Internal staff recommendations
             current best management practices                 •   2012 Planning Rule
             including the Watershed Conservation
             Practices Handbook, National Best
             Management Practices program, and
             Watershed Condition Framework

     C4      Update the previous plan to incorporate           •    Identification in Assessment 2                Incorporate the in-stream flow language in the
             the negotiated settlement language and            •    Internal staff recommendations                desired condition and standard operating
             decree between the Rio Grande National            •    Identification by the public                  procedure. Incorporate objectives from
             Forest and the State of Colorado (2000)                                                              agreement.

     C5      Revise the previous plan to provide               •    Identification in Assessments 13 and 15       Old Spanish National Historic Trail and
             management direction for the Old Spanish          •    Internal staff recommendations                Cumbres and Toltec National Historic
             National Historic Trail, including language       •    Identification by the public                  Landmark will be considered for special
             from the Old Spanish National Historic                                                               designations including any related non-FS
             Trail Comprehensive Management Plan                                                                  direction.


                                                                                6


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                                                                                                         What we did with what we heard
                  Identified Change                              Basis for Change                             (internal & external)
        when completed by the National Park
        Service; for the Continental Divide National                                                 The Sangre de Cristo Heritage Area was
        Scenic Trail (CDT), including language                                                       congressionally designated in 2009. It includes
        from the 2009 CDT Comprehensive Plan;                                                        portions of forest in Conejos and Alamosa
        for the Sangre de Cristo National Heritage                                                   counties. Regional direction for the Continental
        Area, Cumbres and Toltec National                                                            Divide National Scenic Trail is in development.
        Historic Landmark; and for the Rio Grande
        del Norte National Monument.

C6      Evaluate additional areas for special          •   Identification in Assessments 12 and 15   After consultation with Federally recognized
        designation, including areas with cultural     •   Internal staff recommendations            Tribes Mt. Blanca Massif and Natural Arch will
        values, ecosystem types known to be            •   Identification by the public              be considered for special designation. Agency
        heavily fragmented, and areas important                                                      staff will investigate additional designations
        for the protection of plant communities and                                                  related to sensitive areas, key ecosystem
        special habitats vulnerable to climate                                                       characteristics tied to the viability of species of
        change. Evaluate additional protection of                                                    conservation concern and climate change
        two critically significant areas, Mt. Blanca                                                 vulnerabilities. Specific sites might include
        Massif and the Natural Arch, while                                                           Lower Deadman Creek on the Baca Mountain
        maintaining motorized access.                                                                Tract and snow willow habitat for the
                                                                                                     Uncompahgre fritillary butterfly.



C7      Revisit the size of the Fremont Special        •   Identification in Assessment 13           Field archaeology work in 2015 confirmed the
        Interest Area                                  •   Internal staff recommendations            actual location of the Christmas Camp site.
                                                                                                     The revised forest plan will consider that field
                                                                                                     work.

C8      Update management direction to maintain        •   Identification by a 2010 internal         Moved from D. The analysis will address Big
        separation between bighorn and domestic            Conservation Assessment                   Horn Sheep direction and concerns.
        sheep. Address the need for management
        direction regarding recreational pack
        goats.




                                                                         7


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Table D. Desired changes identified through the assessment phase
These desires for change are the third level of discretionary needs considered by the deciding official. They represent specific needs that were identified through
a combination of the assessments, public comments, tribal consultation, internal comments, or a combination of all of these means of seeking input for the
revised forest plan. At this time, the deciding official believes these needs may be relevant, timely, and appropriate for further analysis in the NEPA phase. The
deciding official, with public and interdisciplinary team involvement, will make a subsequent decision on whether to change this from a desire to a clear need for
change. If it is decided to drop one or more of these desires from consideration after further analysis and subsequent decision, a clear rationale will be provided.
                                                                                                                      What we did with what we heard
                  Desired Change                                   Basis for Change                                        (internal & external)

    D1      Update the definition and                 •   Identification in Assessment 1                       Old growth is an ecosystem characteristic related
            management direction for late             •   Internal staff recommendations                       to stages of late successional habitat. This will be
            successional/old growth forest                                                                     updated and addressed in the discussion and
            and woodland communities                                                                           analysis of ecosystem characteristics

    D2      Revisit the oil and gas Leasing           •   Identification in Assessment 10                      The 1996 Forest Plan anticipated more activity that
            Available Analysis completed for          •   Identification by the public                         has been experienced. Suitability and leasing
            the 1996 Forest Plan                                                                               availability may be revisited when the Bureau of
                                                                                                               Land Management begins a new analysis. *** new
                                                                                                               technology discussion. Attach Appendix D2

    D3      More efficiently manage                   •   Internal staff recommendations                       Wilderness is currently administered across
            wilderness areas across                                                                            boundaries with adjacent units. Wheeler Geologic
            administrative boundaries with                                                                     Area will be considered during the Wilderness
            adjacent forests, and better                                                                       Inventory, Evaluation, Analysis and
            incorporate the 1993 Colorado                                                                      Recommendation process or potentially
            Wilderness Act and language                                                                        considered for Special Designation in the forest
            specifically regarding Wheeler                                                                     plan. The 1996 Forest Plan contains management
            Geologic Area.                                                                                     direction for the area.

    D4      Contribute to developing and              •   Identification in Assessments 6, 7, and 8, Social,   The role of the Forest Service is to actively
            maintaining sustainable                       Cultural, and Economic Resources and                 contribute to social and economic sustainability in
            enterprises that contribute to the            Ecosystem Services                                   the broader landscape. This should be included in
            general economic and social               •   Identification by the public                         the overall goals for forest management.
            vitality of the area.                                                                              Management would focus on relationship
                                                                                                               maintenance and proactive management.

    D5      Maintain the quality of visitor           •   Identification in Assessments 6, 7, and 8            This will be addressed through analysis.
            experiences while providing forest        •   Identification by the public                         Comments addressed the need to tie population
            products and cultural and                                                                          .increases with impacts to the quality of
                                                                                                               recreational experiences.


                                                                                 8


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                                                                                                           What we did with what we heard
               Desired Change                                Basis for Change                                   (internal & external)
         recreational experiences to a
         greater number of people

D6       Revisit how managing for multiple      •   Identification in Assessment 13, Cultural and    Existing 1996 Forest Plan direction for cultural
         uses on the forest affects cultural        Historic Resources                               resource protection should be updated to
         resources                              •   Identification by the public                     incorporate more current manual and handbook
                                                                                                     direction.

D7      Evaluate additional protection of       •   Identification in Assessment 12, Tribal          Combine with C6
        two critically significant areas, Mt.        Resources
        Blanca Massif and the Natural           •   Tribal consultation
        Arch, while maintaining motorized
        access

D8      Additional management direction         •   Internal staff recommendations                   Impacts should be addressed in a site specific
        for recreational climbing in                                                                 analysis. Habitat and resource concerns can be
        relation to peregrine falcon nests.                                                          mitigated through Forest Order.

D9       Update management direction to         •   Identification by a 2010 internal Conservation   Move to C
         maintain separation between                Assessment
         bighorn and domestic sheep


D10     Additional management direction         •   Internal staff recommendations                   Move to C and combined
        regarding recreational pack goats
        on the Rio Grande National
        Forest


D11      Revisit the stay limits on the Rio     •   Internal staff recommendations                   **Need IDT discussion- Rec assigned
         Grande in managed and
         dispersed campsites                                                                         DNR input 30 days


D12      Revisit the Capacity Allocation        •   Internal staff recommendations                   **Need IDT discussion- Rec assigned
         Process related to special use
         permits




                                                                           9


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                Desired Change                               Basis for Change                                     (internal & external)

D13      Revisit the off-road game retrieval     •   Internal staff recommendations                    ***Need IDT discussion, Wildlife assigned; CPW
         policy on the Rio Grande National       •   Identification by the public                      comments propose changed time, perhaps include
         Forest                                                                                        in the travel management analysis


D14      Revise the communication sites          •   Identification in Assessment 11, Infrastructure   Move to A.
         identified in the current forest plan   •   Internal staff recommendations
         (and the approval policy),              •   Identification by the public
         considering internal needs,
         potential changes in technology,
         and future needs of the public


D15     Address new technology,                  •   Identification in Assessment 11, Infrastructure   ***Need IDT discussion, coordinate with
        including the use of drones on the                                                             Safety/Fire
        forest, as well as alternative
        energy sites and fiber optic


D16     Better access and management             •   Identification in Assessments 2 and 6             The Minimum Resource Design Guide is a tool for
        flexibility to maintain irrigation                                                             applicants to seek a waiver to conduct mechanized
        structures, such as dams and                                                                   maintenance in wilderness areas. Prioritized
        diversions, in wilderness areas                                                                maintenance schedules through regular
                                                                                                       consultation with line officers is encouraged.

D17      Update plan direction to protect        •   Identification in Assessment 14, Land Status,     ***Need IDT discussion
         and ensure legal access for                 Ownership, Use, and Access
         public, private, and tribal needs in    •   Internal staff recommendations
         cases of fragmentation of forest        •   Identification by the public
         lands


D18      Prioritize acquisition of inholdings    •   Identification in Assessment 14, Land Status,     ***Need IDT discussion
         appropriate for the management              Ownership, Use, and Access
         and continuity of forest land and       •   Internal staff recommendations
         collaborate more effectively with       •   Identification by the public
         other private, state, and federal
         land owners of lands that border
         the Rio Grande National Forest



                                                                           10


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                                                                                                   What we did with what we heard
               Desired Change                           Basis for Change                                (internal & external)

D19      Update plan direction for the      •   Identification in Assessment 10, Energy and   ***Need IDT discussion
         removal of common mineral              Minerals
         materials, such as commercial      •   Internal staff recommendations
         contracts, personal, ceremonial,   •   Identification by the public
         and free use permits




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     Inventory




                                          Appendices




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     Rio Grande National Forest Plan Revision: Wilderness Recommendation Process Step 1:
     Inventory




        Appendix A2 - Forest Plan Revision Wilderness Recommendation Process




     USDA                   Rio Grande National Forest
                                  Plan Revision




               Wilderness Recommendation
                         Process


       Step 1: Inventory of Lands that may be Suitable
           for Inclusion in the National Wilderness
                     Preservation System




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     Rio Grande National Forest Plan Revision: Wilderness Recommendation Process Step 1:
     Inventory



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  Rio Grande National Forest Plan Revision: Wilderness Recommendation Process Step 1: Inventory


  Introduction
  The Rio Grande National Forest is in the process of revising the forest plan. The revision process
  includes identifying and evaluating lands that may be suitable for inclusion in the National
  Wilderness Preservation System (NWPS) and determining whether to recommend to the Chief of
  the Forest Service any such lands for wilderness designation. A description of this process can be
  found in the 2012 Forest Service Planning Rule and Chapter 70 of the Forest Service Land
  Management Planning Handbook 1909.12. This process includes the following four steps:
             1. Identify and inventory all lands that may be suitable for inclusion in the National Wilderness
                Preservation System
             2. Evaluate the wilderness characteristics of each area based on a given set of criteria
             3. The Forest Supervisor will determine which areas to further analyze in the National
                Environmental Policy Act (NEPA) process
             4. The Forest Supervisor will decide which areas, if any, to recommend for inclusion in the
                National Wilderness Preservation System (NWPS).
  Lands evaluated and analyzed through this process and the resulting NEPA analysis are only
  preliminary administrative recommendations; Congress has reserved the authority to make final
  decisions on wilderness designation.
  This report summarizes Step 1 of this process for the Rio Grande National Forest.
  Step 1: Inventory of Lands that may be Suitable for Inclusion in the NWPS
  The Rio Grande National Forest interdisciplinary team (please see Appendix C for a list of
  members) began identifying and inventorying lands that may be suitable for inclusion in the
  NWPS using the size, adjacency, and road improvements criteria outlined in the Forest Service
  Handbook.1 The directives used to the complete Phase 1 Inventory were the draft directives,
  dated December 19, 2013.
  Inventory Process and Criteria
  1. Initial screening

         •   Private and state in-holdings were removed.
         •   FS Roads Maintenance Level 2 through 5 were buffered and removed.2 See FS Road
             Maintenance Definitions.
         •   The 1996 Rio Grande National Forest Plan Utility Corridors were excluded from the inventory
             areas, as well as other known cleared rights-of-way and pipelines.




  1 See FSH 1909.12 Chapter 70, 71.21 and 71.22a
  2   A "snapshot" of the Rio Grande National Forest roads from xxxxx was used for the inventory.


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  Rio Grande National Forest Plan Revision: Wilderness Recommendation Process Step 1: Inventory


  2. Substantially Noticeable Features (See Appendix A for the Substantially Noticeable
  Definitions)

         •   Improvements that suggest substantially noticeable human activity in the area as a whole were
             removed.
         •   All tree removal activities from any year are considered substantially noticeable unless
             otherwise determined by specialist knowledge.3

  3. Acreages of areas were then calculated and the following size classes are maintained:

         •   An area greater than 5,000 acres.
         •   An area adjacent to existing Wilderness regardless of size.
         •   A standalone area (not adjacent to existing Wilderness) that is less than 5,000 acres but of
             sufficient size to make practicable its preservation and use in an unimpaired condition and can
             be effectively managed as a separate unit of NWPS.

  Lands shown on this preliminary inventory map do not imply designation or necessarily
  convey or require a particular kind of management, and inclusion or removal of any of
  these lands are open to discussion.

  All unauthorized/user-created routes were included in the inventory because they are not part of
  the official road system. Those routes will be considered in the evaluation phase as part of the
  apparent naturalness and degree to which the area may be managed to preserve its wilderness
  characteristics.

  Lands adjacent to development or activities that impact opportunities for solitude were included
  in the inventory. The fact that non-wilderness activities or uses can be seen or heard from within
  any portion of the area, must not, of itself, preclude inclusion in the inventory. It is appropriate
  to extend boundaries to the edges of development for purposes of inclusion in the inventory.
  Public Collaboration
  The Rio Grande National Forest hosted a series of collaborative workshops in June 2016 (see
  Appendix E). These workshops focused on the initial identification and inventory of lands that
  may be suitable for inclusion in the NWPS.
  The public provided comments on the draft inventory results through an online collaborative
  mapping tool, hard copy comment forms, e-mail, and postal mail from June 1 - June 17, 2016.
  The Forest received a total of 10 comments during the comment period. Most comments did not
  provide specific comments on the draft inventory map. See Appendix B for a summary of the
  comments and how the inventory map was modified based on the comments.




  3   See Table 1 for inventory polygons with “not substantially noticeable” features.


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  Rio Grande National Forest Plan Revision: Wilderness Recommendation Process Step 1: Inventory


  Inventory Results
  The resulting areas and acres are summarized in Table 1. Some overall results include the
  following:

           •   No stand-alone areas less than 5,000 acres were included because they were not of a
               sufficient size as to make practical its preservation and use in an unimpaired condition (from
               Criterion #3).
           •   Areas less than 5,000 acres in size were included because they are adjacent to an existing
               wilderness or recommended wilderness study area4 (from Criterion #2).
           •   Forest-wide, 1,559,196.77 acres are included in the final wilderness inventory map.

  Table 1. Wilderness Inventory Results


   Inventory                                                                                  “Not substantially
                 Ranger District             Size                        Acres6
   Polygon5                                                                                   noticeable”

   1.a           Conejos Peak                Wilderness Adjacent         6,481.89
   1.b           Conejos Peak                Wilderness Adjacent         27.73
   2             Saguache                    Wilderness Adjacent         51,387.88
   3.a           Saguache                    Wilderness Adjacent          1,219.14
   3.b           Saguache                    Wilderness Adjacent         2,909.54
   3.c           Saguache                    Wilderness Adjacent         402.01
   3.d           Saguache                    Wilderness Adjacent          130.26
   3.e           Saguache                    Wilderness Adjacent         4,021.95
   3.f           Saguache                    Wilderness Adjacent         738.54
   3.g           Saguache                    Wilderness Adjacent         383.55
   3.h           Saguache                    Wilderness Adjacent          1,489.17
   3.i           Saguache                    Wilderness Adjacent         3,462.08
                 Saguache                                                                     1920s - 1940s
   4                                         Larger than 5K acres        25,663.84
                                                                                              shelterwood cuts
                 Saguache                                                                     1920s - 1940s
   5                                         Larger than 5K acres         8,223.73
                                                                                              shelterwood cuts
   6             Saguache                    Larger than 5K acres        53,803.51
   7             Saguache                    Larger than 5K acres        9,273.69
   8             Saguache                    Larger than 5K acres        9,210.56
   9             Saguache                    Larger than 5K acres         16,792.56
   10            Saguache                    Larger than 5K acres         19,605.94



  4 Wilderness study areas are management areas on Bureau of Land Management federal lands.
  5 Numbering is not sequential due to adjustments during inventory process.
  6 All acres are approximate.



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  Rio Grande National Forest Plan Revision: Wilderness Recommendation Process Step 1: Inventory


   Inventory                                                                  “Not substantially
               Ranger District       Size                    Acres6
   Polygon5                                                                   noticeable”

   11          Saguache              Larger than 5K acres     10,290.71
   12          Saguache              Larger than 5K acres    49,276.00
   13          Saguache              Larger than 5K acres     17,220.38
   15          Saguache              Larger than 5K acres    25,541.44
   18          Saguache              Larger than 5K acres    9,877.84
   20.a        Saguache              Wilderness Adjacent      116,546.27
   20.b        Saguache and Divide   Wilderness Adjacent     57,220.13
   21          Saguache              Wilderness Adjacent     575.90
   22          Divide                Larger than 5K acres     16,770.88
   23          Divide                Larger than 5K acres    8,189.55
   24          Divide                Wilderness Adjacent      184.49
   25.a        Divide                Wilderness Adjacent     46,282.90
   25.b        Divide                Wilderness Adjacent     2,428.23
   26          Divide                Larger than 5K acres     112,833.95
   27          Divide                Larger than 5K acres    47,812.07
   28          Divide                Larger than 5K acres     102,716.88
   29          Divide                Wilderness Adjacent      10,198.60
   30.a        Divide                Wilderness Adjacent     30.91
   30.b        Divide                Wilderness Adjacent     8.06
   30.c        Divide                Wilderness Adjacent     27.10
   31          Divide                Wilderness Adjacent     221.18
   32          Divide                Wilderness Adjacent      191.47
   33          Divide                Wilderness Adjacent      1,531.97
   34          Divide                Wilderness Adjacent     417.72
   35          Divide                Wilderness Adjacent     2,895.51
   36.a        Divide                Wilderness Adjacent     9,620.32
   36.b        Divide                Wilderness Adjacent     4.14
   37.a        Divide                Larger than 5K acres    5,878.58
   37.b        Divide                Wilderness Adjacent      12,539.72
   38.a        Divide                Wilderness Adjacent     58,832.90        1925 shelterwood cut
   38.b        Divide                Larger than 5K acres     10,363.64
   39          Divide                Larger than 5K acres     18,685.06
   40          Divide                Larger than 5K acres     17,838.25




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  Rio Grande National Forest Plan Revision: Wilderness Recommendation Process Step 1: Inventory


   Inventory                                                                      “Not substantially
               Ranger District       Size                    Acres6
   Polygon5                                                                       noticeable”

   41          Divide                Larger than 5K acres    72,587.05
   42          Divide                Wilderness Adjacent     703.02
   43.a        Divide                Wilderness Adjacent      10,221.41
   43.b        Divide                Wilderness Adjacent      1,029.70
   44          Divide                Larger than 5K acres     19,003.29
   45.a        Divide                Larger than 5K acres     12,393.48
   45.b        Divide                Larger than 5K acres    21,900.14
   46          Divide                Larger than 5K acres     15,173.13
   49          Divide                Larger than 5K acres     12,089.18
   50          Divide                Larger than 5K acres    25,096.64
               Divide and Conejos
   51                                Larger than 5K acres     123,836.95
               Peak
   52          Conejos Peak          Larger than 5K acres    29,785.17
   53          Conejos Peak          Wilderness Adjacent               5,988.71

   54          Conejos Peak          Wilderness Adjacent                  23.45

   55          Conejos Peak          Wilderness Adjacent              12,181.52

   56          Conejos Peak           Larger than 5K acres            19,075.14

   57          Conejos Peak          Wilderness Adjacent     8,646.54
   58.a        Conejos Peak          Wilderness Adjacent     91.29
   58.b        Conejos Peak          Wilderness Adjacent     5.20
   58.c        Conejos Peak          Wilderness Adjacent      12.41
   59          Conejos Peak          Larger than 5K acres    58,526.07
   60          Conejos Peak          Larger than 5K acres    8,790.80
   61          Conejos Peak          Wilderness Adjacent     2,457.53
   62          Conejos Peak          Larger than 5K acres    9,344.44
               Conejos Peak                                                       1970s single-tree
                                                                                  selection cuts and
   63.a                              Wilderness Adjacent     53,786.78
                                                                                  precommercial
                                                                                  thinning
   63.b        Conejos Peak          Wilderness Adjacent     321.95
   63.c        Conejos Peak          Wilderness Adjacent     37.31
               Conejos Peak                                                       1970s-1980s single­
   64                                Larger than 5K acres    40,961.39
                                                                                  tree selection cuts
               Conejos Peak          Carson Inventory
   65                                                        4,463.88
                                     adjacent



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   Inventory                                                                         “Not substantially
                Ranger District           Size                      Acres6
   Polygon5                                                                          noticeable”

                Conejos Peak              Carson Inventory
   66                                                               2,382.85
                                          adjacent



  Next Steps
  Evaluation
  The next step in wilderness recommendation process is to evaluate each area on the inventory
  map for wilderness characteristics. Evaluation of wilderness characteristics is done using five
  criteria set forth in the Wilderness Act of 1964 and required in the Forest Service Handbook final
  directives FSH 1909.12, Chapter 70, Section 72.1. A summary of these five criteria is as
  follows:
        1.     Evaluate the degree to which the area generally appears to be affected primarily by the forces
               of nature, with the imprints of man’s work substantially unnoticeable (apparent naturalness).
        2.     Evaluate the degree to which the area has outstanding opportunities for solitude or for a
               primitive and unconfined type of recreation. The word “or” means that an area only has to
               possess one or the other. The area does not have to possess outstanding opportunities for both
               elements, nor does it need to have outstanding opportunities on every acre.
        3.     Evaluate how an area of less than 5,000 acres is of sufficient size to make its preservation and
               use in an unimpaired condition practicable.
        4.     Evaluate the degree to which an area may contain ecological, geological, or other features of
               scientific, educational, scenic, or historical value. These values are not required in an area to
               be present, but their presence should be identified and evaluated where they exist.
        5.     Evaluate the degree to which the area may be managed to preserve its wilderness
               characteristics.
  Over the next several months, each area of the inventory will be evaluated for these criteria
  based on direction from the FSH 1909. 12 Chapter 70. Supporting information that is identified
  during the evaluation phase will be used to evaluate and assess the area as a whole.
  Analysis and Recommendation
  Following the evaluation phase, the Forest Supervisor will decide, based on evaluation and
  public input, which areas, or portions thereof, will be considered in draft forest plan and
  alternatives. Comments will be used to make adjustments and prepare a draft environmental
  impact statement. This will tentatively be available for review in summer 2017. A draft record
  of decision and final environmental impact statement will occur in winter 2017 with the
  opportunity for objections.
  Once the forest plan is finalized, the final environmental impact statement is released, and a
  record of decision is signed, the Rio Grande National Forest Supervisor may recommend suitable
  lands for National Wilderness Preservation System designation to the Chief of the U.S. Forest
  Service. Such recommendation may then be forwarded to the Secretary of Agriculture, and
  ultimately to Congress, for their consideration and possible designation. Congress has reserved


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  Rio Grande National Forest Plan Revision: Wilderness Recommendation Process Step 1: Inventory


  the authority to make final decisions on wilderness designation. Please see Appendix F for a
  detailed description of the process from evaluation through recommendation in Forest Service
  Land Management Planning Handbook 1909.12, Chapter 70.




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  Rio Grande National Forest Plan Revision: Wilderness Recommendation Process Step 1: Inventory


  Appendix A: Substantially Noticeable Definitions
  The term “substantially noticeable” is not directly defined in the Forest Service Handbook
  1909.12, Chapter 70 for inventory of lands that may be suitable for inclusion in the NWPS7. In
  February 2016, the Rio Grande National Forest interdisciplinary team developed a definition of
  ‘substantially noticeable’ for the specific improvements listed in the Forest Service Handbook8.
  The use of the term “improvements” in this context is taken from the Forest Service Handbook,
  and means the evidence of past human activities in the area as a whole. An interdisciplinary team
  of resource specialists drafted the definitions of “substantially noticeable.”
  Assumptions Developed When Applying the Substantially Noticeable Definition
  Matrix
  Linear Features
  For linear improvements, such as fences or water pipelines, the determination for whether the
  improvement is substantially noticeable is not based on a person walking parallel to the feature
  with a continuous view of the improvement. Rather, the determination is based on a person
  potentially seeing the feature from different vantage points while traveling cross country in the
  area.
  Structures
  Structures, dwellings, and other relics of past occupation, when they are considered part of the
  historic and cultural landscape of the area, may be included in the inventory of lands that may be
  suitable for inclusion into the NWPS.9
  Improvements Similar to Those Found in Existing Designated Wilderness
  Substantially noticeable improvements occurring in existing wilderness on the Rio Grande
  National Forest do not influence the consideration of whether the same or similar improvement is
  substantially noticeable or not substantially noticeable using the final directives of FSH 1909.12
  Chapter 70. The final FSH 1909.12 Chapter 70 directives and the Substantially Noticeable
  definitions will be used to determine if improvements are substantially noticeable. The fact that
  the same type of improvement may occur in designated wilderness will not influence whether an
  improvement within an inventory area is substantially noticeable or not substantially noticeable.
  Applying Substantially Noticeable Definitions
  The interdisciplinary team applied the Substantially Noticeable definitions during
  interdisciplinary meetings held between December 2015 and February 2016. The team reviewed
  each inventory area using the Substantially Noticeable definitions, corporate infrastructure data
  in Forest Service geodatabases, aerial photography. For those improvements for which there is
  no corporate record, local knowledge was applied if available.



  7 FSH 1909.12 Chapter 70, 71.22b
  8 FSH 1909.12 Chapter 70, 71.22b
  9   FSH 1909.12 Chapter 70, 71.22b #11




                                                                                                      8
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  Rio Grande National Forest Plan Revision: Wilderness Recommendation Process Step 1: Inventory


  The following table includes the other improvements listed in FSH 1909.12 Chapter 70 and a
  matrix of improvements which are substantially noticeable.
  Table 2. Substantially Noticeable Definition Table

   Improvement Types         Substantially Noticeable Definitions
   FSH 1909.12 Chapter
   70 71.22b - Other
   Improvements
   Airstrips and Heliports   Not applicable.
   Vegetation Treatments     Most vegetation treatments are substantially noticeable due to slow regrowth at high
                             elevations. Treatments create deviations in form, line, color, texture and pattern in the
                             surrounding natural landscape. Changes in canopy cover and forms introduced by treatment
                             unit shape are evident and contrast with the surrounding natural landscape. Edges of
                             treatment units are linear or abrupt. Concentrations of treatments may create an unnatural
                             pattern across the landscape.


   Timber Harvest Areas      Most timber harvest areas are substantially noticeable due to slow regrowth at high
                             elevations. Treatments create deviations in form, line, color, texture and pattern in the
                             surrounding natural landscape. The natural landscape appears altered by vegetation
                             treatment improvements. Changes in canopy cover and forms introduced by treatment unit
                             shape are evident and contrast with the surrounding natural landscape. Edges of treatment
                             units are linear or abrupt. Concentrations of treatments may create an unnatural pattern
                             across the landscape.


   Vertical Structures       Vertical structures associated with communications sites that create deviations in form, line,
                             color, texture and pattern in the surrounding natural landscape and are substantially
                             noticeable.


                             Other vertical structures have minimal impact, including their maintenance and access
                             requirements and are not substantially noticeable.


   Areas of Mining           Areas of mining activity where improvements create deviations in form, line, color, texture
   Activity                  and pattern in the surrounding natural landscape. The natural landscape appears altered by
                             mining activity impacts. Improvements are not partially or completely screened by
                             topography or vegetation from most vantage points. Historic mining activities are part of the
                             cultural landscape and are not substantially noticeable.


   Range improvement         Structural and non-structural improvements contrast with the form, line, color and texture of
   areas                     the surrounding landscape and/or structural improvements begin to dominate the setting are
                             substantially noticeable.
                             Ranching is part of the forest’s cultural heritage, and range structures have become accepted
                             as necessary parts of characteristic landscapes. Range structures such as fences, corrals and
                             related structures, and water developments are generally not substantially noticeable unless
                             they meet the following criteria:




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   Improvement Types       Substantially Noticeable Definitions
   FSH 1909.12 Chapter
   70 71.22b - Other
   Improvements
   Recreation              Per FSH 1909.12 Chapter 70: As a general rule, developed sites should not be included.
   Improvements            Areas with minor, easily removable recreation developments may be included.
                           Other recreation improvements such as dispersed campsites and outfitter-guide hunting
                           camps are not substantially noticeable.
   Utility                 Per FSH 1909.12 Chapter 70: Powerlines with cleared rights-of-way, pipelines, and other
   Corridors/Linear        permanently installed linear right-of-way structures should not be included.
   Rights-of-way           Utility study corridor areas, underground pipelines and other linear features without cleared
                           rights-of-ways are not substantially noticeable.
   Watershed Treatment     Watershed treatment areas where improvements create deviations in form, line, color,
   Areas                   texture and pattern in the surrounding natural landscape are substantially noticeable.
                           Examples include:
                               •    Improvements made of non-natural materials
                               •    Terraced areas
                               •    Post-fire treatments (i.e., filter dams) to control flooding, which are permanent and
                                    made of non-natural materials.




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  Rio Grande National Forest Plan Revision: Wilderness Recommendation Process Step 1: Inventory


  Appendix B: Public Comment Summary and Response
  The following table summarizes comments received from individual and organizations via email, phone, written letter, or web-based map
  application.

  Table 3. Public Comments and Changes to Inventory Map.

Commenter                Summary/Key Points                                                                                                     Changes to Inventory
                                                                                                                                                Map
Bernie Krystyniak        Supports additional wilderness designations in the Hinsdale County area of the forest.                                 N/A


                         No specific comments on the draft inventory map.


Tom Sobel                Request for GIS data layers                                                                                            N/A
Ardell Broadbent         General comments on support for public use of the national forest.                                                     N/A


                         No specific comments on the draft inventory map.


Rio Grande Watershed     The criteria presented at the May 25, 2016, meeting in Del Norte appears to be more than sufficient for                N/A
Emergency Action         identifying land which should be included in the inventory of acreage which could then be considered as possible
Coordination Team        additions to Designated Wilderness. We have no additional criteria to suggest. In addition, the Rio Grande
(RWEACT)                 National Forest’s team has done a very thorough job of identifying all of the acreage that fits the criteria and we
                         feel there is nothing we could add to that remarkable effort. The process can move on to evaluation and
                         assessment with confidence.
Trails Preservation      General comments on recognition that forest must conduct wilderness inventory, but do not support additional           N/A
Alliance and             wilderness recommendations on the Rio Grande.
COHVCO
                         No specific comments on the draft inventory map.


Mineral County Board     Presence of man-made improvements (range improvements, motorized trails, historical mining, historical                 N/A
of County                structures) in areas that are part of the wilderness inventory should exclude these areas from consideration as
Commissioners            designated wilderness.




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Commenter               Summary/Key Points                                                                                                        Changes to Inventory
                                                                                                                                                  Map
                        No specific comments on the draft inventory map.


Jim Bazemore            General comments supporting the process as outlined during June 1 public meeting. Specific comments about the             N/A
                        conditions and trends of grazing impacts in existing wilderness in the Assessment.


                        No specific comments on the draft inventory map.


Intermountain Forest    General comments on recognition that forest must conduct wilderness inventory, but do not support additional              N/A
Association             wilderness recommendations on the Rio Grande.


                        No specific comments on the draft inventory map.


Hinsdale County         Do not support additional wilderness recommendations on the Rio Grande.                                                   N/A
Board of County
Commissioners
                        No specific comments on the draft inventory map.


The Wilderness          Inventory criteria on web (story map) and criteria on hand out at public meeting are different.                           N/A
Society, Rocky Smith
(independent
consultant), San Luis
Valley Ecosystem
Council, Defenders of
Wildlife, Quiet Use
Coalition, Rocky
Mountain Wild
                        The roads criterion needs to be refined to better reflect the direction in section 71.22a of the Forest Service           Reviewed 2015 Travel
                        Handbook (FSH), and, in particular, the direction in subsections 71.22a(1)(b) and (c) that directs that areas with        Analysis
                        roads recommended for reclassification to Maintenance Level (ML) 1 or identified as “likely not needed” in the            recommendations and
                        travel analysis should be included in the inventory.                                                                      determined ML 2
                                                                                                                                                  roads “likely not
                                                                                                                                                  needed” and ML 2



                                                                                                                                             12
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Commenter            Summary/Key Points                                                                                                       Changes to Inventory
                                                                                                                                              Map
                     The 2015 Travel Analysis Report identifies: a) 48 ML 2 National Forest System road segments (totaling 56 miles)          roads identified for
                     as “likely not needed”; and b) 272 ML 2 National Forest System road segments (totaling about 431 miles) for              reclassification to ML
                     reclassification to ML 1.                                                                                                1 are already included
                                                                                                                                              in the wilderness
                                                                                                                                              inventory.
                     To better reflect the handbook direction, the Forest Service can modify the online direction to say: “the inventory      N/A
                     includes: a) blocks of lands 5,000 acres or larger; b) areas adjacent to existing wilderness, primitive areas,
                     administratively recommended wilderness, or wilderness inventory of other Federal ownership regardless of size;
                     and c) “A standalone area (not adjacent to existing Wilderness) that is less than 5,000 acres but of sufficient size
                     to make practicable its preservation and use in an unimpaired condition.”
                     Regarding “excluded constructed features”, we request that you describe what constitutes substantially noticeable        N/A
                     vegetation management based on rational considerations and knowledge of field conditions.
                     The first bullet under “substantially noticeable features” (on website) disqualifies improvements that “suggest          N/A
                     substantially noticeable human activity in the area as a whole.” While we agree with the concept that
                     disqualifying improvements are those with impacts that appear substantially noticeable in the area as a whole, we
                     request more detail about the types of features examined and the reasons for disqualification.
                     The second bullet under “substantially noticeable features” disqualifies all tree removal activities from any year       The final wilderness
                     unless otherwise determined by specialist knowledge. This is a very broad disqualification statement that needs to       inventory
                     have a more restrictive application.                                                                                     documentation will
                                                                                                                                              identify definitions for
                                                                                                                                              “substantially
                                                                                                                                              noticeable” features
                                                                                                                                              for all other
                                                                                                                                              improvements
                                                                                                                                              identified in FSH
                                                                                                                                              1909.12 Ch. 70.
                     We are concerned that the transportation data that was used to generate the polygons may not align with the data         N/A
                     presented in the Travel Analysis Report and Motor Vehicle Use Maps. We ask that you double-check the
                     accuracy of the transportation layer being used in the spatial analysis, and that you are correctly applying the data
                     to the roads criteria described in FSH 1909.12, chapter 70, section 71.22(a).
                     We believe that wilderness inventory polygon 15 improperly excludes the western part of the Sawlog Upper Tier            Adjusted polygon 15
                     Roadless area and adjacent lands in the Storm King Mountain area. The map depicts the eastern portion of NFS             on inventory map as
                     road 41G incorrectly. The map shows it located along the North Fork of Carnero Creek, and as such separating             described in this
                                                                                                                                              comment.



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Commenter            Summary/Key Points                                                                                                        Changes to Inventory
                                                                                                                                               Map
                     the western area from wilderness polygon 15 to the east. Forest and County Road 41G actually follows the
                     Middle Fork of Carnero Creek to the west, and that segment of road is accurately depicted on the map.


                     The route incorrectly depicted on the wilderness inventory map as road 41 G along the North Fork of Carnero
                     Creek is actually Forest Trail 773 (aka the North Carnero Trail, a hiking/horse trail), at least for the length of the
                     2.66 mile segment between the private land parcels. This trail extends north from Forest Road 680. Forest Road
                     680 in this corridor is a ML-1 closed road for 3.45 miles on USFS land (not including the .8 mile segment on
                     private land) according to the “Rio Grande RoadsWithCoreAttibut” page on the ‘Decommissioned Roads’
                     spreadsheet available on the RGNF TAP page online at
                     http://www.fs.usda.gov/detailfull/riogrande/landmanagement/projects/?cid=fseprd484850&wid th=full Given that
                     ML-1 closed roads and trails are not supposed to exclude lands from the initial Wilderness Inventory, we believe
                     that lands on both the east and west sides of Forest Trail 773 and the closed segment of FR 680 should be
                     included in Wilderness inventory polygon 15.




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  Appendix C: Team Members
  The following table presents all persons associated with the project during the inventory process. Team
  members may be part of several teams listed.

  Table 4. Team Members

    Name                 Affiliation & Title
    Erin Minks           Forest Planner
    Tom Malecek          Deputy Forest Supervisor
    Judi Perez           Range, Soils, Water and Invasive Species Program
                         Manager
    Natalie Heberling    R2 Planning Team, GIS
    Cheryl O’Brien       GIS
    Tristram Post        District Ranger, Saguache
    Lisa McClure         Wilderness Manager
    Gerard Sandoval      Forestry Technician
    Mike Blakeman        Public Affairs Officer
    Andrea Jones         District Ranger - Conejos Peak
    Martha Williamson    District Ranger - Divide
    Kelly Garcia         Range Management Specialist
    Rachel Franchina     Forest Service Enterprise Program, Recreation Planner




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   Appendix A3 - Forest Plan Revision Wild and Scenic Rivers Process
                               Summary
  Below is a table (Table 1) and short summary of the streams that will need to be evaluated during the
  Forest Plan revision process. Information from the full evaluation completed for the 1996 and updated
  information provided internally is included. Forest Service Handbook 1909.12, Chapter 80 Sections
  82.61 and 82.62 were used to determine what stream segments were evaluated for the 1996 plan
  revision. An initial internal evaluation has determined that 25 segments may need to be evaluated.
  These, and an additional 9 segments that occur in the Baca Tract which was acquired after the 1996
  evaluation and have not been evaluated entirely.

  Table 1. Rio Grande National Forest Wild and Scenic River Evaluation - 2016
   Number Stream or River Name                 District      Length    Potential miss 1996 /
                                                             (mi)      Baca Tract
   1         Asiatic Creek                     Conejos Peak       2.12 1996
   2         Cat Creek                         Conejos Peak       3.89 1996
   3         Coal Creek                        Conejos Peak       1.16 1996
   4         Cropsy Creek                      Conejos Peak       1.67 1996
   5         East Fork Navajo River            Conejos Peak       0.87 1996
   6         Jarosa Creek                      Conejos Peak       0.60 1996
   7         La Jara Creek                     Conejos Peak       1.08 1996
   8         Middle Zapata Creek               Conejos Peak       3.11 1996
   9         North Fork South Zapata Creek     Conejos Peak       2.14 1996
   10        San Luis Creek                    Conejos Peak       2.13 1996
   11        Bird Creek                        Divide             1.94 1996
   12        East Branch Pinos Creek           Divide             0.11 1996
   13        East Willow Creek                 Divide             8.73 1996
   14        Middle Fork Pole Creek            Divide             3.37 1996
   15        North Fork Pole Creek             Divide             1.95 1996
   16        Flagstaff Creek                   Saguache           2.22 1996
   17        Little Red Creek                  Saguache           1.31 1996
   18        Masauernez Creek                  Saguache           1.33 1996
   19        Merkt Creek                       Saguache           2.16 1996
   20        Middle Fork Cotton Creek          Saguache           1.48 1996
   21        Middle Fork North Crestone Creek  Saguache           2.11 1996
   22        North Fork Cedar Creek            Saguache           1.31 1996
   23        Peterson Creek                    Saguache           3.14 1996
   24        Rock Creek                        Saguache           0.11 1996
   25        South Fork Cedar Creek            Saguache           0.85 1996
   26        Alpine Creek                      Saguache      2.9*      Baca Tract
   27        Cottonwood Creek                  Saguache      2.8*      Baca Tract
   28        Cedar Canyon / Cedar Spring       Saguache      2.6*      Baca Tract
   29        Deadman Creek                     Saguache      3.3*      Baca Tract
   30        Pole Creek                        Saguache      1.3*      Baca Tract
   31        Short Creek                       Saguache      1.5*      Baca Tract
   32        Spanish Creek                     Saguache      4.5*      Baca Tract
   33        South Spanish Creek               Saguache      2.4*      Baca Tract



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   34           Willow Creek                           Saguache        0.1*       Baca Tract
  *initial estimate only, to be determined during analysis

  Most of the Baca Tract streams originate in the Rio Grande National Forest that were evaluated
  originally, but the entire segments should be evaluates through the newly acquired land. An initial GIS
  evaluation determined the potential lengths of these nine segments, along with the 25 segments identified
  through this round’s initial analysis. This amount to evaluation of 34 segments or approximately 72 miles
  of stream segments.




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    Appendix A10 - Implementation of the Watershed Condition Framework in Forest
                                            Plan Revision



  In 2010, Forest staff was tasked with assessing all 6th-level watersheds forest-wide. These
  assessments were done using readily available data, local knowledge, and professional
  judgement. The assessments were assigned in October 2010 with a completion date of early
  2011. The basic process was summarized in a letter to Forest staff in this manner:
                      Watershed Condition Framework 6-Step Process




  Step A: Classify the condition of all of the 6th-level code watersheds on the Rio Grande National
  Forest using existing data layers, local knowledge, and professional judgment.

  Step B: Prioritize watersheds for restoration based on ecological, economic, social
  considerations, partnership opportunities, and potential benefits.

  Step C: Develop watershed action plans for the priority watersheds that identify the suite of
  essential project needed to change condition class and estimate costs.

  Step D: Implement watershed action plans. A watershed is considered to have moved to an
  improved condition class when all of the essential projects identified in Step C are completed.

  Step E: Project costs and watershed condition class will be tracked for both annual reporting and
  5-year evaluations using the agency financial management and work plan software programs.

  Step F: Monitor the effectiveness of treatment and assess if condition class was actually
  improved.




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  Watershed Condition Framework rankings can be adjusted annually as new, more accurate
  knowledge becomes available or when some event (fire, flood, and /or beetle infestation, etc.)
  changes the characteristics within a watershed such that the function of the watershed could be
  changed significantly. Additionally, every 5 years a forest-wide assessment is conducted to
  determine if any significant changes have occurred within each watershed and to determine a
  need for reassessment of a given watershed.
  From the initial assessment, three watersheds were chosen as priority watersheds for closer
  analysis and to have Watershed Restoration Action Plans (WRAP) written to address
  restoration / protection of watershed resources needs. They are included in the following table.
                         Table 1. Priority watersheds 6*h-level code and name

                          Hydrologic Unit Code             Watershed
                          130100040401               Middle Fork Carnero Creek

                          130201020201               Headwaters of Rio Chama

                          130201020202               Archuleta Creek



  Since the completion of the initial analysis some progress has been made to complete essential
  projects within these watersheds as money is available. A few watersheds were reassessed at the
  5-year mark, in the spring of 2016, in response to landscape-level disturbance (beetle and fire)
  and acquisition of more knowledge about the watersheds conditions. As yet Forest staff has not
  completed a restoration plan for any of these watersheds.
  Priority watershed has a specific meaning in the context of the Watershed Condition Framework.
  The 2012 planning rule requires the Forest Service to identify and designate priority watersheds.




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                                          Appendix B2 - Geographic Area Map




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          Appendix B2 - Summary of Terrestrial Ecosystem Integrity

  Introduction
  This report provides a summary of anticipated needs to change in the 1996 Rio Grande Forest Plan to
  address new requirements in the 2012 Planning Rule to “maintain or restore the ecological integrity of
  terrestrial and aquatic ecosystems and watersheds within the Forest.”
  Ecological integrity is defined as “the quality or condition of an ecosystem when its dominant ecological
  characteristics (for example composition, structure, function, connectivity, and species composition and
  diversity) occur within the natural range of variation and can withstand and recover from most
  perturbations imposed by natural environmental dynamics or human influence.” (36 CFR 219.19)
  The Rio Grande Forest Plan Revision Assessment (Assessments 1 and 3 Ecosystem Integrity, Systems
  Drivers and Stressors for Terrestrial Ecosystems) lists the key characteristics which define ecosystems
  within the Forest:
      •   Diversity of vegetation - amount and distribution of vegetation structural stages
      •   Landscape disturbances and patterns
      •   Connectivity and fragmentation
      •   Late successional habitats
      •   Snags and down woody material
      •   Rare communities and special habitats

  Terrestrial ecosystems within the Rio Grande National Forest include the following (approximate acres):
      •   Spruce-Fir Forest Mix (930,000 acres or 54 percent of the Forest) - Engelmann spruce, subalpine
          fir, quaking aspen
      •   Southern Rocky Mountain Montane-Subalpine Grassland (304,000 acres or 18 percent) - fescue,
          grasses
      •   Rocky Mountain Alpine Turf (192,000 acres or 11 percent) - grasses, sedges, sagebrush
      •   Pinyon-Juniper Woodland and low elevation grasslands (100,000 acres or 6 percent) - two needle
          pinyon, Rocky Mountain juniper
      •   Mixed Conifer - dry (95,000 acres or 5 percent) - Ponderosa pine most common
      •   Rocky Mountain Montane Riparian (62,000 acres or 4 percent) - riparian plants, willows, sedges
      •   Mixed Conifer - wet (43,000 acres or 2 percent) - Douglas fir most common
      •   Sagebrush Shrubland (5,000 acres) - bunchgrass, forbs
      •   Rocky Mountain Gambel Oak - Mixed Montane Shrubland (1,000 acres)
      •   Inter-Mountain Basins Greasewood Flat (100 acres)


  The Rio Grande National Forest currently has 430,000 acres in Wilderness Areas. The forest also has an
  additional 518,620 acres in 53 different Colorado Roadless Areas. Together, these areas cover about 52%
  of the 1.83 million acres on the Rio Grande National Forest. There is also an additional 22,678 acres in
  Research Natural Areas. This half of the forest is highly protected with very little human impacts and a
  high degree of ecosystem integrity.
  On the other half of the forest, there are many standard and guidelines in the amended forest plan that
  provide for the key ecosystem characteristics identified above. These were examined and led to the
  recommendations below.


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                                          Recommendations
  Snags and down wood
  There are standards in the current plan for retention of snags and down wood. These are sufficient and for
  the most part, the forest has well above the minimum amount recommended. The only exception is in the
  ponderosa pine forest type, where the current plan recommends a minimum of 3 14” snags per acre and 4­
  9 tons/acre of downed logs. Stand exam and Forest Inventory Analysis data suggest that the ponderosa
  pine forests aren’t meeting these minimums. Assessment of the minimum retention amounts, especially
  for ponderosa pine, is recommended. Adding a minimum retention amount for pinyon-juniper forests
  should also be considered. Changes may also be needed due to the changed condition in the spruce-fir
  cover type to ensure future snag levels are sufficient.

  Late-successional habitat
  Currently only about 13% of the forest is in late-successional habitats. This is no surprise given the
  recent large-scale disturbances on the forest. We expect this to increase under current plan direction, but
  future predicted levels are still less than the historic estimates of late-successional habitat, and may be
  reduced as disturbances such as large fires and insect outbreaks increase in frequency due to climate
  change.
  Based on monitoring reports, it is recommended that the definition and management strategy of late-
  successional habitat in the current plan be reviewed and modified to include estimates of current and
  desired amounts by ecosystem type.

  Diversity of Vegetation
  The assessment and published literature suggest that many ecosystems on the Rio Grande National Forest
  are within the range of natural variation. However, little is known about some of these ecosystems. The
  2013 monitoring report echoes this - “Forested lands across the Forest are generally assumed to reflect
  composition, structure, and pattern with a natural range of variability as described in Appendix A of the
  Final Environmental Impact Statement for the 1996 Revised Land and Resource Management Plan.”
  Exceptions include the Dry Mixed-Conifer type. Given the more frequent fire regime of this type, it is
  generally thought to have been more impacted by fire suppression and thus more departed from historic
  conditions. Given that past management activities and disturbance events may have shifted species
  composition by removing the mature ponderosa pine, it is recommended that in this type, restoration
  efforts are continued to move this type towards a sustainable species composition and landscape pattern
  where fires can function in a desirable manner.
  In the Wet Mixed Conifer type, modelling suggests that currently this ecosystem is highly departed from
  the natural range of variation. We believe this is due to recent fires and heavy spruce budworm mortality.
  It is recommended that this type in particular undergo further investigation.
  Although there are many standards and guidelines related to the diversity of vegetation, the 1996 plan
  doesn’t specifically describe the desired distribution of vegetation types and structural stages on the
  forest. One recommendation is to more fully describe the desired condition for each ecosystem type.

  Landscape disturbance and processes
  Current standards and guidelines regulate and limit the size of silvicultural openings. They also promote
  management of stands infected by insects or disease, aim to minimize the risk of spreading infestations,
  and encourage incorporation of insect and disease potential when planning management activities.
  Guidelines endorse the use of broadcast burning and suggest development and implementation of a


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  prescribed-fire program. One standard says to manage land treatments to limit the sum of severely
  burned and detrimentally compacted, eroded, and displaced land to no more than 15% of any land unit.
  Some plan components focus on how management should emulate the pattern, timing, and frequency of
  natural disturbances. It is recommended these plan components be reviewed and clarified. There is a
  concern about whether or not this is always desirable and whether this is consistent with other plan
  components and direction, such as the Southern Rockies Lynx Amendment.
  In addition, it is recommended that strategic fire management zones be incorporated into the forest plan to
  provide guidance on prescribed burning and allowing fires to burn for resource benefit.

  Connectivity and Fragmentation
  The current plan has some standards and guidelines related to connectivity and fragmentation. For
  instance, there is a forestwide objective to use existing roads, instead of constructing new ones and there
  are standards and guidelines about limiting connected disturbed areas, revegetation of temporary roads
  and travelways no longer needed, seasonal road closures, and restricting and limiting roads.
  As discussed in the assessments, most terrestrial ecosystems are well protected within wilderness areas,
  roadless areas, and research natural areas and have low fragmentation due to roads, railroads, and private
  in-holdings. The exceptions to this are the Southern Rocky Mountain Montane-Subalpine Grasslands,
  Pinyon-Juniper Woodlands and Low Elevation Grasslands, and Rocky Mountain Montane Riparian.
  These 3 ecosystems were found to have the most fragmentation due to roads, railroads, and private in­
  holdings and have the least protection in wilderness areas, roadless areas, and research natural areas. It is
  recommended that extra protection and attention be given to these types as a result. In addition, given the
  dominance of the spruce-fir cover type on the forest and its changed conditions, connectivity in this type
  is important and should be investigated further.
  It is also recommended that the idea of connectivity be more fully explored and better incorporated into
  plan components and direction. In essence, connectivity on the Rio Grande National Forest is still a
  knowledge gap.

  Rare communities and special habitats
  Rio Grande National Forest personnel are still considering how best to proceed on the management of
  rare communities and special habitats. Some recommendations include the consolidation of plan
  direction on rare communities and special habitats given that it is currently dispersed throughout the plan.
  It is also recommended that the high diversity potential conservation areas discussed in Assessment 1 be
  investigated further as possible designated areas.

  Other Recommendations
  It is also recommended that current plan components be reviewed and updated individually for clarity.
  They may need to be updated so that they better fit the definition of a desired condition, objective,
  standard, or guideline. All plan components should be reviewed to ensure they comply with the criteria in
  the 2012 planning rule.
  In addition, there is a need to change some plan components simply due to difficulty or infeasibility of
  implementation.




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                    Appendix B4 - Overarching Forest Plan Goals

  Protect and restore watershed health, water resources, and the systems that rely
  on them
  National forests that exist today were initially created under the guidance of the National Forest
  Reserve Act of 1891. The Act allowed the President of the United States to set aside forest
  reserves from the land in the public domain. This Act provided for wise use of the lands that
  would provide protection of timber at the headwaters of streams and reduce downstream
  flooding and provide water for irrigation in the West all summer10. Protecting and restoring
  watershed health reaffirms the Act that initiated the national forests of today.
  Opportunities would be provided to emphasize collaborative stewardship of watersheds and
  interrelated biological, economic, and social factors that affect these areas. Heathy and
  functioning watersheds contribute to overall resource health.
  Maintain and restore sustainable, resilient ecosystems
  Ecosystems are a barometer of the quality of land management practices. A natural variety of
  species, genetic composition, and ecological processes are key to providing the diversity needed
  to be resilient in the face of environmental disturbances and changes.
  Aggressively diversifying age classes and structure, seral stage, and habitat classes in the next
  planning horizon would provide many benefits including but not limited to providing
  connectivity, responsiveness to anticipated changes in climate, ecosystem services, recreation,
  increased social and economic benefits, and more.
  Actively contribute to social and economic sustainability in the broader
  landscape and connect citizens to the land
  The Rio Grande National Forest would continue to contribute forest products and tourism
  opportunities that are important to local economies and provide ecosystem services for current
  and future generations.
  We would maintain places where human influence is limited as well as protect religious, Tribal,
  and culturally significant areas.
  Opportunities would be available for individuals, partners, and organizations to be active
  participants in managing, monitoring, and implementing projects that achieve integrated resource
  management.




  10 Early Administration of the Forest Reserve Act: Interior Department and General Land Office Policies,
  1891-1897, James Muhn, http://www.foresthistory.org/Publications/Books/Origins National Forests/sec17.htm).


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                                    San Luis Valley Air Toxics Analysis 2012


                                  San Luis Valley Air Toxics Analysis




  Executive Summary:

  Analysis of the San Luis Valley using the National Air Toxics Assessment (NATA), the locally positioned
  particulate matter (PM10) monitors, and meteorological data from 2000 to 2011 resulted in no
  significant cancer or neurological risk findings. The potential for respiratory risks, though not rising
  above the hazard quotient threshold, indicated the need for a more thorough review of the data.
  Although onroad and nonroad diesel sources are contributing to the existence of diesel particulate
  matter, it appears that the focus of the CARE grantee, the San Luis Valley Ecosystem Council, when
  considering potential sources of toxic air pollution should be centered on the issue of emissions related
  to local landfills and/or analyzing the contents of local particulate matter through speciation. The first
  part of this analysis evaluates hazardous air pollutants (HAPS), the second part looks at coarse
  particulate matter (PM10.)




                                                                                              Prepared 3/16/12

                                                                                                  by Kyle Olson

                                                                            Community Air Toxics Coordinator

                                                                                               US EPA Region 8

                                                                            303-312-6002 olson.kyle@epa.gov




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                                   San Luis Valley Air Toxics Analysis 2012


  Introduction:

  The San Luis Valley, composed of Alamosa, Conejos, Costilla, Mineral, Rio Grande, and Saguache
  counties for the purpose of this analysis, is the recent recipient of an EPA CARE level 1 grant. The
  purpose of the grant is to assess the environmental concerns in the valley, and was awarded to the San
  Luis Valley Ecosystem Council (SLVEC). Although the SLVEC is investigating many alternatives to how the
  funds should be spent, this particular paper will focus only on the air pollution concerns. The model used
  to conduct the analysis is the 2005 National Air Toxics Assessment (the most recent data set),
  monitoring data is from the Colorado Department of Public Health and Environment's two monitors in
  Alamosa, and meteorological data is from the University of Utah's MesoWest database.




  Figure 1: San Luis Valley as seen from above New Mexico, markers indicate point sources in NATA.




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                                    San Luis Valley Air Toxics Analysis 2012
  National Air Toxics Assessment Modeling:

  NATA allows for the analysis to begin with EPA’s central concern: risks to human health, and to then
  work backwards from there to pollutants, emissions, and sources. This process was conducted in five
  steps.

  The first step was a risk analysis at the population tract level, reviewing the three risk categories that
  NATA uses: cancer, respiratory, and neurological. Cancer risk is broken out by pollutant origination
  sector (point, nonpoint, onroad, nonroad, background, and secondary) and none of these individually
  rose close to hazardous range. The highest total combined cancer risk was in Alamosa County, but based
  on the NATA model the EPA can conclude that the risk of developing cancer from toxic air pollutants is
  very low at this time: where a hazard is indicated at the value of 1 or above, the cancer risk in this
  particular tract was only 0.0000174, or roughly 15 possible cases of cancer for every 1,000,000 people.
  For context, the total cancer risk from air pollution in Denver’s most polluted tract is 0.000132, or 132
  possible cases of cancer for every 1,000,000 people; cancer risk in Alamosa county is approximately 9
  times lower than Denver. Therefore we can conclude that cancer risk from inhalation of air pollution is
  not a concern in the San Luis Valley at this time. The respiratory risk analysis and the neurological
  analysis didn’t result in any significant results that indicated an immediate danger to human health; the
  highest values were 0.351 and 0.025, respectively. Both of these highest values also were modeled as
  occurring in Alamosa County. Although the respiratory value is below the hazard index threshold of 1 for
  all pollutants combined, some individual pollutants contained in the model appeared to have some high
  readings , warranting further investigation. Cursory analysis indicated the following about the highest
  hazard index tract, located in the city of Alamosa:


                                                Alamosa Cty, CO
                                            FIPS 08003, Tract 981 600
                                           flwy toll I espiratoiy HI = 0.4
                                            less than 1 % point sources
                                              28% nonpoint sources
                                           12% onroad mobile sources
                                           5% nonroad mobile sources
                                                  2% background
                                                   53% secondary
                                             Pollutant contributions:
                                                  65%Acrolein
                                                17%Acetaldehyde
                                                13% Formaldehyde


  Based on the respiratory concerns, the analysis next considered three specific emissions categories
  contributing to hazardous air pollutants. These include onroad, nonroad, and nonpoint sources, again at
  the population tract level. Again, San Luis Valley residents are fortunate in that none of these particular
  sectors, when analyzed for specific pollutant contributors (for example, modeled gasoline combustion
  emissions related to potential respiratory risk) yielded any outstanding results. The nonpoint source
  category included risk data for boilers and process heaters, non-wood heating, wood and wood residue
  heating, commercial cooking, commercial and non-commercial use of solvents, paint stripping


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                                             San Luis Valley Air Toxics Analysis 2012
  operations, halogenated solvent cleaners, gasoline distribution and storage, open & prescribed and
  managed burning, and portable fuel containers. Notably missing from the NATA model for the San Luis
  Valley are the following categories: stationary reciprocating internal combustion engines, pesticide
  application, landfills, and agricultural field burning. It is unfortunate that these gaps exist in the
  “nonpoint emissions categories” portion of the model, as they have a higher probability of being central
  hazardous air pollution concerns for this area. To find emissions from these sources requires manual
  analysis of the data within the model.

  The third step was to consider individual hazardous air pollutants. Because there are 187 air toxics and
  diesel PM, it is not possible to query every pollutant and analyze the table resulting from each.
  Therefore, a total emissions table was downloaded from the database and pollutants ranked by tons per
  year within the following categories: onroad, nonroad, major point, area point, nonpoint, rail,
  prescribed burns, and wildfires. Any pollutant that rose above the emissions threshold of 10 tons per
  year (TPY) was selected for further analysis.


                                                                       Sum of         Sum of                                     Sum of     Sum of
                                                                       2005           2005            Sum of     Sum of 2002 2005           2005
                                             Sum of 2005 Sum of        PRESCRIBE NONROAD- 2005                   AREA            AREA       MAJOR
   Row Labels                                WILDFIRES      2005 RAIL D BURNS         OTHER           ONROAD NONPOINT            POINT      POINT
   2,2,4-Trim ethyl p e nta n e                     0.000      0.003          0.000      104.S33        34.320           2.970      0.000          0.000
   Benzene                                         13.3S4      0.009          0.000          23.535     29.303          23.601      4.332          0.000
   Ethyl Benzene                                    0.000      0.007          0.000          21.051     14.713           0.674      1.333          2.946
   Formaldehyde                                    31.77S      0.147          0.000          13.933     11.433          21.233      1.011          0.000
   Hexane                                           0.202      0.019          0.000          17.473     11.007           5.519      2.144          0.000
   Methanol                                         0.000      0.000          0.000           0.000      0.000          17.925      0.000          0.000
   m-Xylene                                         0.000      0.000          0.000          03.014     41.005           0.000      0.000          0.000
   o-Xylene                                         0.000      0.000          0.000          22.003     15.014           1.699      0.000          0.000
   Toluene                                          7.013      0.011          0.000      307.403       100.529          13.351     56.939          2.323
              ...Only 9 of ths 187HAPS ars includsd in this tabls, othsr small rsadings account for ths Grand Total discrspancy...
   Grand Total                                     73.323      0.340          0.000      599.549       274.595       124.290       33.412      31.317


  Table 1: NATA pollutant analysis by category to determine 10 ton per year (TPY) emission threshold.
  Nonroad, onroad, and area point sources are highlighted in the Grand Total r^w because of the potential
  for the CARE grant to address these sectors.

  The following pollutants were captured in this analysis: 2,2,4-Trimethylpentane, Benzene, Ethyl
  Benzene, Formaldehyde, Hexane, Methanol, Xylenes, & Toluene. Some additional pollutants were added
  to this list due to their toxicity and common occurrence across the rest of the country, these included:
  Acetaldehyde, Acrolein, 1,3-Butadiene, and Diesel PM. All four of these pollutants occurred in the San
  Luis Valley with values of 8.63 TPY (Acetaldehyde), 5.23 TPY (Acrolein), and 4.99 TPY (1,3-Butadiene),
  with Diesel PM represented on an exposure concentration rather than TPA scale.

  The fourth step considers the sources of the identified pollutants. The highest occurring hazardous air
  pollutant (HAP) was Toluene. Nonroad and onroad sources contribute 307.4 and 100.5 TPY, respectively.




                                                                                                                                             pg- 4

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                                              San Luis Valley Air Toxics Analysis 2012
  It is also emitted from landfills in the valley at 56.9 TPY, far and away the most common toxic air
  pollutant from a single, stationary source in the San Luis Valley.

  However, pollutants from stationary sources emit approximately 124.29 TPY, while onroad sources emit
  275.6 TPY and nonroad an estimated 599.55 TPY. Although it is easy to identify the nonroad sources in
  an agricultural community, it is much more difficult to address the pollutant problem from this source
  without spending a lot of money to replace or retrofit high-emission vehicles. The EPA’s Diesel Emissions
  Reduction Act does have an annual grant competition which would be highly beneficial for the San Luis
  Valley Ecosystem Council to consider applying for, but to be effective will mean partnering with the
  farmers in the valley and convincing them to volunteer their vehicles for retrofits or replacements. For
  more information on this grant program please visit: http://www.epa.gov/diesel/grantfund.htm. You
  can also speak with Kyle Olson in EPA Region 8 about the program.

                                   HAP Etmiision 5 from Station ary Sources in the San Lu ii Valley- NATA 2005

          R-dw Labels                                                                              0 Sum of EMISSIONS TPY
          l±l Dry Cleaning Facilities: Perchloroetlrylene                                                                   1 .■08943
          H-Gasoline Distribution (Stage 1)                                                                          1.215685001
          0 Industrial/Commercial/ Institutional Boilers & Process Heaters-gas                                       0.024156384
          OMunicipal Landfills                                                                                       34.0370038&
               1,1,2,2-TetrachlQrDethane                                                                             o.&g7&&37gg
               1^4-DichlDrc-benzene                                                                                   o.ii5627gg
               Acrylonitrile                                                                                           1.25B-D4B26
               Benzene                                                                                               3.247g5'DB6B
               Carbon Disulfide                                                                                      0.165390351
               Carbon Tetrachloride                                                                                  0.002304919
               Carbonyl Sulfide                                                                                      0.1102 5'D371
               Chic-rcbenzene                                                                                        O.1O54-D23B5
               Chloroform                                                                                            O.-D1341576B
               Ethyl Benzene                                                                                         1.B331OB541
               Ethyl Chloride                                                                                        O.3O2OBb'^&3
               Ethylene Di bromide                                                                                   0.000703731
               Ethylene Dichloride                                                                                   0.151974208
               Ethylidene Dichloride (l^l-Dichloroethane)                                                            O.B7-OgB365B
               Hexane                                                                                                2.12O7g262B
               Mercury a Compounds                                                                                   0.000219413
               Methyl Chloride                                                                                       O.22BB32174
               Methyl Chloroform                                                                                     O.23gB76g51
               Methyl Isobutyl Ketone                                                                                O.7O1555B7g
               Methylene Chloride                                                                                    4.549614'924
               Propylene Dichloride                                                                                  O.O76172B&B
               Tetrachloroethylene                                                                                   2.316B5ig27
               Toluene                                                                                               56.93920002
               Trichloroethylene                                                                                     1.387729152
               Vi nyl Chloride                                                                                       1.718313582
               Vinylidene Chloride                                                                                    0.07262-052
               Xylenes (Mixture ofo, m^ and p Isomers)                                                               4.B11412B74
          0 Not a MACT process                                                                                       32.11144334
          ©Stationary Combustion Turbines - Natural -Gas                                                             0.124500003
          ©Stationary Reciprocating Internal Combustion Engines - Natural Gas                                                 1.125
          ©Iblanhl
          Grand Total                                                                                                119.7231356



  Table 2: Emissions sources displayed, with Municipal Landfills showing specific pollutants. 100% of the
          Toluene from area poi^t sources is emitted from landfills, making toluene at landfills a less
          complex emissions problem to consider.


                                                                                                                                        pg- 5

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                                   San Luis Valley Air Toxics Analysis 2012
  While mitigating pollution from mobile sources may address more tons of pollution, the concern
  remains that the sources are mobile, and therefore may not always be in the valley. Certain types of
  nonroad sources, of course, remain on the farm or site, depending on the industry, but stationary
  sources can be a better way to ensure that grant funds benefit the valley in the long run. Table 2, above,
  demonstrates that to total area point emissions of Toluene are emitted from a single source. Given the
  high toluene NATA modeling results from landfills, it is recommended that a potential air toxics
  approach may compliment a more comprehensive solid waste project based in the San Luis Valley.




  Statistical Evaluation of Meteorology & Course Particulate Matter (PM10) Monitoring:

  There are two PM monitors in the San Luis Valley, both in Alamosa. One sits at 208 Edgemont Blvd., the
  other at 425 4th St; both are operated by the Colorado Department of Public Health and Environment
  (CDPHE.) Data from these monitors was evaluated from 1/1/2000 to 10/27/2011. All days that exceeded
  the National Ambient Air Quality Standard (NAAQS) for PM10, that is: 150 micrograms per cubic meter
  (ug/m3) averaged over a 24 hour period, were pulled from the dataset and compared to meteorological
  data from the MesoWest database.

  The purpose of the evaluation is to determine, statistically speaking, whether the days with high dust
  readings can be explained by high wind situations, or whether there may be another source of PM10
  that San Luis Valley citizens should be aware of. The meteorological data was evaluated on all 22 days
  with measurements that exceeded the threshold, and a correlation coefficient was calculated for the
  average and the median gust miles per hour (MPH) and the average and median wind MPH. The highest
  correlation was between median wind MPH and PM10 monitored level, with a value of 0.425 (0 would
  indicate no correlation, 1 would indicate a high correlation.) This value implies quite a bit of random
  variability, so a test for significance was performed using the following formula:




  Where r=0.425 (correlation), n=22 (sample size), and calculated t=2.0997. In order to be at least 90%
  sure that these two variables were related the t value would have to exceed 1.725 (student’s t critical
  values table, degrees of freedom as 22-2=20.) Based on the sample size, a 2 tailed test for significance
  demonstrated that there is moderate evidence to suggest that wind speed can be associated to high
  PM10 days (rejected null hypothesis.) Lastly, the calculated p value was 0.02397, a low enough value to
  indicate a good probability of the test statistic being significant (threshold being below 0.05.)




                                                                                                       pg- 6

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                             Median Wind MPH/day & PMIO




                                                 PM10




  Figure 2: Scatter plot revealing moderate correlation between median wind speed and measured PM10.

  This finding relieves some of the dust creation burden that may have been inappropriately placed on
  mobile or combustion sources, but still doesn't solve the health problem of local residents inhaling high
  amounts of particulates on days that exceed air quality thresholds. The PM10, in other words, is not
  defined by any well-studied source (like combustion), so it is unclear what comprises the dust being
  blown around the valley.



                             Distribution of Exceedences by Month

                                                                                  ■ February

                                                                                  ■ March

                                                                                  ■ April

                                                                                  ■ May

                                                                                  ■ June
                                                                                  - October
                                                                                  ■ December




  Figure 3: PM10 exceeded 150ug/m3 in Feb, Mar, Apr, May, June, Oct, and Dec at least once between
  2000 and 2012, the above pie chart shows the distribution of occurrence within those months (e.g. most
  exceedances occurred in April.)



                                                                                                      pg. 7

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  The figure above is a summary analysis of the time of year the monitors record values exceeding 150
  ug/m3 of PM10, and the percent of the readings that fell into each month. As is evident, 41% of the
  exceedances occurred in April over the last 11 years. Given the finding above that PM10 can be linked to
  windy days, it is tempting to assume that April must be an exceptionally windy month. However, of the
  months with exceedances, April has average wind speeds (19.4 is the average MPH in April, 19.7 MPH is
  the average over the entire year), and has a median wind gust speed of 32.7 MPH, the lowest measured
  speed of gusts of the seven months in question (see figure 4, below.) This begs the question of whether
  there may be some other activity occurring in the valley in April that stirs up the dust, and whether the
  dust may have herbicides or pesticides comprising it. On the other hand the dust may not be comprised
  on anything toxic at all, but because the samples taken at the two PM10 monitoring stations are not
  speciated, the composition of the particulate is unknown. For this reason it may benefit the community
  to pay for speciation of the samples, especially in April, to determine the content of the course
  particulate matter being inhaled.


                                        Median Gust MPH




  Figure 4: Although 41% of exceedances of the PM10150 ug/m3 threshold occur in April, it is the month
  with only average wind speeds and the lowest measured gust speeds.




  Conclusion:

  Based on the NATA model there is no immediate risk of cancer or neurological health in the San Luis
  Valley at this time. Respiratory risk, as calculated by the model, also doesn’t surpass the hazard quotient
  threshold, although there does appear to be 2,2,4-Trimethylpentane, Benzene, Ethyl Benzene,
  Formaldehyde, Hexane, Methanol, Xylenes, & Toluene in the area that could perhaps be addressed by
  the grantee. Of these pollutants, Toluene was the pollutant that occurred in a significant quantity from a
  single source, making it an easy target for the grantee to consider. The emissions sources of the other
  pollutants are either from mobile sources (which can be addressed using the EPA’s Diesel Emissions

                                                                                                       pg- 8

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                                    San Luis Valley Air Toxics Analysis 2012
  Reduction Act program- see page 5) or are from multiple sources, making them much more difficult to
  mitigate in a single project.

  If nonroad and onroad sources give the grantee pause for concern, then the EPA has a very successful
  National Clean Diesel Campaign strategy authorized by the Diesel Emission Reduction Act that is proven
  to mitigate harmful air pollutants from heavy duty diesel sources. CARE funding can be used to fund
  these strategies, as well as separate funding that the grantee can compete for when the 2012 Request
  for Proposals is released April 9th. This strategy will require the SLVEC to partner with local farmers to
  volunteer their fleets for retrofit, upgrade, or replacement.

  Evaluation of PM10 monitoring data from 1/1/2000 through 10/27/2011 demonstrated that the PM10
  in the valley has exceeded the NAAQS threshold of 150 ug/m3 22 times. All of these exceedances
  occurred on high wind days, so they did not trigger a need to categorize the San Luis Valley as a non­
  attainment area for PM10. Nevertheless, residents are still breathing in the particulates regardless of
  the regulatory designation, so it is a potential health concern to consider. The data indicated that 41% of
  these exceedances occurred in the month of April, even though April is not to most windy month, as
  measured by the daily average wind speed and median gust speed. Additionally, the PM10 samples from
  the monitors in the area are not subjected to speciation, so it is not clear what the PM10 is composed
  of. For this reason it may be useful for the San Luis Valley Ecosystem council to consider using future
  funds to pay for sample speciation, especially in April, to rule out the possibility of toxicity in local PM. If
  the dust is generated by local agricultural activities it may be useful for the valley to consider
  establishing a set of Best Management Practices (BMPs) to help the local agriculture sector avoid
  contributing to PM10 on high wind days or to consider the potential toxicity of pesticides and/or
  herbicides used on the fields.




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  Comments on draft Assessment 13, Cultural and Historic Resources

    We believe this draft assessment adequately captures existing information regarding
  Cultural and Historic resources.

    We agree with the statement on page 3, the table on page 9, and the statement on page
  18 indicating that the majority of the planning area (~82%) has not been inventoried for
  cultural and historic resources. Since many sites or resources have not been discovered or
  properly documented; it is likely they are experiencing unknown damage, destruction and
  negative influences by both permitted and unauthorized activities and/or other uses
  occurring on the forest.

  •        There are Misspelled words and unedited sentences in several places in this
  assessment.
  •        This section could use a glossary for technical terms like “lithic,” “B.P.,” and
  “debitage.”
  •        The RGNF may harbor some unique high-elevation sites of interest which require
  greater levels of protection, and efforts to upgrade sites should be made throughout the
  forest wherever possible.
  •        The stories about damages or destruction of historic sites due to the lack of
  adequate planning for management treatments, lack of monitoring, lack of protective
  barriers, or other intrusions gave us great concern. This includes poorly controlled
  prescribed burns, uncontrolled cattle grazing, vandalism, motorized off-road impacts, and
  illegal land uses.
  Additional staff is needed for monitoring and enforcement personnel to protect and
  safeguard sensitive historic sites and areas.
  •        We are aware of efforts made in previous administrations to cut tax support, cut
  personnel, and force a commercial operation of the forest based on its own cash flow on
  whatever resources can be found, but we have concern about the efforts being made by the
  Denver Botanical Gardens and Kansas University to manage osha as a commercial
  harvested product (page 12) and the potential precedence being set to privatize public
  assets. This type of partnership has to be managed carefully and with the greatest of
  oversight. This potential enterprise needs to benefit public interest first.

    We strongly believe the following statement in reference to the Fremont Historic Special
  Interest Area on page 11 must be modified:
      • “The area needs to be surveyed for the undocumented camps so that some of the
         acreage can return to the timber base.”
      • It is presumptuous and pre-decisional to state “so that some of the acreage may
         “return to the timber base”. A more accurate survey may not modify the boundary
         of this Special Interest Area, or it might suggest an increase in its size. Any lands
         identified for removal from the Special Interest Area could be proposed for a
         management prescription which is not related to timber, and may not be considered
         as part of the timber base.




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  Also, this SIA is near timberline. Logging should not occur in these areas, especially not
  commercial timber production.

  Table 6. Conditions and trends influencing the condition of, or the demand for, cultural and
  historic resources (positively and negatively)
     We recommend the modifications described below be made to Table 6
  “Trends/Conditions and influences" on page 16 and 17.
  Since that information was gleaned from a public meeting, it may only reflect the opinion of
  those in attendance. While we agree with most of the information presented and believe it
  to be factual, we do not agree with all the information and feel that it is incomplete.

  "Grazing and ranching /Can protect important sites if ranchers are informed."
      • This should be modified to state that grazing and livestock needs to be monitored
         closely because it can also negatively impact sites and resources.
  Page 15 of this assessment provided an example of this.
  Since grazing allotments cover most of the planning area, and most of this land has not
  been inventoried for cultural and historic resources, it is possible that grazing animals are
  currently inadvertently negatively impacting unknown or undocumented sites and
  resources.

  Under USFS Management Page 16
  "Excessive rules and regulations/ Hamper current lifeways (e.g. grazing, resource gathering)".
  The Influences should be modified to also state:
     • “Educates the public; helps preserve and protects resources and permits law
         enforcement action against violators.” The term “excessive” is subjective and not
         defined.
     • There are individuals who believe most rules and regulations are excessive while
         others believe there are not enough rules and regulations. It must be emphasized
         that most rules and regulations already in place are valuable, and they contribute to
         the preservation and protection of cultural and historic resources.

  "Roadless designation/road closure/ Impairs access; concentrates use in other areas.
  They can also protect sensitive archaeological values.”
     • We recommend that the Influences be modified to state “Impairs motorized access
         on roads”. Roadless areas in and of themselves do not impair general human access.
        They clearly limit only one specific type of transportation access via roads, but
        permit most other forms of access.
     • We also recommend that the second sentence be modified to state:
         “Can also protect archaeological, cultural and historic sites, resources and values.”
        This change is more inclusive of the protection which roadless areas may offer.

   "Bureaucracy/ Reduces ability to clear archaeological sites in timely manner; requires
  frustrating NEPA process."
      • The word “frustrating” must be removed from the Influences. Use of this word is a
          subjective judgement that is not defined. Many individuals value the NEPA process,




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         as it helps guarantee that the public is allowed input into the decision making
         process, and also presents information to the line officer on how best to protect
         resources.

   "Lack of stajJ/ Causes inadequate monitoring and water maintenance."
      • This should be modified to state as an Influence: “Causes inadequate monitoring,
         enforcement of regulations and water maintenance”.

  "Decreased logging allowances /Increases fire risk to historic areas and sites."
     • The Influences should be modified to also include “Reduces risk of known and
        unknown site damage and destruction.”

  "Decreased grazing allotments /Negative impacts to economy and access (via loss of stock
  trails)."
      • The Influence should be modified to also include: “Reduces risk of known and
           unknown site damage and destruction from stock use.”

  "Bark beetle epidemic /Increases fire danger, increases wood gathering opportunities, opens
  new rangeland, hampers trail access". The evidence as to whether or not the beetle
  epidemic increases fire danger is inconclusive, and leaning toward an actual decrease in
  fire danger. This part of the statement should be removed.
      • We recommend the addition of the following influences:
          “May expose or conceal undiscovered resources, which can result in protections or
          negative impacts”.

    We suggest the addition of the following in the USFS Management section in Table
  6:

  Condition or Trend - "Allowances for off route travel by motorized vehicles”
  Influence- “Can negatively impact, damage or increase vandalism to known and unknown
  sites”.
  Dispersed motorized camping, off route game retrieval and firewood collecting all permit
  legal use of motor vehicles off of designated routes. It can be difficult to see and/or avoid
  artifacts obscured by vegetation or terrain when driving a vehicle off road. Unexpected or
  unanticipated noise from motor vehicle use can negatively impact desired experiences.
  (See below.)

  Condition or Trend - “Increased casual or hobby mining”
  Influence- “Digging, sluicing and excavation can negatively impact, damage or destroy
  sites.”

  Condition or Trend- “Increased anthropogenic noise"
  Influence- “Can negatively impact desired historic or cultural experiences”
  The acoustic environment has a significant impact on visitor perceptions of a location or
  area.




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  Noise that is not wanted or inappropriate can detract from desired experiences at cultural
  or historic sites.

  Page 18 states that the Rio Grande National Forest is developing a programmatic
  agreement for a project on the Forest with the State Historic Preservation Office that “that
  may become the template for Colorado Forests. The programmatic agreement will allow
  managers to streamline the NEPA process while addressing specific steps in order to
  remain in compliance with Section 106 of the NHPA.”

  Since every project is different, we caution the RGNF about using an agreement for one
  project as a template on any other projects. Also, “streamlining” NEPA can be a code word
  for shortcutting, i. e., not taking the time to address issues as required by the statute and its
  implementing regulations. While we are in favor of making the review process work more
  efficiently, any programmatic agreement must ensure that all proper steps are taken to
  fully disclose impacts to cultural and historic resources and provide mitigation for any
  damage to them.




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          Comments Relating to RGNF Draft Assessment 7 - Ecosystem Services

  As you are aware from our attendance at the 20-year plan assessment meetings throughout
  the valley, we are advocating Forest Service adoption of ecosystems, ecosystem processes,
  ecosystem integrity, and ecosystem services in all forms as the major instrument for
  evaluating conditions, formulating compatible priorities and policies, and ensuring that
  management prescriptions are being carried out to ensure protection of these resources.

  Please be assured that we are immensely appreciative of the RGNF’s leadership role among
  peers in addressing its planning responsibilities and conducting a well-performed and
  inclusive planning process. We cannot, however, accept the notion that the RGNF is
  passing up the opportunity to put the ecosystem priorities in place for the next 20 years,
  and believe there is still time to make the necessary revisions as recommended in the
  balance of this paper.

  Good Job, But Not Enough Priority

  We believe the RGNF did a great job of describing and differentiating the basic types of
  ecosystem services, and cross-referencing with other draft sections of the assessment. But,
  the ecosystem discussion is treated merely as just another chapter in the plan contents
  (and “Assessment 7” at that), without any sense of priority and deal-making influence that
  ecosystem analysis should have in ranking the relative importance of the various
  ecosystem services which are being promoted and where the majority of attention and
  resources is being placed.

  It seems like all or most of the ingredients for an argument of ecosystem priority are there,
  but overly subordinated or disguised in the narratives and finally included almost as an
  afterthought. This also places a burden upon the reader to hunt up all references and
  understand the full collective impact of the ecosystem connections and activity limitations.

     •   We do recognize the chapter on Ecosystem Integrity as number one in the draft
         numbering order, but we think having this follow Ecosystem Services in the number
         1 position would make a stronger statement.

  We are also wondering why in all of this the 2012 Planning Rule --- the quintessential
  mandate and command to the Forest Service for incorporating ecosystem consideration in
  its management decisions in a manner equal in power and force to the time-worn mantra
  of “multiple use” --- does not even warrant the slightest mention?

  “There is no existing forest plan direction specific to ecosystem services." Really?

  To us, the forest plan direction based on the 2012 Planning Rule is in itself sufficient
  direction for the forest systems to design plans specific to and compatible with area
  differences.




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     •   In our paper dated June 29, 2015 and entitled “Report and Findings on Ecosystem
         Management Priorities: A Request for Integration in Forest Assessments and
         Planning,” we researched numerous reports and studies on the marvelous scientific
         pursuit of defining and describing the concept of ecosystems and ecosystem services
         for thoughtful consideration and practical use in forest management. Hearing no
         comment from the RGNF on this gifted effort, we would encourage a possible second
         look by planning staff.

  Briefly, contents of the June paper can be reviewed and include ---
      • Provisions in the economic framework of the 2012 Planning Rule are presented as
          the starting point of the report and reference to the official language contained in
          the new law with regard to the ecosystem analysis and protection priorities.
      • We go beyond the Millennium four categories of ecosystem services and examine
          extended definitions to create a better understanding of all the nuances and
          implications for policy.
      • We were intrigued by some of the pioneering efforts to quantify the value of
          ecosystems, and reviewed past attempts to monetize ecosystems in dollar terms.
      • Obligations of the RGNF under Environmental Justice provisions which apply to our
          low-income, high-minority plan area were brought to management attention (which
          have been addressed in the draft assessments).
      • Much can be learned from how other countries are addressing ecosystem science,
          and included the concept of “natural capital” working in Europe which has already
          been advanced to policy level.
      • We reference the Deschutes NF study which sees the ecosystem requirement as a
          science-based means of resolving conflict between various multiple users by
          selecting those which best sustain the forest eco-structure.
      • As an attempt to understand the Forest Service approach to ecosystem assessment,
          and develop an appreciation for the technical expertise incorporated in its guidance,
          we included whole parts of the Management Handbook in Chapter J. on the
          evaluation of ecosystem integrity, key ecosystem characteristics, disturbance
          regimes, and system drivers and stressors.
      • To further enhance our understanding of the technical ecosystem processes and
          standard management approach, we found a Canadian release on the guidelines for
          ecological restoration in British Columbia very helpful, and included selected
          portions for our report.
      • Not satisfied with the lack of information on how to assess increasing motorized
          recreational use, we discovered the analysis presented in a paper entitled
          “Unmanaged Motorized Recreation.”
      • The need for assessments to include specific reviews on situations and
          developments which we believe will require additional ecosystem protection
          strategies is also addressed in one of the chapters.
      • We also include a long list of terms and definitions and an addendum on impacts
          and benefits of the RGNF from a purely economic perspective as contrasted to a
          focus on ecosystems.




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  Should we be satisfied with the RGNF “monetary/non-monetary" dichotomy to
  describe the values of ecosystem services?

  In the RGNF draft we are led to believe that only key services directly related to monetary
  value such as recreation, timber, and water can be monetized, and those such as cultural
  heritage and biodiversity cannot. But our reviews revealed several pioneering efforts
  being made to estimate values for the benefits we are receiving from the forest where
  trading markets have not been established, but are essential to the health of the forest and
  human well-being.
  Shortly after submitting our June 29 report, a very remarkable effort along these lines was
  brought to our attention by The Wilderness Society on a study prepared by Key-Log
  Economics to provide concepts, estimation, and application to national forest planning in
  North Carolina, and this was also shared with RGNF planning staff. Entitled Ecosystem
  Services in the Pisgah-Nantahala National Forest Region, it covers most of the points
  mentioned in this response paper, investigates and explains ecosystem service concepts in
  greater depth than we have seen elsewhere, and provides estimates of the hard-to-get
  values based on the benefits transfer method.

  Through a series of data collections and calculations, researchers were able to apply this
  methodology to establish ecosystem service values on the following elements ---
     • Food
     • Raw materials
     • Water supply
     • Biological control
     • Carbon sequestration
     • Climate stability
     • Disturbance prevention
     • Gas regulation
     • Soil retention
     • Waste treatment
     • Water regulation
     • Aesthetic information
     • Recreation
     • Soil formation

  In our opinion, a ground-breaking contribution of this magnitude cannot be denied, and
  every effort should be made to incorporate a similar framework for planning by the RGNF.

  Summary Recommendations

  Again, we applaud the RGNF in its efforts to address the complex arena of science and
  interpretations surrounding the study of ecosystem services and their implications for
  planning, but would recommend:
      • a much greater commitment by the agency to incorporate the mandate for
         ecosystem analysis into practical management use and as a primary decision­



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         making tool. We have been forewarned from our review of the Deschutes NF and
         other studies that such a transition requires persistence and patience to take hold
         within the staffing culture, but is greatly appreciated when the concepts become
         fully absorbed and the advantages of new information and perspectives are put into
         place to assist management in facing an increasing level of challenges to maintain
         and improve sustainability of the forest.

  To this end, we offer the following recommendations to edit, add to, or revise portions of
  the Ecosystem Services draft as constructive advisement in order to strengthen its impact
  in the assessment process and reflect serious commitment on the part of the RGNF to
  ecosystem analysis as the prime tool for decision making ---

     •   Advance the Ecosystem Services Draft Assessment order from number 7 to number
         1.
     •   Acknowledge and define Forest Service responsibilities with regard to ecosystem
         services in the 2012 Planning Rule, and how the intent of this law is being
         incorporated into the planning and implementation process for the next 20 years.
     •   Review and acknowledge the Pisgah-Nantahala NF study to estimate monetary
         values for all forms of ecosystem services and processes, and affirm the intent to
         keep abreast of research advancements with the ultimate goal to apply a similar
         approach and methodology to develop estimates for the RGNF.
     •   Acknowledge and incorporate expanded definitions of ecosystem services and
         related terminology from the Pisgah-Nantahala NF study as may be useful or
         feasible.
     •   Acknowledge conflicts between various forms of recreational use such as motorized
         vs non-motorized use and variances on the degree of impact to ecosystem integrity
         and processes needed to maintain or improve forest sustainability.
     •   Explain how the adaptive management approach can be used in conjunction with
         ecosystem analysis to produce desirable management outcomes.

  We would welcome the opportunity to discuss Ecosystem Services with Planning Staff at
  your earliest convenience.




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         ASSESSMENT 10 - ENERGY, MINERALS, AND GEOLOGIC HAZARDS

  This assessment contains relevant information on the resources listed in its title, but we do not
  believe the analysis here is complete.

  Transmission Corridor, Page 7
    There is no mention of the BLM planned upgrade of transmission capacity over Poncha
  Pass planned by Xcel Energy, in cooperation with Tri-State Generation and Transmission.
  Two lines have been approved for upgrade from a 69 kv to a 115kv line. In reaching this
  decision, the energy companies believe it will increase reliability and redundancy (since
  the lines are more than 2 miles apart), thus technically creating a transmission loop. This
  decision to upgrade by the energy companies needs to be reflected in this assessment.

  In the analysis of oil and gas, the assessment states:

       More than 140,000 acres of mostly National Forest System land were
       nominated for lease in 2008 and 2009, but were deferred primarily because the
       BLM needs to conduct a leasing analysis on National Forest System lands.

  Page 8. It would be beneficial to show where these potential areas are located. Also, what
  specifically is the status of the “leasing analysis” being done on national forest lands?
  Is this an analysis of what lands within a specific area will be considered suitable for
  leasing?
  Under the Federal Onshore Oil and Gas Leasing Reform Act (FOOGLRA), 30 U.S.C. 181, it is
  clearly the responsibility of the Forest Service to do this analysis. See also 36 CFR
  228.102.2(c) and (d).

  Will the forest-wide oil and gas leasing suitability analysis done for the previous
  forest plan be updated? Assessment 10 doesn’t directly state yes or no.
  It does say the following:

       While industry has expressed interest in exploring for oil and gas in the upper Rio
       Grande, it is unknown whether there are economically recoverable oil and gas
       deposits below lands managed by the Rio Grande National Forest.

  Pages 3, 8. A deeper analysis is needed to determine:
  a) if recent advances in technology, such as hydraulic fracturing and horizontal drilling,
  have made or could make oil and/or gas more economically recoverable?, and
  b) what market prices for oil and gas might encourage lease nominations and exploration
  by industry?



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  In any case, the previous leasing analysis should be referenced in the assessment and made
  available to the public.

     •   The agency must also analyze the possible impacts of leasing and potential
         subsequent development of oil and gas on national forest land within the planning
         area. It must not delegate this to another agency.

  Finally, there is no mention in this draft of reviewing the No Surface Occupancy
  stipulation and what lands may become available for this designation due to changes in the
  management prescription or re-designation of Special Interest or other types of areas.

  Under “Noncommercial Mineral Collecting Activities”, recreational mining is
  appropriately discussed (p. 9). However, there is no discussion of trends in such use, or
  whether current regulation and permitting (where applied) is sufficient.

  It also implies that casual use is allowed in wilderness:
       • We would like to see clarification and direction regarding the possible permitting
           process allowed for casual collecting within the Rio Grande Forest wilderness, if that
           activity is currently allowable.
       • We strongly recommend against collecting activity within wilderness.

  This Assessment must consider the increase in casual rock and mineral collecting, and the
  potential impacts this activity can have.

  The popularity of recreational, personal, hobby and/or casual mineral and rock collecting is
  increasing statewide and nationally. The price of gold has increased to more than 4 times
  its value at the time of the previous Forest Plan in 1996, providing extra incentive for gold
  prospectors. The demand and value of rocks used for decorative and functional purposes
  (landscape boulders, flagstone) has also increased.

  Since the value of gold and certain rocks and minerals has increased tremendously, the line
  between commercial and non-commercial collecting is not clear. Recreational, casual
  small scale collectors can and do benefit from the materials they collect from forest lands.

  We are not sure if the Recreation Assessment will cover casual rock and mineral
  collection, so we will discuss it here also.

  Causal rock and mineral collection on the Rio Grande is considered in numerous
  documents.



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  The 1996 Forest Plan at III-3 contains the following Standard:
  “Recreational panning, sluicing, and dredging shall be allowed outside Wilderness where
  such activities do not interfere with the rights of mining claimants protected under the
  1872 Mining Law, as amended. These activities shall be evaluated on a case-by-case basis,
  to determine if an operating plan is needed, by the authorized Forest Service official.”

  Regulations at 36 CFR 228.4 (a)(1) requires a notice of intent to be filed by any person
  proposing to conduct operations which might cause significant disturbance of surface
  resources except when
   “(ii) Prospecting and sampling which will not cause significant surface resource
  disturbance and will not involve removal of more than a reasonable amount of
  mineral deposit for analysis and study which generally might include searching for
  and occasionally removing small mineral samples or specimens, gold panning, metal
  detecting, non-motorized hand sluicing, using battery operated dry washers, and
  collecting of mineral specimens using hand tools”.

  A file "MINERAL, ROCK COLLECTING AND METAL DETECTING ON THE NATIONAL FORESTS"
  (available on the Rio Grande Forest website
  (http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5261774.paf) states
  “Generally, most of the National Forests are open to recreational mineral and rock
  collecting, gold panning and prospecting using a metal detector. This low impact, casual
  activity usually does not require any authorization^ “Normally, any gold found can be
  removed and kept. If the removal of the gold, rocks, or minerals might cause disturbance of
  surface resources, beyond digging a small shallow hole, a NOI may be required.”

  Words in the above regulations such as “significant”, “reasonable”, ” small”, “shallow” and
  “may” are ambiguous and open to individual interpretation. The line between casual
  collecting and collecting which requires a Notice of Intent is not clear. Regulations
  regarding these activities on BLM lands are different.

  This ambiguity, combined with the increased and ambitious collection of rocks and
  minerals, has resulted in unregulated collection activity which results in resource damage.
  Collectors are moving large quantities of material by digging pits and gouging out
  streambeds or banks to actually removing smaller amounts of valuable rocks or minerals.
  They are confused about the regulations for casual collecting, including:
  a)where casual collection is permitted or prohibited;
  b) when a notice of intent is required, and/or
  c) how much material they are allowed to move or remove.




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     •   We suggest that additional language be added to the Forest Plan to clarify when a
         notice of intent must be filed, where casual collecting is not allowed, how much
         material can be moved and removed.

  In order to limit confusion and better manage casual collecting, we suggest the following be
  added to the Standard at III-3:
      • " Recreational panning, sluicing, dredging and casual rock and mineral collecting is
         statute dependent and a notice of intent is required near (% mile of) any designated
         Wilderness Area; Wild and Scenic River or waterway under consideration for this
         designation; within any Research Natural Area or Special Interest Area; within any
         area identified as critical habitat for any Threatened or Endangered Species and
         within any area listed or eligible for the National Register of Historic Places.’

  The assessment provides a map of abandoned mines (p. 11, Figure 2).
  This map shows a large number of such mines, with concentrations near Creede,
  Summitville area, and Bonanza. However, there is no further information on whether any of
  these mines have been reclaimed, nor any prioritization of needed work. (See p. 9.)
     • Further information on hazards at abandoned mines should be in the assessment.
     • The revised plan should contain some direction for addressing abandoned mines.

  The main geologic hazards identified on the RGNF are “avalanches, rock falls, and flash
  flooding.” Page 10.
      • The assessment should identify areas where these hazards, especially the first two,
         have occurred and/or are likely to occur in the future.
      • It should also mention any efforts to reduce these hazards or repair damage done by
         them.

  The Forest Service Handbook has the following guidance: “In particular, the team should
  identify and evaluate hazardous geologic conditions in proximity to communities,
  infrastructure, established recreation areas, and other high use areas."
  FSH 1909.12, section 13.53.




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  Social, Cultural and Economic Conditions, Chapter 6

    This draft assessment report generally captures all primary sources cf information
  regarding social, cultural and economic conditions.

    On page 1 the number of open miles of roads and trails should accurately reflect the
  current situation.

     •   There are over 2000 miles of roads and trails on the Forest open to public use. This
         is significantly different than the “hundreds” that is stated.

     We recommend inserting the underlined words into the following sentence on page 2:
  “In addition, recreation visitors to the forest come from outside the region and spend
  dollars both within and outside the core set of counties before they reach the Rio Grande
  National Forest; for example, in Chaffee, Park and Fremont counties.”

  This helps clarify that recreation visitors from outside the region spend dollars in many
  locations. This is properly stated on page 31:
  “On their way to the planning area, and once they arrive, these visitors spend money on
  goods and services such as gas, food, lodging, and souvenirs.”

  We agree with the following statement on page 3-4:

  “In recent years communities surrounding the Rio Grande National Forest have become
  increasingly attractive to new residents because of their proximity to open spaces, natural
  settings and easy access to year round recreational opportunities. As a steward of
  Colorado's public lands, a portion of population growth in this region can be attributed to
  the scenic beauty and outdoor recreation supported by the Rio Grande National Forest.”

    We agree with this statement on page 4:

  “These forecasts show that study area growth is anticipated to remain concentrated in
  communities which offer residents access to recreation, open space and wildlands
  provided by the Rio Grande National Forest.” This appears to be a trend nationwide.

    On page 5, the assessment states:

  “In contrast, less densely populated areas provide greater access to open spaces and
  wildlands, which may offer natural amenity values to residents and visitors.”

  The definition of the term “wildland” is not provided, which makes the meaning of this
  statement confusing. There may be less populated areas where none of the nearby land
  could be considered “wild.” For example, agriculturally developed land areas in Eastern
  Colorado, Kansas or Nebraska would not be considered “wildlands,” yet these areas are




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  much less densely populated than other areas of the United States. The residents of these
  areas do not have greater access to “wildlands” than someone living in a densely populated
  place such as Denver. Population density is not necessarily correlated with access to
  wildlands.

     •   We suggest modifying this sentence (Pg 5) to state:
         “In contrast, less densely populated areas may provide greater access to open
         spaces and wildlands, which may offer natural amenity values to residents and
         visitors.”

         We have been waiting for the RGNF to produce some detail on its economic
         contributions which is contained in this epic work, but unfortunately much of this
         has been lost in the decision to address these issues on a super-enlarged 18-county
         geography where the RGNF “planning area” cannot be visualized.

         There is probably a good reason for doing it this way due to lack of data at the RGNF
         level but available as part of a larger geography. Or because pre-packaged studies
         are already available through Headwaters EDT, IMPLAN, or other consulting sources
         which may not offer breakouts at the RGNF level but are desirable in other respects.
         Or to be helpful in making comparisons of RGNF counties to counties in surrounding
         forests. Or because the planners genuinely believe this is the right approach.

         To us, this just makes it more confusing, harder to understand, and inconsistent
         with the other assessments.

     •   At least they could have grouped the RGNF/SLV counties together in the tables and
         provided regional subtotals. We are grateful that this monster landscape approach
         is confined to just this one assessment section.

   That being said, this assessment provides a very good summary of the primary
  communities interested in Rio Grande Forest Management. We are pleased to see that the
  assessment included the non-use values community of interest in this discussion.

  •      Page 25 --- “It is not feasible to estimate non-market values during the planning
  process.” We have tried repeatedly to inform the RGNF about the Pisgah-Nantahala study
  and other efforts to estimate the non-market values. Having this kind of information will
  help to establish a stronger set of management alternatives to the endless pursuit of trying
  to make the forest resources match whatever the population trends dictate.




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  •      Page 30 --- A great sense of fealty and reverence is given to the Multiple-Use
  Sustained-Yield Act of 1960 which is over 50 years old and was addressed to a wholly
  different set of conditions and level of forest resources than exist today.

  •     Page 33 --- What are the dollar units in Table 14 for the average spending profiles?

  •     Page 34 --- What is reference date for RGNF employment?

    On page 37 we suggest the underlined words be added to the following sentence:
  “Federal grazing land is particularly valuable to ranchers because of the low grazing fees
  charged for use of this land.” This statement would not be accurate without this
  clarification.

  •       Page 37 --- Very little comment on the percent increases shown on Table 19 for
  cattle inventory of 109% in Archuleta County, and 153% for sheep in Costilla County. We
  hope none of these impacts have compromised the sustainability of any forest or other
  public lands.

     We find this a very thorough and comprehensive document, more on the order of a
  research study than part of an action plan for management. It may be laborious to wade
  through, but it offers an excellent reference source for county-level data and trends on
  general demographics, social characteristics, labor force, income and wages, revenues, and
  spending profiles --- to name a few.

    It also does an excellent job of covering relevant historical events, and terms for
  describing economic and cultural benefits of the forest to dependent communities and
  various types of human use and experience.

  Concerns:

  •      Consistent with our previous comments on the assessment process, Assessment 6
  provides no sense of urgency regarding provisions which must be made to protect the
  health and sustainability of the forest, and using ecosystem integrity as the main regulator
  of forest conditions.

  •     Often the narrative gets lost in covering past history, and loses any focus on what is
  needed for the future.

  •        We are not advised of any limits on the use of forest resources, and at times it seems
  like it caters too much to the needs of dependent communities and maximization of
  economic benefits for profit motives.




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     •   We could not find any mention of the existence of motorized recreation or other
         highly impactful uses of the forest which should also be treated as one of the
         “conditions” to be taken into account.




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  Comments on draft Report Assessment 12 Areas of Tribal Importance
     We agree with many of the statements made in this assessment. Although we do not represent
  Tribal interests, we support many of the suggestions made in this assessment.
    We recognize that Mt. Blanca is a significant area of Tribal Importance and agree with the
  suggestion on page 8 that this area be considered for a special designation in the planning process.

      •   We also agree that more coordination between adjacent agencies and land owners must
          occur in this, and other areas, adjacent to the boundary of the Rio Grande National Forest.
          We support the concept of a multi-agency management plan for this area to keep the
          mountain as “pristine” as possible.

   The assessment must include factual information that the summit itself of Mt. Blanca is not within
  the legal boundary of the Sangre de Cristo Wilderness Area, which is located approximately one half
  mile away. Thus the Rio Grande National Forest is not managing any lands very near the summit as
  Wilderness. Lands with Wilderness protection on the adjacent Pike San Isabel (P-SI) National
  Forest are approximately 1.2 miles away.
  The land just to the north of Blanca is on the P-SI and in a 3A management area, where emphasis is
  on “semi-primitive non-motorized recreation “, but where “mineral and energy resource activities
  are compatible with the goals of this management area”. P-SI Forest Plan at III-125. Even though the
  area closest to the peak is in a roadless area, mineral activity could still be permitted here or
  outside the RA to the north, which would not be far from Mt. Blanca.

  The nearest lands to the summit on the Rio Grande Forest are currently in a Backcountry
  Management Area Prescription (MA 3.3), which is different than Wilderness or Roadless. The
  Forest Plan states that “[t]hese areas are available for locatable mineral entry. Rio Grande Plan at
  IV-18. Also, any areas with high potential for oil or gas are available for leasing with a no surface
  occupancy stipulation. Ibid.

  In short, Mt. Blanca is not as well protected as the assessment states. Efforts are needed to ensure
  that the mountain remains, or becomes, pristine. More coordination among the four land managing
  entities must occur during this planning process, especially with the adjacent national forest.

      •   A special management area for the Blanca summit and surrounding area should be
          considered.
    The conditions and trends segment must be updated to include information that the Blanca area is
  a very popular destination for recreationists, primarily due to the presence of four 14,000 foot
  summits. This section should also state that heavy public recreational use may complicate efforts to
  keep the area on and around Mt. Blanca pristine.
     We agree with the assessment that motorists and vehicles on FR 975 are leaving trash and toxic
  fluids in this area. It must be mentioned that vehicles pollute the air with emissions, emit unwanted
  noise, and leave behind solid wastes in the form of brake pad and tire dust. We are concerned about
  noise and impacts from motorized use on, and unauthorized motorized use beyond, FR 975 in this
  area, which are negatively impacting desired experiences and the “pristine” nature of this area.
  Noise from vehicle use extends well beyond the immediate road surface.




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   There are also concerns about the negative impacts of legally permitted cross country use by
  ATVs for game retrieval in and beyond an area east of Lake Como. The 2014/2015 Cornejos Peak
  District Motor Vehicle Use Map depicts a game retrieval area in this location with a boundary which
  can not be accessed from any legally open motorized route. Motorized game retrieval may be
  occurring even though it is specifically prohibited in MA 3.3. See Forest Plan at rV-18.”
    There was a Record of Decision on the road’s status around 2000 that was upheld by the then
  Regional Forester, Elizabeth Estill. The Decision was to close the road at the west end of Como
  Lake. This would have preserved the best 4 WD experience for those users, and protected sensitive
  wetlands and unstable slopes on the road on the east side of the lake and going up. About the same
  time, roughly, the private property around the lake was conveyed into USFS hands.

    Unfortunately, the Record of Decision was never implemented and left the road open all the way
  to the end. The big problem with the Conejos District Ranger’s decision at the time not to
  implement the ROD was that he notified motorized users of his decision, but never notified other
  stakeholders like the Colorado Mountain Club.
   We understand that the road has been adopted by the Jeepers Creepers group from Durango and
  as of 2012, they were trying to maintain stable conditions. Motorized use has respected the
  carsonite posts placed by the District on the east side of the lake to keep them out of the wetlands.
  The road still remains open to the “bitter end,” or it’s been called, “the road that never ends.”

    There is a fairly large turn-around place at road’s end where most of the grass/tundra is gone due
  to turning jeeps. The trail continues across a small stream and then climbs the escarpment next to a
  waterfall; crosses the stream at the top; and continues into the upper basin. We understand that
  efforts were underway to mitigate damage to that area but we are unclear as to the status at this
  time.

      •   We would like to see the ROD reviewed, implemented and made part of the Forest
          Plan.
      •   We agree with the suggestion in the draft assessment that the Natural Arch area is
          significant and deserves additional Special Interest Area protection.

          The Natural Arch is a popular destination and some forms of unmanaged recreation are
          having negative impacts in this area. We are concerned that desired experiences and
          unique wildlife values are being adversely impacted by noise and other negative impacts
          from motorized use, especially OHV use, on forest roads 659, 670.2a and 670.2B in this area.
     Studies indicate that all motorized sources of noise had detrimental impacts on evaluations of
  landscape quality compared with natural sounds.i




  ' Human Responses to Simulated Motorized Noise in National Parks
  David Weinzimmer, Peter Newman, Derrick Taff, Jacob Benfield, Emma Lynch and Paul Bell
  Journal: Leisure Sciences, 2014, Volume 36, Number 3, Page 251




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  Comments on Draft Assessment 2-Air Quality

    The draft assessment generally does a very adequate job considering the major
  factors related to air quality on the Rio Grande National Forest.

    On page 6, we agree that Managers must be concerned about air quality. Managers
  should also be concerned when poor air quality is or may affect additional considerations
  including human health; wildlife; recreation; and cultural, social and economic resources.

     On page 7, the phrase “cars and trucks” must be changed to “motorized vehicles” in the
  following sentence: “It includes emissions from industry, including power plants, as
  well as cars and trucks, wood burning stoves and fireplaces, and ground disturbing
  activities such as mining and road construction.”

    On page 7, the statement “The pollution typically originates outside of national
  forest boundaries, but is transported through the atmosphere and deposited inside
  national forest boundaries” fails to recognize and include that there are many sources of
  pollution that also originate inside forest boundaries. While air pollution originating
  outside the forest must be considered, so must pollution sources originating inside the
  forest. Air pollution sources originating within the forest include motor vehicle emissions,
  dust from road and trail use, smoke from fires, chemical spills, etc.

    Sources of pollution that originate inside forest boundaries have the potential to have
  greater impacts than pollution that originates outside of forest boundaries, because of the
  proximity of the pollution source to the forest. Sources of pollution that originate inside
  forest boundaries are the sources the Rio Grande National Forest has the greatest potential
  to recognize, regulate and limit/manage.

     Page 7 also includes the following statement: “The impact on the ecosystem is related
  to the amount of pollution emitted, the distance from the ecosystem of concern, and
  meteorology affecting the transport and dispersion of pollutants.”
     •   We strongly recommend that “the type of pollution emitted” also be included and
         considered. Different types of pollution have different effects, toxicities, dispersal
         rates, etc.

     •   Page 9 and 13 must also mention and include consideration of additional designated
         areas not on the Forest where high air quality is of greater importance. Although
         not part of the Rio Grande National Forest, the 33,549 acre Great Sand Dunes
         Wilderness Area is directly adjacent to forest lands and properly recognized as such
         on page 14 of the draft assessment.

          The Great Sand Dunes National Park and Preserve does real time Air Quality
  monitoring for the Park. This information is sent to Sandia Labs once a month for analysis.
  It would be beneficial for the Rio Grande Forest to get a summary of this data on a regular
  basis, perhaps quarterly, so this information could be integrated as part of Forest Service




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  baseline inventory. Issues of concern are Mercury (from the Four Corners area),
  transportation (vehicular) and emissions from the Regional Landfill, specifically, toluene,
  between Monte Vista and Del Norte.
     •   Please see San Luis Valley Air Toxics analysis Report 2012.

     •   The nearby Cruces Basin Wilderness on the Carson National Forest in New Mexico
         must also be included and considered. The boundary of this 18,876 acre Wilderness
         Area is only .90 mile away from Rio Grande Forest lands.
     •   In addition, air quality in the 62,923 Powderhorn Wilderness Area must also be
         considered in this assessment. The boundary of this Gunnison Forest Wilderness is
         ~6 miles from the boundary of the Rio Grande National Forest. This is close enough
         that activity or events on the Rio Grande have the potential to influence air quality
         in this Class 2 Airshed Wilderness.
     •   The boundary of the Rio Grande del Norte National Monument on New Mexico BLM
         lands is located only .94 miles from the Forest boundary. Air quality in National
         Monuments must also be considered.

    Activities on the Rio Grande National Forest have and may influence air quality in these
  nearby areas. As this draft assessment correctly states on page 13 “air and various air­
  borne emissions are not constrained by surface area boundaries.”

     •   On page 23 we recommend changing the word “automobile” to “motorized vehicles”
         in the following sentence: “Area and mobile sources of pollution include, among
         other things, automobiles, agricultural activities, planes, trains, residential
         wood burning, lawn mowers, and barbeques."

  Motorized vehicles is a more inclusive term which would include trucks, ATVs,
  motorcycles, OHVs, snowmobiles and other vehicles.

    On page 23 the term “non-road engine” is frequently used in this paragraph.
  “Primary sources for CO include wood burning, vehicles and non-road engines; for NOx
  vehicles, non-road engines, oil/gas, and railroads; for SO2 wood burning, combustion,
  vehicles, oil/gas, and non-road engines; for PM wood burning, road dust, agriculture tilling,
  and construction; and for VOC pesticides, wood burning, non-road engines, and vehicles.”
      • The term “non-road engine” is not defined. Does this include engines used for travel
         on trails?
      • The word “vehicles” in the above sentence must be qualified to state “motorized
         vehicles”, as mechanized and other types vehicles do not contribute to these
         emissions.
      • PM (Particulate Matter) also can result from motorized trail use, so “road dust”
         should be changed to “road and trail dust”.

    Road and trail dust needs to be given additional consideration in this assessment.
  Unpaved roads (presumably road dust created from the use of these roads) was identified




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  as one of the major sources of pollution on the Forest in 1996, as stated in page 8 of the
  draft assessment.

     Motor vehicle use on unpaved roads and trails can raise significant amounts of dust.
  This adds both fine and course particulate matter to the air.

      National Visitor Use Monitoring data for the Forest from 2010 indicates that over 12%
  of forest visitors drive for pleasure, ride OHVs and/or use motorized trails as their primary
  activity. Most forest visitors use motor vehicles to travel to and access destinations on the
  forest. This indicates that a significant number of visitors potentially drive and ride around
  on the forest raising dust.

     Only 20 miles of the 2000+ miles of roads and trails available for public use on the Forest
  are paved, so use on just about 100% of these routes can raise dust.

     Road dust is a concern for maintaining air quality. As an example, in 1991 Congress
  created the Grand Canyon Visibility Transport Commission (GCVTC) to advise the EPA on
  strategies for protecting visual air quality at national parks and wilderness areas on the
  Colorado Plateau.
     In 1996, the GCVTC published its recommendations to the EPA that included specific
  actions as well as options for consideration. The Committee identified road dust as
  deserving of high priority attention, and stated that further study is needed to resolve the
  uncertainties regarding both near-field and distant effects of road dust on visibility.

    Another USFS study, “Effects of All-Terrain Vehicles on Forest Lands and Grasslands”
  indicated that dust raised from OHV use had the potential to create enough dust to
  significantly impair rider visibility, impact areas over 50 meters away from routes, and
  raise enough dust so that reach air particulate concentration levels which would be
  unhealthful for trail users.

     •   Use of roads during permitted activities such as timber hauling, road construction
         and maintenance, and mining/oil/gas development all have the potential to raise
         dust, but these concerns can and should be identified and mitigated in the permit
         process.

     Of greater concern is the generally unregulated and unlimited dust creation which
  occurs as a result of travel and recreational use on all transportation routes on forest lands
  (including use on designated forest roads and trails, permitted and administrative use, use
  of county and other roads on forest land, legal and unauthorized use off designated routes,
  etc.). As human population increases, there will be increasing motorized travel on forest
  roads and trails for transportation and recreation, and thus there will be an increase in
  particulate matter levels due to airborne dust resulting from this use.




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                OHVs raising dust on the adjacent Pike San Isabel National Forest

     •   The assessment must recognize and consider noise as a form of air pollution.
     Anthropogenic noise is increasingly being recognized as a significant environmental
  stressor with negative impacts on humans and wildlife.(ref) Noise can impact natural
  settings and the desired experiences associated with those settings, human health, and
  animal and human behavior.
      • Significant noise sources both within and outside of the forest include gunfire
         (especially repetitive gunfire from recreational shooting), motor vehicle noise
         (especially OHV noise) and gas powered engines such as from chainsaw use. Like
         other forms of air pollution, noise and the natural soundscape are not constrained
         by surface area boundaries.

    Noise has the potential to travel great distances. For example shooting noise can be heard
  at great distances from the shooter. The noise produced by an average gun (over 150 dB)
  can easily be detected by humans at distances exceeding 5 miles. The noise from gunfire
  only dissipates to a level that would not be considered annoyingly loud (upper 70 dB) by
  many people at a distance of one mile.
    Forest noise has also been connected with a decrease in property values on adjacent
  private land (ref).

     •   The assessment must recognize and consider anthropogenic light as a form of air
         pollution.

     Anthropogenic light has been recognized as having negative impacts on wildlife, plants,
  and on the perception of natural settings and desired experiences associated with those
  settings. Most light pollution and its negative impacts results from artificial light sources
  illuminating areas at night.
    Light sources can be on or ojf the forest, and easily cross surface area boundaries.
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     Significant light sources on the forest include vehicle lights, lighting associated with
  extractive industry development, lighting from permitted oil/gas/mineral extraction, and
  lighting from overnight camping areas.

   Increasing use of OHVs and the corresponding increase in emissions and dust, must be
  considered. OHV use for recreation and transportation has increased dramatically both on
  and off the forest. There is a growing attempt statewide to permit OHV use on city and
  county roads, which could facilitate additional OHV use on the forest. EPA regulations
  permit OHV engine emissions to be higher than licensed passenger vehicle emissions.

  Groups of people who choose to travel using single passenger OHVs instead of multi
  passenger licensed vehicles increase the number engines running (which increases
  emissions) and the number of vehicles and wheels in contact with the ground (which
  increases dust).
      • For example, a group of 4 people who choose to travel with OHVs instead of in a jeep
         increase the number of engines running, vehicles used, and tires on the ground all
         by a factor of 4.

    Emissions from potential increases in over snow vehicle use, including snowmobiles,
  must also be considered. EPA regulations permit snowmobile engines to emit higher levels
  of dangerous emissions than licensed passenger cars and trucks.
    Since the locations where many forest visitors congregate are more limited and
  concentrated in winter as opposed to summer (due to limited plowed roads and trailheads),
  visitors are more aware of compromised air quality at these locations.
    Noise, odor, and emissions result in conflict between snowmobile users and other
  recreationists on trails and at trailheads.

      The impacts of air pollution on forest visitors outside of Wilderness must also be
  considered. Many visitors to the Rio Grande National Forest expect and desire settings and
  experiences that are less polluted than the urban area they are coming from.
      The assessment properly recognizes (on page 8) that the 1996 Forest Plan EIS stated
  that air quality on the Rio Grande National Forest was rated some of the best in the nation.
  Although numerous Wilderness visitors on Rio Grande National Forest value clean air,
  many forest visitors outside of Wilderness value clean air as well.
     Site specific sources of air pollution originating from within the forest, such as road and
  trail dust or smoke from fires, have a high probability of negatively impacting forest
  visitors.
      • The desires of local, regional, national and international visitors to experience clean
          air must be considered. The assessment on page 47 briefly mentions "people
          recreate on the forest to enjoy clean air and view expansive vistas". This must be
          expanded to include desires to experience natural sights, sounds and smells.

    There are numerous designated areas on the Forest where the maintenance of higher air
  quality is particularly important. Compromised air quality would impact Research Natural
  Areas. Scenic areas, such as the Lobo Overlook, Cumbres and Toltec Scenic Railroad should




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  have higher standards for air quality. Special Interest Areas may also require higher
  consideration for air quality standards.

     Maintaining high air quality is important at other important locations on the Forest
  where visitors congregate. These include designated recreation sites such as campgrounds,
  picnic areas and trailheads.
     The Rio Grande National Forest has numerous fourteen thousand foot peak summits
  which receive high levels of visitation. Climbers expect to be rewarded with expansive
  vistas for their efforts, and poorer air quality compromises visibility from these summits.
    Not all of these 14ers are in Wilderness Areas. Blanca, Little Bear, Kit Carson and
  Challenger Point are not within designated Wilderness and require additional
  consideration in order to maintain higher air quality at these summits.

     •   The identified need for change primarily considers legal requirements to protect the
         environment.

    The impacts of air quality resulting from recreation, traditional and extractive uses need
  to be accounted for spatially and experientially. Locations where air quality can impact the
  quality and desires of recreational users must be identified and considered. The distance
  between sources of air pollution and sensitive habitat or desired experiences of visitors
  must be considered.

    The Forest Plan should strive to separate sources of air pollution from desired
  experiences dependent upon high air quality.
     • Examples to ponder might include the impacts of increasing high speed OHV use
         and fugitive dust from this use on the Pool Table Road #600 on the surrounding La
         Garita Wilderness.
     • Possible loss of visibility resulting from fireplace use at the proposed Village at Wolf
         Creek on the viewshed from the Lobo Overlook.

  Do Colorado no smoking laws apply to public buildings on Forest lands?




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  Comments on Draft Report Assessment 14 Land Status and Ownership, Use, and
  Access Patterns

    We generally agree with and support the information provided in this draft assessment
  report.

     We agree with the statement on page 3 that “Budget declines and a loss (nationally)
  of expertise and staffing of the special use program is causing a backlog of expired
  permits, inadequate inspections of existing permitted uses, and delays or incorrectly
  issued new permits.”
     •           Another statement must include recognition that inadequate monitoring and
                 enforcement has resulted in unpermitted activities and use on the forest when a
                 permit would normally be required.
     •           On page 5 we recommend that the Trend “The creation of “illegal non-system
                 routes” across national forest system lands is ongoing and causes resource damage”
                 be modified so it states “The creation and use of “illegal non-system routes” across
                 national forest system lands is ongoing and causes resource damage.”

    We suggest the following additional “Influence of Trends” be added on page 7.

         •        “There is an increased potential of illegal and unauthorized use of forest lands
                  from adjacent private property.” It is difficult to monitor and detect activities such
                  as unauthorized motor vehicle use, theft of forest products, drug labs, dumping
                  and occupancy and use on forest land immediately adjacent to private property.

         •        We fully agree with the statement on p. 7 that the shared boundary with other
                  federal and state lands provides the Forest with opportunities for collaboration on
                  land use and access. The Forest must take steps to mitigate inconsistent land use
                  and access issues with adjacent lands.

         •        This assessment must include a statement that often times the boundary between
                  forest land and adjacent lands under other jurisdictions is not accurately or visibly
                  marked on the ground. This results in confusion about what activities are allowed,
                  and leads to inadvertent actions and use resulting in negative impacts on forest
                  land and resources.

    We highly recommend that the following be included in this assessment to elaborate on
  some of the inconsistent land use and access issues:

             •     “Inconsistent management of permitted forms of travel between the Rio Grande
                   Forest and adjacent land or routes results in concerns and conflicts.

    For example, the Forest currently permits cross country travel by mechanized vehicles
  such as bicycles, whereas adjacent BLM San Luis Valley Field Office lands and Grand Mesa-
  Uncompahgre-Gunnison National Forest lands limit mechanized travel to designated




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  routes. Riders legally riding on undesignated routes on Forest lands violate regulations
  when they cross onto these adjacent public lands.

    Most Forest roads permit unlicensed OHV use, and this results in conflicts and concerns
  when those roads transition to adjacent county roads. All adjacent county roads currently
  prohibit unlicensed OHV use according to Colorado Revised Statute 33-14.5-108.

    Allowance of off route travel by snowmobiles on national forest land can lead to
  inadvertent use on adjacent private land across unmarked boundary lines, which violates
  Colorado Revised Statute 33-14-113.”

         •     The assessment must also mention how advances in technology will produce
               mechanized and motorized vehicles which will enable people to more quickly and
               easily access some areas of the Rio Grande NF and possibly increase the impacts
               from such use and increase the areas where impacts occur.

         •     There are inconsistent land management designations along the Rio Grande
               Forest boundary with adjacent National Forests and BLM lands.

         •     Please see the attached list cf these management boundary inconsistencies.

         •     This assessment must discuss how the use of adjacent land can impact RGNF land,
               and how use of forest land can influence adjacent lands. Sounds, sights, odors,
               water, wildfires and wildlife/animals/people often freely move across the
               boundary between the Forest and lands under other jurisdictions. Management
               or use of forest lands can dramatically influence the use of adjacent lands.
               Management of adjacent lands influences forest lands.
               For example, one studyi found that forest noise had an impact on property values
               of adjacent private land. Development of adjacent land can increase wildlife
               dependence on forest lands to meet their habitat needs. Recreational target
               shooting noise can influence use and desired experiences across boundary lines.
               Vegetation, management and use levels can impact the potential for man-caused
               wildfires on adjacent lands.

  Since this assessment addresses access patterns, it should contain the following
  information:
      • miles of roads and trails open to various types of use (motorized and classes of
         vehicles) versus non-motorized); trends in types of use (e. g., snowmobiling versus
          cross-country skiing and snowshoeing); and patterns and trends in the use of
         developed facilities.

     •       We recognize that these items could be addressed in assessment chapters 9 and 11.
             If so, they should at least be referenced here.

  The maps at the end of draft assessment 14 are useful, but some are difficult to read.




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  For example, the legend on Figure 3 is not readable.

  In Figure 5, trails do not show on the map in spite of a designation for them in the legend.
  Utilities and gas lines do not show on the map designed to show them, Figure 6.

  'Ham, C.; Champ, P.A.; Loomis, J.B. and Reich, R. M. (2012) Accounting for Heterogeneity of Public Lands in
  Hedonic Property Models, Land Economics, 88 (3): 444-456




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                  DRAFT ASSESSMENT CHAPTER 2 COMMENTS FOR SOILS

     On page 50, we agree with the statement that soils can lose much of their productivity
  when altered. The next statement “Alteration can occur through management actions
  as well as natural events” on page 50 does not fully capture all the means by which soils
  can be altered and is confusing.
    The term “management actions” implies that the Rio Grande National Forest is actively
  and visibly supervising, controlling, and responding to all soil altering actions other than
  natural events. This is not the case, and there are many unsupervised, unmanaged actions
  which occur on the forest which have the potential to alter soil productivity.
    Dispersed recreational activities, for example, have the potential to alter soil
  productivity. While the Forest may indirectly be managing dispersed recreation in that
  these types of activities are generally allowed by USFS policy to occur on forest lands, many
  forms of dispersed recreation are not managed, and occur without Forest staff oversight.
  In 2004, USFS Chief Bosworth identified unmanaged recreation as one of the four major
  issues in national forest management, including the health of air, water and soils.
    If the Rio Grande National Forest defines a “management action” as also to include
  passively permitting known activities to occur without intervention, then this sentence
  does not have to be modified. If active mismanagement is also included as part of
  management actions, no modification is required.
      • We do not agree with these definitions, and believe a “management action” implies
          active and visible supervision, regulation and response.
      • We thus recommend this sentence be modified to state “Alteration can occur
         through managed and unmanaged human actions as well as natural events.”

     On page 50 the draft assessment includes ways in which soil can be altered, including
  erosion, compaction, loss of nutrients, and modification of hydrologic function.
      • This discussion must also include soil contamination and pollution via the
          introduction of unnatural chemicals or elements into the soil. Toxic chemicals such
          as oil, gas, cyanide and pesticides; or elements such as heavy metals including lead,
          can and have been introduced into soils.
     A variety of activities and sources result in soil contamination and pollution.
  Atmospheric deposition is specifically mentioned on page 59 of draft assessment 2.
  Presumably this includes widespread deposition from sources of pollution off the forest
  (such as wind carrying power plant contamination) and also sources on the forest (such as
  emissions from vehicles on forest roads and trails. Hazardous material spills are also
  mentioned as a source of downstream non-forest water pollution on page 59, and these
  must also be considered a potential source of forest soil pollution.
      • Chemical contamination of water is considered as part of the Watershed Condition
          Framework beginning on page 58 of this assessment, but chemical contaminations
          must also be listed as a form of soil alteration.
     Soil productivity and health can be compromised due to the presence of contaminants
  and/or pollutants. Contaminated soil can limit plant growth and cover. Toxic
  chemicals/elements can be absorbed by plants and animals inhabiting that soil or leached
  out of the soil by rain, streams or other forms of water. These chemicals and pollutants can




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  have direct negative impacts on organisms inhabiting contaminated soils. Indirect negative
  impacts on organisms inhabiting or consuming contaminated water, or ingesting
  contaminated plants or animals, can also occur.

     Heating must also be included in the discussion of ways in which soil can be altered,
  especially as a result of fire. Scorching is mentioned as way that soil can be damaged on
  page 54 of this assessment. Page 63 of the water section in the draft assessment states that
  heating can impair soil quality. Soil heating from fire can kill all soil microbes, volatilize
  nutrients, and create hydrophobic, or water repellent, soil. This can delay or limit the
  reestablishment of plant growth and cover, encourage the introduction and spread of
  noxious weeds, and potentially increase soil erosion. High temperatures due to fire can
  modify the physical, chemical and biological properties of soil. (see the 2005 USFS
  publication Wildland Fire in Ecosystems Effects of Fire on Soil and Water at:
  http://www.fs.fed.us/rm/pubs/rmrs gtr042 4.pdf
      • Soil alteration due to heating can occur naturally in events such as wildfires; as
         management actions such as a prescribed burn; or as unmanaged actions such as a
         human caused wildfires or dispersed campfires.
      • To a lesser extent, lower levels of soil heating can occur as a result of increased solar
         radiation due to the loss or modification of vegetative or snow cover, or a decrease
         in moisture content.

     We agree with the statement on page 54 that “There is a lack of quantitative base and
  trend data on soil productivity in alpine areas, forested areas and rangeland upland
  areas, on soil compaction in rangeland bottoms such as riparian areas and swales,
  and on rates of erosion on system and unauthorized roads and trails.”
     We believe there is also a lack of data for soil impacts due to authorized dispersed
  motorized camping access routes and sites within 300 feet of system roads, especially
  those that disturb “edge areas.” (Defined by Trails Program, Colorado Parks and
  Wildlife). Also there is a lack of data on the impacts of trails that are not unauthorized,
  such as those created by use from livestock or non-motorized users.

     On page 56 we fully agree with the following statement: “As with many soils, surface
  disturbing activities such as timber harvest, grazing, recreation developments, road
  construction, and off-road motorized use, are the greatest threat to loss of soil
  integrity, primarily due to erosion and soil compaction.” This is especially true
  because many of the above activities are authorized and allowed on forest lands. Also, for
  some of these activities, heavy equipment is used, increasing the likelihood of soil
  compaction.

    We fully agree with the statement on page 60 that states: “As a general rule soil quality
  and productivity concerns exist with existing system roads and trails, uncontrolled
  motorized use on unauthorized roads and trails, and livestock grazing in riparian
  areas.”
     • We are particularly concerned with the unknown extent of soil impacts from
         unauthorized motorized use off system roads and trails, as this use is not monitored




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            or managed to the extent that designated routes or livestock grazing are. Soil
            quality and productivity concerns also exist due to allowed motorized use for the
            purpose of dispersed camping and game retrieval off of system roads and trails. The
            first paragraph under Local Soil Resource Concerns must be modified regarding the
            primary concerns with soil quality and productivity to reflect the above. Repeated
            on and off road and trail use can also compact soils and modify water infiltration.

    We agree with the statement on page 60 that Best Management Practices “are proven
  measures that protect the soil resource if properly implemented and monitored.”
  We believe such practices can also help protect resources in addition to soil resources. We
  also agree with findings that “the practices are not always being fully and properly
  implemented at the project level.” We believe this is due to these practices being
  suggestions, and not requirements. We recommend that the Forest Plan include more Best
  Management Practice concepts as Standards and Guidelines to ensure that more of these
  practices are actually prioritized and implemented.
        • At a minimum the soil quality provisions in the Forest Service’s Watershed
            Conservation Practices Handbook, FSH 2509.25, should be incorporated into the
            revised Forest Plan, with most of the WCPH’s design criteria stated as standards
            in the revised plan.

  If the assessment states that best management practices are not always being fully and
  properly implemented, this means that Forest Plan direction is not being met. Thus we
  believe that there is a need for change in the Forest Plan related to these concerns.

        •     We support the proposed preparation of a Forest-wide soil resource monitoring
              plan (p. 61). We believe this plan must be part of the Forest Plan revision
              process, or specific direction must be included in the plan for its timely
              development.




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            Rio Grande National Forest Administrative Disparities at Boundaries with other National Forests

Designated Area on Adjacent National      Length of            Rio Grande National Forest Current Management at
Forest                                    Boundary             Boundary
                                          Disparity
PSINF Porphyry Peak roadless              2.1 miles            RGNF   General forest products and dispersed recreation
PSINF Starvation Creek roadless           3.84 miles           RGNF   General forest products and dispersed recreation
GMUG Cochetopa Hills roadless             15 miles             RGNF   General forest products
GMUG Cochetopa roadless                   Approx. 2 miles      RGNF   Grassland Resource Production
(upper tier 6618 acres)
GMUG La Garita Wilderness                 Approx. 5 miles      RGNF General Forest and Intermingled Rangelands,
                                                               Grassland Resource Production and Forest products
GMUG   La Garita Wilderness                2.6 miles           RGNF Lake Fork roadless
GMUG   La Garita Wilderness                5.6 miles           RGNF Wasson Park roadless
GMUG   La Garita Wilderness                5.6 miles           RGNF General Forest and Intermingled Rangelands
GMUG   La Garita Wilderness                9 miles             RGNF Bristol Head roadless
GMUG   Carson roadless                     2.53 E side         RGNF dispersed recreation on sides of K/BBuck/Ruby
                                           0.94 W side         Roadless
GMUG Cataract roadless                     2.4 miles           RGNF dispersed recreation on NE side of Pole
.5 miles of upper tier                                         Mtn/Finger Mesa roadless
SJNF Weminuche Wilderness (at              3.9 miles           RGNF dispersed recreation
Hunchback Pass)
SJNF Weminuche Wilderness (at Piedra       0.36 miles          RGNF Copper Mountain / Sulphur roadless (upper tier)
Pass)
SJNF Weminuche Wilderness (at Piedra       0.5 miles           RGNF backcountry and dispersed recreation
Pass)
SJNF Weminuche Wilderness (at Piedra       1 mile              RGNF Red Mountain roadless (upper tier)
Pass)
SJNF Turkey Creek roadless (upper tier)    .28 miles           RGNF Dispersed recreation

SJNF Turkey Creek roadless                 .53                 RGNF Dispersed recreation
(.33 upper tier)
SJNF Treasure Mountain roadless            11.58 miles         RGNF Forest Products and some dispersed recreation
(8.4 upper tier)
SJNF South San Juan Wilderness             .76 miles           RGNF Dispersed recreation
 (at Elwood Pass)
SJNF South San Juan Wilderness             5.58 miles          RGNF Summit Peak/Elwood Pass roadless
 (south of Elwood Pass)                                        (upper tier)
Carson NF Cruces Basin                    Approx. 5 miles      RGNF Grassland Resource Protection and
Oser Mesa roadless                                             Designated/Eligible Scenic Rivers (Rio de los Pinos)
PSINF Sangre de Cristo: Blanca Peak to    ~.4miles             RGNF Backcountry
Slide Mountain roadless

GMUG - Grand Mesa-Uncompahgre-Gunnison National Forests
PSINF - Pike-San Isabel National Forest
RGNF - Rio Grande National Forest
SJNF - San Juan National Forest



Total of approximately 85 miles of RGNF boundary adjacent to inventoried roadless/Wilderness under an adjacent
jurisdiction, where the adjacent administrative designation is at a higher level of protection than the RGNF designation.



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                 Rio Grande National Forest Administrative Disparities at Boundaries with BLM lands

Designated Area on Adjacent BLM         Length of          Rio Grande National Forest Current Management at
land                                    Boundary           Boundary
                                        Disparity
Trickle Mountain ACEC                   1.32 miles         RGNF Deer and Elk Winter Range
Trickle Mountain ACEC                   3.1 miles          RGNF General forest products & Intermingled
                                                           Rangeland
Trickle Mountain ACEC                   .5                 RGNF Dispersed Recreation
Trickle Mountain ACEC                    1.59              RGNF Antora Meadows / Bear Creek roadless
                                                           upper tier
Trickle Mountain ACEC                   1.5                RGNF Deer and Elk Winter Range
Trickle Mountain ACEC                   1.45 miles         RGNF Antora Meadows / Bear Creek roadless
Trickle Mountain ACEC                   2.95               RGNF Deer and Elk Winter Range
Trickle Mountain ACEC                   2.9                RGNF Deer and Elk Winter Range
Trickle Mountain ACEC                   4.8                RGNF Deer and Elk Winter Range
Elephant Rocks ACEC                     1.8                RGNF Elephant Rocks SIA
Elephant Rocks ACEC                     1.3                RGNF Elephant Rocks SIA
Los Mogotes ACEC                        .47 miles          RGNF Bighorn Sheep Special Wildlife Area
Cumbres and Toltec RR Corridor ACEC     .6 miles           RGNF Ripley Milkvetch SIA
Black Canyon WSA                        .38 miles          RGNF Deer and Elk Winter Range
Black Canyon WSA                        .74 mile           RGNF Hot Springs roadless
Black Canyon WSA                        .18 miles          RGNF Deer and Elk Winter Range
Black Canyon WSA                        .33                RGNF Cotton Creek roadless
Black Canyon WSA                        .33                RGNF Deer and Elk Winter Range

RGNF - Rio Grande National Forest
WSA- Wilderness Study Area
ACEC-Area of Critical Environmental Concern
SIA- Special Interest Area




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January 20, 2016

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Hello Erin and Mike;

       Here are our comments on most of the assessment chapters provided so far, with the exception of
Water in Chapter 2, we will have that to you shortly. We have also just begun working on Recreation.

      We sincerely appreciate the opportunity to evaluate and comment on draft Assessment Reports.
We hope that you consider and incorporate the comments provided in order to create accurate final
Assessment Reports.

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Reports. We appreciate the efforts made by the RGNF to separate facts from opinions in compiling these
reports.

   If you question the accuracy of any statements made in our comments, we can provide additional
supporting documentation.

Thanks so much for all the good work.

Sincerely,

Tom Sobal, Quiet Use Coalition

Rocky Smith, Policy Analyst


  t . .....
Christine Canaly, Director
San Luis Valley Ecosystem Council, P.O. Box 223, Alamosa, CO 81101, (719) 589-1518 info@slvec.org
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January 20, 2016

Erin Minks, Forest Planner
Mike Blakeman, RGNF Spokesman
1803 W. Highway 160
Monte Vista, CO 81144

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Comments on Draft Assessment 2-Air Quality

   The draft assessment generally does a very adequate job considering the major factors related
to air quality on the Rio Grande National Forest.

 On page 6, we agree that Managers must be concerned about air quality. Managers should also be
concerned when poor air quality is or may affect additional considerations including human health;
wildlife; recreation; and cultural, social and economic resources.

  On page 7, the phrase “cars and trucks” must be changed to “motorized vehicles” in the following
sentence: “It includes emissions from industry, including power plants, as well as cars and trucks,
wood burning stoves and fireplaces, and ground disturbing activities such as mining and road
construction."

  On page 7, the statement “The pollution typically originates outside of national forest
boundaries, but is transported through the atmosphere and deposited inside national forest
boundaries" fails to recognize and include that there are many sources of pollution that also originate
inside forest boundaries. While air pollution originating outside the forest must be considered, so must
pollution sources originating inside the forest. Air pollution sources originating within the forest include
motor vehicle emissions, dust from road and trail use, smoke from fires, chemical spills, etc.

  Sources of pollution that originate inside forest boundaries have the potential to have greater impacts
than pollution that originates outside of forest boundaries, because of the proximity of the pollution
source to the forest. Sources of pollution that originate inside forest boundaries are the sources the Rio
Grande National Forest has the greatest potential to recognize, regulate and limit/manage.

   Page 7 also includes the following statement: “The impact on the ecosystem is related to the
amount of pollution emitted, the distance from the ecosystem of concern, and meteorology
affecting the transport and dispersion of pollutants."
    • We strongly recommend that “the type of pollution emitted” also be included and considered.
       Different types of pollution have different effects, toxicities, dispersal rates, etc.

   •   Page 9 and 13 must also mention and include consideration of additional designated areas not on
       the Forest where high air quality is of greater importance. Although not part of the Rio Grande
       National Forest, the 33,549 acre Great Sand Dunes Wilderness Area is directly adjacent to forest
       lands and properly recognized as such on page 14 of the draft assessment.

       The Great Sand Dunes National Park and Preserve does real time Air Quality monitoring for the
Park. This information is sent to Sandia Labs once a month for analysis. It would be beneficial for the Rio
Grande Forest to get a summary of this data on a regular basis, perhaps quarterly, so this information
could be integrated as part of Forest Service baseline inventory. Issues of concern are Mercury (from the
Four Corners area), transportation (vehicular) and emissions from the Regional Landfill, specifically,
toluene, between Monte Vista and Del Norte.
   •   Please see San Luis Valley Air Toxics analysis Report 2012.

   •   The nearby Cruces Basin Wilderness on the Carson National Forest in New Mexico must also be
       included and considered. The boundary of this 18,876 acre Wilderness Area is only .90 mile away
       from Rio Grande Forest lands.
   •   In addition, air quality in the 62,923 Powderhorn Wilderness Area must also be considered in this
       assessment. The boundary of this Gunnison Forest Wilderness is ~6 miles from the boundary of

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       the Rio Grande National Forest. This is close enough that activity or events on the Rio Grande
       have the potential to influence air quality in this Class 2 Airshed Wilderness.
   •   The boundary of the Rio Grande del Norte National Monument on New Mexico BLM lands is
       located only .94 miles from the Forest boundary. Air quality in National Monuments must also be
       considered.

  Activities on the Rio Grande National Forest have and may influence air quality in these nearby areas.
As this draft assessment correctly states on page 13 “air and various air-borne emissions are not
constrained by surface area boundaries.”

   •   On page 23 we recommend changing the word “automobile” to “motorized vehicles” in the
       following sentence: “Area and mobile sources of pollution include, among other things,
       automobiles, agricultural activities, planes, trains, residential wood burning, lawn mowers,
       and barbeques."

Motorized vehicles is a more inclusive term which would include trucks, ATVs, motorcycles, OHVs,
snowmobiles and other vehicles.

  On page 23 the term “non-road engine” is frequently used in this paragraph.
“Primary sources for CO include wood burning, vehicles and non-road engines; for NOx vehicles, non­
road engines, oil/gas, and railroads; for SO2 wood burning, combustion, vehicles, oil/gas, and non-road
engines; for PM wood burning, road dust, agriculture tilling, and construction; and for VOC pesticides,
wood burning, non-road engines, and vehicles.”
    • The term “non-road engine” is not defined. Does this include engines used for travel on trails?
    • The word “vehicles” in the above sentence must be qualified to state “motorized vehicles”, as
       mechanized and other types vehicles do not contribute to these emissions.
    • PM (Particulate Matter) also can result from motorized trail use, so “road dust” should be changed
       to “road and trail dust”.

  Road and trail dust needs to be given additional consideration in this assessment. Unpaved roads
(presumably road dust created from the use of these roads) was identified as one of the major sources of
pollution on the Forest in 1996, as stated in page 8 of the draft assessment.

    Motor vehicle use on unpaved roads and trails can raise significant amounts of dust. This adds both
fine and course particulate matter to the air.

   National Visitor Use Monitoring data for the Forest from 2010 indicates that over 12% of forest
visitors drive for pleasure, ride OHVs and/or use motorized trails as their primary activity. Most forest
visitors use motor vehicles to travel to and access destinations on the forest. This indicates that a
significant number of visitors potentially drive and ride around on the forest raising dust.

  Only 20 miles of the 2000+ miles of roads and trails available for public use on the Forest are paved, so
use on just about 100% of these routes can raise dust.

  Road dust is a concern for maintaining air quality. As an example, in 1991 Congress created the Grand
Canyon Visibility Transport Commission (GCVTC) to advise the EPA on strategies for protecting visual air
quality at national parks and wilderness areas on the Colorado Plateau.
   In 1996, the GCVTC published its recommendations to the EPA that included specific actions as well as
options for consideration. The Committee identified road dust as deserving of high priority attention, and


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stated that further study is needed to resolve the uncertainties regarding both near-field and distant
effects of road dust on visibility.

  Another USFS study, "Effects of All-Terrain Vehicles on Forest Lands and Grasslands” indicated that
dust raised from OHV use had the potential to create enough dust to significantly impair rider visibility,
impact areas over 50 meters away from routes, and raise enough dust so that reach air particulate
concentration levels which would be unhealthful for trail users.

   •   Use of roads during permitted activities such as timber hauling, road construction and
       maintenance, and mining/oil/gas development all have the potential to raise dust, but these
       concerns can and should be identified and mitigated in the permit process.

   Of greater concern is the generally unregulated and unlimited dust creation which occurs as a result of
travel and recreational use on all transportation routes on forest lands (including use on designated
forest roads and trails, permitted and administrative use, use of county and other roads on forest land,
legal and unauthorized use off designated routes, etc.). As human population increases, there will be
increasing motorized travel on forest roads and trails for transportation and recreation, and thus there
will be an increase in particulate matter levels due to airborne dust resulting from this use.




                     OHVs raising dust on the adjacent Pike San Isabel National Forest

   •   The assessment must recognize and consider noise as a form of air pollution.
   Anthropogenic noise is increasingly being recognized as a significant environmental stressor with
negative impacts on humans and wildlife.(ref) Noise can impact natural settings and the desired
experiences associated with those settings, human health, and animal and human behavior.
   • Significant noise sources both within and outside of the forest include gunfire (especially
       repetitive gunfire from recreational shooting), motor vehicle noise (especially OHV noise) and gas
       powered engines such as from chainsaw use. Like other forms of air pollution, noise and the
       natural soundscape are not constrained by surface area boundaries.

 Noise has the potential to travel great distances. For example shooting noise can be heard at great
distances from the shooter. The noise produced by an average gun (over 150 dB) can easily be detected
by humans at distances exceeding 5 miles. The noise from gunfire only dissipates to a level that would
not be considered annoyingly loud (upper 70 dB) by many people at a distance of one mile.
  Forest noise has also been connected with a decrease in property values on adjacent private land (ref).

   •   The assessment must recognize and consider anthropogenic light as a form of air pollution.
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  Anthropogenic light has been recognized as having negative impacts on wildlife, plants, and on the
perception of natural settings and desired experiences associated with those settings. Most light
pollution and its negative impacts results from artificial light sources illuminating areas at night.
  Light sources can be on or off the forest, and easily cross surface area boundaries.

  Significant light sources on the forest include vehicle lights, lighting associated with extractive industry
development, lighting from permitted oil/gas/mineral extraction, and lighting from overnight camping
areas.

 Increasing use of OHVs and the corresponding increase in emissions and dust, must be considered. OHV
use for recreation and transportation has increased dramatically both on and off the forest. There is a
growing attempt statewide to permit OHV use on city and county roads, which could facilitate additional
OHV use on the forest. EPA regulations permit OHV engine emissions to be higher than licensed
passenger vehicle emissions.

Groups of people who choose to travel using single passenger OHVs instead of multi passenger licensed
vehicles increase the number engines running (which increases emissions) and the number of vehicles
and wheels in contact with the ground (which increases dust).
   • For example, a group of 4 people who choose to travel with OHVs instead of in a jeep increase the
       number of engines running, vehicles used, and tires on the ground all by a factor of 4.

   Emissions from potential increases in over snow vehicle use, including snowmobiles, must also be
considered. EPA regulations permit snowmobile engines to emit higher levels of dangerous emissions
than licensed passenger cars and trucks.
   Since the locations where many forest visitors congregate are more limited and concentrated in winter
as opposed to summer (due to limited plowed roads and trailheads), visitors are more aware of
compromised air quality at these locations.
   Noise, odor, and emissions result in conflict between snowmobile users and other recreationists on
trails and at trailheads.

   The impacts of air pollution on forest visitors outside of Wilderness must also be considered. Many
visitors to the Rio Grande National Forest expect and desire settings and experiences that are less
polluted than the urban area they are coming from.
   The assessment properly recognizes (on page 8) that the 1996 Forest Plan EIS stated that air quality
on the Rio Grande National Forest was rated some of the best in the nation.           Although numerous
Wilderness visitors on Rio Grande National Forest value clean air, many forest visitors outside of
Wilderness value clean air as well.
   Site specific sources of air pollution originating from within the forest, such as road and trail dust or
smoke from fires, have a high probability of negatively impacting forest visitors.
    • The desires of local, regional, national and international visitors to experience clean air must be
        considered. The assessment on page 47 briefly mentions "people recreate on the forest to enjoy
        clean air and view expansive vistas". This must be expanded to include desires to experience
        natural sights, sounds and smells.

  There are numerous designated areas on the Forest where the maintenance of higher air quality is
particularly important. Compromised air quality would impact Research Natural Areas. Scenic areas,
such as the Lobo Overlook, Cumbres and Toltec Scenic Railroad should have higher standards for air
quality. Special Interest Areas may also require higher consideration for air quality standards.

  Maintaining high air quality is important at other important locations on the Forest where visitors
congregate. These include designated recreation sites such as campgrounds, picnic areas and trailheads.
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   The Rio Grande National Forest has numerous fourteen thousand foot peak summits which receive
high levels of visitation. Climbers expect to be rewarded with expansive vistas for their efforts, and
poorer air quality compromises visibility from these summits.
  Not all of these 14ers are in Wilderness Areas. Blanca, Little Bear, Kit Carson and Challenger Point are
not within designated Wilderness and require additional consideration in order to maintain higher air
quality at these summits.

   •   The identified need for change primarily considers legal requirements to protect the environment.

  The impacts of air quality resulting from recreation, traditional and extractive uses need to be
accounted for spatially and experientially. Locations where air quality can impact the quality and desires
of recreational users must be identified and considered. The distance between sources of air pollution
and sensitive habitat or desired experiences of visitors must be considered.

  The Forest Plan should strive to separate sources of air pollution from desired experiences dependent
upon high air quality.
   • Examples to ponder might include the impacts of increasing high speed OHV use and fugitive dust
      from this use on the Pool Table Road #600 on the surrounding La Garita Wilderness.
   • Possible loss of visibility resulting from fireplace use at the proposed Village at Wolf Creek on the
      viewshed from the Lobo Overlook.

Do Colorado no smoking laws apply to public buildings on Forest lands?




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                       DRAFT ASSESSMENT CHAPTER 2 COMMENTS FOR SOILS

   On page 50, we agree with the statement that soils can lose much of their productivity when altered.
The next statement “Alteration can occur through management actions as well as natural events”
on page 50 does not fully capture all the means by which soils can be altered and is confusing.
  The term “management actions” implies that the Rio Grande National Forest is actively and visibly
supervising, controlling, and responding to all soil altering actions other than natural events. This is not
the case, and there are many unsupervised, unmanaged actions which occur on the forest which have the
potential to alter soil productivity.
  Dispersed recreational activities, for example, have the potential to alter soil productivity. While the
Forest may indirectly be managing dispersed recreation in that these types of activities are generally
allowed by USFS policy to occur on forest lands, many forms of dispersed recreation are not managed,
and occur without Forest staff oversight. In 2004, USFS Chief Bosworth identified unmanaged
recreation as one of the four major issues in national forest management, including the health of air,
water and soils.
  If the Rio Grande National Forest defines a “management action” as also to include passively permitting
known activities to occur without intervention, then this sentence does not have to be modified. If active
mismanagement is also included as part of management actions, no modification is required.
    • We do not agree with these definitions, and believe a “management action” implies active and
        visible supervision, regulation and response.
    • We thus recommend this sentence be modified to state “Alteration can occur through managed
       and unmanaged human actions as well as natural events.”

   On page 50 the draft assessment includes ways in which soil can be altered, including erosion,
compaction, loss of nutrients, and modification of hydrologic function.
    • This discussion must also include soil contamination and pollution via the introduction of
        unnatural chemicals or elements into the soil. Toxic chemicals such as oil, gas, cyanide and
         pesticides; or elements such as heavy metals including lead, can and have been introduced into
         soils.
    A variety of activities and sources result in soil contamination and pollution. Atmospheric deposition
is specifically mentioned on page 59 of draft assessment 2. Presumably this includes widespread
deposition from sources of pollution off the forest (such as wind carrying power plant contamination)
and also sources on the forest (such as emissions from vehicles on forest roads and trails. Hazardous
material spills are also mentioned as a source of downstream non-forest water pollution on page 59, and
these must also be considered a potential source of forest soil pollution.
    • Chemical contamination of water is considered as part of the Watershed Condition Framework
        beginning on page 58 of this assessment, but chemical contaminations must also be listed as a
         form of soil alteration.
    Soil productivity and health can be compromised due to the presence of contaminants and/or
pollutants. Contaminated soil can limit plant growth and cover. Toxic chemicals/elements can be
absorbed by plants and animals inhabiting that soil or leached out of the soil by rain, streams or other
forms of water. These chemicals and pollutants can have direct negative impacts on organisms
inhabiting contaminated soils. Indirect negative impacts on organisms inhabiting or consuming
contaminated water, or ingesting contaminated plants or animals, can also occur.

   Heating must also be included in the discussion of ways in which soil can be altered, especially as a
result of fire. Scorching is mentioned as way that soil can be damaged on page 54 of this assessment. Page
63 of the water section in the draft assessment states that heating can impair soil quality. Soil heating
from fire can kill all soil microbes, volatilize nutrients, and create hydrophobic, or water repellent, soil.

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This can delay or limit the reestablishment of plant growth and cover, encourage the introduction and
spread of noxious weeds, and potentially increase soil erosion. High temperatures due to fire can modify
the physical, chemical and biological properties of soil. (see the 2005 USFS publication Wildland Fire in
Ecosystems Effects of Fire on Soil and Water at: http://www.fs.fed.us/rm/pubs/rmrs gtr042 4.pdf
    • Soil alteration due to heating can occur naturally in events such as wildfires; as management
       actions such as a prescribed burn; or as unmanaged actions such as a human caused wildfires or
       dispersed campfires.
    • To a lesser extent, lower levels of soil heating can occur as a result of increased solar radiation due
       to the loss or modification of vegetative or snow cover, or a decrease in moisture content.

   We agree with the statement on page 54 that “There is a lack of quantitative base and trend data
on soil productivity in alpine areas, forested areas and rangeland upland areas, on soil
compaction in rangeland bottoms such as riparian areas and swales, and on rates of erosion on
system and unauthorized roads and trails.”
    We believe there is also a lack of data for soil impacts due to authorized dispersed motorized camping
access routes and sites within 300 feet of system roads, especially those that disturb “edge areas.”
(Defined by Trails Program, Colorado Parks and Wildlife). Also there is a lack of data on the impacts of
trails that are not unauthorized, such as those created by use from livestock or non-motorized users.

  On page 56 we fully agree with the following statement: “As with many soils, surface disturbing
activities such as timber harvest, grazing, recreation developments, road construction, and off­
road motorized use, are the greatest threat to loss of soil integrity, primarily due to erosion and
soil compaction.” This is especially true because many of the above activities are authorized and
allowed on forest lands. Also, for some of these activities, heavy equipment is used, increasing the
likelihood of soil compaction.

  We fully agree with the statement on page 60 that states: “As a general rule soil quality and
productivity concerns exist with existing system roads and trails, uncontrolled motorized use on
unauthorized roads and trails, and livestock grazing in riparian areas.”
   • We are particularly concerned with the unknown extent of soil impacts from unauthorized
       motorized use off system roads and trails, as this use is not monitored or managed to the extent
       that designated routes or livestock grazing are. Soil quality and productivity concerns also exist
       due to allowed motorized use for the purpose of dispersed camping and game retrieval off of
       system roads and trails. The first paragraph under Local Soil Resource Concerns must be modified
       regarding the primary concerns with soil quality and productivity to reflect the above. Repeated
       on and off road and trail use can also compact soils and modify water infiltration.

   We agree with the statement on page 60 that Best Management Practices “are proven measures that
protect the soil resource if properly implemented and monitored.” We believe such practices can
also help protect resources in addition to soil resources. We also agree with findings that “the practices
are not always being fully and properly implemented at the project level.” We believe this is due to
these practices being suggestions, and not requirements. We recommend that the Forest Plan include
more Best Management Practice concepts as Standards and Guidelines to ensure that more of these
practices are actually prioritized and implemented.
      • At a minimum the soil quality provisions in the Forest Service’s Watershed Conservation
          Practices Handbook, FSH 2509.25, should be incorporated into the revised Forest Plan, with
          most of the WCPH’s design criteria stated as standards in the revised plan.




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If the assessment states that best management practices are not always being fully and properly
implemented, this means that Forest Plan direction is not being met. Thus we believe that there is a
need for change in the Forest Plan related to these concerns.

      •   We support the proposed preparation of a Forest-wide soil resource monitoring plan (p. 61).
          We believe this plan must be part of the Forest Plan revision process, or specific direction must
          be included in the plan for its timely development.




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Social, Cultural and Economic Conditions, Chapter 6

  This draft assessment report generally captures all primary sources of information regarding social,
cultural and economic conditions.

  On page 1 the number of open miles of roads and trails should accurately reflect the current situation.

   •   There are over 2000 miles of roads and trails on the Forest open to public use. This is significantly
       different than the “hundreds” that is stated.

   We recommend inserting the underlined words into the following sentence on page 2: “In addition,
recreation visitors to the forest come from outside the region and spend dollars both within and outside
the core set of counties before they reach the Rio Grande National Forest; for example, in Chaffee, Park
and Fremont counties.”

This helps clarify that recreation visitors from outside the region spend dollars in many locations. This is
properly stated on page 31:
“On their way to the planning area, and once they arrive, these visitors spend money on goods and
services such as gas, food, lodging, and souvenirs.”

We agree with the following statement on page 3-4:

“In recent years communities surrounding the Rio Grande National Forest have become increasingly
attractive to new residents because of their proximity to open spaces, natural settings and easy access to
year round recreational opportunities. As a steward of Colorado’s public lands, a portion of population
growth in this region can be attributed to the scenic beauty and outdoor recreation supported by the Rio
Grande National Forest.”

  We agree with this statement on page 4:

“These forecasts show that study area growth is anticipated to remain concentrated in communities
which offer residents access to recreation, open space and wildlands provided by the Rio Grande National
Forest.” This appears to be a trend nationwide.

  On page 5, the assessment states:

“In contrast, less densely populated areas provide greater access to open spaces and wildlands, which
may offer natural amenity values to residents and visitors.”

The definition of the term “wildland” is not provided, which makes the meaning of this statement
confusing. There may be less populated areas where none of the nearby land could be considered “wild.”
For example, agriculturally developed land areas in Eastern Colorado, Kansas or Nebraska would not be
considered “wildlands,” yet these areas are much less densely populated than other areas of the United
States. The residents of these areas do not have greater access to “wildlands” than someone living in a
densely populated place such as Denver. Population density is not necessarily correlated with access to
wildlands.




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    •   We suggest modifying this sentence (Pg 5) to state:
        “In contrast, less densely populated areas may provide greater access to open spaces and
        wildlands, which may offer natural amenity values to residents and visitors.”

        We have been waiting for the RGNF to produce some detail on its economic contributions which is
        contained in this epic work, but unfortunately much of this has been lost in the decision to address
        these issues on a super-enlarged 18-county geography where the RGNF “planning area” cannot be
        visualized.

        There is probably a good reason for doing it this way due to lack of data at the RGNF level but
        available as part of a larger geography. Or because pre-packaged studies are already available
        through Headwaters EDT, IMPLAN, or other consulting sources which may not offer breakouts at
        the RGNF level but are desirable in other respects. Or to be helpful in making comparisons of
        RGNF counties to counties in surrounding forests. Or because the planners genuinely believe this
        is the right approach.

        To us, this just makes it more confusing, harder to understand, and inconsistent with the other
        assessments.

    •   At least they could have grouped the RGNF/SLV counties together in the tables and provided
        regional subtotals. We are grateful that this monster landscape approach is confined to just this
        one assessment section.

  That being said, this assessment provides a very good summary of the primary communities interested
in Rio Grande Forest Management. We are pleased to see that the assessment included the non-use
values community of interest in this discussion.

•       Page 25 --- “It is not feasible to estimate non-market values during the planning process.” We have
tried repeatedly to inform the RGNF about the Pisgah-Nantahala study and other efforts to estimate the
non-market values. Having this kind of information will help to establish a stronger set of management
alternatives to the endless pursuit of trying to make the forest resources match whatever the population
trends dictate.

•       Page 30 --- A great sense of fealty and reverence is given to the Multiple-Use Sustained-Yield Act of
1960 which is over 50 years old and was addressed to a wholly different set of conditions and level of
forest resources than exist today.

•       Page 33 --- What are the dollar units in Table 14 for the average spending profiles?

•       Page 34 --- What is reference date for RGNF employment?

   On page 37 we suggest the underlined words be added to the following sentence: “Federal grazing land
is particularly valuable to ranchers because of the low grazing fees charged for use of this land.” This
statement would not be accurate without this clarification.




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•     Page 37 --- Very little comment on the percent increases shown on Table 19 for cattle inventory of
109% in Archuleta County, and 153% for sheep in Costilla County. We hope none of these impacts have
compromised the sustainability of any forest or other public lands.

   We find this a very thorough and comprehensive document, more on the order of a research study
than part of an action plan for management. It may be laborious to wade through, but it offers an
excellent reference source for county-level data and trends on general demographics, social
characteristics, labor force, income and wages, revenues, and spending profiles --- to name a few.

  It also does an excellent job of covering relevant historical events, and terms for describing economic
and cultural benefits of the forest to dependent communities and various types of human use and
experience.

Concerns:

•       Consistent with our previous comments on the assessment process, Assessment 6 provides no
sense of urgency regarding provisions which must be made to protect the health and sustainability of the
forest, and using ecosystem integrity as the main regulator of forest conditions.

•       Often the narrative gets lost in covering past history, and loses any focus on what is needed for the
future.

•     We are not advised of any limits on the use of forest resources, and at times it seems like it caters
too much to the needs of dependent communities and maximization of economic benefits for profit
motives.

   •   We could not find any mention of the existence of motorized recreation or other highly impactful
       uses of the forest which should also be treated as one of the “conditions” to be taken into account.




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                Comments Relating to RGNF Draft Assessment 7 - Ecosystem Services

As you are aware from our attendance at the 20-year plan assessment meetings throughout the valley, we
are advocating Forest Service adoption of ecosystems, ecosystem processes, ecosystem integrity, and
ecosystem services in all forms as the major instrument for evaluating conditions, formulating
compatible priorities and policies, and ensuring that management prescriptions are being carried out to
ensure protection of these resources.

Please be assured that we are immensely appreciative of the RGNF’s leadership role among peers in
addressing its planning responsibilities and conducting a well-performed and inclusive planning process.
We cannot, however, accept the notion that the RGNF is passing up the opportunity to put the ecosystem
priorities in place for the next 20 years, and believe there is still time to make the necessary revisions as
recommended in the balance of this paper.

Good Job, But Not Enough Priority

We believe the RGNF did a great job of describing and differentiating the basic types of ecosystem
services, and cross-referencing with other draft sections of the assessment. But, the ecosystem
discussion is treated merely as just another chapter in the plan contents (and “Assessment 7” at that),
without any sense of priority and deal-making influence that ecosystem analysis should have in ranking
the relative importance of the various ecosystem services which are being promoted and where the
majority of attention and resources is being placed.

It seems like all or most of the ingredients for an argument of ecosystem priority are there, but overly
subordinated or disguised in the narratives and finally included almost as an afterthought. This also
places a burden upon the reader to hunt up all references and understand the full collective impact of the
ecosystem connections and activity limitations.

   •   We do recognize the chapter on Ecosystem Integrity as number one in the draft numbering order,
       but we think having this follow Ecosystem Services in the number 1 position would make a
       stronger statement.

We are also wondering why in all of this the 2012 Planning Rule --- the quintessential mandate and
command to the Forest Service for incorporating ecosystem consideration in its management decisions in
a manner equal in power and force to the time-worn mantra of “multiple use” --- does not even warrant
the slightest mention?

“There is no existing forest plan direction specific to ecosystem services." Really?

To us, the forest plan direction based on the 2012 Planning Rule is in itself sufficient direction for the
forest systems to design plans specific to and compatible with area differences.
    • In our paper dated June 29, 2015 and entitled “Report and Findings on Ecosystem Management
        Priorities: A Request for Integration in Forest Assessments and Planning,” we researched
        numerous reports and studies on the marvelous scientific pursuit of defining and describing the
        concept of ecosystems and ecosystem services for thoughtful consideration and practical use in
        forest management. Hearing no comment from the RGNF on this gifted effort, we would
        encourage a possible second look by planning staff.




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Briefly, contents of the June paper can be reviewed and include ---
    • Provisions in the economic framework of the 2012 Planning Rule are presented as the starting
        point of the report and reference to the official language contained in the new law with regard to
        the ecosystem analysis and protection priorities.
    • We go beyond the Millennium four categories of ecosystem services and examine extended
        definitions to create a better understanding of all the nuances and implications for policy.
    • We were intrigued by some of the pioneering efforts to quantify the value of ecosystems, and
        reviewed past attempts to monetize ecosystems in dollar terms.
    • Obligations of the RGNF under Environmental Justice provisions which apply to our low-income,
        high-minority plan area were brought to management attention (which have been addressed in
        the draft assessments).
    • Much can be learned from how other countries are addressing ecosystem science, and included
        the concept of “natural capital” working in Europe which has already been advanced to policy
        level.
    • We reference the Deschutes NF study which sees the ecosystem requirement as a science-based
        means of resolving conflict between various multiple users by selecting those which best sustain
        the forest eco-structure.
    • As an attempt to understand the Forest Service approach to ecosystem assessment, and develop
        an appreciation for the technical expertise incorporated in its guidance, we included whole parts
        of the Management Handbook in Chapter J. on the evaluation of ecosystem integrity, key
        ecosystem characteristics, disturbance regimes, and system drivers and stressors.
    • To further enhance our understanding of the technical ecosystem processes and standard
        management approach, we found a Canadian release on the guidelines for ecological restoration in
        British Columbia very helpful, and included selected portions for our report.
    • Not satisfied with the lack of information on how to assess increasing motorized recreational use,
        we discovered the analysis presented in a paper entitled “Unmanaged Motorized Recreation.”
    • The need for assessments to include specific reviews on situations and developments which we
        believe will require additional ecosystem protection strategies is also addressed in one of the
        chapters.
    • We also include a long list of terms and definitions and an addendum on impacts and benefits of
        the RGNF from a purely economic perspective as contrasted to a focus on ecosystems.

Should we be satisfied with the RGNF “monetary/non-monetary” dichotomy to describe the values
of ecosystem services?

       In the RGNF draft we are led to believe that only key services directly related to monetary value
such as recreation, timber, and water can be monetized, and those such as cultural heritage and
biodiversity cannot. But our reviews revealed several pioneering efforts being made to estimate values
for the benefits we are receiving from the forest where trading markets have not been established, but
are essential to the health of the forest and human well-being.
       Shortly after submitting our June 29 report, a very remarkable effort along these lines was
brought to our attention by The Wilderness Society on a study prepared by Key-Log Economics to provide
concepts, estimation, and application to national forest planning in North Carolina, and this was also
shared with RGNF planning staff.
       Entitled Ecosystem Services in the Pisgah-Nantahala National Forest Region, it covers most of the
points mentioned in this response paper, investigates and explains ecosystem service concepts in greater
depth than we have seen elsewhere, and provides estimates of the hard-to-get values based on the
benefits transfer method.



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Through a series of data collections and calculations, researchers were able to apply this methodology to
establish ecosystem service values on the following elements ---
    • Food
    • Raw materials
    • Water supply
    • Biological control
    • Carbon sequestration
    • Climate stability
    • Disturbance prevention
    • Gas regulation
    • Soil retention
    • Waste treatment
    • Water regulation
    • Aesthetic information
    • Recreation
    • Soil formation

In our opinion, a ground-breaking contribution of this magnitude cannot be denied, and every effort
should be made to incorporate a similar framework for planning by the RGNF.

Summary Recommendations

Again, we applaud the RGNF in its efforts to address the complex arena of science and interpretations
surrounding the study of ecosystem services and their implications for planning, but would recommend:
   • a much greater commitment by the agency to incorporate the mandate for ecosystem analysis into
       practical management use and as a primary decision-making tool. We have been forewarned from
       our review of the Deschutes NF and other studies that such a transition requires persistence and
       patience to take hold within the staffing culture, but is greatly appreciated when the concepts
       become fully absorbed and the advantages of new information and perspectives are put into place
       to assist management in facing an increasing level of challenges to maintain and improve
       sustainability of the forest.

To this end, we offer the following recommendations to edit, add to, or revise portions of the Ecosystem
Services draft as constructive advisement in order to strengthen its impact in the assessment process and
reflect serious commitment on the part of the RGNF to ecosystem analysis as the prime tool for decision
making ---

   • Advance the Ecosystem Services Draft Assessment order from number 7 to number 1.
   • Acknowledge and define Forest Service responsibilities with regard to ecosystem services in the
     2012 Planning Rule, and how the intent of this law is being incorporated into the planning and
     implementation process for the next 20 years.
   • Review and acknowledge the Pisgah-Nantahala NF study to estimate monetary values for all forms
     of ecosystem services and processes, and affirm the intent to keep abreast of research
     advancements with the ultimate goal to apply a similar approach and methodology to develop
     estimates for the RGNF.
   • Acknowledge and incorporate expanded definitions of ecosystem services and related
     terminology from the Pisgah-Nantahala NF study as may be useful or feasible.



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   •   Acknowledge conflicts between various forms of recreational use such as motorized vs non­
       motorized use and variances on the degree of impact to ecosystem integrity and processes needed
       to maintain or improve forest sustainability.
   •   Explain how the adaptive management approach can be used in conjunction with ecosystem
       analysis to produce desirable management outcomes.

We would welcome the opportunity to discuss Ecosystem Services with Planning Staff at your earliest
convenience.




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                ASSESSMENT 10 - ENERGY, MINERALS, AND GEOLOGIC HAZARDS

This assessment contains relevant information on the resources listed in its title, but we do not believe the
analysis here is complete.

Transmission Corridor, Page 7
  There is no mention of the BLM planned upgrade of transmission capacity over Poncha Pass planned by
Xcel Energy, in cooperation with Tri-State Generation and Transmission. Two lines have been approved
for upgrade from a 69 kv to a 115kv line. In reaching this decision, the energy companies believe it will
increase reliability and redundancy (since the lines are more than 2 miles apart), thus technically
creating a transmission loop. This decision to upgrade by the energy companies needs to be reflected in
this assessment.

In the analysis of oil and gas, the assessment states:

       More than 140,000 acres of mostly National Forest System land were nominated for lease in
       2008 and 2009, but were deferred primarily because the BLM needs to conduct a leasing
       analysis on National Forest System lands.

Page 8. It would be beneficial to show where these potential areas are located. Also, what specifically is
the status of the “leasing analysis” being done on national forest lands?
Is this an analysis of what lands within a specific area will be considered suitable for leasing?
Under the Federal Onshore Oil and Gas Leasing Reform Act (FOOGLRA), 30 U.S.C. 181, it is clearly the
responsibility of the Forest Service to do this analysis. See also 36 CFR 228.102.2(c) and (d).

Will the forest-wide oil and gas leasing suitability analysis done for the previous forest plan be
updated? Assessment 10 doesn’t directly state yes or no.
It does say the following:

       While industry has expressed interest in exploring for oil and gas in the upper Rio Grande, it is
       unknown whether there are economically recoverable oil and gas deposits below lands managed
       by the Rio Grande National Forest.

Pages 3, 8. A deeper analysis is needed to determine:
a) if recent advances in technology, such as hydraulic fracturing and horizontal drilling, have made or
could make oil and/or gas more economically recoverable?, and
b) what market prices for oil and gas might encourage lease nominations and exploration by industry?

In any case, the previous leasing analysis should be referenced in the assessment and made available to
the public.

   •    The agency must also analyze the possible impacts of leasing and potential subsequent
        development of oil and gas on national forest land within the planning area. It must not delegate
        this to another agency.

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Finally, there is no mention in this draft of reviewing the No Surface Occupancy stipulation and what
lands may become available for this designation due to changes in the management prescription or re­
designation of Special Interest or other types of areas.

Under “Noncommercial Mineral Collecting Activities”, recreational mining is appropriately discussed
(p. 9). However, there is no discussion of trends in such use, or whether current regulation and
permitting (where applied) is sufficient.

It also implies that casual use is allowed in wilderness:
     • We would like to see clarification and direction regarding the possible permitting process allowed
         for casual collecting within the Rio Grande Forest wilderness, if that activity is currently allowable.
     • We strongly recommend against collecting activity within wilderness.

This Assessment must consider the increase in casual rock and mineral collecting, and the potential impacts
this activity can have.

The popularity of recreational, personal, hobby and/or casual mineral and rock collecting is increasing
statewide and nationally. The price of gold has increased to more than 4 times its value at the time of the
previous Forest Plan in 1996, providing extra incentive for gold prospectors. The demand and value of
rocks used for decorative and functional purposes (landscape boulders, flagstone) has also increased.

Since the value of gold and certain rocks and minerals has increased tremendously, the line between
commercial and non-commercial collecting is not clear. Recreational, casual small scale collectors can
and do benefit from the materials they collect from forest lands.

We are not sure if the Recreation Assessment will cover casual rock and mineral collection, so we
will discuss it here also.

Causal rock and mineral collection on the Rio Grande is considered in numerous documents.

The 1996 Forest Plan at IH-3 contains the following Standard:
“Recreational panning, sluicing, and dredging shall be allowed outside Wilderness where such activities
do not interfere with the rights of mining claimants protected under the 1872 Mining Law, as amended.
These activities shall be evaluated on a case-by-case basis, to determine if an operating plan is needed, by
the authorized Forest Service official,”

Regulations at 36 CFR 228.4 (a)(1) requires a notice of intent to be filed by any person proposing to
conduct operations which might cause significant disturbance of surface resources except when
 “(ii) Prospecting and sampling which will not cause significant surface resource disturbance and
will not involve removal of more than a reasonable amount of mineral deposit for analysis and
study which generally might include searching for and occasionally removing small mineral
samples or specimens, gold panning, metal detecting, non-motorized hand sluicing, using battery
operated dry washers, and collecting of mineral specimens using hand tools".

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A file "MINERAL, ROCK COLLECTING AND METAL DETECTING ON THE NATIONAL FORESTS" (available on
the Rio Grande Forest website (http://www.fs.usda.g^v/Internet/FSE DOCUMENTS/stelprdb5261774.paf)
states “Generally, most of the National Forests are open to recreational mineral and rock collecting, gold
panning and prospecting using a metal detector. This low impact, casual activity usually does not require
any authorization^ “Normally, any gold found can be removed and kept. If the removal of the gold, rocks,
or minerals might cause disturbance of surface resources, beyond digging a small shallow hole, a NOI may
be required.”

Words in the above regulations such as “significant”, “reasonable”, ” small”, “shallow” and “may” are
ambiguous and open to individual interpretation. The line between casual collecting and collecting which
requires a Notice of Intent is not clear. Regulations regarding these activities on BLM lands are different.

This ambiguity, combined with the increased and ambitious collection of rocks and minerals, has resulted
in unregulated collection activity which results in resource damage. Collectors are moving large
quantities of material by digging pits and gouging out streambeds or banks to actually removing smaller
amounts of valuable rocks or minerals. They are confused about the regulations for casual collecting,
including:
a)where casual collection is permitted or prohibited;
b) when a notice of intent is required, and/or
c) how much material they are allowed to move or remove.

   •   We suggest that additional language be added to the Forest Plan to clarify when a notice of intent
       must be filed, where casual collecting is not allowed, how much material can be moved and
       removed.

In order to limit confusion and better manage casual collecting, we suggest the following be added to the
Standard at III-3:
    • " Recreational panning, sluicing, dredging and casual rock and mineral collecting is statute
       dependent and a notice of intent is required near (% mile of) any designated Wilderness Area;
       Wild and Scenic River or waterway under consideration for this designation; within any Research
       Natural Area or Special Interest Area; within any area identified as critical habitat for any
       Threatened or Endangered Species and within any area listed or eligible for the National Register
       of Historic Places.’

The assessment provides a map of abandoned mines (p. 11, Figure 2).
This map shows a large number of such mines, with concentrations near Creede, Summitville area, and
Bonanza. However, there is no further information on whether any of these mines have been reclaimed,
nor any prioritization of needed work. (See p. 9.)
   • Further information on hazards at abandoned mines should be in the assessment.
   • The revised plan should contain some direction for addressing abandoned mines.




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The main geologic hazards identified on the RGNF are “avalanches, rock falls, and flash flooding.” Page 10.
   • The assessment should identify areas where these hazards, especially the first two, have occurred
      and/or are likely to occur in the future.
   • It should also mention any efforts to reduce these hazards or repair damage done by them.

The Forest Service Handbook has the following guidance: “In particular, the team should identify and
evaluate hazardous geologic conditions in proximity to communities, infrastructure, established
recreation areas, and other high use areas."
FSH 1909.12, section 13.53.




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Comments on draft Report Assessment 12 Areas of Tribal Importance
  We agree with many of the statements made in this assessment. Although we do not represent Tribal interests,
we support many of the suggestions made in this assessment.
  We recognize that Mt. Blanca is a significant area of Tribal Importance and agree with the suggestion on page 8
that this area be considered for a special designation in the planning process.

    •   We also agree that more coordination between adjacent agencies and land owners must occur in this, and
        other areas, adjacent to the boundary of the Rio Grande National Forest. We support the concept of a multi­
        agency management plan for this area to keep the mountain as “pristine” as possible.

        The assessment must include factual information that the summit itself of Mt. Blanca is not within the legal
boundary of the Sangre de Cristo Wilderness Area, which is located approximately one half mile away. Thus the
Rio Grande National Forest is not managing any lands very near the summit as Wilderness. Lands with Wilderness
protection on the adjacent Pike San Isabel (P-SI) National Forest are approximately 1.2 miles away.
       The land just to the north of Blanca is on the P-SI and in a 3A management area, where emphasis is on
“semi-primitive non-motorized recreation “, but where “mineral and energy resource activities are compatible
with the goals of this management area”. P-SI Forest Plan at III-125. Even though the area closest to the peak is in a
roadless area, mineral activity could still be permitted here or outside the RA to the north, which would not be far
from Mt. Blanca.
        The nearest lands to the summit on the Rio Grande Forest are currently in a Backcountry Management Area
Prescription (MA 3.3), which is different than Wilderness or Roadless. The Forest Plan states that “[t]hese areas are
available for locatable mineral entry. Rio Grande Plan at IV-18. Also, any areas with high potential for oil or gas are
available for leasing with a no surface occupancy stipulation. Ibid.
        In short, Mt. Blanca is not as well protected as the assessment states. Efforts are needed to ensure that the
mountain remains, or becomes, pristine. More coordination among the four land managing entities must occur
during this planning process, especially with the adjacent national forest.

    •   A special management area for the Blanca summit and surrounding area should be considered.
       The conditions and trends segment must be updated to include information that the Blanca area is a very
popular destination for recreationists, primarily due to the presence of four 14,000 foot summits. This section
should also state that heavy public recreational use may complicate efforts to keep the area on and around Mt.
Blanca pristine.
         We agree with the assessment that motorists and vehicles on FR 975 are leaving trash and toxic fluids in
this area. It must be mentioned that vehicles pollute the air with emissions, emit unwanted noise, and leave behind
solid wastes in the form of brake pad and tire dust. We are concerned about noise and impacts from motorized use
on, and unauthorized motorized use beyond, FR 975 in this area, which are negatively impacting desired
experiences and the “pristine” nature of this area. Noise from vehicle use extends well beyond the immediate road
surface.

       There are also concerns about the negative impacts of legally permitted cross country use by ATVs for
game retrieval in and beyond an area east of Lake Como. The 2014/2015 Cornejos Peak District Motor Vehicle Use
Map depicts a game retrieval area in this location with a boundary which can not be accessed from any legally open
motorized route. Motorized game retrieval may be occurring even though it is specifically prohibited in MA 3.3.
See Forest Plan at IV-18.”
       There was a Record of Decision on the road’s status around 2000 that was upheld by the then Regional
Forester, Elizabeth Estill. The Decision was to close the road at the west end of Como Lake. This would have
preserved the best 4 WD experience for those users, and protected sensitive wetlands and unstable slopes on the


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road on the east side of the lake and going up. About the same time, roughly, the private property around the lake
was conveyed into USFS hands.

        Unfortunately, the Record of Decision was never implemented and left the road open all the way to the end.
The big problem with the Conejos District Ranger’s decision at the time not to implement the ROD was that he
notified motorized users of his decision, but never notified other stakeholders like the Colorado Mountain Club.
        We understand that the road has been adopted by the Jeepers Creepers group from Durango and as of
2012, they were trying to maintain stable conditions. Motorized use has respected the carsonite posts placed by
the District on the east side of the lake to keep them out of the wetlands. The road still remains open to the “bitter
end,” or it’s been called, “the road that never ends.”
        There is a fairly large turn-around place at road’s end where most of the grass/tundra is gone due to
turning jeeps. The trail continues across a small stream and then climbs the escarpment next to a waterfall; crosses
the stream at the top; and continues into the upper basin. We understand that efforts were underway to mitigate
damage to that area but we are unclear as to the status at this time.

    •   We would like to see the ROD reviewed, implemented and made part of the Forest Plan.
    •   We agree with the suggestion in the draft assessment that the Natural Arch area is significant and deserves
        additional Special Interest Area protection.


        The Natural Arch is a popular destination and some forms of unmanaged recreation are having negative
        impacts in this area. We are concerned that desired experiences and unique wildlife values are being
        adversely impacted by noise and other negative impacts from motorized use, especially OHV use, on forest
        roads 659, 670.2a and 670.2B in this area.

  Studies indicate that all motorized sources of noise had detrimental impacts on evaluations of landscape quality
compared with natural sounds.i




  Human Responses to Simulated Motorized Noise in National Parks
David Weinzimmer, Peter Newman, Derrick Taff, Jacob Benfield, Emma Lynch and Paul Bell
Journal: Leisure Sciences, 2014, Volume 36, Number 3, Page 251




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Comments on draft Assessment 13, Cultural and Historic Resources

  We believe this draft assessment adequately captures existing information regarding Cultural and Historic
resources.

   We agree with the statement on page 3, the table on page 9, and the statement on page 18 indicating
that the majority of the planning area (~82%) has not been inventoried for cultural and historic
resources. Since many sites or resources have not been discovered or properly documented; it is likely
they are experiencing unknown damage, destruction and negative influences by both permitted and
unauthorized activities and/or other uses occurring on the forest.

•      There are Misspelled words and unedited sentences in several places in this assessment.
•      This section could use a glossary for technical terms like “lithic,” “B.P.,” and “debitage.”
•     The RGNF may harbor some unique high-elevation sites of interest which require greater levels of
protection, and efforts to upgrade sites should be made throughout the forest wherever possible.
•      The stories about damages or destruction of historic sites due to the lack of adequate planning for
management treatments, lack of monitoring, lack of protective barriers, or other intrusions gave us great
concern. This includes poorly controlled prescribed burns, uncontrolled cattle grazing, vandalism,
motorized off-road impacts, and illegal land uses.
Additional staff is needed for monitoring and enforcement personnel to protect and safeguard
sensitive historic sites and areas.
•       We are aware of efforts made in previous administrations to cut tax support, cut personnel, and
force a commercial operation of the forest based on its own cash flow on whatever resources can be
found, but we have concern about the efforts being made by the Denver Botanical Gardens and Kansas
University to manage osha as a commercial harvested product (page 12) and the potential precedence
being set to privatize public assets. This type of partnership has to be managed carefully and with the
greatest of oversight. This potential enterprise needs to benefit public interest first.

  We strongly believe the following statement in reference to the Fremont Historic Special Interest Area
on page 11 must be modified:
   • “The area needs to be surveyed for the undocumented camps so that some of the acreage can
      return to the timber base.”
   • It is presumptuous and pre-decisional to state “so that some of the acreage may “return to the
      timber base”. A more accurate survey may not modify the boundary of this Special Interest Area,
      or it might suggest an increase in its size. Any lands identified for removal from the Special
      Interest Area could be proposed for a management prescription which is not related to timber,
      and may not be considered as part of the timber base.

Also, this SIA is near timberline. Logging should not occur in these areas, especially not commercial
timber production.

Table 6. Conditions and trends influencing the condition of, or the demand for, cultural and historic
resources (positively and negatively)
   We recommend the modifications described below be made to Table 6
“Trends/Conditions and influences" on page 16 and 17.
Since that information was gleaned from a public meeting, it may only reflect the opinion of those in
attendance. While we agree with most of the information presented and believe it to be factual, we do
not agree with all the information and feel that it is incomplete.


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"Grazing and ranching /Can protect important sites if ranchers are informed."
   • This should be modified to state that grazing and livestock needs to be monitored closely because
       it can also negatively impact sites and resources.
Page 15 of this assessment provided an example of this.
Since grazing allotments cover most of the planning area, and most of this land has not been inventoried
for cultural and historic resources, it is possible that grazing animals are currently inadvertently
negatively impacting unknown or undocumented sites and resources.

Under USFS Management Page 16
"Excessive rules and regulations/ Hamper current lifeways (e.g. grazing, resource gathering)".
The Influences should be modified to also state:
   • “Educates the public; helps preserve and protects resources and permits law enforcement action
       against violators.” The term “excessive” is subjective and not defined.
   • There are individuals who believe most rules and regulations are excessive while others believe
       there are not enough rules and regulations. It must be emphasized that most rules and
       regulations already in place are valuable, and they contribute to the preservation and protection
       of cultural and historic resources.

"Roadless designation/road closure/ Impairs access; concentrates use in other areas.
They can also protect sensitive archaeological values.”
   • We recommend that the Influences be modified to state “Impairs motorized access on roads”.
       Roadless areas in and of themselves do not impair general human access. They clearly limit only
       one specific type of transportation access via roads, but permit most other forms of access.
   • We also recommend that the second sentence be modified to state:
       “Can also protect archaeological, cultural and historic sites, resources and values.”
      This change is more inclusive of the protection which roadless areas may offer.

"Bureaucracy/ Reduces ability to clear archaeological sites in timely manner; requires frustrating NEPA
process."
   • The word “frustrating” must be removed from the Influences. Use of this word is a subjective
       judgement that is not defined. Many individuals value the NEPA process, as it helps guarantee that
       the public is allowed input into the decision making process, and also presents information to the
       line officer on how best to protect resources.

"Lack of staff/Causes inadequate monitoring and water maintenance."
   • This should be modified to state as an Influence: “Causes inadequate monitoring, enforcement of
      regulations and water maintenance”.

"Decreased logging allowances /Increases fire risk to historic areas and sites."
   • The Influences should be modified to also include “Reduces risk of known and unknown site
      damage and destruction.”

"Decreased grazing allotments /Negative impacts to economy and access (via loss of stock trails)."
   • The Influence should be modified to also include: “Reduces risk of known and unknown site
      damage and destruction from stock use.”

"Bark beetle epidemic /Increases fire danger, increases wood gathering opportunities, opens new rangeland,
hampers trail access". The evidence as to whether or not the beetle epidemic increases fire danger is


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inconclusive, and leaning toward an actual decrease in fire danger. This part of the statement should
be removed.
   • We recommend the addition of the following influences:
       “May expose or conceal undiscovered resources, which can result in protections or negative
       impacts”.

 We suggest the addition of the following in the USFS Management section in Table 6:

Condition or Trend - "Allowances for off route travel by motorized vehicles”
Influence- “Can negatively impact, damage or increase vandalism to known and unknown sites”.
Dispersed motorized camping, off route game retrieval and firewood collecting all permit legal use of
motor vehicles off of designated routes. It can be difficult to see and/or avoid artifacts obscured by
vegetation or terrain when driving a vehicle off road. Unexpected or unanticipated noise from motor
vehicle use can negatively impact desired experiences. (See below.)

Condition or Trend - “Increased casual or hobby mining”
Influence- “Digging, sluicing and excavation can negatively impact, damage or destroy sites.”

Condition or Trend- “Increased anthropogenic noise"
Influence- “Can negatively impact desired historic or cultural experiences”
The acoustic environment has a significant impact on visitor perceptions of a location or area.
Noise that is not wanted or inappropriate can detract from desired experiences at cultural or historic
sites.

Page 18 states that the Rio Grande National Forest is developing a programmatic agreement for a
project on the Forest with the State Historic Preservation Office that “that may become the template for
Colorado Forests. The programmatic agreement will allow managers to streamline the NEPA process
while addressing specific steps in order to remain in compliance with Section 106 of the NHPA.”

Since every project is different, we caution the RGNF about using an agreement for one project as a
template on any other projects. Also, “streamlining” NEPA can be a code word for shortcutting, i. e., not
taking the time to address issues as required by the statute and its implementing regulations. While we
are in favor of making the review process work more efficiently, any programmatic agreement must
ensure that all proper steps are taken to fully disclose impacts to cultural and historic resources and
provide mitigation for any damage to them.




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Comments on Draft Report Assessment 14 Land Status and Ownership, Use, and Access Patterns

  We generally agree with and support the information provided in this draft assessment report.

  We agree with the statement on page 3 that “Budget declines and a loss (nationally) of expertise
and staffing of the special use program is causing a backlog of expired permits, inadequate
inspections of existing permitted uses, and delays or incorrectly issued new permits.”
   • Another statement must include recognition that inadequate monitoring and enforcement has
               resulted in unpermitted activities and use on the forest when a permit would normally be
               required.
   •           On page 5 we recommend that the Trend “The creation of “illegal non-system routes” across
               national forest system lands is ongoing and causes resource damage” be modified so it states “The
               creation and use of “illegal non-system routes” across national forest system lands is ongoing and
               causes resource damage.”

  We suggest the following additional “Influence of Trends” be added on page 7.

       •        “There is an increased potential of illegal and unauthorized use of forest lands from adjacent
                private property.” It is difficult to monitor and detect activities such as unauthorized motor
                vehicle use, theft of forest products, drug labs, dumping and occupancy and use on forest land
                immediately adjacent to private property.

       •        We fully agree with the statement on p. 7 that the shared boundary with other federal and state
                lands provides the Forest with opportunities for collaboration on land use and access. The
                Forest must take steps to mitigate inconsistent land use and access issues with adjacent lands.

       •        This assessment must include a statement that often times the boundary between forest land
                and adjacent lands under other jurisdictions is not accurately or visibly marked on the ground.
                This results in confusion about what activities are allowed, and leads to inadvertent actions and
                use resulting in negative impacts on forest land and resources.

   We highly recommend that the following be included in this assessment to elaborate on some of the
inconsistent land use and access issues:

           •     “Inconsistent management of permitted forms of travel between the Rio Grande Forest and
                 adjacent land or routes results in concerns and conflicts.

   For example, the Forest currently permits cross country travel by mechanized vehicles such as
bicycles, whereas adjacent BLM San Luis Valley Field Office lands and Grand Mesa-Uncompahgre-
Gunnison National Forest lands limit mechanized travel to designated routes. Riders legally riding on
undesignated routes on Forest lands violate regulations when they cross onto these adjacent public
lands.

  Most Forest roads permit unlicensed OHV use, and this results in conflicts and concerns when those
roads transition to adjacent county roads. All adjacent county roads currently prohibit unlicensed OHV
use according to Colorado Revised Statute 33-14.5-108.


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  Allowance of off route travel by snowmobiles on national forest land can lead to inadvertent use on
adjacent private land across unmarked boundary lines, which violates Colorado Revised Statute 33-14­
113.”

        •     The assessment must also mention how advances in technology will produce mechanized and
              motorized vehicles which will enable people to more quickly and easily access some areas of the
              Rio Grande NF and possibly increase the impacts from such use and increase the areas where
              impacts occur.

        •     There are inconsistent land management designations along the Rio Grande Forest boundary
              with adjacent National Forests and BLM lands.

        •     Please see the attached list cf these management boundary inconsistencies.

        •     This assessment must discuss how the use of adjacent land can impact RGNF land, and how use
              of forest land can influence adjacent lands. Sounds, sights, odors, water, wildfires and
              wildlife/animals/people often freely move across the boundary between the Forest and lands
              under other jurisdictions. Management or use of forest lands can dramatically influence the use
              of adjacent lands. Management of adjacent lands influences forest lands.
              For example, one studyi found that forest noise had an impact on property values of adjacent
              private land. Development of adjacent land can increase wildlife dependence on forest lands to
              meet their habitat needs. Recreational target shooting noise can influence use and desired
              experiences across boundary lines. Vegetation, management and use levels can impact the
              potential for man-caused wildfires on adjacent lands.

Since this assessment addresses access patterns, it should contain the following information:
   • miles of roads and trails open to various types of use (motorized and classes of vehicles) versus
       non-motorized); trends in types of use (e. g., snowmobiling versus cross-country skiing and
       snowshoeing); and patterns and trends in the use of developed facilities.

    •       We recognize that these items could be addressed in assessment chapters 9 and 11. If so, they
            should at least be referenced here.

The maps at the end of draft assessment 14 are useful, but some are difficult to read.
For example, the legend on Figure 3 is not readable.

In Figure 5, trails do not show on the map in spite of a designation for them in the legend.
Utilities and gas lines do not show on the map designed to show them, Figure 6.



'Ham, C.; Champ, P.A.; Loomis, J.B. and Reich, R. M. (2012) Accounting for Heterogeneity of Public Lands in Hedonic Property
Models, Land Economics, 88 (3): 444-456




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   Assessment 9, Recreation draft report comments

      Here are comments on Recreation Draft Assessment Report 9.
      We sincerely appreciate the opportunity to respond. We hope that you consider and
   incorporate the comments provided in order to create accurate final Assessment Reports.
      We are delivering this information in what we hope will be format friendly. You have the
   entire set of comments in PDF. Then, we are also sending separate chapters using word
   format, which may make it easier to reference specific comments sent to specific
   individuals.
      We are impressed with the general quality, accuracy and thoroughness of the draft
   Assessment Reports. We appreciate the efforts made by the RGNF to separate facts from
   opinions in compiling these reports.
      If you question the accuracy of any statements made in our comments, we can provide
   additional supporting documentation.
      These draft assessment reports generally do a very adequate job considering the major
   factors related to Recreation on the Rio Grande National Forest.
   Thanks so much for all the good work.
   Sincerely,
   Tom Sobal, Quiet Use Coalition
   Rocky Smith, Forest Policy Analyst
   Roz McClelland, Rocky Mountain Recreation Initiative
   Christine Canaly, San Luis Valley Ecosystem Council


      •   The information sources and gaps on page 1 also needs to include USFS sources of
          public education and information regarding recreation on the forest. Public
          education regarding recreational opportunities and regulations in the form of maps,
          signage and web information is a crucial part of recreation.
      •   The proper implementation of recreation management decisions depends upon the
          recreating public obtaining and understanding information provided to them
          regarding those decisions.
      •   The assessment should recognize and evaluate these sources of public information
          regarding recreation. The assessment must recognize that inconsistent public
          messaging between various sources of USFS recreational materials is confusing the
          public, making the difficult task of recreation management, more difficult.
      •   For example, there are numerous discrepancies regarding the existence cf and
          allowed uses on, trails depicted using current district Motor Vehicle Use Maps and the
          2012-2015 District specific visitor maps. Signage on the ground is not consistent with,
          and contradicts, documented decisions.

     We agree with the statement on page 2:




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   "We need more studies to evaluate the interactions between recreation use and the impacts to
   ecological integrity, especially in terms of the effects of dispersed recreation on species
   diversity, distribution, and ecological integrity."
     Dispersed recreation accounts for a large percentage of use on the RGNF, and the volume
   and intensity of this type of recreation is not well tracked or monitored.
       • We believe that the RGNF should recognize that recreational use likely impacts
           species diversity, distribution and ecological integrity. Management of dispersed
           recreation should not be limited due to the lack of definitive studies. There is ample
           evidence in the literature that human presence can negatively impact species and
           ecological integrity.
      Dispersed recreation can also have significant impacts on natural resources, including
   land, vegetation, natural soundscapes, wildlife and waterways.

      On page 2 the draft report states that there is limited documentation “regarding the
   location, type, and frequency of recreation user conflicts. Although there may be limited
   documentation on this for the RGNF, conflicts have generally been documented in other
   areas and forests, and regulations have been developed to mitigate and eliminate those
   conflicts.
           Common recreation conflicts on other forests include:
       •   Conflicts between motorized and non-motorized recreationists
       •   Conflicts between recreational target shooters and other forest users (The Arapaho
           Roosevelt is currently conducting a forest wide recreational shooting analysis. The
           adjacent Pike San-Isabel National Forest has closed areas to recreational target
           shooting to reduce conflict).
       •   Conflicts due to unleashed dogs (harassing/killing wildlife or other forest users)
       •   Conflicts between trail users in different user groups (see Conflicts on Multiple-Use
           Trails)
           http://www.fhwa.dot.gov/environment/recreational trails/publications/conflicts
           on multiple use trails/conflicts03.cfm
       •   Conflicts due to noise
       •   Conflicts due to mountain bike use off designated routes (Gunnison National Forest,
           SLV BLM public lands, Salida District Pike San Isabel National Forest have all
           addressed this in recent planning processes)
       •   Conflicts due to unmanaged recreational mining and rock/mineral collection.(The
           BLM Royal Gorge and Grand Junction Field Offices have developed additional
           management actions for recreational mining and rock/mineral collection).

      These types of conflicts occur nationwide on public lands. They are occurring between
   recreationists on the Rio Grande National Forest.
       We encourage the RGNF to be proactive in anticipating and responding to conflicts in
   this planning process. Recreational use will only increase on the forest and this will result
   in an increase in conflicts.



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          Therefore, the RGNF should consider the following:
         -separating user groups where conflict is likely
         -Educating the recreationists about avoiding behavior which may lead to conflict
   and implementing and enforcing regulations in certain locations. These actions can help
   maintain quality recreational experiences and reduce conflicts for all users.


          Noise and the protection of Solitude/Quietude
      Unwanted anthropogenic noise can significantly interfere with desired recreational,
   historical or cultural experiences in specific areas throughout the forest and lead to conflict.
      Experiencing unwanted noise from other forest users can result in the loss of a
   perception of solitude, and solitude has been identified as a significant part of the niche of
   this forest. Relaxing is consistently one of the top most popular participation activities on
   the RGNF (according to National Visitor Use Monitoring), and the vast majority of forest
   visitors find it difficult to relax while listening to loud, unwanted and/or annoying noises.
      Certain forms of dispersed recreation, such as target shooting and OHV use, can generate
   noise which interferes with these desired experiences. Noise can travel long distances, is
   difficult to escape, and the noise generated by a just one user can negatively impact large
   areas and the experiences of other forest visitors in those areas.
       The assessment must recognize the negative impacts and conflicts that result from
   unwanted anthropogenic noise, and recognize that there are sites and locations where such
   noise is inappropriate.

      The RGNF should consider the designation of quiet use areas in certain locations
   throughout the forest. Examples of these might include the areas within and areas
   adjacent to:
   •      Designated campgrounds, picnic areas, scenic overlooks, interpretive sites,
   trailheads, designated parking areas or wildlife viewing areas.
   •      Any municipality, town, city or significant residential development or subdivision.
   •      Significant seasonal wildlife habitat. Breeding, calving, birthing and nesting areas,
   or other locations important to wildlife. Studies have shown that anthropogenic noise can
   have significant negative impacts on avian species which depend upon vocalizations in the
   courtship process.
   •      Research Natural Areas, Special Interest Areas, Cultural or Tribal Areas, Historic
   Areas or certain other similar designated areas.
   •      Certain other concentrated dispersed use areas where unwanted noise would
   interfere with desired experiences. These might include popular dispersed camping areas,
   fishing areas or similar places.

     Also on page 2, we agree that:




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   "There are limitations to the recreation opportunity spectrum tool in outcome-focused
   management." For example, the ROS is applied to broad areas and ignores the fact that
   different site and area specific recreation opportunities can occur within that broader area
   assigned to the same ROS class. All trail classes can and do occur in all settings.
          • Given that almost half of the RGNF currently is within the specific Roaded
              Modified ROS subclass setting, an unusually large percentage, there may be
              opportunities to consider different ROS settings for some of those lands. This
              may help increase the diversity of recreation experiences on the RGNF and better
              coincide with existing designations and conditions.
          • There are opportunities to modify ROS to better align with designations for the
              Colorado Roadless Rule and the Continental Divide National Scenic Trail.

     The recreation guideline on page 6:
   “Trail development shall be coordinated with trail systems developed by municipalities,
   counties, states, other federal agencies, and partners” may need revision or clarification.
   Other non-forest entities (including but not limited to, municipalities, counties, states,
   other federal agencies, and partners may have different desires, goals, standards,
   restrictions, etc. with regards to trail development.
          • This guideline should be revised to include coordination and consideration of any
             and all land owners or managers under any jurisdiction, including private
             property.
          • Cross boundary coordination must occur, but this should not necessarily require
             a RGNF response to trails or trail systems on another jurisdiction.

     Coordination must involve the joint analysis and approval of an official trail designated
   by both managing jurisdictions for any trails that lead up to or cross the RGNF boundary.
   Designated trails generally encourage, facilitate and receive greater amounts of use than
   undesignated routes.
     It is irresponsible and improper for one jurisdiction to designate a trail that will facilitate
   use on the land across a boundary line unless the other jurisdiction has conducted an
   analysis and agrees to accept the burden of managing that use.
          • The RGNF must also consider full connectivity to designated public routes for
              trails before approval, when appropriate. Trails that lead from RGNF land to
              adjacent land under another jurisdiction must also have legally approved and
              designated connectivity to publicly open routes either on that adjacent route or
              beyond. For example, the RGNFshould not approve a new trail which connects to a
              BLM trail, but then transitions to an undesignated route on private land beyond.
          • Recreation event permits issued by the RGNF must also ensure that any travel
              involved is legally approved and permitted by all land owners or managers.
          • We agree with the guideline of prohibiting dispersed camping within 100 feet of
              any lake or stream. We believe this should be modified to include a broader




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              category of permanent or semi-permanent surface water (pond, fen, wet
              meadow, river, etc.).
          •   We also believe that this prohibition should become a standard to help ensure
              education, public compliance, and implementation. Newer public RGNF District
              visitor maps indicate that dispersed camping should occur at least 150 feet from
              water sources.
     The list of non-motorized recreation activities should specifically include hunting.
   With a few exceptions, Colorado regulations prohibit the firing of a gun from or across any
   road and hunters are not permitted to have a loaded firearm in any vehicle or on an OHV.
   Most hunting on the RGNF occurs during rifle season. Hunting is not an activity which
   depends upon motor vehicle use, and there are many hunters who use horses and their
   own two feet for access.
      The RGNF does permit game retrieval with ATVs. Use of ATVs for hunting is not
   required and many hunters use backpacks, game carts, horses/mules/burros and friends to
   retrieve harvested big game. ATV game retrieval is a source of conflict among hunters
   and other forest users and has a high potential to damage natural resources.

     The statement on page 9: “Only the highest elevations (8,500 feet and above) receive
   sufficient snow pack to allow for snowmobile use as well as other winter sport activities
   (downhill and cross-country skiing, snowboarding, tubing, sledding, snowshoeing) on a
   regular basis” must be modified.

      •   With climate change snow conditions may and will be different than they are today.
          We suggest the word “Currently” or “Typically” be inserted at the front of this
          sentence to account for changing snow pack.
      •   On page 10 the draft assessment report states that the forest has seven fourteeners,
          while on page 15 identifies six fourteeners on the Forest. The correct number is six,
          and page 10 needs to be corrected.
     The following statement on page 10 is surely a typographic error and must be
   corrected: "Our motor vehicle use map identifies 378 miles cf trails and 681 miles cf roads
  for public motorized use on the Conejos Peak, Divide and Saguache Ranger Districts."
      •   The 2015 RGNF Travel Analysis Process Report identifies 301 miles of motorized
          trails and 2127 miles of maintenance level 2-5 roads on the RGNF. (page 1). Other
          spreadsheets posted on the RGNF Travel analysis webpage
          (http://www.fs.usda.gov/detailfull/riogrande/landmanagement/projects/?cid=fse
          prd484850&width=full ) provide different totals for miles of motorized trail on the
          RGNF, but all are less than 378 miles.
      •   While the number and mileage of administrative roads and trails closed to public
          use is not easily discernable from the Travel Analysis Process Report, there are
          fewer than 378 miles of motorized trails and much more than 681 miles of roads
          publicly open to motorized use on the RGNF.



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     On page 10, the statement of where motorized recreation is prohibited must be clarified
   and expanded to properly include regulations as specified 36 CFR 212.51. Motorized
   recreation is restricted to routes and areas depicted on Motor Vehicle Use Maps, unless
   specific exceptions apply.
      • Perhaps the forest was trying to convey the concept of which management
           prescription areas permit motorized recreation, in which case the assessment
           should read "We do not permit motorized recreation in the following management
           prescription areas^".

      •   We also believe the above statement may not be correct, as the forest appears to
          permit (or does not specifically make attempts to exclude on District visitor maps)
          motorized snowmobile recreation in certain areas. For example, the Eligible Wild
          River management prescription area for Toltec Creek on the Conejos District
          Visitor map does not specifically prohibit snowmobile use.

   Dispersed Recreation vs Recreational sites
      The proximity to dispersed recreation on developed recreation sites must be considered
   in the assessment so the foundation can be clear for the EIS.. Many forest visitors expect a
   higher quality and more specific desired recreational experience from a developed
   recreation site, especially if they are paying a fee.
      The visual, auditory and olfactory byproducts of some forms of dispersed recreation
   can easily intrude upon designated sites. This can result in compromise of desired
   recreational experiences for developed site users, and lead to conflict.
       • Dispersed recreation can also minimize the RGNF investment in developed recreation
           sites.
       For example, dispersed camping is currently permitted directly adjacent to developed
   campgrounds and some dispersed campers use developed campground facilities and do
   not follow developed campground regulations.
      Unmanaged recreational target shooting can also negatively impact the desired
   recreational experiences of many developed site users.
      It must be recognized that all forms of dispersed recreation are not appropriate in all
   areas. Dispersed recreation should not conflict or interfere with the operation of
   developed recreation, scientific study, or special management areas.

          •   We suggest using another word instead of “backcountry” in the following
              sentence on page 12:
              “The Rio Grande National Forest is a popular destination for both motorized and
              non-motorized recreationists seeking backcountry areas for dispersed
              recreation.” The RGNF has a Backcountry management prescription area, and
              these management areas are not necessarily the undeveloped recreation areas
              where dispersed recreation generally occurs. “Backcountry” could be replaced
              with “undeveloped or less developed”.



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      We recommend additional clarification be added on page 12 regarding dispersed
   recreation. This page contains a sentence: “Essentially the recreation that happens
   “everywhere else”, dispersed recreation occurs in and outside wilderness areas on roads,
   trails and general forest and water areas which are not managed as developed sites.”

     Recreational use occurring on a designated road or trail is not necessarily dispersed
   recreation, but rather recreational use that is occurring on a designated, developed and
   improved USFS facility that is specifically managed for public use. Trails especially are
   facilities developed and managed to accommodate recreational use. Driving for pleasure is
   a popular recreational activity on forest roads.
      The recent RGNF Travel Analysis Process evaluated the recreational benefit of roads and
   certain trails. Roads and trails may not be developed recreation sites, but they do
   concentrate recreational use in certain locations and corridors. Studies indicate that most
   human use occurs within a half mile of a road or trail.
           • While the recreational use associated with roads and trails may be dispersed, it
              must be recognized that roads and trails are facilities which are frequently used
              for recreation and are often managed for recreational use.

     Page 12 contains the sentence: "In these dispersed use areas there are sometimes user
   conflicts during peak seasons (especially hunting season), health and safety concerns (i.e.,
   littering and human waste), and visible resource degradation (i.e., vegetative removal,
   trampling, soil erosion, wildlife disturbance, etc.)."
       We believe that there are conflicts in areas that occur outside of peak seasons. We
   recommend the RGNF consider additional management of dispersed recreation, especially
   in concentrated use areas.

     The discussion of infrastructure maintenance and operating costs on p. 12 refers to "the
   twenty-year life cycle cf our next Forest Plan". As the Forest Service well knows, the National
   Forest Management Act requires revision of plans at least once every 15 years.

     On page 14 The following sentence is included in the "Solitude in Every Season" section
   on page 14: "As recreation pressures increase in other parts of Colorado, the public lands of
   the San Luis Valley maintain their remote spirit and traditional culture." While we agree
   that RGNF lands are generally maintaining their remote spirit, solitude and traditional
   culture relative to other forests, this assessment must recognize that this is changing.
      The increased recreational pressure on other forest lands is also requiring increased
   recreational regulations. Recreational pressure and increased regulations are combining to
   push forest users to RGNF lands. An increase in dispersed recreational use on RGNF is
   resulting in a general decrease in the perception of solitude for forest visitors.
      We encourage the RGNF to be proactive in managing the forest in order to maintain
   solitude. We recommend that the RGNF recognize recreational trends in other parts and



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   Forests of Colorado, and include components in this Forest Plan to proactively respond to
   those trends.

      We agree with statements made on page 15 that the Fourteeners are a popular
   recreation destination which is also resulting in environmental impacts. The assessment
   report must acknowledge that the area frequented, and resulting impacts, of Fourteeners
   visitation extend beyond the use of actually climbing the peaks.
      Fourteener areas also involve use of vehicles on access roads, vehicle parking, dispersed
   camping, heavy use of trails and areas approaching the peaks, and human waste disposal.
          • We recommend that special management areas be designated for the Willow
             Creek and Lake Como access areas, in order to responsibly provide appropriate
             access while preserving resources for Fourteener climbing.
          • The discussion of important recreation sites which begins on page 16 must
             include RGNF areas mentioned as part of the Colorado Birding Trails.

     Colorado Parks and Wildlife and other partners have identified specific watchable
   wildlife areas and locations where birders can best enjoy their activity as Colorado Birding
   Trails. (http://coloradobirdingtrail.com/ ) Birding is a popular recreation activity
   worldwide and is best enjoyed in specific habitats where natural conditions predominate.
   Effective birding depends upon natural soundscapes for bird song and call identification.

      Specific locations on the RGNF that are part of Colorado Birding Trails include:
         • Poso Campground
         • Moon Pass
         • Storm King Campground
         • North Crestone Creek Campground
         • Platoro Reservoir area
         • Conejos Canyon area
         • Trujillo Meadows area
         • Wolf Creek Pass
         • Big Meadows Reservoir area
         • Park Creek area
         • Summitville area
         • Pinos Creek
         • Embargo Creek
         • Groundhog Park area
         • Beaver Creek Reservoir area.

     Other specifically identified (http://cpw.state.co.us/thingstodo/Pages/Viewing.aspx )
   Colorado Parks and Wildlife watchable wildlife viewing locations on the RGNF include:

      •   Natural Arch Watchable Wildlife Route



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      •   Bachelor Historic loop area
      •   Highway 149 area from South Fork to Spring Creek Pass
          Brown Lake area.
     We do not agree with the statement on page 18 that "Management cf the Trail is
   consistent with the nature and purposes cf the Trail and the 2009 Continental Divide National
   Scenic Trail Comprehensive Plan and any revisions."
      There are concerns that CDNST management may not be consistent with the nature and
   purposes of the trail. A decision to designate and permit motorcycle use on the CDNST in
   the 2010 Gunnison Travel Management Plan was appealed by numerous groups. This
   appeal was upheld in 2010 because a determination was made that supporting
   documentation which indicated that motorcycle use on this trail was not substantially
   interfering with the purpose and nature of the CDNST was lacking.i
      This very same CDNST segment in question (trail 813) crosses back and forth between
   the GMUG Forest and the RGNF. Thus, there is insufficient evidence that motorized use on
   the CDNST is not substantially interfering with the nature and purpose of that trail on both
   the Gunnison and Saguache Districts.
      Therefore, trail management may not be consistent with section 6 b(5)(a) the 2009
   CDNST Comprehensive Plan, nor with Forest Service policy. See FSM 2353.42.

      We wish we could agree with verbiage stating "The Continental Divide National Scenic
   Trail is a quiet, continuous mountain path" on page 18. We would support a forest plan
   standard or guideline to manage the CDNST as a quiet path. When one considers
   sound level as a measurement of quiet, there are long segments of the CDNST on the RGNF
   that are frequently not quiet.
      For example, dirt motorcycles are allowed on the CDNST/Trail #813 for long segments
   of RGNF from Lujan Pass to Windy Peak.
      The dirt motorcycles that actually adhere to Colorado State Law emit up to 96 dBA in
   noise. That amount of noise is the opposite of what is considered quiet by most people.

      We thank you for recognizing on page 18 that the Colorado Trail has no official
   management designation. Although the Colorado Trail route deservedly has received its
   share of attention and use, and citizen efforts have done a good job of promoting the
   concept of this trail, we find it odd that a Forest Plan Guideline listed on page 6 of this
   assessment specifically prioritizes reconstruction, operation, and maintenance on the
   Colorado Trail over other non-Congressionally designated trails.
      We believe that it is unwarranted to make a programmatic commitment of limited RGNF
   staff time and funding to a trail concept that lacks an official management designation. This
   is especially true since the Colorado Trail Foundation exists and has made admirable
   efforts to organize and mobilize volunteers and funding for this route.
      There are other trails on the RGNF which deserve attention for reconstruction, operation
   and maintenance, but are not receiving it.




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      This draft assessment report states on page 19 that “The majority of the inventoried
   roadless area acreage where roads are prohibited on the Rio Grande National Forest has
   been designated as backcountry areas (management area 3.3).“
      We thank the RGNF for recognizing that not all roadless area acreage is in a
   management prescription area that prohibit roads. The adoption of the roadless rule in
   2001 and the Colorado Roadless Rule in 2012 are significant changes that have occurred
   since the 1996 plan which require attention in this forest plan revision process.
      •   There is a “need for change” so that management prescription areas for
          Colorado Roadless Areas prohibit roads.

      Page 19, lists activities occurring or increasing since 1996 that have resulted in
   increased safety risks. The following should be added to this list:
         • recreational target shooting
         • use of OHVs on mixed use trails
         • use of mountain bikes on non-motorized trails and on unauthorized trails.
         • unauthorized use of OHVs off of designated routes.

      We do not fully agree with the statement on page 19: "Conflict happens when a person's
   expectations for his or her recreational experiences are not met." There are numerous
   instances when expectations for recreational experiences are not met that have nothing to
   do with conflict and more to do with disappointment.
      For example, a recreational user might expect a scenic view to not be obscured by low
   clouds; fishing at a lake to be better than it is, or there to be more snow for skiing than
   actually exists. In all of these instances, expectations for recreational experiences are not
   met, but this cannot be attributed to conflict.
          • We prefer, and recommend the RGNF use, the definition of conflict used by Jacob
              and Schreyer(2) which is “goal interference attributed to another's behavior”.
              This definition is much more applicable and appropriate for a recreation
              assessment and to recreational user conflict.

      Since conflict involves a recreationist’s response to something, what a recreationist
   responds to can involve more than direct contact, sounds or the sight of physical evidence.
   Perceptions received via all senses can contribute to conflict. For example, the odor of
   exhaust from snowmobiles may result in conflict in a cross country skier.

     On page 20, the sentence "The Decision was appealed by entities opposing bicycle use on
   the trail" must be modified to accurately reflect the positions of the appealing entities.
     This sentence should read: "The Decision was appealed by entities opposing bicycle use on
   the trail and/or by entities who believe that unmanaged bicycle use on the trail would
   substantially interfere with the purpose and nature of the trail."



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         •   We encourage the RGNF to address the issue of what uses will be allowed on the
              CDNST in the Forest Plan revision. The narrative on p. 20 is less than definitive
              in this regard.
          • The RGNF needs to work with the GMUG NF to ensure that management of the
              CDNST complies with the Comprehensive Plan and Forest Service Policy, and is
              consistent across both national forests.
      While we agree with the statements on page 20 that user created trails and campsites
   are a concern and a source of conflict, we believe that the word "route" should be used
   instead of "trails". The creation and use of road- like routes by full sized motor vehicles is
   also a concern and source of conflict. The use of the word “route” better captures the full
   range of user created travel ways.

      Also on page 20, it is stated that the RGNF manages user created trails and camping
   sites in “backcountry areas”.
       • We believe this statement should be modified to avoid confusion with the 3.3
           Backcountry management prescription areas. We also know that the RGNF has
           made, and should make efforts to manage user created routes and camp sites in all
           areas of the forest, including frontcountry and other areas.
       • We recommend removing “in backcountry areas” from this sentence to more
           accurately depict current management. Again, “backcountry” could be replaced with
           “undeveloped or less developed” or other similar term.

     The discussion of user created routes should also include additional ways in which they
   cause conflict, including the trampling of vegetation, wildlife disturbance, spreading
   noxious weeds and disturbing cattle and livestock.

      We believe the assessment report should devote additional wording to the problem of
   unauthorized motorized use on the RGNF, by both OHVs and licensed motor vehicles.
   The draft report lumps unauthorized motorized routes in with all other forest user groups
   and should provide more discussion regarding this issue in the assessment.
      • We believe unauthorized motorized use is the most significant and widespread
         recreation related problem and concern on the RGNF, and it causes the greatest
         amounts of conflict and negative impacts.

     There is a large amount of evidence supporting this belief. The relatively open terrain on
   many parts of the RGNF helps facilitate this use. Motor vehicle technology has increased
   considerably since the last forest plan, allowing off route use to more easily occur in new




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   areas. More people are driving highway licensed SUVs and trucks than ever, with the
   capability of going off road.
      The U.S. Forest Service recognized unmanaged recreation, and specifically unmanaged
   motorized recreation, as one of the four greatest threats to forests in 2004, which led to the
   2005 travel management rule.
      Policies which allow off route motorized use for dispersed camping and game retrieval
   blur the line between illegal and legal use. A 2015 OHV grant application submitted by the
   RGNF Divide District estimated 1000 miles of unauthorized motorized routes existed on
   the RGNF. This grant sought additional funding for education and enforcement related to
   unauthorized motorized use.
      There is insufficient budget and staffing for proper recreation management and also
   proper education and enforcement of motor vehicle regulations.

     Table 5 on page 21 is confusing, as the figures do not agree with the 2015 Travel
   Analysis Process Report. Also, the road miles numbers do not add up.
      • The total number is listed in the Table as 2414 miles, but adding the two categories
          (managed for low clearance use and managed for high clearance use) adds to 2420
          miles.

      We agree with the statement on page 21 referring to an existing maintenance backlog
   for roads, trails and trailheads. We recommend that the RGNF and this draft assessment
   recognize and state that it takes more than maintenance to properly manage all aspects of
   recreation infrastructure.
       • We recommend that the RGNF recognize the management shortfall which exists on
          the RGNF. Management is a more comprehensive term which includes maintenance
          but also things such as monitoring, patrolling, education, enforcement, planning,
          work related to closure and restoration of unauthorized routes, etc. Management
          responsibilities are also discussed on page 22.
       • We recommend that “maintenance backlog” be changed to “management backlog” to
          better portray the existing situation.

     The same sentence ends by stating the RGNF has a “need to improve some recreational
   access.” The word “improve” is subjective, and can mean different things to different user
   groups. For example, “improve” could mean upgrading existing access by reconstructing a
   rough road, or it could mean creating new access to an area not currently accessible.
     The 2015 RGNF Travel Analysis Process Report recommends some potential actions
   which would decommission certain roads, partially due to the huge road maintenance
   shortfall which exists. Some users may not interpret the implementation of that action as
   an improvement.




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     We suggest the end of this statement be modified to read “need to improve
   recreational management", as this would more comprehensively include all actions the
   RGNF identifies as a need.

      We fully agree with the statement on page 22 that "Existing levels cf allocated funds are
   inadequate to meet National Quality Standards at all developed sites and trails on the Rio
   Grande National Forest."

     On page 22 the discussion of "Conditions and Trends that Affect the Quality and
   Sustainability of Recreation Settings and Opportunities" must include a discussion of the
   difficulty with properly educating forest recreational visitors regarding regulations, and
   also the difficulty enforcing those regulations.
      For example, despite the production and distribution of Motor Vehicle Use Maps on the
   RGNF, unauthorized use of motor vehicles off of designated routes remains a major
   concern. Limited staffing and time, and increased forest visitation and use, requires law
   enforcement to increasingly prioritize which regulations to enforce.
      Lack of sufficient education and enforcement can result in conflicts and resource
   damage, which affects the quality and possibly the sustainability of recreation settings and
   opportunities.

      A sentence on page 24 reads: "However, we expect concession operations, partnerships,
   grants, and site prioritization with management options developed through the upcoming
   recreation facility analysis to buffer the shortfall in our recreation budget."
       While we encourage the RGNF to try to obtain funding and implement these actions, we
   believe these expectations may fall short.
      As one example, the RGNF TAP found that there is an accumulated deferred maintenance
   budget shortfall of over $2 million dollars for motorized trails alone. Given that the entire
   Colorado State OHV grant program only awards ~$4 million per year in funds statewide, it
   is unlikely enough funding will be available to bring all motorized trails up to standards.
       We suggest the word "help" be added before the word "buffer" in this sentence to
   bring expectations closer to reality.

     On page 24 the spruce beetle is improperly included in a discussion of invasive species.
   Spruce beetles are not an invasive species, as there is no evidence to suggest that they are
   non-native or alien. They likely have existed as long as spruce trees have been here.
     Page 26 mentions driving for pleasure as one of the top activities on the RGNF. The
   assessment must capture the fact that what most people are driving has changed
   significantly since the 1996 Plan.




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     The 1990’s saw a huge increase in the popularity of sport utility vehicles (SUV) in the
   United States which was likely not recognized in the 1996 Forest Plan. In 1999,
   approximately 20% of vehicles were SUVs.
     The popularity of SUVs has increased since then, such that they are now the most
   common type of vehicle class in the U.S. (about 33% of vehicles are now SUVs).
      The popularity of SUVs is significant because they are high clearance vehicles, many
   with 4WD or all-wheel drive. They permit the average driver (coming from a place like
   Denver or points beyond) to more easily access the majority of ML-2 roads on the forest
   which are not maintained for passenger cars. They also permit and facilitate easy access off
   designated road, whether this is within 300 feet for dispersed camping or beyond.
     This has made the management of motor vehicle use on the RGNF much more
   challenging. Implementation, education and enforcement of MVUMs and regulations have
   become increasingly difficult, especially in remote locations, due to the increased access
   provided by SUVs.

     Additional information should be included in the discussion of recreation trends
   beginning on page 27.
      A 2013 presentation (online at http://www.fs.fed.us/speeches/outdoor-recreation-
   national-forest-system ) by Mary Wagner, Associate Chief of the U.S. Forest Service,
   suggested that USFS studies indicate the following recreation trends:
    “•As our population grows, our nation's outdoor recreation resources will decline on a per­
   person basis. Growing recreation demand could be constrained by resource limits.
     • The five outdoor recreation activities likely to have the fastest growth are developed skiing,
   challenge activities, equestrian activities, motorized water activities, and day hiking. The
   activities expected to decline the most are motorized cjf-road activities, motorized snow
   activities, hunting, fishing, and floating activities. But most activities are expected to
   increase. ”
     On page 27, one paragraph states “Various forms of skiing, including snowboarding,
   declined during this decade” referring to the years between 2000-2009. The next
   paragraph states that developed skiing is one of the “top five activities in terms of growth
   of number of participants.” These two statements seem to contradict each other.
     The discussion of recreation trends must take into account the relative impacts of the
   various types of recreation. It must be recognized that some forms of recreation have
   greater impacts (on natural resources, wildlife, other forest users) than other forms.
      A trend common to nearby National Forest, BLM and other public lands is an increased
   public desire to add large numbers of new recreational trails, especially OHV and mountain
   bike trails.




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      •   We believe that the assessment should recognize this fact, and assess the current
          ability of the RGNF to provide proper management direction in responding to these
          demands.

      •   We recommend that the RGNF conduct and include a suitability analysis, and
          include maps which determine and depict over-ground travel suitability for OHVs,
          over snow vehicles, and mountain bikes. These maps should depict
          suitable/unsuitable areas where these forms of recreational travel are allowed/not
          allowed, where they are restricted to designated routes, and where possible
          opportunity areas for these uses may exist.

      The assessment should recognize the fact that all forms of recreation can have negative
   impacts on wildlife and other resources. There is increasing evidence that non-motorized
   trails and use also can have significant negative impacts on wildlife.
       • The assessment should recognize that there may be some areas where no recreation
           is appropriate, as the recent 2013 San Juan Forest Plan did at 2.14.4.

      The assessment should recognize that the addition of any new travel route, for
   recreational or other use, will result in negative impacts to wildlife. This was best stated in
   the FEIS Gunnison Basin Federal Lands Travel Management Gunnison National
   Forest in 2010 (page 3-112) : "Basically all activities related to roads and trails will have
   an effect on wildlife species. The widespread, detrimental impacts cf human disturbance on
   wildlife are well documented in the literature. No positive benefits to wildlife have been
   identified from increases in travel management access."
      Another trend that is causing concerns on Colorado public lands is the creation of illegal
   trails by mountain bikers. Bicycles have some of the most specific travel needs of all trail
   users. They benefit greatly by having developed routes to follow due to their limited power
   output, higher rate of speed than foot or horse travel, use of wheels, and limited turning
   radius.
     One 2014 survey, conducted by a Salida, CO connected group, indicated that 15% of
   mountain bike users construct illegal trails and 18% use illegal trails. (6)
   Numerous public land agencies have limited mountain bikes to designated routes in order to
   better provide safe and responsible bicycle riding opportunities and better manage bicycle
   use.


    On page 30, we caution the use of the SLV GO Master Plan as it was developed with
   limited public participation. SLVEC was not invited to the original SLV GO meetings and
   found the survey’s that were conducted had responses that came from a very specific
   mountain bike group not living in the San Luis Valley. If you compare those results with
   other surveys conducted focused on Rio Grande Forest uses, it will become apparent that



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   the SLV GO results look skewed in favor of mountain biking and do not reflect the balance
   of other uses on the Forest.
      SLVEC eventually invited itself to the SLV GO meetings and it was apparent that there
   had been no discussion regarding impacts to wildlife corridors or connectivity. If you look
   at the SLV GO Master Plan, 3 pages are devoted to conservation, the third page is about
   another area of the state. This vision needs a lot more work regarding natural resource
   baseline gathering. SLVEC’s input has been minimal, the same is true of other wildlife
   agencies.
      •   The increased use of drones must be mentioned on page 32 as an additional form of
          emerging and unique recreation which is causing concerns.
     We agree with the statement on page 35: "It is important to realize that we cannot meet
   all demand for recreation placed on us by a growing population due not only to fiscal
   capability, but also because of potential impacts of recreational use on other forest resources
   such as ecological integrity and species diversity."
      It is important to recognize that economic sustainability of new recreation facilities
   includes more than planning, construction and maintenance. Recreation facilities require
   long term comprehensive management commitments for things such as monitoring,
   education, enforcement, event permitting, restoration, hazard mitigation, managing
   growth, dispersed camping, etc.
     While we agree that volunteers and outside sources of funding can assist the RGNF with
   recreation management, these sources of assistance may not be sustainable in the long run.
   Funding and volunteer labor can fluctuate and disappear.
      Funding and volunteers may be able to contribute to construction and maintenance, but
   are likely unwilling or unable to contribute to long term management of recreational
   facilities. For example, the RGNF has learned that it is much easier to obtain Colorado OHV
   Grant funding for OHV trail maintenance than it is to obtain funding for OHV education and
   enforcement.
     Simply managing volunteers requires a commitment of staff time and funding by the
   Forest. The RGNF will be ultimately responsible for all aspects of recreation management.
   The assessment should recognize the limitations of outside sources of assistance.
      The 1996 RGNF Plan stated that "Outdoor recreation is the primary resource on the
   RGNF" (page P-11). We believe that is still true today, and this must be emphasized in the
   recreation assessment.
      While outdoor recreation on the RGNF may be its primary resource, it also poses the
   greatest risk. It is difficult to manage the volume of recreational use; to make an unknown
   and unlimited number of recreational users fully aware of opportunities and regulations,
   and there is generally an inadequate amount of funding and staff allocated for proper and
   comprehensive recreation management.



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      Comments on page 34 allude to the fact that some local residents combine recreation
   with subsistence type activities such as firewood gathering. We agree that there may be
   differences between the way local residents use the forest and the way other visitors use
   the forest.
      It is important for the RGNF to recognize that the overall number of local residents that
   use the forest for subsistence type activities is limited when compared to the overall
   potential number of non-local forest visitors. Attitudes and practices, and an
   understanding of regulations, may differ between user groups also.

      The assessment needs to recognize that what may be subsistence type activities for
   some locals (firewood gathering, hunting, fishing, cross country ATV use for game
   retrieval) are recreational activities for the general public.
      Special allowances applied forest wide which might aid a limited number of locals (such
   as cross country motorized use for certain activities) are unmanageable and unsustainable
   when practiced by unlimited numbers of the general public.

      Page 36 of this draft assessment report cites recent National Visitor Use Monitoring
   figures which indicate that more non-locals visit the forest than locals. Although the
   relative amount overall visitation on the RGNF is relatively low when compared to some
   other forests, visitation is increasing and expected to continue to increase.
      Most RGNF forest visitors are Colorado residents, and Colorado’s population is expected
   to continue to experience one of the highest growth rates of any State, according to US
   Census data.

     There are numerous references in this draft assessment regarding the need to gather
   additional data or conduct additional studies. While we support using, and basing
   decisions upon, the best available science, we caution delaying all decisions or actions
   because of inadequate data.
     This is especially true when it comes to the social sciences, as human behavior is
   extremely complex and variable. The RGNF should try to avoid “analysis paralysis” when it
   comes to limiting or restricting recreation due to a lack of data.
       • We encourage the RGNF to err on the side of caution favoring wildlife and resource
          protection when making management decisions regarding recreation.

      The RGNF recreation assessment must recognize the problems and concerns associated
   with its policy of allowing cross country game retrieval in this assessment. Game retrieval
   is primarily an activity associated with recreational hunting.
     The promotion and use of ATVs for hunting has increased significantly since the 1996
   Forest Plan. Since game retrieval is permitted as a guideline for certain forest management
   area prescriptions throughout the forest, it is more of a programmatic issue as opposed to a
   project level issue.



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      The following are concerns with the current RGNF game retrieval policy:
      • Regulations, and public messaging, regarding this policy are confusing and
          inconsistent
      •   It offers certain recreationists preferential treatment over other recreationists
      •   Perpetuates the myth that it is acceptable to use a motor vehicle off route, and that
          this use is not damaging and has no impacts
      •   It allows hunters to travel an unspecified distance off of designated routes in an ATV
          (up to 4 miles in some locations) and the limits of the game retrieval area
          boundaries are very difficult to discern
      •   Some designated game retrieval areas delineated on the MVUM are not legally
          accessible to ATV use
      •   It allows use on closed routes, motorcycle singletrack trails or non-motorized trails,
          making it more difficult to manage unauthorized motorized use on these routes
      •   Leads to conflicts with other recreationists, hunters, wildlife and natural resources.
      •   Soil, water, land or vegetation damage are not defined
      •   It is difficult to monitor and enforce

     Over snow vehicle recreation should be considered in this assessment. Newer
   technology has made snowmobiles more powerful and lighter than before, and this has
   allowed them to access additional areas. Winter recreational use of all types has increased
   on the forest, resulting in an increase in winter recreation conflicts.
      Lynx have populated areas of the forest, and unmanaged snowmobile use has the
   potential to negatively impact lynx.

     The RGNF is required to evaluate its designations and policy regarding over snow
   vehicle use as a result of amendments to 36 CFR parts 212 and see the Use By Over-Snow
   Vehicles (Travel Management Rule), 80 Fed Reg 4500 et seq to., January 28, 2015261.
      • The assessment should thus provide any data available on winter recreation use,
          including amount of use (number of trips per day), and areas of existing and
          potential conflict between OSV and non-motorized users.

      The identification and specific designation and delineation of areas open and closed to
   over snow vehicle use should be considered in this planning process. Forest Visitor maps
   have long depicted specific areas which are either designated as open or closed to
   snowmobiles on all parts of the forest.
      Over snow vehicle use designations are forest wide, and deal with larger land areas,
   suggesting they are more programmatic, not project and site specific, and thus more suited to
   a forest plan revision process. While we are unsure of the source for this decision and
   designation, these areas must be considered as part of this assessment.




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   i   Recreation comment references

   (1) Appeal /Response and Decision Letter from Deputy Regional Forester Maribeth
   Gustafson 9/30/10 Pg. 2Available online at
   http://www.fs.usda.gov/Internet/FSE_DOCUMENTS/stelprdb5207761.pdf

   (2) Jabob, G. R. & R. Schreyer 1980. “Conflict in outdoor recreation: A theoretical
   perspective”. Journal of Leisure Research, 12: 368-380.

   (3) Frid, A., and Dill, L.M., 2002, “Human-caused Disturbance Stimuli as a Form of Predation
   Risk” Conservation Ecology Vol. 6 no.1

   (4) Knight R. L. and D. N. Cole. 1991. “Effects of recreational activity on wildlife in wildlands
   “. In: Trans. 56th N. A. Wildl. and Nat. Res. Conf.

   (5) Gill J. A., K. Norris, and W. J. Sutherland, 2001, “Why behavioral responses may not
   reflect the population consequences of human disturbance.” Biological Conservation
   97:265-268

   (6) Singletracks.com infographic. Based on 2014 mountain bike rider survey results,
   referenced online February 2015 at
   http://images.singletracks.com/infographics/mtb trail infographic.pdf




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   Comments on Multiple Uses Scenic Character 8.1 Assessment Draft Report


      We sincerely appreciate the opportunity to respond. We hope that you consider and
   incorporate the comments provided in order to create accurate final Assessment Reports.
      We are delivering this information in what we hope will be format friendly. You have the
   entire set of comments in PDF. Then, we are also sending separate chapters using word
   format, which may make it easier to reference specific comments sent to specific
   individuals.
      We are impressed with the general quality, accuracy and thoroughness of the draft
   Assessment Reports. We appreciate the efforts made by the RGNF to separate facts from
   opinions in compiling these reports.
      If you question the accuracy of any statements made in our comments, we can provide
   additional supporting documentation.
      These draft assessment reports generally do a very adequate job considering the major
   factors related to Recreation on the Rio Grande National Forest.
   Thanks so much for all the good work.
   Sincerely,
   Tom Sobal, Quiet Use Coalition
   Rocky Smith, Forest Policy Analyst
   Roz McClelland, Rocky Mountain Recreation Initiative
   Christine Canaly, San Luis Valley Ecosystem Council

      On page one the draft report states that:
   "These landscapes give these communities their identity."
      Surrounding forest lands and landscapes provide important characteristics which help
   contribute to the identities of communities. Landscapes do not necessarily give
   communities their entire identities, and they are not the only component contributing to
   the identity of communities.
      We understand that landscapes do provide “A Sense of Place.” There are a multitude of
   social, cultural, economic, and other factors that contribute to the identities of
   communities.
      We recommend that this statement be modified so it reads “These landscapes
   significantly contribute to the identities of these communities” or simply
   “These landscapes contribute to the identity of the surrounding communities.”

      On page 9 the statement:
   "No records of historical timber activities were kept prior to 1945."
   There is evidence which contradicts this statement.
   GIS data, which is available on the USDA Forest Service Geodata Clearinghouse website at
   http://data.fs.usda.gov/geodata/edw/datasets.php, contains a wealth of historical timber




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   harvest data for the RGNF. There are numerous records of planned and accomplished
   timber cuts before 1945.
      As an example, there was a single tree selection cut made in the Ruby Lake area in 1910,
   which described the method and equipment used as “animal logging.”
      It is important to recognize that timber activity can and does alter scenic resources, and
   that there are some historical records of timber activity on the RGNF. This historic timber
   activity may or may not be visible today in these locations, and its impact on current scenic
   integrity may be negligible.

      We disagree with the following statement on page 9:
   "The landscapes identified as suitable for timber harvesting may be viewed as slightly altered
   to heavily altered at any time depending on implementation of planned management
   activities."
      There are locations on the RGNF identified as suitable for timber harvesting that have
   never had any management activities implemented on them.
      Thus, it is not accurate to view those areas as slightly altered when in fact they have
   never been altered. Identification of an area as suitable for an action does not
   automatically imply that the area has or ever will have that action occur within it.

      We suggest this statement be modified to state:
   "The landscapes identified as suitable for timber harvesting may already be, or later become,
   slightly altered to heavily altered at any time depending on possible implementation cf
   planned management activities."

      On page 9, there is a statement:
   "Typically the events that create the most notable changes in the landscapes are insect and
   disease infestations, and fires that burn outside the range of historic variability."
      What are the criteria for determining that a fire has burned outside the range of historic
   variability? Humans and the USFS have historically suppressed fire on the RGNF in modern
   history.
      Table 6 on page 25 of the RGNF Assessment Report for Ecosystem Integrity, Systems
   Drivers and Stressors for Terrestrial Ecosystems indicates that the current estimated
   yearly acres burned on the RGNF are only about 25% of historic estimated yearly acres
   burned.
      The relatively low amounts of acreage burned per year have provided people with an
   abnormal attitude toward fire. Most people do not understand that fire used to be
   historically more prevalent and common on the RGNF than present conditions.

     The assessment includes this statement on page 12:
   "The 2005 and 2010 National Visitor Use Monitoring report showed that the majority of
   people recreating on the forest either live in communities within 50 miles of the forest, or they
   are from out of state and travel from over 500 miles away to enjoy the forest."

      We agree that a significantly larger percentage of people were viewing natural features
   in 2010 than in 2005 (according to National Visitor Use Monitoring data). We are not
   convinced, however, of the validity of combining viewing natural features with driving for



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   pleasure. When you consider historical National Visitor Use Monitoring data, driving for
   pleasure appears to have declined markedly.
      In 2000-2001, 57% of visitors indicated they participated in driving for pleasure but this
   figure markedly declined to only 17.2% and 25.9% in 2005 and 2010, respectively.
      Also the increase between 2005-2010 in both driving for pleasure and viewing natural
   features as primary activities was mostly due to an increase in viewing natural features.
     Viewing natural features as a primary activity increased 8.8% while driving for
   pleasure increased only 1.9%. Thus viewing natural features does not correlate precisely
   with driving for pleasure.

      We agree with the statement on page 16 that:
      "The current insect epidemic affecting forests across the Rocky Mountain Region, including
   the Rio Grande National Forest, is not unusual. ” It must be pointed out that the negative
   public perceptions toward insect damaged forests mentioned on page 9 of this draft
   assessment report are subjective opinions.
      Those opinions are likely coming from individuals who likely have not personally
   experienced insect outbreaks within the recent 100-year period of low insect outbreaks.
      Opinions are based upon experiences, and people come to value what they know and
   experience. Those who have never experienced insect outbreaks are thus more likely to
   react negatively to those changes.
      Future public attitudes toward insect outbreaks will likely be different due to
   experiences obtained from exposure to current forest conditions, and increasing
   knowledge that bark beetles are a natural change agent.

       We agree with the statement made on page 17 implying that there are factors which
   make proper management of scenic resources more challenging. While the RGNF has no
   control over some factors such as population growth, it does have management over how
   it responds to the impacts of those factors which impact scenic resources.
       For example, the forest can regulate the method, scope, size and location of any fuel
   treatments which might occur in the wildland-urban interface on forest lands. The forest
   can manage how it treats non-system user created routes on forest lands with education
   and enforcement to help prevent the formation of these routes, and on the ground actions
   to close and restore those routes.

       Road and trails have both been associated with altered scenic resources (page 1 of the
   draft assessment) while at the same time identified as providing access to areas where
   high scenic quality is to be maintained (page 3).
      Roads and trails might be viewed as a cultural asset that contributes to scenic character
   in certain locations, but normally the visual presence of a road or trail detracts from a
   naturally appearing landscape.

         •   This assessment must include additional language describing the huge impact
             roads (and to a lesser extent trails) have on scenic character. Roads are the
             largest and most widespread visible human artifact on earth, and this is also true
             on the RGNF.




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         •   The 2015 RGNF Travel Analysis Process identified over 2819 miles of system
             roads on the forest (and an additional 1300+ miles of standard trails).
             Designated system travel routes are the largest and most significant actively
             maintained feature on the RGNF which negatively impacts scenic character and
             naturalness.

       An estimated 1000 miles of unauthorized motorized routes further degrade natural
   appearing scenic character by disturbing and removing vegetation. Because these routes
   were neither designed nor engineered before appearing on the landscape, their impacts,
   including that on visual character, can exceed the impacts of system roads.
      Permitted off route motorized travel for dispersed camping and game retrieval also
   significantly impact scenic character, especially along travel routes adjacent to areas
   managed to appear natural.

       In September of 2013 the USFS obtained a new tool which made restoring lands
   impacted by unauthorized or decommissioned roads to more natural conditions much
   easier. A Categorical Exclusion at 36 CFR 220.6(e)(20) and FSH 1909.15 32.2 (20)
   allows for restoration of non-system unauthorized routes and decommissioned roads to a
   more natural state. This CE can be used to make the management of scenic resources less
   challenging.

     We agree that there is a need for change for scenic objectives along the Continental
   Divide National Scenic Trail. The foreground and middleground as viewed from this trail
   must be considered.
      • Direction for scenic management of this trail as a concern level 1 route with a scenic
          integrity objective of very high and high, can be found at FSM 2353.44b and FSM
          2380.

       The mapped areas depicted in Figure 18 should be evaluated to determine how they
   align with the final Colorado Roadless Rule. The roadless areas, supposedly depicted on
   this map, are not easy to discern.
       • As we mentioned in our comments on the Recreation Assessment Draft report, ROS
          needs to be reevaluated.




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   Comments on Assessment chapter 8 - multiple uses.

   We sincerely appreciate the opportunity to respond.
   We hope that you consider and incorporate the comments provided in order to create
   accurate final Assessment Reports.
      We are delivering this information in what we hope will be format friendly. You have the
   entire set of comments in PDF. Then, we are also sending separate chapters using word
   format, which may make it easier to reference specific comments sent to specific
   individuals.
      We are impressed with the general quality, accuracy and thoroughness of the draft
   Assessment Reports. We appreciate the efforts made by the RGNF to separate facts from
   opinions in compiling these reports.
      If you question the accuracy of any statements made in our comments, we can provide
   additional supporting documentation.
      These draft assessment reports generally do a very adequate job considering the major
   factors related to Recreation on the Rio Grande National Forest.
   Thanks so much for all the good work.
   Sincerely,
   Tom Sobal, Quiet Use Coalition
   Rocky Smith, Forest Policy Analyst
   Roz McClelland, Rocky Mountain Recreation Initiative
   Christine Canaly, San Luis Valley Ecosystem Council

   RANGE. On page 1,

         Rangelands are defined as all lands producing, or capable of producing, native forage
         for grazing and browsing animals, and lands that have been revegetated naturally or
         artificially to provide a forage cover that is managed like native vegetation. They
         include all grasslands, forb lands and shrublands; and those forested lands that can,
         continually or periodically, naturally or through management, support an understory
         of herbaceous or shrubby vegetation that is forage for grazing or browsing animals.

   Page 1. In other words, land with any vegetation that could be eaten by a domestic animal, plus
   land that could have this vegetation, is considered rangeland. It is not clear if every area that
   meets the above definition is capable rangeland. See page 4.
      Also, there is no information on what if any lands are capable rangeland but not suitable for
   grazing. Page 1 identifies 581,000 acres as “capable and suitable for domestic livestock
   grazing,” while page 4 states that 581,556 acres are “suitable for livestock grazing.”
       • The acreage for capable and suitable rangeland should be listed, and broken out by:
   ranger district, watershed, and class of grazing (i. e., cattle and horse versus sheep and goat).




                                                Page 1
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      We agree with the proposal suggested on page 2 that the assessment should consider a larger
   planning area, including adjacent National Forests, due to the presence of abutting allotments
   and possible differences in standards, guidelines and management criteria.
      BLM land adjacent to the RGNF is also grazed by many permitees, and differing management
   of grazing on those lands may warrant consideration in this assessment.

     Under Historic Conditions of Range Resource, the assessment states on p. 2 that
   “Today, most of the remaining allotments are carrying sustainable numbers of animals. ”
   (Emphasis added)
   But it also says that:

         “Annual monitoring data and reports on most allotments show that livestock grazing
        is ecologically sustainable at current levels. ”
   Page 3.

     The assessment should clarify whether any allotments are over-grazed, and if so, identify
   which ones are denuding the allotment area.

      The assessment rightfully observes in the same paragraph on p. 3 that stocking was very high
   and seasons were very long prior to the establishment oi the Rio Grande and San Juan National
   Forests in the early part of the 20th century, “causing long-lasting environmental effects.”
   Pp. 2, 4.
      While most areas have recovered due to lower stocking and better practices, “[t]here are still
   areas exhibiting remnants of those effects^”. Id. at 4.
      It is important to work toward the elimination of adverse impacts pursuant to unsustainable
   grazing. The places where these impacts are still occurring should be identified in the
   assessment, and prioritized in the plan for remedial action as needed.

      The assessment should provide more information on the conflict between domestic and
   bighorn sheep, such as the locations of the areas mentioned on p. 3 where domestic sheep range
   has been reduced in order to ensure separation between domestic and bighorn sheep.

      The risk that grazing poses to various species must be mentioned in this assessment.
   The draft assessment report #5 for at risk species identified grazing as a risk for six of the eight
   Federally recognized species considered by the RGNF. Grazing was also identified as a riskfor
   21 of the 82 Species of Conservation Concern.

   TIMBER.
   On page 5, the Total Sale Program Quantity (TSPQ) is stated as:
   79 thousand hundred cubic feet (MCCF) per year.



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      However, the long-term sustained yield is only 54 MMCF of conifer plus 16 MCCF of
   aspen, each per year. Ibid.
      In other words, the RGNF could produce an amount of timber well over what it could ever
   produce on a sustained yield basis over the long term?
   That of course would be illegal. This apparent violation of the law must be explained.

       Also requiring explanation is the discrepancy between the above-cited TSPQ and that in the
   1997 Forest Plan’s FEIS. The latter lists the TSPQ for the first decade in selected alternative G
   under the “experienced” budget as 367.1 MCCF, which would be 36.71 MCCF per year.
   Id. at 3-174.
       For the full budget, which we assume the RGNF has not come close to receiving, the figure is
   76.34 MCCF annually (ibid), still below the stated TSPQ.
       In another section of the 1997 Forest Plan FEIS (p. S-9), the annual TSPQ under selected
   alternative G is 39.71 MCCF for the first decade, budget level unspecified.

      On page 10, it states that the scale of analysis includes “areas along the Colorado Front
   Range north of the Rio Grande National Forest.”
   Why would this area be part of the analysis area for timber?
      It is unlikely that timber mills along Colorado’s Front Range would be interested in timber
   from the RGNF because the haul distance would be quite long. To our knowledge, there has been
   no such interest in RGNF timber from this area, historically or currently.

      Page 13 states that timber harvest can increase the diversity of understory plant species. It
   should also state that timber harvest damages and destroys understories and creates good
   conditions for the introduction and spread of exotic species.

      Page 14 notes the issue of “how long the larger dead trees retain their utility as saw or
   house logs.” This affects how much timber the RGNF can offer for sale, because the standing
   dead trees lose their value for possible commercial products after a time. We believe that most
   standing dead trees would lose commercial value for dimension lumber within 3-5 years. They
   probably would retain value for house logs for some time after that, but there currently is little
   market for house logs.
       • The assessment should have further information on how long standing dead trees retain
           commercial value for various products, or express a commitment to further develop this
           info, because commercial utility will be an important factor in determining how much
           commercial timber the RGNF can offer for sale.




                                                 Page 3
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   The timber section of Assessment 8 concludes with:

         .^timber harvest is an essential tool for maintaining ecosystem integrity and
         ensuring a wide variety oof beneefits from our forests.

   It is questionable whether timber harvest helps maintain ecological integrity. With the exception
   of lower-elevation forests dominated by ponderosa pine that have long had fire suppression,
   forests are better left alone if the goal is to maintain ecological integrity. Thus the above-quoted
   statement should be removed from the assessment.
   If it is retained, the following should be added:

         However, many stands better retain ecological integrity when left to the forces of
         nature. In any case, timber cutting must be applied carefully because it can cause
         strong adverse eeffects, including those on: soils, water quality, wildlife andfish
         habitat integrity, and introduction and spread of exotic species.

   It should be noted that Table 17 on page 34 of assessment 6 shows a notable decline in the
   volume and quantity cut for all forest wood products considered during the recent time period.

      Under Fish, Wildlife, and Plants on pp. 17-18, there is a long list of information that is
   lacking. Much of this is important for composing a revised management plan. Some of the
   information said to be missing should be available.
       • For old growth “definitions” (actually “descriptions”), see Mehl, 1992.
       • For information on Rio Grande Cutthroat Trout, see FWS, 2014.
       • For modelling concerning key attributes for big game, like open road density (first bullet
           point, p.17), there should be considerable information available, such as the Montana
           Elk-Logging Studies.
       • For information on how the adjacent Gunnison National Forest also has used modelling
          to consider the relationship between habitat effectiveness and route density, see
           Gunnison, 2010.

      We note with great concern the lack of information on big game retrieval
    “on resource damage and/or big game management objectives. ”
   Page 17; see also page 19, noting the likely impacts from this use.
      This use also impacts individuals of many species directly, by disturbance in unpredictable
   locations or trampling.
       • Given the potential for damage to various resources, including soils, water quality, and
           wildlife habitat effectiveness, from the use of all-terrain and other vehicles off of
           designated routes, we recommend that game retrieval off routes be suspended until it can




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          be ascertained that no significant damage to resources is occurring, and existing damage
          is repaired.

      As we have expressed in comments on other assessment chapters, we are concerned about the
   lack of information on the impacts of human uses on wildlife in general.
   This includes hunting and fishing camps, noted as an impact on p. 19.

     Page 19 states there is a rising demand for hunting and fishing.
   What is the source for this assertion? Hunting has been decreasing for many years generally.

      The discussion on page 19 should not be limited to consideration of use during hunting
   seasons. Visitors illegally drive off route for recreation, and legally use vehicles off route for
   dispersed motorized camping and to snowmobile, at other times of the year.

   Under Trends, Issues, and Concerns (TIC) in Table 9, p. 20,
   the following passage occurs for bighorn sheep:

         Approximately 4 of 11 herds considered secure due to past and current disease events, or
         continued risk of contact with domestic sheep, stable trend.

   This passage is not clear.
   Are 4 of 11 herds secure, or are they not secure because of disease and contact with domestic
   sheep?

      In Table 9 on p. 21, the TIC, the far right column, does not match the species for some of the
   entries. For example for bear (first line), the TIC discusses small game, which was probably
   meant for the second line.

      The Summary/Conclusion section for Fish, Wildlife, and Plants should state at the end of
   the first paragraph that the high level of recreation use likely has some adverse impacts on
   various resources, including wildlife.

   REFERENCES

   FWS, 2014. Species Status Assessment Report for the Rio Grande Cutthroat Trout. U.S. Fish and
   Wildlife Service Region 2, Albuquerque, NM, August 2014.

   Mehl. Mel S., 1992. Old Growth Descriptions For The Major Cover Types in the Rocky
   Mountain Region. IN: Old-Growth Forests in the Southwest and Rocky Mountain Regions:




                                                  Page 5
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   Proceedings of a Workshop. Rocky Mountain Forest and Range Experiment Station (now Rocky
   Mountain Research Station), General Technical Report RM-213.

   Gunnison Basin Federal lands Travel Management FEIS, 2010, USDA Forest Service GMUG,
   pages 3-113 through 119, online at
   http://www.fs.usda.gov/Interuet/FSE DOCUMENTS/stelprdb5182985.pdf, accessed January
   2016




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   March 18, 2016

   Dear Forest Service staff;

      We sincerely appreciate the opportunity to evaluate and comment on these draft
   Assessment Reports. We hope that you consider and incorporate the comments provided
   in order to create accurate final Assessment Reports.

      We are delivering this information in what we hope will be format friendly. You have the
   entire set of comments in PDF. Then, we are also sending separate chapters using word
   format, which may make it easier to reference specific comments sent to specific
   individuals.

      We are impressed with the general quality, accuracy and thoroughness of the draft
   Assessment Reports. We appreciate the efforts made by the RGNF to separate facts from
   opinions in compiling these reports.

      If you question the accuracy of any statements made in our comments, we can provide
   additional supporting documentation.

   Thanks so much for all the good work.

   Sincerely,
   Tom Sobal, Quiet Use Coalition
   Rocky Smith, Policy Analyst
   Roz McClelland, Rocky Mountain Recreation Initiative
   Christine Canaly, San Luis Valley Ecosystem Council




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   Assessment 1 & 3 draft Report comments on Ecosystem Integrity, Systems Drivers and
   Stressors for Terrestrial Ecosystems

   We believe the scope of this assessment report must be better defined.

      On page 1 an ecosystem is defined as being
   "composed of living organisms (plants, animals and microbes) and their nonliving
   environment (climate and soil for terrestrial ecosystems^"
   It would be better emphasized that this specific assessment focuses primarily on vegetation
   (plants) and that animals and soils are covered in other assessments.

     On page 1 we suggest that the words “grasslands and shrub lands” replace the word
   “rangelands” in the following sentence:
   “Terrestrial ecosystems include forested areas, non-forested (rangelands) and alpine
   ecosystems.”
   The word rangeland unnecessarily suggests an emphasis on grazing.

     On page 1, this assessment states that
   "The modelling we did to look at the natural range of variability and ecosystem integrity did
   not specifically include climate change."

   This is a major omission.

      •   Climate change may influence many of the noted conditions (growth rate and
          mortality, species distribution, disturbances) but also other potential drivers and
          stressors. A new forest plan must fully consider climate change.
      •   Note that the Planning Rule specifically states that assessments must consider
          climate change as a system driver. See 36 CFR 219.6(b)(3). See also id. at
          219.8(a)(1)(iv). Climate change is listed as a driver/stressor on p. 3 of the
          assessment.

   The text at p. 2 even admits that without considering climate change, “some of the
   simulation results may not hold and there may be other unanticipated conditions due to
   the effects of climate change”.
   Pages 4-5 discuss, in general terms, the possible effects of climate change on the RGNF, and
   the agency “recommend[s] addressing climate change in our revised Forest Plan.”
   In light of all of the above, the absence of climate change in modelling is shocking and must be
   rectified.
     We agree that habitat connectivity is an indicator of ecosystem integrity. (p. 30). Thus
   we also agree that a comprehensive connectivity analysis on the Rio Grande National
   Forest would be helpful in assessing current habitat conditions, as stated on page 2.




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     This analysis must include connectivity not only on RGNF lands, but also include
   connectivity to surrounding adjacent forests, BLM lands, private lands, etc. Connectivity is
   correctly considered to include adjacent lands on page 31.

      •   We recommend the sentence on page 2 read: "We do not have a comprehensive
          connectivity analysis on the Rio Grande National Forest and adjacent lands, which
          would be helpful in assessing current habitat conditions." The RGNF should
         undertake this comprehensive analysis as part of the plan revision.
     We agree with the proposal on page 3 to include an additional 10 km buffer around
   RGNF lands in this analysis, to include a broader landscape. This recognizes that natural
   processes do not conform and adhere to human delineated boundaries.

      •   For example, a connectivity analysis should consider lands up to at least 10 km
          outside of the RGNF boundary.
      We agree with the major system stressors and drivers identified in this assessment.
   We believe that the discussion on page 5 of management actions should be expanded and
   include additional information. Unlike many of the other system stressors and drivers,
   management actions are and can be controlled and influenced by humans, and thus are of
   primary consideration in a forest plan.

       Management actions on the RGNF, when they are of sufficient duration, intensity, and
   magnitude, may influence systems as stressors and drivers, or even becomes drivers
   and/or stressors themselves, and thereby affect ecosystem characteristics. Management
   actions include any alterations to ecosystems or activities that the Forest Service conducts,
   authorizes, or restricts on NFS lands.

       We believe that various vegetation treatments, livestock grazing, and vehicular access
   are management activities of sufficient duration, intensity and magnitude to influence
   system drivers at the national forest scale.
      Various vegetation treatments, including timber harvest, thinning, prescribed fire and
   other activities, have historically occurred on the RGNF.

      We disagree with the statement on page 5 that these activities are a minor driver and
   stressor on the forest.
      Although the draft assessment states that only .2 % of the forest receives vegetation
   treatment each year, it must be recognized that a significant amount of forest lands have
   experienced some form of vegetation treatment in the past, so there is accumulative
   impact.
      A rough analysis of USFS GIS data for historical timber cutting on the forest indicates
   that approximately 10% of the forest has undergone some type of vegetation treatment
   during the past 100 years.
      Seventeen percent of the forest is considered suitable for timber production. Although
   vegetation does grow back, the impacts of these activities are of long duration. We agree



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   that additional activities associated with vegetation treatment, such as road construction,
   have lasting impacts on the forest.
      Many roads constructed specifically for timber harvests have been incorporated into the
   designated transportation system, and many temporary roads have not been properly
   closed and decommissioned.
       Vehicle access, especially motorized use, has significant impacts on the forest. There are
   over 2,500 miles of designated motorized routes on the forest. These routes have lasting
   effects due to ongoing maintenance (or lack of it) and use. The impacts of these routes
   extend well beyond the area disturbed by the route tread itself.
      Edge effects, and the facilitation of human presence extend beyond the immediate route
   tread. Travel routes also have facilitated the spread of non-native and invasive vegetation
   such as the pervasive common dandelion (Taraxacum cjficinale).
      Permitted cross country travel by snowmobiles, ATVs retrieving game, and vehicles
   travelling off route for the purpose of dispersed motorized camping magnify the footprint
   of vehicle use. Hundreds of miles of unauthorized motorized use off of system routes also
   contributes to additional ecological impacts.

      Grazing is permitted on the majority of the forest, with 31 % cfforest lands considered
   suitable for grazing. Grazing has occurred on the forest for over 100 years. Currently
   grazing is much more regulated than it once was.
      Draft Assessment 8 on page 4 correctly, in our opinion, states that grazing has resulted
   in long lasting environmental effects, some of which still remain today.
       • Grazing infrastructure, including fences and water developments, and access routes,
           influences ecosystems even if stock is not present.
       • Fire suppression should also be considered as a management activity which has had
           significant effects on the RGNF ecosystem.

      We disagree with wording throughout this draft assessment (pages 17 and 23) that
   state ^Across the entire Rio Grande National Forest, the effects of management are small."

      We believe that when you consider the overall direct and indirect effects of forest
   management, both individually and cumulatively, the impacts are significant. Vegetation
   treatment, vehicle access, grazing and fire suppression and other actions have had, and will
   continue to have, significant impacts on forest ecosystems.

      We agree with the statement on page 9 that there is little scientific evidence to support
   claims that fire may be more severe or frequent after beetle mortality events, and that
   there are studies that contradict those claims.




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   We disagree with the following statement on p. 26:
        "Key vegetation habitat types such as late-successional spruce-fir, pinyon pine,
        and Engelmann spruce forests are also very susceptible to wildland fire and are
        only sustainable through a strict full suppression strategy."
     Englemann spruce forests, given their high elevation and associated cold, moist climate,
   burn very rarely. Fire suppression is not needed to maintain them. It is also not needed to
   maintain pinon pine, as historically, fires burned and pinon survived.


      We appreciate the consideration of human caused fragmentation beginning on page 32.
      On page 32 the Haddad et. al. study from 2015 was cited as evidence that all forms of
   human presence can fragment habitats. Additional studies provide evidence that all forms
   of human travel routes fragment habitat, including quiet recreational trails. (2)(3)(4)(5)

      While Wilderness, Roadless and Research Natural Areas provide levels of protection,
   portions of these areas also receive heavy amounts of human use and are thus essentially
   fragmented.
      We do not agree with metrics which use only a 300 meter buffer zone around roads to
   account for human-caused fragmentation. The RGNF permits off route motorized travel for
   dispersed motorized camping to a distance of 300’ from any road.
      Motorized travel and overnight human occupancy extends this zone well beyond 300
   feet in many areas. The studies cited above suggest that all travel routes result in
   fragmentation.
      In addition, several metrics consider the zone of human fragmentation around travel
   routes to extend up to % mile or more, such as elk largely avoiding use of areas within this
   distance of roads open to motor vehicles. Motorized vehicle noise, odors, enhanced human
   presence and edge effects extend beyond the edge of travel routes.
      The adjacent Gunnison National Forest considered a % mile fragmentation buffer
   around all motorized and mechanized routes. (6). The Haddad study extends this distance
   to one kilometer.
   Comments on Assessment of Ecosystem Integrity (12.14) draft report:

   Rare Communities and Special Habitats

     We are pleased that the RGNF is using Colorado Natural Heritage Program (CNHP)
   Potential Conservation Areas (PCA) data in this assessment.
      We recommend that the RGNF use the best available and most recent data in this
   assessment. The assessment states on page 39 that the forest reviewed three reports
   ranging from 1998-2006 in compiling this assessment.
      CNHP constantly updates its data, and we have noted that the latest online data available
   from CNHP (available as GIS attributes via



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   http://www.cnhp.colostate.edu/download/gis.asp and also as online reports via
   http://www.cnhp.colostate.edu/download/gis/pca reports.asp ) conflicts with data
   contained in this assessment.

      Specifically, the 2015 list of CNHP Potential Conservation Areas (PCAs) on the RGNF
   with a very high or outstanding biodiversity rank differs from what is reported in the draft
   assessment.
      According to November 2015 CNHP data, there are two PCAs with outstanding
   biodiversity significance rankings with lands partially on the RGNF:
   The Half Peak and Great Sand Dunes PCA’s.

       There are 16 PCAs with a very highbiodiversity significance rankings that exist all or
   partially on the RGNF:
      • Sheep Mountain in San Juans
      • Deep Creek Uplands West
      • Miners Creek
      • Rat Creek Pond
      • North Creede
      • Bellows Creek
      • Rio Grande Pyramid
      • Groundhog Park
      • Hot Creek
      • Deadman Creek-Western Sangres
      • Cottonwood Creek-Western Sangres
      • Spanish Creek
      • Dimick Gulch
      • Trickle Mountain
      • La Manga Creek
      • Stony Pass

     These CNHP PCAs with outstanding or very high biodiversity rankings must be
   considered as rare communities and special habitat.
      • CNHP PCAs should be considered for designation as special areas.

      The Half Peak CNHP PCA contains populations of Stonecrop gilia (Gilia sedifolia).
   This species is globally critically imperiled (G1S1) and described as only known from two
   locations in the world. It is a USFS Sensitive Species.

     Another location for this species and habitat which must be considered is the Sheep
   Mountain in San Juans CNHP PCA.




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     Threats to this species include grazing and off route motorized use, and it has been
   suggested that Research Natural Area status be applied to habitat for this species to
   ensure protection.
     (1) Snowmobile use could impact this plant in both of its locations, and off route ATV
   use for game retrieval is allowed within the Sheep Mountain habitat location.

     The Rio Grande Pyramid PCA must be considered. It is ranked as having very high
   biodiversity significance due to the presence of the globally imperiled (G5T1t2/S1)
   Uncompahgre Fritillary Butterfly.

     The Deep Creek Uplands West, Rat Creek Pond, Miner's Creek, North Creede and
   Bellows Creek CNHP PCAs must also be considered. These are all ranked as having very
   high biodiversity significance due to the presence of Smith whitlow-grass (Draba smithii) ,
   which is globally imperiled (G2S2).
      This plant is described by CNHP as being only known to occur in four counties in
   southern Colorado.

      •   We recommend specific consideration be given to the Deep Creek Uplands
          West, Rat Creek Pond, Miner's Creek areas.

      The Groundhog Park very high biodiversity ranked PCA must also be considered due to
   the presence of Subalpine Riparian Willow Carr (G2G3 S2) fens.

     The Hot Creek PCA boundaries do not align with the existing Hot Creek Research
   Natural Area boundaries. Some consideration should be given to lands adjacent to and
   north of Hot Creek, in order to extend protection for the globally vulnerable (G3/S1) Rio
   Grande chub (Gila pandora), and the globally vulnerable (G3G4/S1) Rio Grande sucker
   (Catostomus plebeius) which inhabit that Creek.

      The Dimick Gulch PCA must be considered for protection, as it is ranked as having very
   high biodiversity significance due to occurrence of the globally imperiled (G2G3/S2S3)
   Narrowleaf Cottonwood - Rocky Mountain juniper (Populus angustifolia - Juniperus
   scopulorum) riparian plant association.

      The Trickle Mountain very high biodiversity significance PCA contains significant areas
   of USFS land which should be considered for protection. This site contains numerous
   globally rare grasslands, plant communities and associated species, including the globally
   imperiled (G2/S2) Herbacious vegetation Muhlenbergia filiculmis montane grassland.

     The La Manga Pass PCA is significant as it contains the best occurrence of the globally
   imperiled (G2G3/S1) Arizona willow (Salix arizonica).




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      There are additional CNHP identified areas which deserve consideration because they
   provide habitat for significant species.

      The Decker Creek PCA contains areas on RGNF lands which are habitat for Gunnison
   Sage Grouse (Centrocercus minimus), which is critically imperiled on a global scale (G1/S1).
   This species was listed as a Federally Threatened species in November of 2014.
   ( See 79 Fed Reg 69192 et seq., November 20, 2014).
      Colorado Parks and Wildlife GIS data identifies Gunnison Sage Grouse Brood Area and
   Overall Range habitat on Forest lands in this area.

      The Ojito Creek Uplands and Hicks Canyon PCAs contains land which is habitat for
   state imperiled Ripley milkvetch G3S2. Some of the lands in the Hicks Canyon site are
   contained in an existing Special Interest Area, and we recommend evaluating this area to
   determine if the boundary should be expanded.

     There are numerous streams which provide special habitats for populations of Rio Grande
   Cutthroat Trout on the forest.
     Some consideration must be given to these habitats, and to the Middle Fork of San
   Francisco Creek, Cascade Creek and Osier Creek.

     Although some of the PCAs in the Table 14 on page 40 of this draft assessment report are
   no longer ranked as having high biodiversity significance, they deserve consideration.

      We agree that there are additional special habitat types that deserve conservation
   consideration, as described on page 42. Emphasis should be placed on any riparian or
   water based area, as these locations have been heavily impacted by human activity, and are
   underrepresented in protected management prescriptions on the RGNF, especially at lower
   elevations outside of Wilderness.

      We recommend additional habitats which have not been subjected to much livestock
   grazing and contain few non-native or invasive plant species, such as segments of the Kelly
   Creek roadless area, also be added to this list.

     The RGNF contains examples of ecosystems which show little to no evidence of
   management actions and human presence, and these should be preserved.



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   (4) Jordan, m. 2000. Ecological Impacts of Recreational Use of Trails: A Literature Review, The Nature Conservancy, 250
   Lawrence Hill Road Cold Spring Harbor, New York.

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   Environmental Management, 55-5, 1181.

   (6) FEIS Gunnison Basin Federal Lands Travel Management, 2010 pg 124 accessed online via
   http://www.blm.gov/style/medialib/blm/co/field offices/gunnison field office/travel.Par.53275.File.dat/Final%20EIS
   %20April%202010.pdf Accessed February 2016




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   Assessment 4 Carbon draft Comments


     Page two states that the RGNF carbon assessment does not include emissions from
   agency, contractor, or permittee business operations or public recreation uses.

      Although a source for internal agency business emissions is provided, emissions from
   other forest related sources are not considered. While it may be difficult to obtain data for
   these sources, the forest should not ignore them.

     Management decisions and practices which help limit carbon emissions by contractors,
   permitees and the public should be encouraged.

     This assessment should include additional material regarding carbon emissions.
      Specifically carbon emissions from wildfire.
   Also how wildfire emissions relate to emissions from the anthropogenic burning of fossil
   fuel. (typical wildfire emissions are <10% cf anthropogenic emissions (I)).



   (1) Wiedinmyer, C.; Neff, J.C. 2007. Estimates of CO2 from fires in the United States:
   Implications for carbon management. Carbon Balance Manage. 2(10)




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   Assessment 5 draft Comments on Identifying and Assessing At-risk species

     We agree with the comment on page 13 that lynx
   "Connectivity attributes that facilitate movement should be further defined and mapped
   across the Unit and adjoining unit landscapes."

      •   We recommend this be considered as part of the forest plan revision.
     The Initial US FWS proposal has not identified any critical lynx habitat in Colorado,
   despite the fact that lynx reintroduction within the state has been deemed successful by
   Colorado Parks and Wildlife.

      The ‘Risk Factors for this species’ column for Canada lynx on page 57 should not be
   blank. Pages 13 and 14 of this assessment identify numerous potential risks for this
   species, including climate change; increased over snow vehicle use and other recreation
   resulting in snow compaction; habitat fragmentation; factors affecting lynx mortality;
   unmanaged grazing; and factors affecting lynx movement.


      Although the US FWS did not determine that critical habitat for Gunnison sage-grouse
   exists on the RGNF, as stated on page 19, this does not mean that this species does not and
   cannot inhabit this area.
      It must be noted that not all of the conservation strategy elements listed on page 20
   have been fully implemented in the Poncha Pass area, and others have only been recently
   implemented.
      For example, system roads have only recently been seasonally closed by the BLM in this
   area, and there is a great deal of unauthorized motorized use which regularly occurs
   throughout this area.


      •    We recommend adding risk factors for the Plains pocket mouse (Perognathus
           flavescens) on page 59. Possible risk factors include habitat fragmentation and
            human disturbance due to recreation (1)
       • We recommend adding ATV game retrieval as a risk factor for Stonecrop gilia
            (Aliciella sedifolia) on page 60, as off route use by ATVs for game retrieval is
            allowed in part of the habitat for this species identified as the Sheep Mountain in
            San Juans Colorado Natural Heritage Program Potential Conservation Area.
      Off road vehicle use, mining, climate change and pollution are also considered risks for
   this species. (2) The very limited worldwide habitat for this species must be protected.


      There are numerous species included in the “At-Risk” list for which nothing was
   included in the risk factors column, or the risk factor column indicated there was a "Lack of
   information regarding species."



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      •   We recommend that if a species has been identified as imperiled and present on the
           RGNF, there should be some identifiable risk factors listed.
      • We recommend a number of additions as risk factors as detailed below. It should be
           noted that the source of this information predominantly comes from USDA Forest
           Service Technical Conservation Assessments, as referenced.
     Possible risk factors which should be included on page 60 for Vierhapper’s aster,
   alpine aster (Aster alpinus var. vierhapperi) include "loss of habitat or individuals due to
   human-related activities such as grazing, mining, and recreational activities such as cjf-road
   vehicle use, snowmobiles, camping, and hiking."
   Also climate change and cloud seeding are risk factors. (3)
     Possible risk factors which should be included on page 60 for Aztec milkvetch
   (Astragalus proximus) include oil and gas development, road building and maintenance, off­
   road vehicle use, grazing, fire, air pollution, and global climate change. (4)
      Possible risk factors which should be included for Crandall’s rockcress (Boechera
   crandallii) on page 60 include loss of plants due to trampling, ground disturbing activities
   such as off-route recreation, grazing which can facilitate introduction of non-native species,
   and climate change. (5)
     Possible risk factors which should be included on page 61 for Northern moonwort
   (Botrychium pinnatum) include off-road vehicle use, recreation; timber harvest, firewood
   cutting, fire suppression, grazing and ground disturbing maintenance.(6)
      Possible risk factors which should be included on page 61 for Little grapefern
   (Botrychium simplex) include ground disturbing maintenance, timber harvest, recreation,
   fire, grazing, exotic species invasion, climate change, and pollution. (7)
      Possible risk factors which should be included on page 61 for Mud sedge (Carex limosa)
   include logging and climate change. (8)

     Possible risk factors which should be included for Rocky Mountain Draba (Draba
   graminea) on page 63 include erosion due to recreational use or grazing, climate change,
   and competition from invasive species introduced by recreation or grazing. (9)
     Possible risk factors which should be included for Smith’s Draba (Draba graminea) on
   page 63 include impacts due to habitat modification from recreational use or route
   construction, and grazing where plants are accessible.

      Cross country travel by ATVs for game retrieval, and snow mobile use, is permitted in
   many areas where this species occurs, and may potentially result in negative impacts to
   these plants or their habitat. (10)

     Possible.riskfactors which should be included for Colorado wild buckwheat
   (Eriogonum coloradense) on page 64 include “recreation impacts, grazing and its


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   secondary effects, right-of-way management, residential development and human
   population growth, exotic species invasion, effects of small population size, mining, rust,
   global climate change, and pollution.” (11)
      Possible risk factors which should be included on page 66 for King’s campion (Silene
   kingie) include grazing, recreation, climate change and invasive species. (12)
   Motorized Use

      Motor vehicle use off designated routes is currently allowed in many areas on the RGNF
   for the purposes of game retrieval and dispersed motorized camping. This use has the
   potential to negatively impact sensitive wildlife species due to direct physical or auditory
   disturbance; habitat modification; mortality and/or pollution of air and water. (13)
     Off route motorized use can pose risks to sensitive plant species via trampling and
   physical injury; erosion; soil compaction and pollution of air and water sources. (13)
      Snowmobile use is currently allowed off designated routes on most lands in the RGNF.
   This use can disturb sensitive species of wildlife intentionally or unintentionally via direct
   disturbance or noise resulting in stress, habitat loss and/or displacement; increased stress
   due to infrequent sub-freezing temperatures; direct mortality and pollution, including
   increased acidity of surface waters fed by snowmelt (14)
      Snowmobile use can result in risks to sensitive plants via direct physical injury; soil
   erosion; snow compaction, and pollution of air and water sources. (14)
      Imperiled plant species with a limited range and a limited number of individuals are
   generally at risk because of habitat modification and/or direct impacts.

      Risk factors for most imperiled plants would include permitted grazing since it is
   allowed on most forest lands. Grazing can result in trampling, direct mortality due to
   ingestion (unless the plant is inedible to livestock) or habitat modification.

     Where imperiled plants are not within a designated Wilderness or Backcountry area
   prescription, the allowance of off-route wheeled motorized use poses risks.
     Off route recreation, including dispersed tent camping and hiking/horseback riding can
   pose risks due to trampling anywhere on the forest.

   Mountain Biking
      Off-route use of mountain biking can pose risks in all locations but designated
   Wilderness. Steep slopes, rock bands and cliff areas which are habitat for rare plants are at
   risk due to recreational use such as rock climbing and downhill mountain biking.
      Potential risks from snowmobile use may be present in all areas on the RGNF except
   designated Wilderness.
      Anthropogenic noise can be a significant stressor to imperiled wildlife. (15) Significant
   sources of this noise include recreational shooting, oil and gas wells, and motor vehicle use


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   especially OHV and snowmobile use (which emit over four times as much noise as normal
   licensed passenger vehicles).

      The current RGNF plan contains few restrictions on recreational activities which have the
   potential to negatively impact at risk species or their habitat. Unlike project level decisions
   which can restrict the location and timing of administrative permitted activities, recreation is
   allowed to occur throughout the forest.


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   Chapter 15, Designated Areas draft assessment Comments

    On page 1, the draft assessment describes designated areas as permanent. There is
   nothing in 36 CFR 219.19 which states that a designated area is a permanent management
   designation. See 219.7(c)(2)(vi). Designations under the control of the Forest Service, for
   example, can be modified, even completely removed, via a subsequent plan amendment or
   revision.

     The assessment provides a startling example of this lack of permanency on page 4 when
   it describes how the Wheeler National Monument had its National Monument status
   abolished. The word “permanent” should thus be removed from this sentence.

     On page 4 the draft assessment again states that the CDNST management is consistent
   with the 2009 CDNST Comprehensive Plan and that it is a quiet trail. We believe this to be
   incorrect.

      There are concerns that CDNST management may not be consistent with the nature and
   purposes of the trail. A decision to designate and permit motorcycle use on the CDNST in
   the 2010 Gunnison Travel Management Plan was appealed by numerous groups.
      This appeal was upheld in 2010 because a determination was made that supporting
   documentation which indicated that motorcycle use on this trail was not substantially
   interfering with the purpose and nature of the CDNST was lacking.1
      This very same CDNST segment in question (trail 813) crosses back and forth between
   the GMUG Forest and the RGNF. Thus, there is insufficient evidence that motorized use on
   the CDNST is not substantially interfering with the nature and purpose of that trail on both
   the Gunnison and Saguache Districts. Therefore, trail management may not be consistent
   with section 6 b(5)(a) the 2009 CDNST Comprehensive Plan.
      When one considers sound level as a measurement of quiet, there are long segments of
   the CDNST on the RGNF that are frequently not quiet. For example, dirt motorcycles are
   allowed on the CDNST/Trail #813 for long segments of RGNF from Lujan Pass to Windy
   Peak.
      The dirt motorcycles that actually adhere to Colorado State Law emit up to 96 dBA in
   noise. That amount of noise is far from what is considered quiet by most people.
   Perhaps the sentence should state that the CDNST management is intended to be
   consistent with the 2009 CDNST Comprehensive Plan, but currently is not.
      The discussion of the CDNST on page 11 must include the corridor, management area,
   and the requirement for a unit plan.


           1 Appeal /Response and Decision Letter from Deputy Regional Forester Maribeth Gustafson 9/30/10 Pg.
           2
   Available online at http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5207761.pdf


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     We agree with the statement on page 16: "We also may need an update to the 1994
   potential research natural area candidate inventory to determine if, based on changed
   conditions or new information, we should consider additional areas as potential candidate
   research natural areas."

     Notably, the RGNF has undertaken "no analysis and consideration of the most recent
   Colorado Natural Heritage Program data," which includes information on threatened and
   endangered species and potential conservation areas. Page 2.

      •   We believe there are significant Potential Conservation Areas identified by the
          Colorado Natural Heritage Program that warrant consideration as research natural
          areas and/or other designated areas.

     On page 17, we believe that the currently published Colorado Natural Heritage Program
   Potential Conservation Area reports identify all of the High, Very high, and Outstanding
   biodiversity significant areas on the RGNF.

      •   This data indicates important needs and the potential for new designated Research
          Natural Areas (RNA’s) and/or Special Interest Areas. (SIA’s).
      The following are Colorado Natural Heritage Program Potential Conservation Areas that
   especially warrant consideration for special area designation:

      •   Half Peak
      •   Sheep Mountain in San Juans
      •   Rat Creek Pond
      •   Rio Grande Pyramid
      •   Deep Creek Uplands West
      •   Decker Creek
      •   Deadman Creek-Western Sangres
      •   Elephant Rocks
      •   Ojito Creek Uplands
      •   Decker Creek
      •   Dimick Gulch
      •   Miner’s Creek
      •   Groundhog Park
      •   Spanish Creek
      •   Hicks Canyon
      •   Kelly Creek
     We agree with further consideration of designating the Natural Arch area and the Rio
   Grande Pyramid area. We agree that the lower area of Deadman Creek must be
   considered as a potential addition to the existing Research Natural Area in this location.


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      We also agree that the Devils Hole Geologic Area, Summer Coon Volcano Geologic
   Area, West Lost Trail Creek Landslide Geologic Area, and Brewster Stageline Historic
   Area warrant consideration as new designated areas or as expanded existing designated
   areas.

      We will make the following comments regarding the 1994 Wilderness needs assessment,
   as discussed on pages 17-18 of this draft assessment report.

     We provide these comments even though the draft assessment states on page 1 that it
   will not address Chapter 70 Wilderness evaluation.

   -Given that the Wilderness Assessment is more than 20years old, a fresh look is needed.

       •    The need for wilderness may be greater in 2016 than it was in 2014 because of the
            need to protect species habitat and connectivity, and because of global warming.
     For example, the assessment on p. 20 notes the importance of unroaded areas for
   conservation of biological diversity and integrity, including maintaining native fish stocks.
   Some roadless areas have roads and trails open to motorized use, so the protection they
   provide may not be sufficient.

   -There is especially a need for lower elevation wilderness, i. e ., below the subalpine
   zone. The assessment correctly observes that "[g]enerally, all of the wilderness areas on the
   Rio Grande National Forest are high elevation". Page 17.

   -The assessment makes a good argument for the economic value of wilderness (pp. 21-22).
   Additional wildness acreage could thus contribute to economic sustainability.

   - Wilderness provides levels of protection unavailable via other types of land
   designations.

   - It is not clear how the RGNF determined what ecological land type associations are
   under-represented in the National Wilderness Preservation System.
   What does under-representation mean?
     The International Convention on Biological Diversity (ICBD) recommends that at least
   17% of the world's terrestrial areas be conserved by 2020.2 Given that the ICBD's 17%
   threshold serves as the floor, we believe 20% is a more reasonable target for biodiversity
   conservation purposes.
      On April 13 of 2015 we submitted a letter to the RGNF containing a more detailed
   analysis of ecosystem representation within protected areas on the forest.


   2 Woodley, S., Bertzky, B., Crawhall, N. et al. (2012). Meeting Aichi target 11: What does success look like for
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       •   We recommend that the analysis in our letter be given consideration.
   - Land type associations from 1994 have become more sophisticated, detailed and inclusive
   with newer and more current ecosystem representation analyses.

      For example, the existing RGNF Plan Final Environmental Impact Statement at 3­
   329 identified 17 ecosystem types that might be desirable for representation as part
   of Resource Natural Areas. More specific and additional ecosystems and habitats have
   been identified in current analyses when compared to those conducted in 19943.

      Unless the RGNF is actively communicating and coordinating with the BLM and the
   National Park Service regarding the need to represent ecosystems in Wilderness, the RGNF
   must take the initiative and not assume that these other agencies are working toward
   fulfilling this need.

   -Wilderness areas provide more than recreation opportunities and habitat. For example,
   they help provide clean air, clean water and connectivity. Pages 21 and 22 of this draft
   assessment provide an excellent synopsis of many of the benefits of Wilderness.

   - Page 14 of the Draft Report for the Recreation Assessment describes the RGNF niche as
   “Solitude in Every Season.”

     The best places to experience solitude are designated Wilderness Areas, which are in
   part created because of, and managed for, their ability to provide outstanding
   opportunities for solitude.

     While primitive non-motorized recreation opportunities can be provided outside of
   wilderness, these are commonly not being provided outside of wilderness.

       •   We believe that there are no trails outside wilderness in primitive recreation
           opportunity spectrum settings on which bicycle use is prohibited. Hence, a
           primitive, non-motorized, non-mechanized ROS outside of wilderness is not
           provided. This argues for either more wilderness or for the creation of non­
           motorized, non-mechanized settings outside of wilderness areas.

    Also, FSH 1909.12 73.21 (2) states that the undeveloped lands which provide
   opportunities for a primitive type of recreation outside wilderness "are going to decrease
   in acreage as the demands on public lands increase.”

      We agree with the statement on page 18 that "It is reasonable to consider the additional
   acreage identified in the other current Forest Plan alternatives for potential additions to the
   existing special interest areas.”

   33 Gergely, K.J., and McKerrow, A., (2013), Land cover—National inventory of vegetation and land use: U.S.
   Geological Survey Fact Sheet 2013-3085, 1 p., http://pubs.usgs.gov/fs/2013/3085/ .


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     We suggest the sentence on page 18 which contains the phrase "Inventoried roadless
   areas are essentially unmodified natural environments" be adjusted to match the current
   condition. There are numerous facilities and uses permitted within inventoried roadless
   areas which significantly modify parts of those areas.

      For example, some roadless areas contain popular OHV trails which significantly modify
   the natural soundscape and the natural environment within a mile-wide corridor.

      •   We suggest this sentence be changed so it reads “Many parts of Inventoried
          roadless areas are essentially unmodified natural environments.”

     On page 19 we do not believe the following statement is correct:

   "The Rio Grande National Forest inventoried roadless areas are also identified as backcountry
   areas in our current Forest Plan." There are numerous Colorado Roadless Rule areas which
   are not managed in the 3.3 Backcountry management prescription.

      •   RGNF Colorado Roadless areas not managed as backcountry below

   First listed-Roadless area name---then, significant management area prescription other
   than Backcountry

   1. Crestone---Special Wildlife Areas-Bighorn Sheep, Deer and Elk Winter range

   2. Cotton Creek---Deer and Elk Winter range

   3. Hot Springs---Deer and Elk Winter range

   4. Miller Creek---Deer and Elk Winter range

   5. Butterfly--- Deer and Elk Winter range

   6. Dorsey Creek---General Forest and Intermingled Rangelands

   7. Ute Pass--- Special Wildlife Areas- Bighorn Sheep

   8. Lake Fork---Forest Products, General Forest and Intermingled Rangelands

   9. Deep Creek/Boot Mountain---Grassland Resource Production

   10. La Garita--- Special Wildlife Areas-Bighorn Sheep, Forest Products

   11. Lower East Bellows--- Deer and Elk Winter range

   12. Bristol Head---General Forest and Intermingled Rangelands

   13. Kitty Creek---Forest Products



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   14. Gibbs Creek---Dispersed Recreation

   15. Sulphur Tunnel---Forest Products

   16. Pole Mountain/Finger Mesa---Dispersed Recreation, Forest Products

   17. Beaver Mountain--- Deer and Elk Winter range

   18. Bennet Mountain / Blowout / Willow Creek / Lion Point / Greenie Mountain--- Special
   2           - Bighorn Sheep, Grassland Resource Production

   19. Alamosa River--- Special Wildlife Areas-Bighorn Sheep

   20. Wightman Fork / Upper Burro---Forest Products

   21. Willow Mountain--- Designated and Eligible Recreation Rivers

   22. Conejos River / Lake Fork--- Designated and Eligible Recreation Rivers

   23. Spectacle Lake---Dispersed Recreation

   24. Fox Creek--- Special Wildlife Areas-Bighorn Sheep

   25. Cumbres--- Special Wildlife Areas-Bighorn Sheep

   26. Chama Basin--- Designated and Eligible Recreation Rivers

   27. Spruce Hole / Sheep Creek--- Special Wildlife Areas-Bighorn Sheep

        •   If the intent of this statement is to use the word ‘backcountry’ to describe something
            other than a 3.3 management prescription area, we suggest the use of another word
            to avoid confusion.
        •   On page 20, we agree with the statement: "We can use other designations, including
            research natural areas, experimental forest and special interest areas that may be
            more beneficial to managing terrestrial and aquatic plant and animal species.
            However, wilderness remains the strongest protection available, and should be
            recommended for protection of areas containing important resources where
            management that might be needed outside of wilderness is not necessary."
       Please correct the grammar in this sentence on page 21:

   "There a number of designated areas on the Rio Grande National Forest."

      We disagree with the statement on page 23: "The first step in evaluating potential
   wilderness is identifying and inventorying all areas within National Forest System lands that
   satisfy the definition of wilderness found in section 2[cJ of the 1964 Wilderness Act."



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   According to FSH 1909.12 - Land Management Planning Handbook Chapter 70 -
   Wilderness Evaluation:

        71 - INVENTORY OF AREAS THAT MAY BE SUITABLE FOR INCLUSION IN
        THE NATIONAL WILDERNESS PRESERVATION SYSTEM
        The primary function of the inventory step is to efficiently, effectively, and
        transparently identify all lands in the plan area that may have wilderness
        characteristics as defined in the Wilderness Act. (Emphasis added.)

   In other words, the RGNF must consider potential wilderness. This is even acknowledged
   in the conclusion to this assessment: citing Chapter 70, p. 23 states that before soliciting
   comments on a draft plan, "we will be required to inventory and evaluate potential
   wilderness”. (Emphasis again added.)

        71.2 - Inventory Steps and Criteria

        Include an area in the inventory when:

        1. The area meets the size criteria defined in section 71.21 and has no
        improvements; or

        2. The area meets the size criteria defined in section 71.21 and is consistent
        with the improvements criteria defined in sections 71.22a and 71.22b.

      Under the size criteria referenced above, areas to be included in the inventory should be
   at least 5000 acres in size, or if smaller, be "cfsufficient size as to make practicable its
   preservation and use in an unimpaired condition, including but not limited to areas
   contiguous to an existing wilderness, primitive areas, administratively recommended
   wilderness, or wilderness inventory cf other Federal ownership. ” Lands containing certain
   "road improvements” are to be included in the inventory (71.22a), as are those with any of
   the "other improvements” listed at 71.22b if these features "are not substantially noticeable
   in the area as a whole”.

      The first step in the Chapter 70 Wilderness Evaluation Process is substantially different
   from the suggested identification of lands that "satisfy the definition of Wilderness.” We
   encourage the RGNF to follow the correct sequential step by step procedure identified in
   Chapter 70 as part of the Wilderness Evaluation process.

     There are additional designated areas which we believe must be considered as a
   programmatic part of the Forest Plan revision.




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          •     We recommend the RGNF consider a special designated area for Gunnison Sage
                Grouse habitat, which was listed as a Federally Threatened species in November
                of 2014. See 79 Fed Reg 69192 et seq., November 20, 2014.
                Colorado Parks and Wildlife has identified Gunnison Sage Grouse Brood Area and
                Overall Range habitat on RGNF lands on the Saguache District.

      There are a number of species found on the RGNF with an overall conservation rank of
   critically imperiled or imperiled, and/or sensitive. The RGNF should take a close look at
   special area designations for habitats of the following species:
      •       Nesting habitat and potential nesting habitat for Peregrine Falcon
      •       Boreal Toad breeding sites
      •       Rio Grande Cutthroat Trout
      •       Canada Lynx
      •       Uncompahgre Fritillary Butterfly
      •       Smith whitlow-grass
      •       Stonecrop gilia
      •       Boreal Owl
      •       Ripley milkvetch
      •       Reflected Moonwart

      For lynx, the RGNF should consider a special area or management prescription for
   linkages, especially landscape linkages.

      The RGNF Designated Areas assessment must recognize requirements associated with
   the Continental Divide National Scenic Trail (CDNST) as part of the planning process.
   The CDNST is a congressionally designated area as per 36 CFR 219.19.
      The 2009 CDNST Comprehensive Plan and Forest Service Manual 2353.4 contains
   information and direction that was not considered in the 1996 RGNF Forest Plan.

     The RGNF must recognize that the CDNST is not established as simply a narrow trail,
   but as a corridor.
     We believe this assessment must include statements which acknowledge that the
   current Forest plan does not adequately:
      • Develop a CDNST Unit Plan
      • Establish a CDNST corridor
      • Protect and conserve scenic, natural, historical, and cultural qualities of the CDNST
         corridor
       • Specifically delineate a CDNST corridor with the creation of a CDNST management
          area broad enough to protect natural, scenic, historic, and cultural features
       • Consider desired CDNST user settings and opportunities



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          •   Establish a CDNST monitoring program.

      The Rio Grande National Forest is the headwaters of a number of important rivers,
   including the Rio Grande. In addition, the northern part of the San Luis Valley is an
   endorheic basin (closed drainage basin). There are numerous important aquatic resources
   and wetlands which are a critical part of these waterways and the water which originates
   on the RGNF.

      The Colorado Natural Heritage Program has identified and assessed numerous
   significant wetland areas on the RGNF.

     We recommend that the assessment recognize the importance of these wetlands, and that
   some cf these unique areas be considered for special designations due to their significance
   and importance.

         •    Interest in climbing the 14,000-foot peaks (14ers) has resulted in a marked increase
              in use of those peaks and areas since 1996. This has presented additional
              management concerns and opportunities.
         •    A survey of 14er peak land managers indicated use of the areas associated with
              these peaks is expected to increase to extreme levels, and that this will result in
              heavy physical and social impacts.
                 Almost 78% of these land managers wanted additional tools in order to better
              manage use associated with 14ers in order to meet resource objectives.i
         •    We recommend that the peaks and areas accessed from the Lake Como and Willow
              Creek areas be considered for special designations in this planning process.
         •    Cultural areas associated with the Natural Arch, Mount Blanca and the Kelly
              Creek Aspen grove must be considered for special designation.



   i   Existing Conditions on Colorado's Fourteeners Natural Resource Manager Survey Results, presentation
   by USFS 14er Program Manager Loretta McEllhiney, available online February 2016 via:
   http://www.fs.fed.us/r2/recreation/wilderness/core team/forums/national trends/mcellhiney
   presentation.pdf




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   Assessment 1 & 3 draft Report comments on Ecosystem Integrity, Systems Drivers and
   Stressors for Terrestrial Ecosystems

      We sincerely appreciate the opportunity to evaluate and comment on these draft
   Assessment Reports. We hope that you consider and incorporate the comments provided
   in order to create accurate final Assessment Reports.

      We are delivering this information in what we hope will be format friendly. You have the
   entire set of comments in PDF. Then, we are also sending separate chapters using word
   format, which may make it easier to reference specific comments sent to specific
   individuals.

      We are impressed with the general quality, accuracy and thoroughness of the draft
   Assessment Reports. We appreciate the efforts made by the RGNF to separate facts from
   opinions in compiling these reports.

      If you question the accuracy of any statements made in our comments, we can provide
   additional supporting documentation.

   Thanks so much for all the good work.

   Sincerely,
   Tom Sobal, Quiet Use Coalition
   Rocky Smith, Policy Analyst
   Roz McClelland, Rocky Mountain Recreation Initiative
   Christine Canaly, San Luis Valley Ecosystem Council


     We believe the scope of this assessment report must be better defined.

      On page 1 an ecosystem is defined as being
   "composed of living organisms (plants, animals and microbes) and their nonliving
   environment (climate and soil for terrestrial ecosystems^"
   It would be better emphasized that this specific assessment focuses primarily on vegetation
   (plants) and that animals and soils are covered in other assessments.

     On page 1 we suggest that the words “grasslands and shrub lands” replace the word
   “rangelands” in the following sentence:
   “Terrestrial ecosystems include forested areas, non-forested (rangelands) and alpine
   ecosystems.”
   The word rangeland unnecessarily suggests an emphasis on grazing.

     On page 1, this assessment states that



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   "The modelling we did to look at the natural range of variability and ecosystem integrity did
   not specifically include climate change."

   This is a major omission.

      •   Climate change may influence many of the noted conditions (growth rate and
          mortality, species distribution, disturbances) but also other potential drivers and
          stressors. A new forest plan must fully consider climate change.
      •   Note that the Planning Rule specifically states that assessments must consider
          climate change as a system driver. See 36 CFR 219.6(b)(3). See also id. at
          219.8(a)(1)(iv). Climate change is listed as a driver/stressor on p. 3 of the
          assessment.
   The text at p. 2 even admits that without considering climate change, “some of the
   simulation results may not hold and there may be other unanticipated conditions due to
   the effects of climate change”.
   Pages 4-5 discuss, in general terms, the possible effects of climate change on the RGNF, and
   the agency “recommend[s] addressing climate change in our revised Forest Plan.”
   In light cf all cf the above, the absence cf climate change in modelling is shocking and must be
   rectified.
     We agree that habitat connectivity is an indicator of ecosystem integrity. (p. 30). Thus
   we also agree that a comprehensive connectivity analysis on the Rio Grande National
   Forest would be helpful in assessing current habitat conditions, as stated on page 2.
     This analysis must include connectivity not only on RGNF lands, but also include
   connectivity to surrounding adjacent forests, BLM lands, private lands, etc. Connectivity is
   correctly considered to include adjacent lands on page 31.

      •   We recommend the sentence on page 2 read: "We do not have a comprehensive
          connectivity analysis on the Rio Grande National Forest and adjacent lands, which
          would be helpful in assessing current habitat conditions." The RGNF should
          undertake this comprehensive analysis as part of the plan revision.

     We agree with the proposal on page 3 to include an additional 10 km buffer around
   RGNF lands in this analysis, to include a broader landscape. This recognizes that natural
   processes do not conform and adhere to human delineated boundaries.
      •   For example, a connectivity analysis should consider lands up to at least 10 km
          outside of the RGNF boundary.
      We agree with the major system stressors and drivers identified in this assessment.
   We believe that the discussion on page 5 of management actions should be expanded and
   include additional information. Unlike many of the other system stressors and drivers,




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   management actions are and can be controlled and influenced by humans, and thus are of
   primary consideration in a forest plan.

       Management actions on the RGNF, when they are of sufficient duration, intensity, and
   magnitude, may influence systems as stressors and drivers, or even becomes drivers
   and/or stressors themselves, and thereby affect ecosystem characteristics. Management
   actions include any alterations to ecosystems or activities that the Forest Service conducts,
   authorizes, or restricts on NFS lands.

       We believe that various vegetation treatments, livestock grazing, and vehicular access
   are management activities of sufficient duration, intensity and magnitude to influence
   system drivers at the national forest scale.
      Various vegetation treatments, including timber harvest, thinning, prescribed fire and
   other activities, have historically occurred on the RGNF.

      We disagree with the statement on page 5 that these activities are a minor driver and
   stressor on the forest.
      Although the draft assessment states that only .2 % of the forest receives vegetation
   treatment each year, it must be recognized that a significant amount of forest lands have
   experienced some form of vegetation treatment in the past, so there is accumulative
   impact.
      A rough analysis of USFS GIS data for historical timber cutting on the forest indicates
   that approximately 10% of the forest has undergone some type of vegetation treatment
   during the past 100 years.
      Seventeen percent of the forest is considered suitable for timber production. Although
   vegetation does grow back, the impacts of these activities are of long duration. We agree
   that additional activities associated with vegetation treatment, such as road construction,
   have lasting impacts on the forest.
      Many roads constructed specifically for timber harvests have been incorporated into the
   designated transportation system, and many temporary roads have not been properly
   closed and decommissioned.
       Vehicle access, especially motorized use, has significant impacts on the forest. There are
   over 2,500 miles of designated motorized routes on the forest. These routes have lasting
   effects due to ongoing maintenance (or lack of it) and use. The impacts of these routes
   extend well beyond the area disturbed by the route tread itself.
      Edge effects, and the facilitation of human presence extend beyond the immediate route
   tread. Travel routes also have facilitated the spread of non-native and invasive vegetation
   such as the pervasive common dandelion (Taraxacum cjficinale).
      Permitted cross country travel by snowmobiles, ATVs retrieving game, and vehicles
   travelling off route for the purpose of dispersed motorized camping magnify the footprint
   of vehicle use. Hundreds of miles of unauthorized motorized use off of system routes also
   contributes to additional ecological impacts.



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      Grazing is permitted on the majority of the forest, with 31 % offorest lands considered
   suitable for grazing. Grazing has occurred on the forest for over 100 years. Currently
   grazing is much more regulated than it once was.
      Draft Assessment 8 on page 4 correctly, in our opinion, states that grazing has resulted
   in long lasting environmental effects, some of which still remain today.
       • Grazing infrastructure, including fences and water developments, and access routes,
           influences ecosystems even if stock is not present.
       • Fire suppression should also be considered as a management activity which has had
           significant effects on the RGNF ecosystem.

      We disagree with wording throughout this draft assessment (pages 17 and 23) that
   state ^Across the entire Rio Grande National Forest, the effects of management are small."

      We believe that when you consider the overall direct and indirect effects of forest
   management, both individually and cumulatively, the impacts are significant. Vegetation
   treatment, vehicle access, grazing and fire suppression and other actions have had, and will
   continue to have, significant impacts on forest ecosystems.

      We agree with the statement on page 9 that there is little scientific evidence to support
   claims that fire may be more severe or frequent after beetle mortality events, and that
   there are studies that contradict those claims.


   We disagree with the following statement on p. 26:
        "Key vegetation habitat types such as late-successional spruce-fir, pinyon pine,
        and Engelmann spruce forests are also very susceptible to wildland fire and are
        only sustainable through a strictfull suppression strategy."
     Englemann spruce forests, given their high elevation and associated cold, moist climate,
   burn very rarely. Fire suppression is not needed to maintain them. It is also not needed to
   maintain pinon pine, as historically, fires burned and pinon survived.


      We appreciate the consideration of human caused fragmentation beginning on page 32.
      On page 32 the Haddad et. al. study from 2015 was cited as evidence that all forms of
   human presence can fragment habitats. Additional studies provide evidence that all forms
   of human travel routes fragment habitat, including quiet recreational trails. (2)(3)(4)(5)

      While Wilderness, Roadless and Research Natural Areas provide levels of protection,
   portions of these areas also receive heavy amounts of human use and are thus essentially
   fragmented.



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      We do not agree with metrics which use only a 300 meter buffer zone around roads to
   account for human-caused fragmentation. The RGNF permits off route motorized travel for
   dispersed motorized camping to a distance of 300’ from any road.
      Motorized travel and overnight human occupancy extends this zone well beyond 300
   feet in many areas. The studies cited above suggest that all travel routes result in
   fragmentation.
      In addition, several metrics consider the zone of human fragmentation around travel
   routes to extend up to % mile or more, such as elk largely avoiding use of areas within this
   distance of roads open to motor vehicles. Motorized vehicle noise, odors, enhanced human
   presence and edge effects extend beyond the edge of travel routes.
      The adjacent Gunnison National Forest considered a % mile fragmentation buffer
   around all motorized and mechanized routes. (6). The Haddad study extends this distance
   to one kilometer.
   Comments on Assessment of Ecosystem Integrity (12.14) draft report:

   Rare Communities and Special Habitats

     We are pleased that the RGNF is using Colorado Natural Heritage Program (CNHP)
   Potential Conservation Areas (PCA) data in this assessment.
      We recommend that the RGNF use the best available and most recent data in this
   assessment. The assessment states on page 39 that the forest reviewed three reports
   ranging from 1998-2006 in compiling this assessment.
      CNHP constantly updates its data, and we have noted that the latest online data available
   from CNHP (available as GIS attributes via
   http://www.cnhp.colostate.edu/download/gis.asp and also as online reports via
   http://www.cnhp.colostate.edu/download/gis/pca reports.asp ) conflicts with data
   contained in this assessment.

      Specifically, the 2015 list of CNHP Potential Conservation Areas (PCAs) on the RGNF
   with a very high or outstanding biodiversity rank differs from what is reported in the draft
   assessment.
      According to November 2015 CNHP data, there are two PCAs with outstanding
   biodiversity significance rankings with lands partially on the RGNF:
   The Half Peak and Great Sand Dunes PCA’s.

       There are 16 PCAs with a very highbiodiversity significance rankings that exist all or
   partially on the RGNF:
      • Sheep Mountain in San Juans
      • Deep Creek Uplands West
      • Miners Creek
      • Rat Creek Pond




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      •   North Creede
      •   Bellows Creek
      •   Rio Grande Pyramid
      •   Groundhog Park
      •   Hot Creek
      •   Deadman Creek-Western Sangres
      •   Cottonwood Creek-Western Sangres
      •   Spanish Creek
      •   Dimick Gulch
      •   Trickle Mountain
      •   La Manga Creek
      •   Stony Pass

     These CNHP PCAs with outstanding or very high biodiversity rankings must be
   considered as rare communities and special habitat.
      • CNHP PCAs should be considered for designation as special areas.

      The Half Peak CNHP PCA contains populations of Stonecrop gilia (Gilia sedifolia).
   This species is globally critically imperiled (G1S1) and described as only known from two
   locations in the world. It is a USFS Sensitive Species.

     Another location for this species and habitat which must be considered is the Sheep
   Mountain in San Juans CNHP PCA.

     Threats to this species include grazing and off route motorized use, and it has been
   suggested that Research Natural Area status be applied to habitat for this species to
   ensure protection.
     (1) Snowmobile use could impact this plant in both of its locations, and off route ATV
   use for game retrieval is allowed within the Sheep Mountain habitat location.

     The Rio Grande Pyramid PCA must be considered. It is ranked as having very high
   biodiversity significance due to the presence of the globally imperiled (G5T1t2/S1)
   Uncompahgre Fritillary Butterfly.

     The Deep Creek Uplands West, Rat Creek Pond, Miner's Creek, North Creede and
   Bellows Creek CNHP PCAs must also be considered. These are all ranked as having very
   high biodiversity significance due to the presence of Smith whitlow-grass (Draba smithii) ,
   which is globally imperiled (G2S2).
      This plant is described by CNHP as being only known to occur in four counties in
   southern Colorado.




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      •   We recommend specific consideration be given to the Deep Creek Uplands
          West, Rat Creek Pond, Miner's Creek areas.

     The Groundhog Park very high biodiversity ranked PCA must also be considered due to
   the presence of Subalpine Riparian Willow Carr (G2G3 S2) fens.

     The Hot Creek PCA boundaries do not align with the existing Hot Creek Research
   Natural Area boundaries. Some consideration should be given to lands adjacent to and
   north of Hot Creek, in order to extend protection for the globally vulnerable (G3/S1) Rio
   Grande chub (Gila pandora), and the globally vulnerable (G3G4/S1) Rio Grande sucker
   (Catostomus plebeius) which inhabit that Creek.

     The Dimick Gulch PCA must be considered for protection, as it is ranked as having very
   high biodiversity significance due to occurrence of the globally imperiled (G2G3/S2S3)
   Narrowleaf Cottonwood - Rocky Mountain juniper (Populus angustifolia - Juniperus
   scopulorum) riparian plant association.

     The Trickle Mountain very high biodiversity significance PCA contains significant areas
   of USFS land which should be considered for protection. This site contains numerous
   globally rare grasslands, plant communities and associated species, including the globally
   imperiled (G2/S2) Herbacious vegetation Muhlenbergia filiculmis montane grassland.

     The La Manga Pass PCA is significant as it contains the best occurrence of the globally
   imperiled (G2G3/S1) Arizona willow (Salix arizonica).
      There are additional CNHP identified areas which deserve consideration because they
   provide habitat for significant species.

     The Decker Creek PCA contains areas on RGNF lands which are habitat for Gunnison
   Sage Grouse (Centrocercus minimus), which is critically imperiled on a global scale (G1/S1).
   This species was listed as a Federally Threatened species in November of 2014.( See 79 Fed
   Reg 69192 et seq., November 20, 2014).

     Colorado Parks and Wildlife GIS data identifies Gunnison Sage Grouse Brood Area and
   Overall Range habitat on Forest lands in this area.

     The Ojito Creek Uplands and Hicks Canyon PCAs contains land which is habitat for
   state imperiled Ripley milkvetch G3S2. Some of the lands in the Hicks Canyon site are
   contained in an existing Special Interest Area, and we recommend evaluating this area to
   determine if the boundary should be expanded.




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     There are numerous streams which provide special habitats for populations cf Rio Grande
   Cutthroat Trout on the forest.
     Some consideration must be given to these habitats, and to the Middle Fork of San
   Francisco Creek, Cascade Creek and Osier Creek.

     Although some of the PCAs in the Table 14 on page 40 of this draft assessment report are
   no longer ranked as having high biodiversity significance, they deserve consideration.

      We agree that there are additional special habitat types that deserve conservation
   consideration, as described on page 42. Emphasis should be placed on any riparian or
   water based area, as these locations have been heavily impacted by human activity, and are
   underrepresented in protected management prescriptions on the RGNF, especially at lower
   elevations outside of Wilderness.

      We recommend additional habitats which have not been subjected to much livestock
   grazing and contain few non-native or invasive plant species, such as segments of the Kelly
   Creek roadless area, also be added to this list.

     The RGNF contains examples of ecosystems which show little to no evidence of
   management actions and human presence, and these should be preserved.



   (1) Anderson, D.G. 2004, August 9. Gilia sedifolia Brandeg. (stonecrop gilia): a technical conservation assessment.
   [Online]. USDA Forest Service, Rocky Mountain Region. Available:
   http://www.fs.fed.us/r2/projects/scp/assessments/giliasedifolia.pdf accessed February 2016.

   (2) Wiedmann, B. P and Bleich, V. C. 2014. Demographic responses of bighorn sheep to recreational activities: A trial of a
   trail, Wildlife Society Bulletin, 38-4, pages: 773-782.

   (3) Snetsinger, S.D. and K. White. 2009. Recreation and Trail Impacts on Wildlife Species of Interest in Mount Spokane
   State Park. Pacific Biodiversity Institute, Winthrop, Washington. 60 p.

   (4) Jordan, m. 2000. Ecological Impacts of Recreational Use of Trails: A Literature Review, The Nature Conservancy, 250
   Lawrence Hill Road Cold Spring Harbor, New York.

   (5) Thompson, B., 2015. Recreational Trails Reduce the Density of Ground-Dwelling Birds in Protected Areas,
   Environmental Management, 55-5, 1181.

   (6) FEIS Gunnison Basin Federal Lands Travel Management, 2010 pg 124 accessed online via
   http://www.blm.gov/style/medialib/blm/co/field offices/gunnison field office/travel.Par.53275.File.dat/Final%20EIS
   %20April%202010.pdf Accessed February 2016




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   Rio Grande National Forest Plan Revision Team
   rgnf_forest_plan@fs.fed.us

   April 15, 2016

   Dear Planning Team,

   The following are the comments of the parties listed at the end of this letter on the draft Need For
   Change (NFC) document. The need to change an existing plan is the first step in developing a
   revised plan. The 2012 Planning Rule 36 CFR 219.7(a)(2). We appreciate the RGNF making this
   document available for public comment, and for actively soliciting input from the public on this
   and other revision topics.

   In general, we believe the document captures most of the issues that may need to be addressed in
   the plan revision, including ones identified by the public during meetings and comments on the
   draft assessment chapters. We are pleased to see the following items:

    - -adaptive management for climate change and fluctuating forest budgets;
    - - develop sustainable management direction for current and future recreation trends;
    - -update air quality monitoring forest wide and in wilderness;
    - -include management for various areas, including the Continental Divide National Scenic
   Trail, Old Spanish Trail, and Cumbres and Toltec Historic landmark;
    - -evaluate possible new special areas, including those that provide opportunities for
   connectivity, or that protect plant communities or special habitats vulnerable to climate change;
    - -“revisit how managing for multiple uses^affects cultural resources”;
    - -update oil-gas leasing availability;
    - -more efficient wilderness management for those areas with a shared administrative boundary;
    - -update management for separation of domestic and bighorn sheep;
    - -consider additional management direction for pack goats;
    - -address new technology, including renewable energy sting and drones;
    - -revisit the off-road game retrieval policy; and
    - -prioritize inholdings for acquisition.

   As is elaborated below, we hope that all of these issues are addressed in the plan revision.

   I. ADDITIONAL REQUIRED ELEMENTS OF PLAN REVISION. Table A in the NFC
   document lists “Requirements in the Forest Plan Revision Process”. Since the previous revision,
   new rules mandate that additional requirements be considered in Table A of the Need for
   Change.



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     A. Colorado Roadless Rule. The Colorado Roadless Rule (“CRR”; see 77 Fed Reg 39576 et
   seq., July 3, 2012) modified policy and management direction for all Colorado national forest
   roadless areas, including a sizable portion of the RGNF. Thus the RGNF plan must be modified
   to comply with the CRR.

   Although the Backcountry 3.3 management area prescription includes much of the land within
   Colorado Roadless areas, there are many Roadless areas which include lands in other
   management prescription areas. Please see Exhibit 1, which details CRR areas with 1996
   RGNF Plan management area designations which are likely inconsistent with the requirements of
   the CRR.

   The revised plan must have standards and guidelines for Colorado Roadless Rule areas that, at a
   minimum, limit timber harvest and road construction and reconstruction to the narrowly-tailored
   situations described in the CRR. See 36 CFR 294.42 through 219.46. Note that the requirements
   for upper tier roadless areas are more restrictive. Current management area 3.3, Backcountry
   states, under Desired Conditions: “No road building occurs within the area”, but no standard
   prohibits road construction. See Plan at IV-17, IV-18.

   To fully protect roadless areas, the revised RGNF plan should prohibit logging and road
   construction altogether in most cases, especially in upper tier areas. The CRR specifically
   provides, for all Colorado Roadless Areas, that:

         Land management plan components can be more restrictive than this [Rule] ^

         Nothing in this [Rule] shall prohibit a responsible official from further restricting
         activities allowed within Colorado Roadless Areas.

   36 CFR 294.48(c).


     B. Over-snow Vehicle Rule. The Over-snow Vehicle Rule (OSV Rule)1, which was
   promulgated in January 2015, changed the management paradigm for over-snow motorized
   vehicles. The OSV rule establishes that OSV use is prohibited on national forests except on a
   designated system of roads, trails, and areas.2 The rule also requires that the Forest Service locate
   OSV trails and areas in places with adequate snowfall, and with the objective of minimizing
   impacts to resources and other existing or potential uses.3


   1 80 Fed. Reg. 4500 (Jan. 28, 2015).
   2 36 CFR 212.1. (OSV areas must be discrete delineated spaces.)
   3 See 36 CFR 212.80, 212.81(a) and (d), 212.55(b), and 261.14. Also see Executive Orders 11644 and 11989, and
   See WildEarth Guardians v. U.S. Forest Serv., 790 F.3d 920, 929-32 (9th Cir. 2015)

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   The current plan is not in compliance with the OSV Rule. For instance, in the current plan at III-
   39, Infrastructure-Travelways, Standard 3 states that “[s]now machine use on snow is allowed
   unless specifically restricted.” Draft Assessment 9, p. 20, confirms that “unrestricted cross
   country travel by snowmobiles” is allowed everywhere outside designated wilderness.

   Public OSV use is prohibited on private land in Colorado, unless the private land owner gives
   permission to the OSV user in advance, according to Colorado Revised Statute 33-14-113.
   Snowmobile use on adjacent San Luis Valley Field Office BLM lands is restricted to designated
   routes in most areas. See BLM, 2008, at 3. Thus restricting OSV use on national forest lands to
   specifically designated routes and areas, in addition to complying with the OSV Rule, would
   help ensure consistency with OSV management on adjacent lands.

   We recommend a forest wide standard to read “[o]ver snow vehicle use on snow is prohibited
   unless specifically allowed.”

     C. Protection of Riparian and Aquatic Resources. The Planning Rule contains new specific
   direction of protecting riparian areas. See 36 CFR 219.8(a)(3)(i). Some additional plan direction
   is likely to be needed to fully comply with these requirements Assessments 1 and 3, Ecosystem
   Integrity, Systems Drivers and Stressors for Aquatic Ecosystems, stated the following:

         there is a need to revise and update the aquatic habitat section of the Forest Plan. ^

         Examples include the need for additional management direction addressing the
         importance of stream connectivity and aquatic organism passage programs and their
         relationship to aquatic habitat resiliency, and incorporating the Aquatic Nuisance
         Species Plan for the Rio Grande National Forest into plan revision components.
         Potential mitigation strategies for chytrid fungus and local amphibian species are part
         of this recommendation. We need additional updates regarding restoration
         opportunities for native aquatic species and for managing low-elevation riparian
         systems, seeps and springs; including hummocking and pugging guidelines.

   Id. at 32.

   Additional objectives, standards, and guidelines should be developed to address these issues.
   There should also be direction to improve the health and integrity of priority watersheds, as these
   are watersheds “that are a priority for maintenance or restoration”. 36 CFR 219.7(f)(1)(i).




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    D. Presidential Memorandum. The plan must also apply the direction in a recent Presidential
   Memorandum on Mitigation.4 This Memorandum requires that:

          Large-scale plans and analysis inform the identification of areas where development
          may be most appropriate, where high natural resource values result in the best
          locations for protection and restoration, or where natural resource values are
          irreplaceable.

   Memorandum, section 1.

   It also requires that the Forest Service apply a mitigation framework of avoid, minimize, and
   compensate to all aspects of management and ensure no net loss of important, scarce, or sensitive
   resources. Id. at sections 2(f), 3, and 4. There is a need for the land management plan to establish
   a mitigation framework for all development projects that among other things ensures no net loss
   of important, scarce, or sensitive resources and provides a menu of possible mitigation measures
   that provide durability and address climate change. 5

   The current plan does include plan components that together meet all of these requirements.
   While it does zone the forest for various uses, it does not identify irreplaceable natural resources
   subject to the avoidance requirement, or important, scarce, or sensitive resources that are subject
   to the no net loss requirement.


   II. TRAVEL MANAGEMENT. We recognize that some of the details of travel management are
   best done in a separate process after the plan is finalized. For example, analysis of, and decisions
   for, specific routes need to be done after the forest plan is complete because it would take too
   long to finish the plan if it included this. However, the revised forest plan must provide some
   direction on travel management to provide the basis for a travel management plan to be done
   later. The forest plan will need to prescribe some limitations on human use, including limits on
   motor vehicle use, in order to ensure sufficient protection of resources.




   4 Presidential Memorandum: Mitigating Impacts on Natural Resources from Development and Encouraging Related
   Private Investment, section 1. Issued November 3, 2015. Available at https://www.whitehouse.gov/the-
   press-office/2015/11/03/mitigating-impacts-natural-resources-development-and-encouraging-
   related

   5 For example, projects requiring temporary or permanent road-building that impact places with important, scarce,
   or sensitive resources should include the decommissioning of unneeded roads elsewhere, focusing on places where
   road removal would enhance important, scarce, or sensitive resources (e.g., in roadless areas, critical habitat,
   wildlife corridors).


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   The current forest plan also needs to be revised to meet new authorities related to travel
   management, including: 1) the planning rule’s requirements to ensure sustainable recreation,
   including sustainable settings and access6, ensure ecological integrity of terrestrial and aquatic
   ecosystems, maintain diversity and provide for connectivity7; and 2) the 2005 Travel
   Management Rule as specified in 36 CFR parts 212, 251 and 261, and the Forest Service Manual
   7700. The 2005 Travel Management Rule requires that wheeled off-road vehicles be restricted to
   a system of designated trails, roads, and areas, and that exceptions for the purposes of retrieving
   game or dispersed camping are to be used sparingly8 and limited to driving defined distances off
   specific road/trail segments. Moreover, the Rule requires that off-road vehicle trails and areas
   must be located to minimize impacts to resources and other existing or potential uses.

   The current plan direction on travel management is inadequate to ensure compliance with these
   authorities. For example, in the current plan at III-39, Infrastructure-Travelways, Standards 1, 2
   and 3 must be modified to conform to current regulations.

   We recommend the following modifications:
      • The word “Travelways” should not be used. 36 CFR 212.1 and FSM 7705 contain the
         correct terms and definitions for routes on the forest.
      • Standard 1 should be modified to include exceptions to use of closed routes and areas as
         defined in 36 CFR 261.13.
      • In Standard 2, the phrase ‘Designated travelways, as displayed on the Rio Grande
         National Forest Visitor Map” must be changed to “Designated routes, as displayed on Rio
         Grande National Forest Motor Vehicle Use Maps” or something similar.
      • Standard 2 states that “newly constructed travelways are open to motorized-vehicle use
         unless a documented decision shows that^”. This must be modified, as newly
         constructed routes should not necessarily be added to the designated transportation
         system and/or be open for motorized-vehicle use if they are temporary routes, an
         approved and designated non-motorized trail, etc. We recommend modification of the
         wording in this section to state “newly constructed routes are closed to motor vehicle use
         unless a documented decision shows that^”. This better matches the general direction of
         the 2005 Travel Management Rule indicating that routes and areas on forest service lands



   6 36 CFR 219.10(b)(2) (plan components, including standards and guidelines, must provide for sustainable
   recreation)
   7 36 CFR § 219.8(a)(1)-(3); see also id. § 219.9(a) and §219.8(a)(1) & (a)(3)(i).
   8 See 70 Fed. Reg. 68285 (November 9, 2005) (“The Department expects the Forest Service to apply this provision
   sparingly, on a local or State-wide basis, to avoid undermining the purposes of the final rule and to promote
   consistency in implementation. “See also Letter from the Chief of the Forest Service dated June 8, 2006
   (“[Exceptions] represent site-specific decisions associated with specific roads and trails or road and trail segments,
   rather than a blanket exception to the rule. Designations under 36 CFR 212.51(b) will be applied sparingly to avoid
   undermining the purposes of the rule and to promote consistency in implementation.”)


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           are closed unless opened. A decision on whether to open any new roads to motor vehicle
           use must consider all the factors in 36 CFR 212.55.

   At a minimum, there must be some direction in management areas on whether motor vehicle use
   is allowed, and if so, at what time of year, and by what class of vehicle. The plan must also
   restrict OSVs to designated routes and areas, as is discussed above.

   We recommend that the plan contain language restricting mechanized travel to designated routes.
   This would ensure consistency with regulations on adjacent San Luis Valley BLM and Gunnison
   National Forest lands; better align with national trends in management of this use; help the forest
   in providing better, safer, and more sustainable routes to accommodate this use; assist with the
   identification and management of lands which may qualify or be recommended for Wilderness;
   and help the forest better manage this type of use. Note that the White River National Forest
   restricted mechanized travel to designated routes in their recent plan revisions.9


   III. WILD RIVER ELIGIBILITY. Item A3 states: “Identify and evaluate lands that may be
   suitable for inclusion in the Wild and Scenic Rivers System”. We are concerned about Saguache
   Creek, which we believe has been improperly managed as a Scenic River when it was evaluated
   to be a potential Wild River.

   Saguache Creek was specifically identified as an eligible wild river in the 1996 Forest Plan. Plan
   at IV-8, Plan FEIS at 3-363. Eligible wild rivers are supposed to be managed as area 1.5
   (National River System, Wild Rivers Designated and Eligible) in the plan, under which
   restrictions on management and public uses are stronger than those for scenic and recreational
   rivers.

   Additional eligible wild rivers identified in the plan include: North Fork Conejos River, Middle
   Fork Conejos River, El Rito Azul, Toltec and Hansen Creek. Plan, ibid. All of these other 5 river
   segments appear to be included in the 1.5 management prescription area.

   It is likely the plan was referring to the 7 mile stretch of Saguache Creek from FSR 675.3P to the
   national forest/private land boundary to the northeast. However, this section is shown on the
   plan’s management area map as having a 3.4 management area prescription, that for scenic
   rivers, designated and eligible.




   9 See White River National Forest Land and Resource Management Plan, Standard 4 in Travel System
   Infrastructure, Page 2-39. “On lands that are snow-free, prohibit motorized and mechanized travel outside of
   designated travelways^”. Exceptions are allowed for administration, emergency, law enforcement, and special use
   contract and permits.

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   GIS information identifies this seven mile stretch of Saguache Creek as a Designated and
   Eligible Scenic River management prescription area (2239 acres, half mile wide corridor,
   management area 3.4). However, the current plan at IV-19 does not specifically list Saguache
   Creek as an eligible scenic river.

   We believe this erroneously applied management prescription has influenced additional
   management direction for this area. For example, this management corridor was not considered
   upper tier roadless in the 2012 CRR, in contrast to the remainder of the Fourmile Creek Roadless
   area. See CRR FEIS Map 4: Alternative 2 - Colorado Roadless Areas Upper Tier Acres. The
   Saguache Creek corridor is not being managed consistently with Eligible Wild River direction
   with regards to ATV game retrieval, oil and gas leasing, ROS, etc.

   We do not understand why Saguache Creek is being managed under a 3.4 Eligible Scenic River
   management prescription area instead of a 1.5 Eligible Wild River management prescription
   area. This must be corrected in the revised forest plan.


   IV. MANAGEMENT AREAS. We are very concerned with the following item:

   B 2: Re-evaluate the number, arrangement, boundaries, and plan direction related to the
   current forest plan management areas to minimize complexity and maximize ecosystem
   integrity and connectivity.

   Re-evaluating these areas and their boundaries is generally appropriate and desirable during a
   plan revision. However, “re-evaluate” apparently means “reduce”, as is emphasized in slide 9 of
   the Need For Change presentation. The narration on this slide states that Supervisor Dallas

        would like to broaden what is covered in management areas thus significantly
        reducing the number of different management areas.

   Seventeen management areas (MAs) were used in the current plan (See Forest Plan, Chapter IV),
   not 43, as suggested during the March 30 webinar. This does not seem to us like a large number
   of MAs for 1,852,000 acres.10 This is much less than some plans have used - e. g., the 2002
   revision of the White River NF plan used 32 MAs. We must remember that forest planning is
   inherently a complex undertaking because it provides, or is supposed to provide, a foundation for
   all the projects and activities that could occur on the respective planning unit over the life of the
   plan, while still protecting the land and resources. To ensure that the respective national forest is
   properly protected, appropriate uses are allowed with needed limitations, and issues concerning
   forest management are addressed, a good number of MAs will likely be needed.

   10 This is the RGNF acreage stated at p. P-9 of the current plan.

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   The number of MAs should be influenced by requirements to maintain or restore ecosystem
   integrity of inherently complex natural systems. Minimizing complexity does not equate to or
   necessarily lead to maximizing ecosystem integrity and connectivity. The RGNF should also
   consider the designation of management areas holistically, as a spatial design that provides for
   sustainability and helps recover federally endangered and threatened species, conserves species
   that are proposed for listing or candidates for listing under the ESA, maintains the viability of
   species of conservation concern, and supports the persistence of most native species in the plan
   area.

   The current menu of MAs allows application of appropriate desired conditions, standards, and
   guidelines to fit many different situations, from areas needing strong limits on activities (e. g.,
   proposed and existing wilderness and wild rivers), to areas where more intensive development
   (ski areas) may occur. For example, the management areas for Bighorn Sheep 5.42 capture
   important habitat for this species, as identified by Colorado Parks and Wildlife 2014-14 GIS
   data, almost precisely.

   The danger in simplifying management by consolidating the MAs is that more activity would be
   allowed under each MA, reducing the likelihood that limitations on human uses and protection
   needed for various resources would be applied. In other words, areas needing a specific focus for
   proper management might not receive it.

   A simplified roster of MAs might not help the public better understand national forest
   management. If more activities were allowed under the MAs, a member of the public might not
   be able to get a concrete idea of what activities would occur on any part of the RGNF s/he
   wished to visit.

   We recommend retaining the three separate wilderness management area prescriptions of
   Pristine 1.11, Primitive 1.12 and Semi-primitive 1.13. These areas are likely the easiest to
   manage, and include important distinctions regarding commercial outfitter/guide camps,
   campsite condition classes, trails, and managing human use impacts. Wilderness is a unique
   designation, and it may need detailed management ensure that recreational and other values are
   protected.

   The three separate wild, scenic and recreational river management areas must be retained as they
   each have distinct restrictions on human use and associated management, as prescribed in the
   Wild and Scenic Rivers Act. See 16 U.S.C. 1273(b).

   It may be tempting to combine Research Natural Areas, Special Interest Areas and other
   designations such as National Trails into one Designated Area management category. However,


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   it would be difficult to adequately capture the unique management requirements, including
   standards and guidelines that are needed for each of these types of areas in one management
   category.

   We could likely support a reevaluation of management areas in order to maximize ecosystem
   integrity and connectivity. Changes that consider wildlife linkages, ecological processes and
   relationships, and biological diversity could help ensure resilience and adaptability to climate
   change and other variables. However, we do not see this as likely leading to a reduction of the
   number of MAs needed for protection of resources and appropriate management.

   In general, we feel strongly that the number of MAs used in the revised plan should be based on
   what is needed to guide future management and use of the forest by the agency and public, and
   on what protective measures are needed. The agency should not assume that the number of MAs
   used in the revised plan can or should be reduced before the need for management is fully
   assessed. If the available MAs are reduced, the current categories should at least be retained.
   That would still allow a good range of MAs to be used as needed.


   V. WILDLIFE HABITAT CONNECTIVITY. We are pleased that the RGNF included three
   need for change statements related to connectivity (B2, B5, and C6). We request that the RGNF
   add a statement that more affirmatively addresses the need to establish plan direction for
   restoring and maintaining connectivity to ensure the opportunity for species movement across the
   landscape. The current plan has an objective to “[m]anage wildlife habitat at the appropriate
   scale^to maintain the ability of species to disperse over large areas”. Plan at II-2.

   However, given that much more is known today about wildlife movement and the importance of
   such in a climate change world11, there is a need to provide more explicit direction. We request
   that the RGNF include the need for wildlife corridors in order to provide for connectivity in the
   forest plan. We believe corridors are a good method for ensuring the plan complies with the
   planning rule’s requirement to maintain and restore connectivity. (See 36 CFR 219.8(a)(1) and
   219.9(a)(1). To this end, we offer the following the need for change statement:

         There is a need to revise the current plan to include direction for managing towards
         terrestrial, riparian, and aquatic habitat connectivity for species movement across the
         landscape, both within and beyond the RGNF. Plan management approaches should
         include, but not be limited to, establishing and maintaining wildlife corridors in and
         between areas of intact habitat.



   11 See comments submitted by The Wilderness Society, Defenders of Wildlife, and the Center for Large Landscape
   Conservation on Assessment Chapter 15 dated Feb. 9, 2016.

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   VI. MANY OF THE “DESIRED” CHANGES NEED TO BE ADDRESSED. We believe that
   the majority of the identified needs for change should be addressed in the plan revision, as is
   further detailed below. Since the forest plan guides almost all projects and activities that will
   occur on the RGNF over the plan’s life (by law up to 15 years), all issues that affect more than
   just a local area should be addressed in the revised plan.

   However, it appears that this will not be the case for the RGNF. The fourth category of needs for
   change, section D of the NFC Document, “Desired Changes Identified Through the Assessment
   Phase”, will not be addressed in the revised plan because the Forest Supervisor “believes they are
   best analyzed at a different level (e.g., project level, travel management plan, etc.)”. RGNF Need
   For Change Powerpoint, Slide 4.

   We believe the following desired changes from Table D need to be addressed in the revision, as
   described below. Note that the “basis for change” for these items includes identification in
   various assessments and “identification by the public”, as well as “internal staff
   recommendations”. By failing to include any of these items in the revision, the RGNF would
   ignore input by the public and from its own staff recommendations. It is not acceptable that the
   RGNF proposes to ignore these issues in the plan revision.


   D 2: Revisit the oil and gas Leasing Available Analysis completed for the 1996 Forest Plan.
   The previous analysis for oil and gas leasing availability was done with the current forest plan,
   which was issued in 1997. Since that time, hydraulic fracturing (“fracking”) has become
   common, as has horizontal drilling, where oil and gas deposits up to about a mile away can be
   reached. The net result of these and other technological advances is that many places possibly
   containing oil and/or gas that were previously unreachable can now be drilled, and the oil and
   gas therein extracted.

   Oil and gas operations affect many resources: wildlife habitat, water quality, air quality, scenery,
   livestock grazing, etc. The potential impacts of oil and gas operations, under the reasonably
   foreseeable development scenario12, need to be disclosed at the same time as impacts from other
   projects and activities so that mitigation measures can be incorporated into the revised forest plan
   to minimize impacts from possible oil and gas development and from cumulative impacts.
   Failing to include oil and gas direction in the plan would reduce the ability of the RGNF to fully
   address cumulative impacts.

   Note that under the CEQ Regulations implementing NEPA:


   12 See 36 CFR 228.102(c)(4).

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         Federal agencies shall to the fullest extent possible: ^

          (c) Integrate the requirements of NEPA with other planning and environmental
         review procedures required by law or by agency practice so that all such procedures
         run concurrently rather than consecutively.

   40 CFR 1500.2. Analyzing leasing availability is required by regulation (see 36 CFR 228
   Subpart E), just as forest plans are required (36 CFR 219). That is, both are “agency practice[s]”.

   The fact that oil and gas prices are currently low, meaning there is less likely to be interest in
   exploration and drilling, should not deter the Forest Service from analyzing leasing availability.
   The prices could increase, and likely will do so during the life of the revised forest plan. We
   remind the Forest Service that in March 2008, the Bureau of Land Management, with the
   approval of the Forest Service, offered for lease sale an unprecedented 140,000 acres on the
   RGNF. These proposed leases were deferred, but the fact that they were offered at all is an
   indication of the broad scope of possible oil and gas development on the RGNF.

   It is better to do the analysis and determine which lands are available for leasing now, before
   there is a great deal of interest and pressure to approve leases. That way, industry has a better
   idea where it will and will not be able to operate.

   If the oil-gas leasing analysis will not be done as part of the plan, the plan must say when it will
   be done.



   D 3: More efficiently manage wilderness areas across administrative boundaries shared
   with adjacent forests, and better incorporate the 1993 Colorado Wilderness Act and
   language specifically regarding Wheeler Geologic Area. The Forest Service should ensure
   consistent management of wilderness and other areas that span administrative boundaries. This
   is important for the Sangre de Cristo wilderness because of the issue of pack goats, as is
   discussed further below.



   D 6: Revisit how managing for multiple uses on the forest affects cultural resources.
   D 7: Evaluate additional protection of two critically significant areas, Mt. Blanca Massif
   and the Natural Arch, while maintaining motorized access.
   D 8: Consider additional management direction for recreational climbing in relation to
   sensitive heritage resources and habitat like peregrine falcon nests.




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   Heavy or abusive recreational use can threaten the integrity of cultural resources. Draft
   Assessment 13 notes damage to cultural resources from livestock grazing and illegal roads. Id. at
   14. It also notes that cultural resources have been discovered inside project boundaries. Ibid.
   Given that most of the Forest has not been evaluated for cultural resources (id. at 18), permitted
   activities are likely having a negative impact on those resources.

   The Forest Plan is a good place for management direction to prevent, minimize, and mitigate
   damage to cultural resources. Protecting cultural resources could be addressed through forest­
   wide standards and guidelines and/or management prescriptions. Direction is needed to ensure a
   timely management response when new cultural resources are discovered or are being impacted.

   Similar measures may be needed to eliminate conflicts between recreational climbing versus
   peregrine falcon nesting and/or other wildlife needs, if such conflicts now occur or are expected
   to occur during the life of the plan.

   There are numerous permitted dispersed recreational activities which are likely having an
   adverse impact on cultural resources, sensitive habitat, and other resources. These activities
   include: climbing, off road game retrieval, off route OSV use, off route mechanized travel, off
   route travel using motorized vehicles for the purpose of dispersed camping, firewood collection,
   recreational shooting, etc. We recommend that the forest plan include additional direction
   regarding management of dispersed recreation, including its appropriateness in certain areas.
   This will be necessary to fulfill Need For Change item A9: “[d]evelop sustainable management
   direction for current and future recreation trends”. Recreation that persistently causes adverse
   impacts to resources is not sustainable.


   D 9: Update management direction to maintain separation between bighorn and domestic
   sheep.
   D 10: Additional management direction regarding recreational pack goats on the Rio
   Grande National Forest.

   Interactions between domestic and bighorn sheep are known to transmit disease to the latter. As a
   result of this and other problems, bighorn sheep populations all over Colorado have declined, and
   periodic die-offs still occur, primarily due to disease, which “is widely believed to be the most
   significant threat facing bighorns in Region 2 and elsewhere across their range”. Beecham et al,
   2007, at 4. All four bighorn herds on or partially residing on the RGNF have been exposed to
   domestic sheep. Id. at 49, 53.13


   13 The RGNF claims to lack information on bighorn sheep movements “particularly in relationship to domestic
   sheep allotments”. Draft Assessment 8 at 18. However, the Beecham et el study, though not up to date, provides
   some relevant information.

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   Since all four herds have been exposed to diseases from domestic sheep, we believe some forest
   plan direction is needed to ensure viability of bighorn herds by requiring separation of bighorn
   and domestic sheep. There may be differences between each area where domestic and bighorn
   sheep interact, but some objectives, standards, and guidelines should apply to all four areas. The
   2012 and 2013 Monitoring and Evaluation Reports both recommended that the plan have “a
   standard for effective separation” of domestic and bighorn sheep. Pages 38 and 46, respectively.
   Draft Assessment 8 at p. 3 recognizes the continuing issue of the need for separation.

   If the RGNF will rely on existing direction, that direction must be referenced in the plan, and
   made available to the public during or before the comment period on the DEIS. Its effectiveness
   in maintaining separation and helping ensure viability of bighorn sheep herds must be analyzed
   in the EIS.

   The 2013 revision of the plan for the San Juan National Forest has the following standards for
   bighorn sheep protection:

         2.3.39 Bighorn Sheep (Ovis canadensis): During project-level planning on domestic
         sheep (O. aries) allotments, management options must be developed to prevent
         physical contact between domestic sheep and bighorn sheep. Actions may include
         but are not limited to boundary modification, livestock-type conversion, or allotment
         closures.

         2.3.40 Bighorn Sheep: Grazing permit administration in occupied bighorn sheep
         habitat must utilize measures to prevent physical contact between domestic sheep
         and bighorn sheep. Permit administration actions may include but are not limited to
         use of guard dogs, grazing rotation adjustments, or relocation of salting and bed
         grounds.

         2.3.41 Bighorn Sheep: Management of recreational pack goats and other domestic
         goats (Capra aegagrus hircus) must utilize measures to prevent physical contact with
         bighorn sheep.

         2.3.42 Bighorn Sheep: Domestic goats used for invasive plant control must be
         veterinarian certified as free of pathogens transmissible to bighorn sheep, except in
         areas where there is no risk of contact with bighorn sheep.

   San Juan Plan at 39. Since the San Juan NF is adjacent to the RGNF, adopting these measures
   would ensure consistency of management between the two national forests.



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   Assessment 8 states, at p. 18, that the Forest Service “lack[s] information pertaining to
   recreational pack goat use”. The 2013 Monitoring and Evaluation Report states that use of pack
   goats in the Sangre de Cristo Wilderness should be discussed with the Pike-San Isabel NF and be
   addressed in the RGNF plan revision. Id. at 46, 47.

   Thus the plan revision would be a good time and place to develop policy and management
   direction to address the issue of potential disease transmission from goats to bighorn sheep, and
   any other issues regarding goats. Standard 2.3.41 from the San Juan Plan or a similar measure
   should be included in the RGNF revised plan.


   D 13: Revisit the off-road game retrieval policy on the Rio Grande National Forest. The
   policy allowing off-road use of all-terrain vehicles to retrieve game killed by hunters can be
   easily abused. It has the effect of ratifying off-route use of motor vehicles at all times, making it
   harder to enforce prohibitions against such use outside of hunting seasons. Vehicles can be used
   in attempts to find game as opposed to just retrieving game already killed. Such abuse reduces
   hunting success and diminishes the experience of hunting. Since most off-road ATV use for
   hunting occurs during big game rifle season, soils are often wet from snowmelt, and the use of
   motor vehicles will damage them.

   We believe that the consideration of this policy is programmatic and should thus be included in
   the Forest Plan. Currently, game retrieval is permitted in many locations forest wide. The
   specific locations where game retrieval is allowed or prohibited are defined by the boundaries of
   specific management prescription areas. Modification of the boundaries of these areas are may
   impact the appropriateness of off-route game retrieval in those areas. As stated elsewhere, we
   believe the management prescription area boundaries on the forest must be modified to coincide
   with direction for Colorado Roadless Area boundaries and other new rules, and this could impact
   game retrieval.

   The current forest plan contains the following statement regarding game retrieval: “Game
   retrieval is authorized using ATVs from noon to 5:00 pm (1200 -1700) each day, unless soil and
   water damage will occur”. This is included as language associated with some management
   prescription areas which permit this activity. See, e. g., management area 5.11, Guideline 6, at
   Plan p. IV-29, 30. If nothing else, there is a need for change regarding this language. For
   example, the definition of “damage”, and damage to “water” especially, is not defined or clear.

   Off road game retrieval has many other concerns and potential negative impacts which need to
   be considered. They are detailed in the attached Exhibit 2.




                                                     14

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   We believe that the entire game retrieval policy must be revisited in the revision. Since the areas
   where this activity is or is not permitted is linked to the forest plan, the best place to reconsider
   this policy is as part of the plan revision process. Most national forests, including those in
   Colorado14, have eliminated or strictly limited off-road motorized travel for the purposes of game
   retrieval because it is widely recognized that its allowance has caused resource damage and
   conflict, and impedes enforcement of the restrictions depicted on Motor Vehicle Use Maps.

   If ATV use for game retrieval will still be allowed, the plan must provide sideboards to guide
   future site-specific management per the requirements in the 2005 planning rule at 36 CFR
   212.51(b).15 While some details might have to later be described in travel management, the plan
   should contain some direction, e. g., limiting the distance vehicles can travel off road to retrieve
   game and the types of areas where such use will be allowed and under what conditions. This use
   must be prohibited altogether in some areas, such as RNAs, areas recommended for wilderness
   designation, and roadless areas.

   If this policy is not revisited as part of the forest plan revision process, we recommend that the
   plan include specific language stating that it will be revisited and also when this will occur.


   D 14: Revise the communication sites identified in the current forest plan (and the approval
   policy), considering internal needs, potential changes in technology, and future needs of the
   public. Forest plans have long designated sites where communications facilities and other
   infrastructure can be located, and we do not see why this should not continue. Some areas should
   not have communication sites, such as roadless areas, bighorn sheep habitat, and areas where
   major road construction or reconstruction would be needed.


   D 15: Address new technology, including the use of drones on the forest, as well as
   alternative energy sites and fiber optic. Given the emphasis on renewable energy, the Forest
   Service may receive requests for siting wind turbine towers and solar energy facilities. The plan
   must show where such facilities can be located and where they cannot be located, and/or provide
   standards and guidelines for determining proper locations.


   14 For instance, see White River National Forest Land and Resource Management Plan, Standard 5 in Travel System
   Infrastructure, Page 2-39.

   15 “In designating routes, the responsible official may include in the designation the limited use of motor vehicles
   within a specified distance of certain forest roads or trails where motor vehicle use is allowed, and if appropriate
   within specified time periods, solely for the purposes of dispersed camping or retrieval of a downed big game animal
   by an individual who has legally taken that animal.”



                                                           15

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   Recreational use of drones has become very popular. The possibility of problems with such use
   has thus increased. These problems include: disruption of camping; degradation of the
   recreational experience, especially in wilderness and other primitive areas; and harassment of
   wildlife.

   Even though the Federal Aviation Administration controls use of airspace, the Forest Service
   should have some jurisdiction over use of drones on national forest lands, e. g., being able to
   prohibit launch and landing of such vehicles in some areas. In any case, the issue cannot be
   ignored. The Forest Service should use whatever authority it does have to limit use of drones so
   that problems with use do not get out of control. At a minimum, recreational drones should be
   banned entirely from airspace over wilderness areas, as the use of machines like drones is clearly
   antithetical to the spirit of wilderness, and is detrimental to wildlife and the human experience of
   wilderness. Drones should also be banned from any RNAs and special areas that are designated
   to protect wildlife.



   D 18: Prioritize acquisition of inholdings appropriate for the management and continuity of
   forest land and collaborate more effectively with other private, state, and federal land
   owners of lands that border the forest. With forest-wide analyses being conducted for the
   revised plan and accompanying EIS, needs for land acquisition will be identified. This it makes
   sense that the plan would prioritize inholdings for acquisition. This cannot be done at the project
   level, because only one or a small number of parcels would be examined, as opposed to looking
   a need for acquisition forest-wide.



   D19: Update plan direction for the removal of common mineral materials, such as
   commercial contracts, personal, ceremonial, and free use permits. Recreational, or “hobby”,
   mining is becoming quite popular. Local damage to soils and water quality can occur. The
   revised plan should contain direction for this activity, including: limits on motor vehicle use;
   limits on how much material can be removed each day, week, or year; limits regarding where
   this activity may occur so that it does not compromise infrastructure, facilities, public health and
   safety or sensitive habitats; and permitting requirements. In addition, the plan should guide
   where and how the Forest Service can remove mineral materials for administrative purposes.

   See further discussion of this issue in our comments on Draft Assessment 10.


   VII. COMMENTS ON OTHER NEEDS FOR CHANGE




                                                    16

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   B 3: We agree with, and support, needed changes that would allow for more adaptive
   management related to climate change and forest budget fluctuations. Adaptive management
   will be needed to respond to climate change. The use of adaptive management as a response to
   other variables should be used cautiously.

   B 4: Local economies, markets and partnerships should only be considered as tools to meet
   desired conditions. They should not be the driving force behind the development or modification
   of desired conditions.

   B 5: We agree there needs to be infrastructure for sustainable recreation, but how would
   “infrastructure” support connectivity? Ensuring connectivity needs to be a focus of the revision,
   as is discussed above, but the presence of infrastructure, e. g., roads and any other structures that
   attracts human use, reduces the effectiveness of connectivity.

   C 5: We agree with the need to provide management direction for trails that have been
   designated since the previous revision. These designations require management direction to
   ensure protection of the values for which they have been designated. They may require special
   areas or separate management areas, especially for Continental Divide National Scenic Trail
   corridor.

   C 6: We agree that there is a need to evaluate additional areas for special designation for the
   resources listed. We believe there is also an opportunity to evaluate special designations for
   geologic, historic, and scenic values, and recommend these words be specifically added to this
   need for change.

   The RGNF should consider two prescriptions for SIAs: 1) for areas needing more protection
   from human use, use 2.1, SIA - Minimal Use and Interpretation; and 2) for areas where more
   human use is acceptable and can be managed, use 3.1, SIA, Emphasis on Use and Interpretation.

   The current plan at IV-16 states a standard for special interest areas (SIAs) that the recreational
   opportunity spectrum class is semi-primitive motorized. If only one MA is used for SIAs, this
   will need to be changed in order to protect the unique values of some specific SIAs. Clearly,
   motorized use could make it more difficult to protect important values, such as cultural
   resources, in some SIAs.

   The two areas mentioned in D 7, the Mt. Blanca Massif and the Natural Arch, should be
   considered for special area designation. The location and type of motorized access to these areas
   must be evaluated if they are proposed for any designation. See more detailed discussion in the
   comments on Draft Assessment 12 submitted by San Luis Valley Ecosystem Council et al.



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   C 7: reducing the size of the Fremont Special Interest Area must be done cautiously, if at all.
   When this area was created, the Forest Service may have erred on the side of caution by
   including all land areas which it felt might possibly include some of the historic camps, because
   the exact locations of all the camps were not known at the time. If not done already, the forest
   should conduct research and field work to more accurately determine the camp locations.

   From this information, appropriate boundaries for this SIA can be drawn. They should include a
   buffer around the actual camp sites to better ensure protection of the sites. Other values within
   this SIA, such as the Deep Creek/Boot Mountain Roadless area, a Colorado Parks and Wildlife
   identified elk production area, and modeled lynx denning and other habitat must be
   considered. Any acreage removed from the SIA must not automatically be added to the timber
   base, as was suggested in Draft Assessment 13 at p. 11. Areas within 400 vertical feet of
   timberline should not be available for timber cutting, if it is allowed at all.

   Any timber cutting should be restricted to within 0.25 miles of FR 650.


   D 4: While the RGNF should certainly consider the local economy and vitality of the
   surrounding area, we do not believe that there is a need to specifically include direction to
   develop and maintain sustainable enterprises as part of the Forest Plan. The development and
   maintenance of such enterprises should not be a responsibility of the RGNF.


   D16: We agree with your position that this need can be met through application of the existing
   Minimum Tool process.


   Adjust livestock grazing standards and guidelines as needed. Assessment 1, 3 (terrestrial) states:

           ^we have standards and guidelines in the current Forest Plan regarding the timing,
          amount, and regulation of livestock grazing. We need to evaluate and potentially
          adjust these standards and guidelines based on monitoring data. This is particularly
          true for low elevation riparian areas, which are especially vulnerable to climate
          change impacts.

   Id. at 5.




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   The 2013 Forest Plan Monitoring and Evaluation Report questions whether the “current range
   utilization standard provides adequate protection for riparian habitat attributes for wildlife”. Id. at
   13.


   IX. FORMULATE A REASONABLE NUMBER OF ALTERNATIVES FOR THE PLAN
   REVISION EIS. This is technically not a need for change topic, but we address it here because
   of the issue raised recently. We are concerned about the statements made during the March 30
   webinar that the Forest Service would try to have as few alternatives as possible in the EIS for
   the Forest Plan revision. The thinking apparently is that upfront public participation will lead to
   resolution of conflicts on some issues, reducing the need for EIS alternatives.

   RGNF personnel referenced the planning rule and directives as supporting this goal. However,
   we do not find anything in the planning rule or Directives that recommends, or even mentions,
   reducing the number of EIS alternatives. We also find no mention of having a the lowest number
   of alternatives in the recently published draft of “A Citizens Guide to Forest Planning”, which
   was assembled by the Planning Rule Implementation FACA Committee, and is available at:
   http://www.fs.usda.gov/Internet/FSE DOCUMENTS/fseprd494137.pdf

   The following provision of the planning rule could be mis-extrapolated and misinterpreted to
   encourage fewer alternatives. The Forest Service must review the planning and land use policies
   of Native American tribes, other federal agencies, and state and local governments. Results of
   the review must be included in the plan revision EIS and shall consider: ^

         (iv) Opportunities to resolve or reduce conflicts, within the context of developing the
         plan’s desired conditions or objectives.

   219.4(b)(2). This says nothing about reducing the number of alternatives considered, and it only
   applies to a review of policies of other government agencies, not concerns expressed by the
   general public.

   Note that the Council on Environmental Quality regulations implementing the National
   Environmental Policy Act state that: “agencies shall - rigorously explore and objectively
   evaluate all reasonable alternatives”. 40 CFR 1502.4(a). This regulation applies to forest plans
   just as it does to projects and activities proposed for implementation under them.

   Alternatives may be even more important for plans than they are for projects because the plans
   provide the basis for potential approval and implementation of a great many projects over the life
   of a plan. How many of what type of projects and where they would be located depends on the



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   theme and emphasis of a plan. Therefore, it is important to have a variety of possible themes for
   a plan, in the form of EIS alternatives.

   NEPA and its implementing regulations do not prescribe a set number of alternatives. However,
   CEQ guidance requires that “a reasonable number of [alternatives], covering the full spectrum of
   alternatives, must be analyzed and compared in the EIS”. Questions and Answers About the
   NEPA Regulations, 46 Fed Reg 18026, March 23, 1981; emphasis original.

   The undersigned certainly support “upfront” public participation. Indeed, this continues to occur
   in the revision process for the Rio Grande plan, and we commend the agency for how it has
   conducted the process so far. But it remains to be seen if this results in resolution of a significant
   number of potential conflicts.

   History suggests it will not do so. Almost every national forest management plan now in
   existence has been developed with extensive public participation, but still had strong conflicts, e.
   g, those between: logging and conservation interests, livestock grazing versus biodiversity
   protection advocates, water users and river protection advocates, and motorized and non­
   motorized recreationists. Since forest plans are inherently complicated and controversial, it is
   important that the analysis include all points of view on how a respective national forest unit
   should be managed.

   We urge the Forest Service to not prematurely attempt to limit the number of alternatives,
   especially not before scoping has even begun, but rather to commit itself to developing an
   adequate range of reasonable alternatives as prescribed by NEPA’s implementing regulations.
   We believe that a reasonable number of action alternatives will be necessary to cover the full
   range of themes of management for the RGNF.


   CONCLUSION. We appreciate this opportunity to comment on the need for change. Since
   forest plan revisions occur only once every 15 years or more, it is important that each revision
   address the full range of issues that are relevant to the respective national forest unit.
   Regulations enacted since the previous revision must be incorporated into the new revision. The
   number of management areas used must be commensurate with the need to address management
   issues and protect the land and its resources.

   Alternatives formulated for the EIS accompanying the plan revision must reflect the full
   spectrum of public opinion on how a national forest should be managed and protected.

   As always, we are happy to further discuss our concerns with the planning team.



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   Sincerely,


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   BLM, 2008. Finding of No Significant Impact and Decision Record for the San Luis Resource
   Area Travel Management Plan. Approved June 3, 2008.




                                       EXHIBIT 1
                 RGNF Colorado Roadless Areas Not Managed As Backcountry

   Legend: Roadless area name---significant management area prescription other than Backcountry


   Crestone—Special Wildlife Areas-Bighorn Sheep, Deer and Elk Winter range

   Cotton Creek---Deer and Elk Winter range

   Hot Springs---Deer and Elk Winter range


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   Miller Creek—Deer and Elk Winter range

   Butterfly--- Deer and Elk Winter range

   Dorsey Creek---General Forest and Intermingled Rangelands

   Ute Pass— Special Wildlife Areas- Bighorn Sheep

   Lake Fork---Forest Products, General Forest and Intermingled Rangelands

   Deep Creek/Boot Mountain—Grassland Resource Production

   La Garita— Special Wildlife Areas-Bighorn Sheep, Forest Products

   Lower East Bellows--- Deer and Elk Winter range

   Bristol Head—General Forest and Intermingled Rangelands

   Kitty Creek—Forest Products

   Gibbs Creek---Dispersed Recreation

   Sulphur Tunnel—Forest Products

   Pole Mountain/Finger Mesa---Dispersed Recreation, Forest Products

   Beaver Mountain--- Deer and Elk Winter range

   Bennet Mountain / Blowout / Willow Creek / Lion Point / Greenie Mountain— Special Wildlife
   Areas-Bighorn Sheep, Grassland Resource Production

   Alamosa River--- Special Wildlife Areas-Bighorn Sheep

   Wightman Fork / Upper Burro---Forest Products

   Willow Mountain--- Designated and Eligible Recreation Rivers

   Conejos River / Lake Fork— Designated and Eligible Recreation Rivers



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   Spectacle Lake-Dispersed Recreation

   Fox Creek— Special Wildlife Areas-Bighorn Sheep

   Cumbres— Special Wildlife Areas-Bighorn Sheep

   Chama Basin--- Designated and Eligible Recreation Rivers

   Spruce Hole / Sheep Creek— Special Wildlife Areas-Bighorn Sheep




                                EXHIBIT 2
        DETAILED CONCERNS WITH THE POLICY OF ALLOWING OFF-ROUTE
        MOTORIZED USE FOR GAME RETRIEVAL DURING HUNTING SEASONS.

                     Why The RGNF Game Retrieval Policy Is Problematic
                                                     * = more information below

   1. *It is a confusing and misunderstood policy.
          --Only allows low pressure tire all-terrain vehicles (ATVs), but not motorcycles, 4WD
                   vehicles greater than 50” wide (utility task vehicles - UTVs) or licensed vehicles
          --Only allowed noon to 5 (not before or after)
          --Only allowed in certain areas (These areas are depicted on the motor vehicle use map
                    (MVUM), but the boundaries are not marked on the ground and not always
                    associated with terrain features.)
          --Only allowed if no soil or water or vegetation damage allowed (damage is not clearly
                    defined.)
          --*Public messaging is not consistent. (Is it water or vegetation or land damage?)

   2. Perpetuates the belief that it is acceptable to use a motor vehicle off route; and that this use is
       not damaging and has no impacts.

   3. Gives big game hunters special preferences when compared to other recreationists, and can
       thus lead to conflicts.

   4. Gives hunters retrieving game on the Rio Grande Nat. Forest special preferences when
       compared to other hunters in Colorado. (*Are hunters on the Rio Grande different than
       hunters on adjacent public lands?)

   5. *Is not consistent with management of adjacent BLM or other national forest lands.




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   6. Soil, water, land or vegetation damage are not defined. Often times ATV riders do not know
       if cross-country use results in damage until after it occurs. ATV riders have to look back
       behind to actually see damage, which is uncommon because riders look forward.

   7. *How is water itself damaged? Often times the easiest route to follow for cross-country ATV
      use is up stream beds, especially in the fall when vegetation is high and water levels are low.
      The potential for invisible damage to the stream bed and aquatic habitats under the water is
      high. *Game retrieval legally permits ATV use in and along 15 waterways which contain Rio
      Grande Cutthroat Trout.

   8. Allows hunters to travel an unlimited distance off routes within certain area boundaries. There
       is no specified distance limit for travel off a designated route. There are areas that are over 4
       miles away from a designated route that allow game retrieval. (Four or more miles if a direct
       route is taken; the actual distance covered to travel there and back may be more).

   9. The game retrieval area boundaries are not marked on the ground and do not always coincide
       with easily identifiable natural features. The areas where cross-country ATV game retrieval
       is allowed exist primarily on a map. Hunters would need to navigate with a GPS with
       accurate overlay information loaded into it to consistently retrieve game legally. We are not
       aware that any such easily useable overlay exists for Rio Grande game retrieval.

   10. Game retrieval area boundaries coincide with specific management prescription area
       boundaries from the 1996 Forest Plan. If management prescription area boundaries are
       modified in a forest plan revision process, game retrieval may become inconsistent with the
       new management area prescription boundaries and/or standards and guidelines. Revision of
       the Forest Plan management area boundaries could trigger required modifications of Motor
       Vehicle Use Maps.

   11. This policy can easily result in cross-country ATV use on private land or in Wilderness,
       Research Natural Areas, etc. These remote boundaries are generally not marked on the
       ground away from designated routes, as cross country motorized use is not expected.

   12. Can spread noxious weeds and weed seeds to remote locations. Weed seeds are likely
       prevalent during hunting season, and most noxious weed populations are found along
       designated routes where cross country ATV use would begin.

   13. Allows use on closed routes, motorcycle singletrack trails and non-motorized trails, making it
       more difficult to keep these routes physically closed to ATV use.

   14. Does not prohibit multiple passes by an ATV to go off route to retrieve game. This
       additionally contributes to the creation/use of undesignated routes.

   15. *Some designated game retrieval areas delineated on the MVUM are not legally accessible to
       ATV use.




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   16. ^Permitted cross country motorized travel has a high potential of damaging sensitive native
       plants or their habitat.

   17. This policy is difficult to enforce and monitor, as the abuse and land damage occurs primarily
       far from designated motorized routes.

   18. *RGNF and BLM staff recognize the game retrieval policy is problematic.

   19. ^Motorized game retrieval is not required for handicapped hunters.


   Messaging regarding the current game retrieval policy is not consistent.

   Game retrieval is authorized using ATVs from noon to 5:00 pm (1200 -1700) each day, unless
   soil and water damage will occur.

   (1996 RGNF Forest Plan language, included as guidelines for management areas where this is
   allowed)

   o       Big game retrieval is allowed only with ATVs (vehicles that do not exceed 50 inches in
   width with a large tire surface and less than 10 lbs of tire pressure). This does not include dirt
   bikes or conventional 4-wheel drive vehicles.
   o       Big game retrieval is allowed only for the purpose of retrieval of legally taken big game
   animal.
   o       Big game retrieval is allowed only from 12:00 and 17:00 each day during a legal hunting
   season.
   o       Big game retrieval is allowed only if the use does not create soil or water damage or
   cutting of vegetation.

   (From July 31, 2008 Categorical Exclusion for Clarification and Implementation of the 2005
   Travel Rule, which led to a new travel order).


     Motorized big game retrieval is allowed, but restricted to areas specified on the Rio Grande
   National Forest Motor Vehicle Use Map. Only all-terrain vehicles (ATVs) may be used to
   retrieve game between 12:00 p.m. and 5:00 p.m. ATVs must not exceed 50 inches in width and
   must have large tire surface area and less than 10 lbs of tire pressure. Game retrieval with ATVs
   must not damage soils and vegetation. (Language from website
   http://www.fs.usda.gov/detail/riogrande/recreation/ohv/?cid=stelprdb5167720 )


     The use of All Terrain Vehicles (ATV’s) is permitted off Forest Development roads or trails
   during Big Game hunting seasons in the afternoons, only to retrieve legally harvested game, in
   open designated areas or on designated trails in closed areas. No weapons are allowed on ATV’s
   traveling on closed roads or off Forest Development roads or trails while retrieving legally


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   harvested game. These open areas are depicted in light gray color on the Rio Grande Travel
   Map.
       Designated Backcountry Areas are closed to motorized game retrieval and motorized travel is
   restricted to Designated Trails Open to Motorized Use. These areas are depicted in dark gray on
   the Rio Grande Travel Map.
       All-Terrain Vehicles (ATV’s) are vehicles that do not exceed 48 inches in width and have low
   tire pressure tires (less than 10 lbs of air pressure) with large tire surface on the ground. This
   does not include dirt bikes or conventional 4-wheel drive vehicles.
   (Travel Order RG-02-05 language)


       During the big-game hunting season, off-highway vehicular travel by ATV is permitted in the
   afternoon for the retrieval of harvested game, provided that damage to the land does not occur.
   Off-highway travel by standard highway vehicles is not allowed. Firearms are not needed to
   retrieve harvested game so please leave them in camp.
   (Rio Grande NF Visitor map language)


       Game Retrieval is authorized using ATV's from Noon to 5:00 pm (1200 to 1700) each day,
   unless soil and water damage will occur.
       When a big game animal has been legally taken, the individual who legally took the animal
   may drive or be driven to the downed animal. Under no circumstances may a second ATV be
   used to retrieve the animal. The ATV driven to the animal should be of sufficient capacity that
   only one trip is necessary. The number of individuals who participate in the retrieval is limited
   only by the ATV's capacity, and the willingness of others to walk to and from the downed
   animal.
       The ATV used to retrieve the game may be operated off of the route within the game retrieval
   areas defined and specified on the MVUM. If the downed game is further than the allowed
   distance, the vehicle may be driven only the specified distance from the designated route.
       All Terrain Vehicles (ATV's) are vehicles that do not exceed 50 inches in width and have low
   tire pressure (less than 10 lbs of air pressure) with large tire surface on the ground. This does not
   include dirt bikes or conventional 4-wheel drive vehicles.
       Caution: Trails and portions of trails open to motorized use may be unsuitable and unsafe for
   4- and 6- wheel ATV use.
   (2014/2015 RGMF MVUM language)


   Adjacent BLM and Forest game retrieval policy

   Gunnison NF: motorized game retrieval not allowed beyond standard 300 foot limit.

   Pike San Isabel NF: motorized game retrieval not allowed beyond 300 foot limit.

   San Juan NF: only allowed in the Boggy Glade area, a small area over 80 miles from the RGNF.

   Carson NF: motorized game retrieval not allowed beyond the standard 300 foot limit.

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   San Luis Valley BLM lands: Motorized game retrieval is not allowed beyond a standard 300
   foot limit.

   The only other place motorized game retrieval is allowed in CO is on the Routt NF, hundreds of
   miles away. We could not locate any information on game retrieval there.


   Game retrieval permits ATV use in and adjacent to these waterways containing
   Rio Grande cutthroat trout:

   Upper portion of Middle Fork San Francisco Creek, incl. SF Lakes
   Middle Fork Carnero Creek
   South Fork Carnero Creek
   Cave Creek
   Miners Creek
   Prong Creek
   Cat Creek
   Rhodes Gulch
   Cross Creek
   Jacks Creek
   East Pass Creek
   Big Springs Creek
   Lake Fork Conejos River
   Cascade Creek
   Osier Creek


   There are game retrieval areas depicted on the MVUM that cannot legally be
   accessed by an ATV, or members of the public using an ATV.

   These areas have no public motorized route leading into them from which an ATV can legally
   begin to be used for game retrieval, or they are separated from other public roads by private or
   USFS lands which do not legally allow public cross country use by ATVs.

   Depicting these areas as open to ATV game retrieval encourages illegal off route ATV use on
   BLM or USFS lands, and/or trespassing across private lands. Some game retrieval areas
   adjacent to private lands unfairly allow exclusive non-public game retrieval access.

   Examples:

    --No motorized access from USFS or BLM designated routes to game retrieval area NW of
   Ferguson Creek in Sangres on Saguache Ranger District (RD). T.47N R.9E. Sec 12.

    -   -No access near N. Piney Creek in Sangres on Saguache RD, T. 46N R.10E Sec 3.

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    -   -No legal public ATV access S. of Kerber Peak T.45N R.8E Sec 1, Saguache RD.

    - -No legal ATV access across BLM and no legal public ATV access to Soda Spring Coal Creek
   area. Saguache RD, T.46N R.8E Sec 14, 15, 22, 23.

    - -No legal ATV access across BLM or USFS to Horse Canyon-Trickle Mountain area.
   Saguache RD, T.46N R.6E Sec 11.

     - -No legal ATV access; illegal access is via the Willow Mtn motorcycle trail #737 SW of big
   lake, Conejos Peak RD, T.35N R.5E Sec 21, 22.

    - -No public access through private land south of FR 526/Ivy Creek in Red Mtn Creek drainage.
   Divide RD, T.39N R.1W Sec 19.

    - -Isolated land area surrounded by private. No open public access. Divide RD, T.41N R.5E
   Sec 11.

    - -No public access, only accessible across private land. West of Wagon Wheel Gap, Divide
   RD, T.40N R.1E Sec 22.

    -   -No public access, only across private land. Turret Peak area, Divide RD, T.41N R.1E Sec 27.

    - -No Public access, small area adjacent to South San Juan Wilderness. Conejos RD, T.34N
   R.5E Sec 1.

     - -Area east of Lake Como has no legal public motorized access to it. ATV users would have to
   illegally ride across USFS land closed to public motorized use. Conejos RD, T.41N R.5E Sec
   11.


   It might be possible to legally retrieve game in these areas by placing and removing an ATV in
   them with a helicopter.


   Motorized game retrieval is legally permitted in areas with imperiled plant
   populations:

   Ripley's Milkvetch Astragalus ripleyi
   Northern Moonwort Botrychium pinnatum
   Least Moonwort Botrychium simplex
   James' Cryptantha Cryptantha cinerea
   Colorado Larkspur Delphinium ramosum var. alpestre
   Hell's Tansy Mustard Descurainia kenheilii
   San Juan Whitlow-Grass Draba graminea
   Smith's Whitlow-Grass Draba smithii

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   Philadelphia Fleabane Erigeron philadelphicus
   Stonecrop Gilia Gilia sedifolia
   Parry's Crazy-Weed Oxytropis parryi
   Arizona Willow Salix arizonica
   King's Campion Silene kingii
   Rothrock Townsend-Daisy Townsendia rothrockii
   Plummer's Cliff Fern Woodsia plummerae



   RGNF staff recognizes game retrieval is problematic.

   “The RGNF allows ATV use for cross country game retrieval under specific conditions which
   opens the door for honest misinterpretation as well as abuse. There is a particular need during
   for increased education and enforcement during hunting season to ensure compliance with the
   game retrieval rules”

   Martha A Williamson, Divide District Ranger, on Page 4 of a 12/1/14 CO State OHV grant
   application requesting Law Enforcement Support.


   Adjacent SLV BLM Field Office believes unrestricted off route game retrieval
   results in the creation of unauthorized routes.

   In 2007, the adjacent San Luis Valley BLM Field Office stated the following:

      “The majority of the user created routes (cross country) have been observed by BLM and FS
   staff to have been created during the hunting season. A hunter uses an ATV/OHV to retrieve
   game cross country then another follows those tracks across country believing that there is a
   good hunting area at the end of the tracks and by the end of the hunting season a new two track
   route has been created. Few recreationists go on public lands during hunting season due to the
   risks created by the large number of hunters. Outside of hunting season staff have not seen the
   numbers of user created routes develop. “

   (BLM response to comments, San Luis Resource Area Travel Management Plan EA, Appendix
   25.
   http://www.blm.gov/style/medialib/blm/co/field offices/slvplc/travel management/appendices.P
   ar.88848.File.dat/Appendix %2025.pdf )




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   Planning Team
   Rio Grande National Forest
   Via e-mail: rgnf forest plan@fs.fed.us

   August 22, 2016

   Dear Rio Grande National Forest Planning Team,

   The following are the comments of the parties listed at the end of this letter on the Revised Plan
   Framework and Need For Change (RPF/NFC), including version 2 of the NFC and the
   Framework + Crosswalk. We incorporate by reference our previous comments on the Need For
   Change, dated April 15, 2016, as applicable, i. e., where it has not been made moot by
   subsequent Forest Service proposals.

   We are pleased to see some positive modifications in the need for change, such as a commitment
   to evaluate the possibility of 34 river segments not previously analyzed for inclusion in the
   National Rivers system and favorable modifications to the Need For Change. However, we are
   very concerned about the proposal to move standards and guidelines toward “management
   practices”. We are also concerned about proposed goals and use of geographic areas.

   MONITORING. Monitoring is mentioned a few times in the documents being reviewed here,
   such as the Crosswalk and slide 17 of the RPF/NFC. It is also prominently featured in Need For
   Change item B 3. Without question, monitoring is a critically important part of adaptive
   management, which the plan rule mandates. See 36 CFR 219.2(b), 219.5(a)(3), and 219.12(a)(1).
   Without it, there would be no way to assess whether desired conditions and objectives were
   being met, nor how well standards and guidelines were being applied and how effective they
   were. In other words, adaptive management could not be implemented without monitoring.

   The planning rule requires development of a monitoring plan that is included in the forest plan.
   See 219.12(a)(1). However, we have seen nothing in any of the plan revision documents to date
   regarding a monitoring plan. The description of the Forest Plan Revision Process (on the web at:
   http://www.fs.usda.gov/detail/riogrande/landmanagement/projects/?cid=fseprd513089 ), has a
   section entitled “Phase 3, Monitoring, May 2018 - Ongoing”, but it does not mention a
   monitoring plan.

   Given the number of components that must be included in a monitoring plan (219.12(a)(2-5), and
   the importance of monitoring, the RGNF should begin developing the monitoring plan “early in
   the planning process.” FSH 1909.12, chapter 30, Section 32.1. See also id. at section 31.2.




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   WILDERNESS INVENTORY
   We will submit detailed comments on this item separately.


   REVISION FRAMEWORK AND CROSS WALK

   Goals versus desired conditions. The Framework-Crosswalk states that for the existing plan’s
   desired conditions: “Keep ’96 policies, shift into Goals, Geographic Areas and Management
   Areas”. Does this mean forest-wide desired conditions, which are in Chapter I of the existing
   plan? The management areas have their own desired conditions (in Plan Chapter IV). Would
   those desired conditions also be converted into goals? This isn’t clear because the “Tactical
   How” section of the Framework-Crosswalk states: “Keep ’96 Management Areas themes, shift
   to “Integrated Desired Conditions”. (See further discussion below on management areas.)

   There may seem to be little difference between desired conditions and goals. However, under the
   planning rule, goals are optional (see 219. 7(e)(2)), but desired conditions are a required plan
   component (219.7(e)(1)(i)). They are defined in the rule as follows:

         Goals are broad statements of intent, other than desired conditions, usually related to
         process or interaction with the public. Goals are expressed in broad, general terms,
         but do not include completion dates.

   219.7(e)(2).

         A desired condition is a description of specific social, economic, and/or ecological
         characteristics of the plan area, or a portion of the plan area, toward which
         management of the land and resources should be directed. Desired conditions must
         be described in terms that are specific enough to allow progress toward their
         achievement to be determined, but do not include completion dates.

   219.7(e)(1)(i).

   The RPF/NFC, slide 10, lists only three forest-wide goals. They are much broader and more
   vague than the forest-wide desired conditions in Chapter 1 of the current plan. See further
   discussion on the possible implementation of one goal of concern below.

   With shifting desired conditions into goals and adhering to the above-quoted definitions, the
   revised plan might not address the RGNF’s intent for “specific social, economic, [or] ecological
   characteristics” of the RGNF. The goals could be so broad and vague as to be almost
   meaningless. In any case, the RGNF should use desired conditions, as required in the Planning


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   Rule. This includes having forest-wide desired conditions to guide overall management to insure
   that projects and actions are oriented toward attaining certain conditions, such as habitat for lynx
   and other TES species, and protection of watersheds.

   Fulfillment of the second forest-wide goal, “maintain and restore sustainable, resilient
   ecosystems”, could include the following implementation strategy according to the RPF/NFC
   Appendix B4:

         Aggressively diversifying age classes and structure, seral stage, and habitat classes in
         the next planning horizon would provide many benefits including but not limited to
         providing connectivity, responsiveness to anticipated changes in climate, ecosystem
         services, recreation, increased social and economic benefits, and more.


   This is a very strange proposal given the current condition on the RGNF. The late successional
   stage covers considerably less area than it did historically, a departure from the historic range of
   variability. Assessment 1 and 3 Terrestrial at 35. Indeed, with the death of most of the mature
   and older Englemann spruce due to spruce bark beetle, late successional habitat in the spruce-fir
   type has decreased considerably. Notably, this timber type covers over 900,000 acres of the
   RGNF. Id. at 8.

   Late successional habitat cannot be created by human actions. Rather, stands must be allowed to
   develop over time. At this time, with much of the spruce-fir type in the stand initiation stage
   (perhaps more so than historically), there would be no way to diversify age classes and
   structures. Assessment 1 and 3 Terrestrial, ibid. predicts that without management, the area in
   late successional stage would increase in all forest types, but it would still be short of historic
   levels except for one forest. It is hard to imagine how any human activity could accelerate the
   development of older age classes.

   We strongly recommend that the possible strategy for realizing goal 2 be removed from
   consideration. It simply cannot be implemented.


   Management practices versus Standards and Guidelines. Standards and guidelines are two other
   required plan components, as described in the Rule:

         A standard is a mandatory constraint on project and activity decisionmaking,
         established to help achieve or maintain the desired condition or conditions, to avoid
         or mitigate undesirable effects, or to meet applicable legal requirements. ^



                                                     3

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          A guideline is a constraint on project and activity decisionmaking that allows for
          departure from its terms, so long as the purpose of the guideline is met. (§
          219.15(d)(3)). Guidelines are established to help achieve or maintain a desired
          condition or conditions, to avoid or mitigate undesirable effects, or to meet
          applicable legal requirements.

   219.7(e)(iii) and (iv), respectively.

   In other words, plans are clearly intended to have some limitations on management in order to
   meet desired conditions, avoid or mitigate adverse impacts, and meet legal requirements.

   The Framework-Crosswalk states the following:

          ’96 Plan Standards and Guidelines
            Keep ’96 policy intent, clarify language, shift into “Management Practices”.

   “Management practices” are not found in the plan rule.1 They would thus not be an enforceable
   part of the revised forest plan. By shifting standards and guidelines into management practices,
   the intent seems to be to avoid any, or most, restrictions on management actions and projects,
   and to convert required plan components, which can only be changed by plan amendment2, into
   something that can be changed by the Forest Supervisor without public involvement.3

   We understand the need for the RGNF to have flexibility to respond to changing conditions and
   unexpected occurrences. Indeed, some flexibility is needed to implement adaptive management,
   as provided in the planning rule (219.5(a)). However, restrictions on management are still needed
   to ensure compliance with laws and regulations, and that impacts would be manageable.

   Moreover, standards and guidelines, along with other plan components, establish certainty, help
   ensure consistency in decision making, and build and retain trust with the public. It is simply not
   appropriate to evade the intent of the planning rule by greatly reducing or eliminating the use of
   required plan components that mandate limitations on management. Minor changes in plan
   components require only a minor plan amendment. See 219.13(b)(3).4




   1 Under “Optional content in the plan”, 219.7(f)(2) mentions “potential management approach and strategies”, with
   no further elaboration. These terms are not defined in 219.19.
   2 See 219.13(a).
   3 219.13(c)(2)
   4 “The appropriate NEPA documentation for an amendment may be an environmental impact statement, an
   environmental assessment, or a categorical exclusion, depending upon the scope and scale of the amendment and its
   likely effects.”

                                                           4

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   Without standards and guidelines, the RGNF would not be accountable to the public. Any
   change to management practices would be considered an “administrative change”, which is:

        any change to a plan that is not a plan amendment or plan revision. Administrative
        changes include corrections of clerical errors to any part of the plan, conformance of
        the plan to new statutory or regulatory requirements, or changes to other content in
        the plan (§ 219.7(f)).

   219.13(c)(1).

   Changes to management practices would probably be considered “other” plan content under
   219.7(f), even though ”management practices” is not specifically mentioned or described in the
   planning rule as “other” content. The Framework + Crosswalk hints that administrative changes
   may be used for “Policies for specific Locations and Resources”. The public would have to be
   notified of such changes (219.16(c)), but comment may not be required and decisions would not
   be subject to objection.

   The revised plan must contain standards and guidelines that place adequate and appropriate
   restrictions on management as needed to ensure compliance with laws, regulations, and policies,
   and to avoid or minimize adverse effects of projects and activities.


   Use of geographic areas. The RGNF proposes to use five geographic areas (GAs) in the revised
   plan. See RPF/NFC, slide 13. The GAs would be designated by management emphasis not area,
   in contradiction to the planning directives:

         Geographic areas are based on place, while management areas are based on purpose.


        Rather than a management emphasis map, a geographic area map tends to focus on a
        place^”.

   FSH 1909.12, section 22.21. Management areas, on the other hand, are delineated by
   management emphasis. Ibid.

   Use of GAs in the previous round of national forest planning in Colorado was for specific places,
   often watersheds or other topographically identifiable areas, not for areas with similar
   management emphasis. The Routt NF used 29 GAs. The Arapaho-Roosevelt National Forest
   used 59 GAs. None of the other forests used GAs. The San Juan NF used three GAs,
   corresponding to the three ranger districts on that unit.


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   The RGNF proposes to use only five GAs. That means that management direction for any of
   these GAs would be broad and not consider site-specific needs for management. That is
   particularly true of the “active management” GA, which might cover half of the RGNF. If
   intended management emphasis is similar in each respective GA, then having GAs would not
   add anything meaningful to the revised plan because any management direction in the GAs
   would likely be redundant with management areas. We recommend that the RGNF either drop
   GAs or delineate them geographically rather than by management emphasis.

   The RGNF could be divided into logical geographic areas based on landscape character and
   physiography (e.g., the Sangres; the Conejos River Valley; Chama Basin, Upper Rio Grande
   areas), and then nest management areas within these zones. Both geographic and management
   areas would have plan components and other associated plan content (e.g., management
   strategies). Where management/geographic areas overlap, the more restrictive plan components
   would apply. This is similar to the approach used by the San Juan National Forest.

   Lastly, we support creating separate management areas for Colorado Roadless Areas (CRAs).
   Those CRAs recommended for wilderness or other protective designation should have a
   management area with components that ensure retention of the characteristics that make them
   eligible for the respective designations. Those not recommended for any designation should have
   plan components that will assure compliance with the Colorado Roadless Rule.


   NEED FOR CHANGE VERSION 2

   Item A 1 says to re-evaluate suitability for various multiple uses. Five uses are listed, but
   livestock grazing is conspicuous in its absence. Suitability for livestock grazing by class of
   animal (cattle/horse, sheep/goat, and other) should be evaluated in the plan revision. Determining
   suitability for livestock grazing is encouraged by FSH 1909.12 section 23.23d 2(c).

   We are glad to see the suitability of lands for over-snow vehicle use will be determined. This is
   necessary to reduce damage to habitat effectiveness wintering animals like lynx and marten, and
   to reduce conflicts between motorized and non-motorized recreationists, as required by
   Executive Orders 11644 and 11989. It will help the RGNF comply with the Over-snow Vehicle
   (OSV) Rule. See 80 Fed Reg 4500 et seq., January 28, 2015, but additional action will be needed
   to fully comply with the OSV Rule.

   We are also pleased to see that suitability of lands for both mechanized and motorized travel will
   be determined. This is necessary and important in order to properly and responsibly consider
   desired recreational experiences and effects on natural resources from recreational use.


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   A 3, inventory, evaluation, analysis, and recommendations for river segments under the Wild and
   Scenic Rivers Act. We are very pleased to see that additional segments will be considered, ones
   that were not studied for the previous plan revision, and nine segments on the Baca Tract, which
   the RGNF acquired since the last revision. Streams for which conditions have changed should
   also be identified and considered for eligibility. (See FHS 1909.12, section 82.2.)

   The Rio de los Pinos must be evaluated, if has not been recently evaluated. Note that the 9-11
   miles of this river in New Mexico that are closest to Colorado have been found eligible for
   scenic designation. See the Environmental Assessment for Amendment 11 to the Carson
   National Forest Plan, Appendix B at 205. Also, 4-5 miles of tributaries, including the Osier Fork
   from its boundary with the Tierra Amarilla Grant to the Colorado state line, are eligible for
   recreational designation. Ibid. The Osier Fork enters the Rio de los Pinos in Colorado.

   Note that both segments referenced above have numerous outstandingly remarkable values. Ibid.
   It is likely that these values also occur along the portions of these rives in Colorado.

   Segments found eligible must include a preliminary classification (wild, scenic, or recreational;
    16 U. S. C. 1273(b), FSH 1909.12 section 82.8). The analysis of eligibility should be available to
   the public no later than the draft EIS to ensure ample opportunity for public review.

   River segments identified in the 1996 plan as eligible, including the six segments eligible for
   wild designation6, must be retained as eligible, unless an analysis demonstrates they are no
   longer eligible. Such analysis must be subject to public review before segments are removed
   from eligibility.

   All eligible segments must be managed to retain their eligibility. See 219.10(b)(1)(v).


   A 10, identifying priority watersheds. Since this is required by the Planning Rule at
   219.7(f)(1)(i), we are glad to see that it has been moved to Table A.


   B 2, re-evaluate management areas. Please see our April 15, 2016 comments at pp. 7-9. We still
   believe that a good number of management areas, similar to that used in the exiting plan, is
   needed to provide adequate management direction for the RGNF. Note that one possible way to



   5 This amendment was approved January 26, 2002.
   6 See 1996 Forest Plan at IV- 8.

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   management areas less complex would be to create overarching geographic areas delineated by
   physiography and nested management areas within them, as suggested earlier in the comments.

   C 1: we agree with revising the plan to give managers more flexibility to use prescribed and
   naturally occurring fire. The planning rule requires consideration of “[w]ildland fire and
   opportunities to restore fire adapted ecosystems”. 219.8(a)(1)(v).

   C 5: we agree with adding direction to the plan for the areas listed. For the Continental Divide
   National Scenic Trail, the RGNF should work with the GMUG NF, as much of the Trail in the
   planning area straddles the border between these two national forests.

   C 6: we agree with the need for consideration of additional special areas to protect fragmented
   eco-types, important cultural artifacts, and plant communities and habitats potentially vulnerable
   to climate change. We recommend that you add a sentence to this item that says “Examine the
   possibilities for increasing the Research Natural Area system to better meet the policy objectives
   set forth in FSM 4063.02.”7 Forest Service policy directs that land management planning is the
   appropriate venue for selecting and establishing Research Natural Areas. See FSM 4063.03.8

   We agree with inclusion of the Mt. Blanca Massif and Natural Arch areas for consideration for
   special area designation of as part of item C 6.


   C 7, reducing the size of the Fremont special area. See our previous comment letter at 18.

   C 8 Separating bighorn and domestic sheep. We are pleased to see that this issue has been moved
   to Table C, indicating an increase in recognition of its importance. Given that diseases
   transmitted from domestic sheep to bighorns can be devastating to the latter, and the continuing


   7 The objectives of establishing Research Natural Areas are to:
   1. Maintain a wide spectrum of high quality representative areas that represent the major forms of variability found
   in forest, shrubland, grassland, alpine, and natural situations that have scientific interest and importance that, in
   combination, form a national network of ecological areas for research, education, and maintenance of biological
   diversity.
   2. Preserve and maintain genetic diversity, including threatened, endangered, and sensitive species.
   3. Protect against human-caused environmental disruptions.
   4. Serve as reference areas for the study of natural ecological processes including disturbance.
   5. Provide onsite and extension educational activities.
   6. Serve as baseline areas for measuring long-term ecological changes.
   7. Serve as control areas for comparing results from manipulative research.
   8. Monitor effects of resource management techniques and practices.

   8 “The selection and establishment of Research Natural Areas within the National Forest System primarily emerges
   from continuing land and resource management planning and associated environmental analyses (FSM 1920 and
   FSM 1950). Forest plans shall include analysis of, and recommendations for, the establishment of proposed
   Research Natural Areas.”

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   decrease in bighorn populations, action is needed to ensure recovery and maintenance of viable
   populations of bighorns. See our April 15, 2016 comments at 11-13. Controlling the recreational
   use of pack goats is also needed to prevent disease transmission, so it makes sense to combine
   these issues as proposed.


   Table D has measures that “may be relevant, timely, and appropriate” for consideration in the
   revision. A decision will be made on each measure, and a clear rationale will be provided for
   those that are dropped from consideration. NFC at 8. We are pleased to see recognition of the
   possible importance of addressing these issues in the plan revision, and for agreeing to provide
   “clear rationale” for dropping any of the items from consideration.

   D 1, update definition and management direction for late successional and old growth forests.
   With the death of most of the mature Englemann spruce, old growth will be in short supply for
   many years to come. The revised plan should contain direction to retain all old growth in other
   timber types, including subalpine fir, ponderosa pine, and Douglas-fir.

   D 2, oil and gas leasing availability analysis. See our comments of April 15, 2016 at 10-11. (See
   also our comments on various draft assessments, dated January 20, 2016, at 17-18.) We still
   believe that now, when there is not much interest in exploration, is a good time to update oil and
   gas leasing availability, rather than later, when, with increased market prices, there may be a
   much stronger interest, which might necessitate a plan amendment. The RGNF would be under
   strong pressure to make all of the legally available land in its jurisdiction available for leasing.

   D 3 states to better manage wilderness areas across administrative boundaries and “better
   incorporate the 1993 Colorado Wilderness Act and language specifically regarding Wheeler
   Geologic Area.” We approve of coordinating management with other units when wilderness
   areas occur on two national forests, as all four of the wilderness areas on the RGNF do.

   What language appears in the 1993 Colorado Wilderness Bill regarding the Wheeler area, other
   than the paragraph (2)(a)(16)), which designates the “Wheeler Addition to the La Garita
   Wilderness Proposal”?

   Item D 3 also states, in the third column:

         Wheeler Geologic Area will be considered during the Wilderness Inventory,
         Evaluation, Analysis and Recommendation process or potentially considered for
         Special Designation in the forest plan.




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   The Wheeler area is already in the La Garita Wilderness, so why would it need to be considered
   during the wilderness inventory, etc. process?


   D 4, “Contribute to developing and maintaining sustainable enterprises that contribute to the
   general economic and social vitality of the area.” While the RGNF must consider how its
   management might affect the local economy, it should not develop or maintaining any industry
   that depends on certain management of the RGNF. That is the role of industry and chambers of
   commerce, not the Forest Service. The RGNF should consider the needs of industry (just like it
   should do for all other interests), but there should be no plan direction for the RGNF to create or
   maintain such industries.

   An industry that is or becomes dependent can become a powerful economic force that then
   dictates management. That is exactly what happened with the timber industry in the 1960s and
   1970s, which resulted in overcutting. According to the “Summation of Forestry Studies for Rio
   Grande Basin” Wood Utilization_workshop that took place August 4th 2016 in Alamosa, Molly
   Pitts mentioned the Four Corners Report and reiterated that the timber harvest industry on public
   lands in the west has dropped 80% since 1998. Timber suitability and harvesting options have
   changed drastically since the last Forest Plan.

   According to the 2015 State of the Forest Report, only 9% (175,367 acres,) is being
   recommended as “likely” harvesting consideration for a variety of reasons. In addition, the data
   produced by the 2015 Spruce Mortality Study contributes further ambiguity regarding harvest
   management decisions when there appears to be a 3 to 9 year spread in recent Spruce mortality.
   Determining timeframe of death is difficult when viewing a stand of dead trees. The longer the
   standing dead deal with the outside elements, the greater increase of “timber defect”, decreasing
   potential economic value to industry.


   D 6, “[r]evisit how managing for multiple uses on the forest affects cultural resources”. This is
   badly needed, as certain types of recreation and heavy recreational use of any kind can damage
   cultural resources.

   D 9, recreational climbing. This item states, in the third column: “Impacts should be addressed
   in a site specific analysis. Habitat and resource concerns can be mitigated through Forest Order.”
   Site specific analyses will be needed, but it would be best if there was some forest-wide direction
   to do these analyses, and where they might be needed. Direction is also needed on what to look
   for in terms of damage to: flora, fauna, cultural resources, and soils (from human use, including
   camping).



                                                    10

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   D 11, revise the stay limit for dispersed and developed campsites. The language here hints that
   the current limit of 14 days may be increased to 30 days. Slide 16 in the RPC/NFC PowerPoint
   proposes a change to 30 days. We believe this would be inappropriate for camp sites that are
   often fully occupied. The season of use in some of the campsites is no longer than about four
   months. Allowing someone to say for a fourth or more of the season limits opportunities for use
   by others.9 Also, lengthy use of dispersed sites increases the potential for damage, such as
   accumulation of human waste and trash. We recommend that the stay limit not be increased to
   anywhere near 30 days for dispersed sites or popular developed sites, if it is increased at all.

   A special use permitting process would better accommodate the few unique situations where an
   increased stay of greater than 14 days may be desired and appropriate, rather than a blanket
   extension of the existing limit.


   D 13, off-road game retrieval policy. As we strongly argued in our April 15, 2016 letter, this is
   an urgent programmatic issue that must be addressed in the forest plan, even if some of the
   details may have to be done later during travel management planning. Implementation of the
   current policy is confusing, it leads to the potential for damage to soil and water, and makes
   enforcement of travel restrictions more difficult outside of hunting seasons. Existing
   management area prescription boundaries determine where game retrieval is currently allowed
   and prohibited, and any modification of those boundaries could impact game retrieval. See April
   15 letter at 14-15 and 24-30. This issue needs to be moved to Table B.


   D 15, address new technology, including drones. As we argued in our April 15 comments at 15­
   16, drone use needs to be regulated, and for some areas like wilderness and RNAs, prohibited
   altogether.

   This need for change item also addresses “alternative energy sites and fiber optic (sic)”. It thus
   overlaps somewhat with item A 6, which would address “suitability for renewable energy
   resource development”.


   D 19, “[u]pdate plan direction for the removal of common mineral materials, such as commercial
   contracts, personal, ceremonial, and free use permits”. See our previous comment letter at 16.


   Additional Needs for Change.

   9 This is noted in slide 17 in the PowerPoint, which also states, “Persons are using sites as season-long residences”.

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   The planning rule has a substantial set of requirements around managing for water resources that
   is not reflected in part A of the need for change document. In order that these concepts are not
   lost in the plan revision, we recommend that you add the following items to NFC part A:

      ^ There is a need to maintain and restore water quality. 219.8(a)(2)(iii)
      ^ There is a need to maintain and restore lakes, streams, wetlands, ground water, public
        water supplies, sole source aquifers, source water protection areas. 219.8(a)(2)(iv)
      ^ There is a need to maintain and restore ecological integrity of riparian areas, and develop
        plan components to maintain and restore structure, function, composition, and
        connectivity. 219.8(a)(3)(i)
      ^ There is a need to establish widths for riparian management zones around all lakes,
        perennial and intermittent streams, and open water wetlands and establish plan
        components for these zones. 219.8(a)(3)(ii)
      ^ There is a need to ensure implementation of BMPs for water quality. 219.8(a)(4)
      ^ There is a need to maintain or restore rare aquatic plant and animal communities.
        219.9(a)(2)(ii)


   Section A of the Need for Change should specifically mention the need to ensure habitat
   connectivity. “Connectivity” is defined in the rule as follows:

         Ecological conditions that exist at several spatial and temporal scales that provide
         landscape linkages that permit the exchange of flow, sediments, and nutrients; the
         daily and seasonal movements of animals within home ranges; the dispersal and
         genetic interchange between populations; and the long distance range shifts of
         species, such as in response to climate change.

   219.19.

   Connectivity will be critically important for wide-ranging species such as lynx. The intent to
   address connectivity may be captured in NFC item A 5, “provide management direction to
   manage habitat to ensure viable populations of species of conservation concern”. However, it
   would be appropriate to have a specific mention of connectivity to ensure that it receives the
   emphasis it deserves.


   Thank you for this opportunity to comment. We would be happy to discuss any of the items in
   this letter, if that would help your understanding of our concerns. We look forward to providing
   you with additional input during the forthcoming scoping period.


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   Sincerely,


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                                                ------------ THE-------------
                                                WILDERNESS
                                                ------ S O C I E T Y------




   Dan Dallas, Supervisor
   Erin Minks, Forest Planner
   Rio Grande National Forest
   1803 W. Highway 160
   Monte Vista, CO 81144

   July 8, 2016

   Dear Supervisor Dallas and Ms. Minks,

   Thank you for considering these comments on Assessment Chapters 1, 2 and 3 and related portions of
   the Need for Change statement on behalf of The Wilderness Society, San Luis Valley Ecosystem Council,
   Rocky Mountain Wild, Defenders of Wildlife, Quite Use Coalition, Western Environmental Law Center,
   and Rocky Smith. We are restricting our comments to water resources and watersheds. We want to
   thank the Forest Service for putting together a well-researched and scientifically supported report on
   aquatics, and, in particular, for working proactively with Colorado Natural Heritage Program and others
   to evaluate the wetlands on the forest. We offer the following comments on the assessment and
   related need for change statement in the hope that it will inform your thinking as you craft the proposed
   action and initiate scoping.

   Spatial Data. While the general information about watershed processes and function was very helpful, it
   would also be helpful to provide more information - especially spatial information - on the stream
   segments and watersheds. For instance, you provide general information that there are watersheds and
   segments that are impacted from specific land uses (e.g., road, ORVs, grazing, impoundments) but you
   do not specify which segments/watersheds are so affected or display the information on maps.
   Similarly, it would be very helpful to see spatially where the most undisturbed stream water features
   and watersheds are located.

   Predicted location of high quality stream segments. The assessment report discusses in general terms
   predicted changes to stream segments from climate change, and recommends that the Forest Service in
   the revision give special attention to those segments that will serve as cold water refugia. However, the
   report does not specify which segments these are likely to be and why. This information would be very
   useful in designing a revised plan that facilitates climate change adaptation and builds resiliency.

   Additional scientific literature on the importance of landscape scale aquatic management. We
   recommend that you include the information from the following scientific articles in the assessment
   report as they are directly relevant to watershed management.




                                                         1


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   Articles on the importance of redundancy, connectivity, and low disturbance for aquatic habitats. The
   following articles conclude that vulnerable aquatic species, in order to be persistent and resilient,
   require complex, well connected habitats across a mosaic of streams and watersheds, and that
   restoration and maintenance of these conditions is integral to their survival in the face of large-scale
   disturbance such as wildfire. Reiman et al (2012) explain this, saying “Conservation or restoration of
   relatively large networks of habitat and the physical and ecological processes that maintain them, the
   broad expression and adaptation of life histories, and the potential for connections within, and among,
   populations are all critical. In essence, resilience will depend on a spatial and temporal structure and
   diversity in populations and habitats that can absorb or benefit from the effects of fire.”

           Rieman et al, 1995. “Does Wildfire Threaten Extinction for Salmonids? Responses of Redband
           Trout and Bull Trout Following Recent Large Fires on the Boise National Forest.” In Proceedings -
           Fire Effects on Rare and Endangered Species and Habitats Conference, Nov. 13-16, 1995, Coeur
           d’Alene, Idaho.

           Rieman and Clayton, 1997. “Wildfire and Native Fish: Issues of Forest Health and Conservation
           of Sensitive Species.” In Fisheries 22(11):6-15, October 1997.

           Reiman et al, 2012. “Fire and Fish: a Synthesis of Observation and Experience.” USDA Forest
           Service RMRS-GTR-290. 2012.

   Importance of headwaters streams to overall aquatic function. The assessment report does not discuss
   the importance of headwater streams. The scientific literature is rich with articles that speak to this.
   Headwater streams represent 60 to 80% of the total stream length within a catchment and drain 70 to
   80% of the total catchment area, and therefore are important sources of sediment, water, nutrients,
   and organic matter for downstream systems (Gomi et al 2002; MacDonald and Coe 2007). Headwater
   streams also support genetically isolated species and thus are important for maintaining biodiversity in
   watersheds (Gomi et al 2002); this may argue that headwater streams will be important for refugia as
   the climate warms and dries as predicted (Isaak et al 2016). Lastly, the small size of headwater streams
   means that they are particularly responsive to natural and anthropogenic disturbances (MacDonald and
   Coe 2007). The following articles address the important role of headwater reaches in watersheds.

           Lee MacDonald and Drew Coe, 2007. “Influence of Headwater Streams on Downstream Reaches
           in Forested Areas” in Forest Science 53(2). Pages 148-168.

           Gomi, T., Sidle, R., and J. Richardson, 2007. “Understanding Processes and Downstream
           Linkages of Headwater Systems.” In BioScience (2002) 52 (10): 905-916.

           Daniel J. Isaak, Michael K. Young, Charles H. Luce, Steven W. Hostetler, Seth J. Wenger, Erin E.
           Peterson, Jay M. Ver Hoef, Matthew C. Groce, Dona L. Horan, and David E. Nagel, 2016. “Slow
           climate velocities of mountain streams portend their role as refugia for cold-water biodiversity”
           PNAS 2016 113 (16) 4374-4379. Available at
           https://www.researchgate.net/publication/299606956_Slow_climate_velocities_of_mountain_s
           treams_portend_their_role_as_refugia_for_cold-water_biodiversity.

   Better understanding of ground and surface water interdependence. The assessment does not
   adequately address the hydrologic connections between surface water and ground water resources,
   especially flows of energy and nutrients between the two. Recent studies in the region have shown that

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   ground water is an integral contributor to surface water resources and that in general a better
   understanding of the interplay in specific basins between the two is needed. For instance, see the June
   2016 High Country News Article entitled “Study finds surprising source of Colorado River water supply”
   (attached). The article reports on a recent US Geological Survey study that found that more than half the
   flow of rivers in the upper part of the Colorado River Basin is sustained by ground water and concludes
   that managers must consider ground water and surface water as a joint resource, and better protect a
   resource threatened by overuse and climate change.

   Modification to conclusion. The draft assessment report states that lower elevation streams and those
   with limited base flow should be management priorities because they are most likely to be influenced by
   climate change in the future (see pages 4 and 35 in Assessments 1 and 3 for Aquatics). While we
   certainly would not contest that low elevation streams, especially those that have been subjected to
   land use stresses such as grazing and recreation, should be restored as appropriate through passive
   (removal of the stresses) or active means, it is not clear to us that they should be the singular focus of
   management action in the aquatic realm. As discussed above, headwater streams - which can be
   regarded as the capillaries to the larger aquatic network - are influential for downstream health and
   may be important as climate refugia for cold-water species. They are certainly important for
   perpetuating and reestablishing Rio Grande populations of cutthroat trout and other aquatic species.
   (See Appendix 1 to Assessments 1 and 3 Aquatic at 17.) In addition, based on the articles provided above
   by Reiman and others, the appropriate aquatic conservation strategy may be to protect a network of
   streams to ensure redundancy, resiliency, diversity, complexity, and connectivity in the larger
   watersheds and landscapes.

   Additional wetlands data. As the Assessment Report Chapters 1 and 3, the wetlands report1, and the
   fen report2 make clear, wetlands are an essential habitat and irreplaceable resource, providing
   ecosystem goods and services as well as habitat for all sorts of biodiversity. We were heartened to see
   that the Forest Service partnered with Colorado Natural Heritage Program and others to investigate the
   location and condition of wetlands and fens in the aforementioned report, and that the information will
   be used to inform the revision of the forest plan. With this letter, we would like to submit to you the
   results of a wetlands analysis in which Dr. Aaron Hall, aquatic ecologist at Defenders of Wildlife, and
   Alison Gallensky, GIS Director at Rocky Mountain Wild, identified specific important wetlands and
   wetland complexes within the Rio Grande National Forest (RGNF) to supplement your recent wetland
   investigations. Hall and Gallensky are scheduled to present this analysis and their findings at the
   upcoming GIS in the Rockies conference in Denver, Colorado on September 21-22, 2016.

   Analysis framework. Hall and Gallensky designed a wetlands analysis that is portable to other landscape
   scale planning units (e.g. other National Forests, BLM lands, National Parks etc.) by incorporating data
   that are relatively easy to obtain (e.g. national datasets), or easily substitutable at the planning unit
   scale (e.g. species occurrences). While this approach represents a tradeoff between local specificity and
   portability of the analysis, the intent of identifying important wetland/wetland complexes on public
   lands is met, with the added advantage of providing a framework for additional, similar analyses on
   other lands.




   1 Lemly, Joanna. 2012. Assessment of Wetland Condition on the Rio Grande National Forest, Colorado Natural
   Heritage Program, Colorado State University, Fort Collins, CO.
   2 Smith, G. J. Lemly, P. Smith, and B. Kuhn. 2016. Fen Mapping for the Rio Grande National Forest.
   Colorado Natural Heritage Program, Colorado State University, Fort Collins, Colorado.

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   Methodology. Hall and Gallensky used a multi-criteria GIS-based approach to rank wetlands within the
   RGNF. They started with wetlands already identified in the National Wetlands Inventory3 occurring on
   RGNF, plus an additional buffer of wetlands within 1km of the region, used for connectivity
   measurements. For the purposes of the study, they defined an important wetland/wetland complex as
   having exceptionally high quality abiotic and biotic attributes.

   The abiotic focus is on the hydrologic characteristics and landscape setting of individual wetlands. Hall
   and Gallensky therefore incorporated attributes of wetland size, adjacency, elevation, water source,
   type, and known human modifications. All data were obtained from public sources, including the
   National Wetlands Inventory, National Hydrology Database and enhanced Database, Rio Grande
   National Forest Noxious Weeds Inventory, CNHP Potential Conservation Areas. A summary of these
   attributes can be found in Table 1.

   The biotic focus for this study is on rare, threatened and endangered species, with the goal of identifying
   wetlands and wetland complexes which are vital in supporting these sensitive species. Hall and
   Gallensky identified sensitive wetland/riparian species by looking at those listed under the federal
   Endangered Species Act, Colorado Parks and Wildlife threatened and endangered species list, the US
   Forest Service Region 2 sensitive species list, and NatureServe rankings. They developed an initial list of
   focal species known or thought to occur on RGNF, and then attempted to obtain spatial data for species
   in this list. Data were obtained from the Colorado Natural Heritage Program (CNHP), Colorado Parks and
   Wildlife (CPW), and Colorado Oil and Gas Conservation Commission (COGCC). Overall, they were able to
   obtain spatial data for 14 sensitive species within RGNF (Table 2). Available types of data included
   occurrence locations of individuals; delineated nesting, roosting and foraging habitat (i.e. birds); and
   occupied stream habitat (i.e. fishes). Ultimately, the dataset included one amphibian, four birds, two
   fish, one insect, and six plant species. This provides a good view of the less common and possibly at-risk
   species found in aquatic environments and adjacent terrestrial areas on the RGNF.


   Table 1: Hydrologic/Habitat Criteria utilized
    Abbrev      Criteria        Data Source     Ranking                               Note
    WSize       Wetland         FWS NWI         1 point for wetlands size > 10
                Size                            acres
    Adj         Adjacency        FWS NWI        1 point if there are any other
                                                wetlands within 250 meters
    Net         Network          FWS NWI        1 point if there are 5 or more
                                                neighboring wetlands within
                                                250 meters
    Head        Headwaters       NHD and        1 point if a 1st or 2nd order
                Associated       Enhanced       stream intersects the wetland
                                 NHD            Or 1 point if NHD stream not in
                                                Enhanced NHD (likely also
                                                headwaters)
    Spr1        Spring fed       NHD and        1 point if no streams intersect
                                 NHD Plus       the wetland
    Spr2        Spring fed       NHD            1 point if spring intersects the      NHD Type SpringSeep
                                                wetland


   3 National Wetlands Inventory, https://www.fws.gov/wetlands/NWI/index.html, US Fish and Wildlife Service, Falls
   Church, VA and Madison, WI. Data retrieved 11/2015.

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         Carbon    Carbon        FWS NWI        1 point if wetland attributes
                                                indicate especially good capture
                                                of atmospheric carbon
         Weed      Vegetative    RGNF           1 point if the wetlands does
                   Integrity     Noxious        NOT overlap noxious weeds
                                 Weeds
                                 Inventory
         PCA       Vegetative    CNHP PCAs      1 point if the wetlands overlaps   Some PCAs are defined for
                   Integrity                    a PCA with Outstanding or Very     animal species but most
                                                High biodiversity significance     focus on plants and natural
                                                                                   communities
         NoMod     Hydrologic    FWS NWI        1 point if NWI attributes do NOT   Attribute special modifiers
                   Integrity                    indicate human modification        (lower case) d, f, m, h, s, x
                                                                                   indicate human modification




Table 2: Species Criteria Utilized
Abbrev    Major        Common Name         Scientific Name                             Data Source          Buffer
          Group
BToad     Amphibian    Boreal Toad         Bufo boreas boreas                          CNHP 2002            500    m
BToad     Amphibian    Boreal Toad         Bufo boreas boreas                          CDOW 2006            500    m
BEagle    Bird         Bald Eagle          Haliae^tus leucocephalus                    CPW (Nest/Roost)     300    m
BEagle    Bird         Bald Eagle          Haliae^tus leucocephalus                    CPW (Forage)         0m
BEagle    Bird         Bald Eagle          Haliae^tus leucocephalus                    CNHP 2011            300    m
GuSG      Bird         Gunnison Sage       Centrocercus minimus                        CPW (production)     0m
                       Grouse
Ospry     Bird         Osprey              Pandion haliaetus                           CPW (Foraging)       0m
PFalc     Bird         Peregrine Falcon    Falco peregrinus                            CNHP 2014            2 km
RGChb     Fish         Rio Grande chub     Gila pandora                                CNHP 2011            50m
RGCT      Fish         Rio Grande          Oncorhynchus clarki virginalis              COGCC/CPW            0
                       Cutthroat Trout
PyrX      Insect       Xanthus Skipper     Pyrgus xanthus                              CNHP   2011          500    m
EriAN     Plant        Altai Cottongrass   Eriophorum altaicum var. neogaeum           CNHP   2011          100    m
SalA      Plant        Arizona Willow      Salix arizonica                             CNHP   2011          100    m
BotP      Plant        Northern            Botrychium pinnatum                         CNHP   2011          100    m
                       Moonwort
EriP      Plant        Philadelphia        Erigeron philadelphicus                     CNHP 2011            100 m
                       Fleabane
DraS      Plant        Smith's Whitlow­    Draba smithii                               CNHP 2011            100 m
                       Grass




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PotA      Plant          Southern Rocky      Potentilla ambigens                            CNHP 2011             100 m
                         Mountain
                         Cinquefoil


       Hall and Gallensky scored each wetland based on the presence/absence of each of our abiotic and biotic
       variables. No weighting of variables was performed (i.e. it was a strictly additive ranking system) to
       remove inconsistencies associated with ranking the relative importance of each variable (Widis 2015),
       and to maintain the simple portable approach. For biotic scores each species could be given a maximum
       of one point, even if a wetland intersected multiple datasets for the species (e.g. a wetland within
       foraging habitat for a bird species, and also with a nest location for the same species). This resulted in
       each of the wetlands being assigned a single score. Hall and Gallensky then mapped the occurrence of
       wetlands with high scores, and manually identified complexes of highly ranked wetlands for further
       consideration (Figure 1).




       Figure 1. Wetlands on the Rio Grande National Forest ranked based on an analysis of abiotic and biotic
       characteristics.

       Hall and Gallensky used the spatial distribution of average wetland scores by HUC12 watershed as a
       course filter that identified high quality watersheds to investigate further (Figure 2). Within these highly
       ranked watersheds they initially identified 14 complexes of highly ranked wetlands through visual

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   inspection. Wetlands within these complexes scored 5 to 10. After initial wetland complexes were
   identified, Hall and Gallensky determined the hydrologic drainage area feeding each of those complexes.
   The area draining into a wetland has the most influence on its abiotic attributes, and therefore its ability
   to support biotic components. This approach provides a higher degree of protection than just
   delineating the wetland boundary, and represents a scientifically defensible boundary for possible
   future wetlands protection areas. They then identified potential conflicts, including grazing rights, water
   rights, active and inactive mining claims, and private land inholdings within RGNF that intersected the
   initial set of high value wetland complexes. They removed four of the initial wetland complexes because
   they were located primarily on private lands or had other conflicts. This left a list of 10 high quality
   wetland complexes (Figure 3).




   Figure 2: Average analysis scores of NWI wetlands by HUC12 watershed. Darker watersheds have higher
   scores. Black line is the boundary of RGNF.




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   Figure 3. Important wetland complexes on the Rio Grande National Forest based on an analysis of
   abiotic and biotic characteristics.

   Comparison with other RGNF wetland reports

   The purpose of Lemly (2012) CNHP Wetlands study was to map and assess the condition of wetlands
   within the Rio Grande Headwaters Basin, of which the Forest is a part. This was done through GIS
   mapping and supplemented with surveys at 77 wetlands located within the Forest. The results are a
   detailed description of the wetland types and their distribution within the Forest, as well as wetland
   condition measures (Multi-metric Ecological Integrity Assessment) for the 77 wetlands which were
   surveyed. In summary, wetlands were found to cover 2% of the land area of the Forest, of which just
   over half (55%) are freshwater herbaceous wetlands. Wetlands are much more common in higher
   elevations than lower elevations. Wetlands which were surveyed were generally found to be in good
   health (excellent to good condition).

   The purpose of Smith et al (2016) CNHP Fen study was to identify potential fens within the Forest,
   through GIS analysis of aerial photography and topographic maps, and to assign a confidence (low,
   possible, likely) to each of these potential fens. The results were 6,408 potential fens identified on the
   Forest, with most fens located in higher elevations between 10,000 and 12,000 feet. Fen distribution
   was further described by elevation, bedrock geology, ecoregion, and watershed, giving a comprehensive
   view of potential fen distribution within the Forest. Three watersheds in particular were identified as


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   having a high number of likely fens. Smith et al (2016) provides information which is extremely helpful in
   an applied setting, both for the forest revision process, and for project specific actions such as timber
   sales, livestock grazing operations, and trail maintenance. While only a modeling exercise which
   identifies potential fens, this is still excellent baseline information which can be used as a starting point
   for knowing where important fen/wetland resources are located within the forest, and therefore how
   these irreplaceable resources can be protected.

   The 2012 CNHP wetlands study, 2016 CNHP fens study, and the 2016 Hall and Gallensky analysis each
   provide unique information about the distribution and status of wetland resources within the Forest.
   The 2012 CNHP study is largely descriptive, without a specific applied focus, especially as it pertains to
   forest plan revisions. The 2016 CNHP fen study is also descriptive, but does identify some watersheds
   which harbor high numbers of fens and might be considered for increased protections/designations. The
   2016 Hall and Gallensky analysis specifically focuses on identifying wetland resources of high quality that
   should be considered for protective management in the forest planning process.

   Modification to Need for Change Statement. In addition to the comments submitted on the draft Need
   for Change statement by the undersigned on April 15th, 2016,4 we offer recommendations for modifying
   the Need for Change statement based on the information submitted in this letter. These
   recommendations should also inform the development of the proposed action.

   The draft Need for Change document includes one watershed-related item: "C3. Revise the previous
   plan to identify priority watersheds to reflect the current best management practices including the
   Watershed Conservation Practices Handbook, National Best Management Practices program, and
   Watershed Condition Framework.” While we agree that the plan should identify priority watersheds for
   maintenance and restoration and reflect current best management practices, both required elements in
   the 2012 planning rule5, we are concerned that doing so will not likely change the status quo. Adhering
   to these frameworks is a current responsibility of the forest, yet about % of the watersheds are
   considered to be at risk (see page 13 in Assessments 1 and 3 for Aquatics). Therefore, we believe that
   additional changes need to be made to the current plan to advance restoration and recovery of
   watersheds and aquatic resources. We recommend the following:

       •   There is a need to identify, protect, restore, and monitor a network of streams to maintain
           and/or enhance aquatic processes, ensure stream connectivity and aquatic organism passage6,
           and improve/maintain biodiversity.
       •   There is a need to protect, restore, and monitor important wetlands and wetland complexes
           (including upland feeder basins) in order to maintain aquatic biodiversity and integrity, maintain
           clean and cold water, and provide ecosystem services.


   We thank you for considering our comments on this draft assessment chapter, and for all of your hard
   work on the forest planning process.




   4 See page 3 for comments on priority watersheds and aquatics.
   5 See 36 CFR 219.7(f)(1)(i) and 36 CFR 219.8(a)(4).
   6 Appendix 1 to Assessment 1 and 3 Aquatic states: “Stream diversions can seriously reduce instream habitat and
   migration for aquatic biota, nutrient transport, sediment movement and water quality (including temperature)^".
   Id. at 4; citations omitted. Appendix 1 further states that habitat for Rio Grande cutthroat trout could be increased
   by modifying diversion structures to allow passage. Id. at 7.

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   With regards,




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   Attachments:

   •   High Country News Article
   •   Rieman et al, 1995. “Does Wildfire Threaten Extinction for Salmonids? Responses of Redband Trout
       and Bull Trout Following Recent Large Fires on the Boise National Forest.” In Proceedings - Fire
       Effects on Rare and Endangered Species and Habitats Conference, Nov. 13-16, 1995, Coeur d’Alene,
       Idaho.
   •   Rieman and Clayton, 1997. “Wildfire and Native Fish: Issues of Forest Health and Conservation of
       Sensitive Species." In Fisheries 22(11):6-15, October 1997.
   •   Reiman et al, 2012. “Fire and Fish: a Synthesis of Observation and Experience." USDA Forest Service
       RMRS-GTR-290.
   •   Lee MacDonald and Drew Coe, 2007. “Influence of Headwater Streams on Downstream Reaches in
       Forested Areas" in Forest Science 53(2). Pages 148-168.
   •   Gomi, T., Sidle, R., and J. Richardson, 2007. “Understanding Processes and Downstream Linkages of
       Headwater Systems." In BioScience (2002) 52 (10): 905-916.
   •   Daniel J. Isaak, Michael K. Young, Charles H. Luce, Steven W. Hostetler, Seth J. Wenger, Erin E.
       Peterson, Jay M. Ver Hoef, Matthew C. Groce, Dona L. Horan, and David E. Nagel, 2016. “Slow
       climate velocities of mountain streams portend their role as refugia for cold-water biodiversity"
       PNAS 2016 113 (16) 4374-4379. Available at
       https://www.researchgate.net/publication/299606956_Slow_climate_velocities_of_mountain_strea
       ms_portend_their_role_as_refugia_for_cold-water_biodiversity.




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   Study finds surprising source of Colorado River water supply
   More than half of the rivers in the Upper Colorado Basin originate as groundwater, USGS
   says.

   Sarah Tory June 20, 2016 Web Exclusive

   Every spring, snow begins to melt throughout the Rocky Mountains, flowing down from high
   peaks and into the streams and rivers that form the mighty Colorado River Basin, sustaining
   entire cities and ecosystems from Wyoming to Arizona. But as spring becomes summer, the
   melting snow slows to a trickle and, as summer turns to fall, all but stops.

   Scientists have known for a long time that flow in rivers is sustained by contributions from both
   snowmelt runoff and groundwater. The groundwater is composed of rivulets of water hidden
   below ground —some thousands of years old — that are particularly important for sustaining a
   river's flow after the spring snowmelt has subsided. Less clear, however, was exactly how much
   of the flow in rivers came from groundwater, a critical source of much of the West's water
   supply. Now, a new study, released last month by the U.S. Geological Survey (USGS), helps
   quantify just how much: more than half the flow of rivers in the upper part of the Colorado
   River Basin is sustained by groundwater. That finding, say experts, highlights the need to better
   protect a resource threatened by overuse and climate change.

   “Because we now have numbers on this connection, we have a better understanding of the
   importance of groundwater as a contributor to our surface water supply, and anything
   impacting the groundwater system will also impact flow in rivers.” says Matthew Miller, a USGS
   scientist and the lead author of the study.




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   An aerial shot of Utah's Uinta Mountains shows how the winter snow lingering on high peaks feeds the rivers
   flowing through the valleys below. Those rivers are also fed by groundwater, which accounts for over half the
   streamflow in the Upper Colorado River Basin.
   NASA/Flickr


   To determine how much of the flow in rivers came from groundwater, scientists examined
   streamflow data at 146 sites in Colorado, Utah, Wyoming, New Mexico, and Arizona, measuring
   the electrical conductivity of the water. Low conductivity meant the water had not had time to
   pick up ions from the ground, indicating it came from recent snowmelt. Meanwhile, higher
   conductivity signified the water had picked up ions as it trickled through soil and rocks below
   ground. Researchers then used the information to determine the percentage of water
   originating from snowmelt runoff and the percentage originating from groundwater and
   created a model that predicts where streamflow originates in the Upper Colorado River basin.
   On average, Miller and his team found that 56 percent of that flow comes from groundwater.

   Though water managers recognized the link between groundwater and surface water back in
   1877, for the better part of the last century, state laws allocating water to various users
   through a system of water rights dealt only with surface water. But when heavy pumping
   systems were developed after WWII, groundwater levels throughout the West plummeted.




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   In some places, over-pumping has caused the water table to drop hundreds of feet, creating
   giant cracks in the land as it sinks and drying up streams. In 2015, a team of NASA scientists
   determined that some 13 trillion gallons of groundwater had been lost from the Colorado River
   Basin since the NASA satellites began collecting data in late 2004 — equivalent to roughly one
   and a half times the total capacity of Lake Mead and as much water as the state of Arizona uses
   in six years.

   In the past several decades, Western states have passed laws to better regulate groundwater
   and curb over-pumping. California became the last to do so with the 2014 Sustainable
   Groundwater Management Act. Still, when it comes to incorporating groundwater into states'
   byzantine water laws, big challenges remain, says Malcolm Wilson, the head of the Water
   Resources Group for the Bureau of Reclamation's Upper Colorado Region. How much, for
   instance, does pumping groundwater affect a user with rights to a nearby river?

   The new study, says Wilson, offers a reminder both for the Bureau of Reclamation and for
   states that managing surface water and groundwater as two interconnected parts of a system is
   essential, particularly as the climate changes. Thanks to warmer temperatures, in the future,
   more streamflow in the West will likely come from rainfall instead of from snowmelt. Since rain
   tends to run quickly off the surface more quickly than melting snow, that means less water will
   be percolating into the ground to replenish the aquifers that sustain rivers late into the dry
   months of the year. And the shifting climate also promises to increase events like major forest
   fires that can turn the soil hydrophobic and prevent water from seeping into the ground.

   For Wilson, the study's finding reinforces the idea that we need to take a more holistic
   approach to resource management. Sustaining the West's groundwater, means not only
   allocating supplies properly, he says, but protecting the watersheds that produce groundwater.




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   Fire and Fish: a Synthesis of Observation and Experience

   Bruce Rieman1, Robert Gresswell2, and John Rinne3


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   Introduction

                                        The effects of wildfire on aquatic systems and fishes occurring in them has been
                                    linked to the direct or immediate influence of the fire on water quality and the indi­
                                    rect or subsequent effects on watershed characteristics and processes that influence
                                    water quality and quantity, stream channels, and aquatic biota (Gresswell 1999).
                                    Early research linking fire and aquatic systems focused on effects to soil, erosion,
                                    and water yield and quality, with a relatively limited temporal and spatial context
                                    (see Gresswell 1999 for a review). Wildfire generally was perceived as a destruc­
                                    tive force threatening aquatic resources (e.g., fish populations) and related values
                                    (Rieman and Clayton 1997; Kaufman 2004).
                                        Subsequent efforts have integrated physical and ecological processes related
                                    to fire, and these concepts have been temporally categorized as short-term (i.e.,
                                    <1 year), mid-term (1-10 yr), and long-term (10s to 100s of years) (e.g., Minshall
                                    and Brock 1991; Minshall and others 1998, 2001; Mihuc and Minshall 2005).
                                    Concomitantly, spatial context is critical because heterogeneity in fire severity,
                                    stream or watershed characteristics, and ecological communities constrains sub­
                                    sequent events and ecological responses. A broader perception includes the role
                                    of wildfire as a fundamental agent of disturbance potentially shaping heterogene­
                                    ity, diversity, and productivity in aquatic ecosystems (Reeves and others 1995;
                                    Gresswell 1999; Bisson and others 2003).
                                        The effects of fire and fire related management have been of particular impor­
                                    tance to those interested in, or responsible for, management of native fishes. Fish
                                    and associated fisheries often hold particular social and economic importance. The
                                    sometimes dramatic short-term effects of fire and postfire disturbance on stream
                                    channels, water quality, and mortality of individual organisms can be readily ap­
                                    parent. As a result, attempts to influence fire and its effects on aquatic systems and
                                    fish populations before and, particularly, during and after the fire, have consumed
                                    considerable resources, time, and energy, and engendered substantial debate (e.g.,
                                    Dunham and others 2003; Rieman and others 2003; NMFS 2007; Rhodes and
                                    Baker 2008; Rieman and others 2010).
                                        It is our intent to summarize the known effects of fire-related processes in for­
                                    ested biomes of the western United States, briefly review existing knowledge
                                    regarding direct and indirect effects to fish, and consider the implications for fish
                                    populations. We integrate earlier summaries (e.g., Gresswell 1999; Dunham and
                                    others 2003; Rieman and others 2003) with more recent information and conclude
                                    with a final synthesis, including implications for conserving or restoring the resil­
                                    ience of fish populations to wildfire.




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Fire Effects

        Direct Effects

                            Wildfires consume flammable materials, and in the process, shade and cover
                         provided by vegetation and woody debris is altered (Gresswell 1999). If a severe
                         fire burns near or across a stream, water temperature can increase substantially
                         (Hitt and others 2003). Dissolution of smoke, ash, and volatile compounds can
                         alter pH and concentrations of trace metals, nutrients, and other chemical constitu­
                         ents in streams (Cushing and Olsen 1963; Minshall and others 1989; Spencer and
                         Hauer 1991; Earl and Blinn 2003; Spencer and others 2003).
                            Direct physical effects can produce mortality of aquatic organisms includ­
                         ing fishes, amphibians, invertebrates, and periphyton (Rieman and others 1997;
                         Gresswell 1999). The causes of mortality have not been definitively identified, but
                         potential mechanisms include rapid increases in temperature and accumulation of
                         toxic chemicals (e.g., ammonium, trace metals, and cyanide) (Minshall and others
                         1989, 1997; Spencer and Hauer 1991; Barber and others 2003).
                            The observed spatial pattern of direct effects seems to depend on the extent and
                         severity of fire and size of the watershed (Gresswell 1999). Minshall and Brock
                         (1991), for example, suggested that fire would not directly influence temperature
                         in third order or larger streams. Furthermore, high variability in postfire distribu­
                         tion of fishes in small streams appears to be associated with the heterogeneity of
                         riparian fire severity (Rieman and others 1997). Mortality or displacement of fishes
                         may be extensive, extending for several kilometers, but effects are often incom­
                         plete or patchy within and among stream reaches influenced by fire (Minshall and
                         Brock 1991; Rinne and Neary 1996; Rieman and others 1997).
                            More recently, Howell (2006) found evidence of high to complete mortality or
                         displacement of steelhead (Oncorhynchus mykiss), Chinook salmon (O. tshawyts-
                         cha), and brook trout (Salvelinusfontinalis) in several moderate to severely burned
                         reaches of three small (<2.6 m width) streams in eastern Oregon. Fish persisted at
                         normal densities in stream reaches immediately downstream of those experiencing
                         more severe fire. Based on observations from streams in northwestern Montana,
                         Jakober (2001) reported that direct effects of several large fires were observable
                         the following year. For example, the majority of fish in a drainage located in north­
                         western Montana were killed during a fire in 1996, and bull trout appeared to
                         have been extirpated from headwater reaches of two small streams (Jakober and
                         Dentino 2003). In contrast, fish distribution and density were relatively unaffected
                         1 year after fires that burned in Lolo National Forest during 2000 (Jakober 2002).
                         In the southwestern United States, direct mortalities of fish appear to be less com­
                         mon than those following subsequent hydrologic events (Rinne and Jacoby 2005).
                            Direct effects may also result from fire suppression activities and the use of fire
                         retardants (Gresswell 1999). Sodium ferrocyanide, a component of a commonly
                         used fire retardant, is known to be toxic to aquatic organisms (Little and Calfee
                         2002; Pilliod and others 2003; Angeler and Moreno 2006), but the temporal and
                         spatial extent of these effects have been poorly understood. In fact, Crouch and
                         others (2006) recently found no evidence that retardant increased the levels of any
                         chemical constituents above those from wildfire alone. The authors suggested that
                         ferrocyanide was elevated through pyrogenic sources (Crouch and others 2006).
                         Nonetheless, the Forest Service eliminated use of retardants with sodium ferrocya­
                         nide in 2007 because of the potential toxicity to aquatic organisms (USDA 2007).
                         The replacement, known commercially as PhosChek, was less toxic in laboratory



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                                    studies (Little and Calfee 2003). The Forest Service concluded there was little
                                    risk for direct mortalities from PhosChek under prescribed operational use (Comas
                                    2007; USDA 2007), but that conclusion remains controversial (NMFS 2007).

               Indirect Effects

                                        The indirect effects of wildfire on streams will be influenced and constrained
                                    by direct effects, the subsequent supply of materials (e.g., water, sediment, woody
                                    debris, nutrients, biological propagules) and energy (insolation), stochastic events
                                    (e.g., storms), and the interactions of these factors on physical and biological suc­
                                    cession (Gresswell 1999; Dale and others 2005; Milner and others 2007). We
                                    provide only a brief overview focused on water, sediment, wood, stream tempera­
                                    ture, and stream food webs as an example of the dynamic, and often complex,
                                    nature of the interactions influencing habitats for fishes.
                                        Water and Sediment.-Changes in supplies of water and sediment are commonly
                                    observed after wildfire (Legleiter et al 2002). Short- or mid-term changes reflect
                                    alteration of vegetation and soils associated with severity and extent of the fire,
                                    geology and geomorphology, and the duration, intensity, and timing of postfire
                                    precipitation (Swanson 1981; Rinne and Neary 1996; Wondzell and King 2003).
                                    Peak flows and erosion can increase substantially, but the magnitude of response is
                                    related to factors pertaining to the watershed and weather (Robichaud and others
                                    2005). For example, hydrophobic (water repellant) soils have been linked to floods
                                    and increased erosion in some cases, but effects are influenced by fire severity, soil
                                    texture, and vegetation type. Mass failures, debris flows, and flood catalyzed by
                                    fire have been important in the history of many watersheds and may be primary
                                    drivers in the long-term sediment supply for those systems (Reeves and others
                                     1995; Benda and others 2003; May and Gresswell 2003; Meyer and Pierce 2003;
                                    Moody and Martin 2009). Dramatic increases in erosion that follow some fires
                                    tend to decline within 10 years as vegetation is reestablished (McNabb and others
                                     1989; Burton 2005; Luce 2005; Robichaud and others 2009); however, the process
                                    may extend as root strength fails in fire-killed trees. The fire-hydrologic interaction
                                    has been characterized as an episodic pattern of disturbance and recovery that con­
                                    tributes to important variation of stream conditions in space and time (e.g., Reeves
                                    and others 1995; May and Gresswell 2003; Miller and others 2003).
                                        Temperature .-Water temperatures commonly increase following fire, some­
                                    times by several degrees, but increases are not universal (Gresswell 1999; Dunham
                                    and others 2007). Postfire increases in water temperature have been associated
                                    primarily with loss of forest and riparian shading (Gresswell 1999; Isaak and oth-
                                    ers2010), but channel simplification, topographic shading, hyporheic flow, and the
                                    hydrologic changes accompanying fire can both accentuate and ameliorate these
                                    changes (Amaranthus and others 1989; Dunham and others 2007). Subsequent de­
                                    clines in stream temperature have been predicted with recovery of riparian canopy
                                    (Rieman and Clayton 1997), but recent work in the Boise River basin suggests that
                                    elevated temperatures can persist for one to two decades in some cases (Dunham
                                    and others 2007). Changes might even become permanent if fires initiate a transi­
                                    tion to new vegetation communities associated with climate change (Isaak and
                                    others 2010).
                                        Woody Debris .-Wildfire can play a key role in the recruitment of woody debris
                                    to streams (Reeves and others 1995; May and Gresswell 2003; Miller and oth­
                                    ers 2003). Wood is important because it controls channel morphology, sediment
                                    and water routing, and the heterogeneity of structure that may be important habi­
                                    tat for fishes and other organisms (Keller and Swanson 1979). In contrast to the


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                    fire-related hydrological changes that can attenuate within 10 years, changes in
                    the recruitment of woody debris can extend for decades (Reeves and others 1995;
                    Gresswell 1999; Scheidt 2006). Postfire accumulation of wood is related to the
                    prefire forest, severity of the fire, and processes associated with wood routing and
                    storage in the channel (May and Gresswell 2003; Scheidt 2006). Woody debris
                    may even decline following fire if a large proportion of the vegetation (including
                    instream debris jams) is burned completely, or if remaining wood is transported
                    out of the system during periods of elevated discharge (Swanson and Lienkaemper
                     1978). Mid-term accumulation may occur with toppling of fire-killed trees, un­
                    dermining of riparian trees with increased flow and bank erosion, or the transport
                    of wood from upslope via debris flows or avalanches (Swanson and Lienkaemper
                     1978; Scheidt 2006). Longer-term recruitment may depend on the rate that mature
                    trees develop. The interaction of processes controlling the supply, accumulation,
                    transport and storage of woody debris can lead to substantial variability within and
                    among individual streams, or across time (e.g., May and Gresswell 1993; Young
                    and others 2006). The capacity of a stream system to store and continually rework
                    stored materials, however, may also lead to relatively stable or uniform conditions
                    in some systems (Scheidt 2006).
                       Food Webs .-A handful of studies before 1989 provided a limited perspective
                    on wildfire and responses in biological communities and food webs in streams
                    (Gresswell 1999). In general, it is clear that fire and subsequent effects can disrupt
                    invertebrate communities in segments of small streams, and that at longer time
                    scales, effects depend on the severity and extent of the fire, subsequent hydrolog­
                    ic disturbance, and the characteristics and recovery of riparian vegetation. There
                    is a substantial body of literature that initially defined the anticipated responses
                    of stream communities and food webs to the extended effects of wildfire (e.g.,
                    Minshall and others 1989, 1997, 1998, 2001, 2004; Robinson and Minshall 1996;
                    Minshall 2003; Earl and Blinn 2003; Mihuc and Minshall 2005). The generalized
                    prediction emerging from this work can be summarized as an ecological succes­
                    sion in a temporal frame (Minshall and others1989; Gresswell 1999; Dunham and
                    others 2003; Minshall and others 2004).
                       The short-term effects of postfire disturbances are related to the biophysical
                    template following the fire, and responses can be dramatic, varying from virtually
                    undetectable to the complete loss of invertebrates and algae. Where disruption is
                    great, invertebrate and algal communities are often recolonized quickly, but abun­
                    dance and diversity may continue to vary (Earl and Blinn 2003; Minshall and
                    others 2004).
                       In the mid-term (1-10 yr), diversity in aquatic communities tends to increase and
                    productivity can be high with increased sunlight, stream temperatures, and nutrient
                    flux. Where the riparian canopy is substantially reduced, foodwebs are expected
                    to shift from largely allochthonous to autochthonous sources of carbon, with a
                    concomitant response in trophic guilds of macroinvertebrates (or shifts feeding
                    strategies by individual species; Mihuc 2004) and detrital respiration. Recent re­
                    search has provided additional evidence that severe wildfire can stimulate primary
                    production and a shift to primary consumers that support a greater biomass of
                    predatory insects, potentially fish, and even consumers in linked riparian commu­
                    nities (Malison 2008; Malison and Baxter2010).
                       In the longer term (10-300 yr), watershed processes are anticipated to interact
                    with succession in terrestrial and riparian vegetation. Influx of wood generally
                    leads to organic litter accumulation. Trophic pathways are anticipated to shift
                    from autochthonous toward allochthonous carbon sources as riparian vegetation
                    increases and the canopy closes (Minshall and others 1989). Recent research has


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                                    generally supported these predictions and extended the perspective (Minshall and
                                    others 2004; Robinson and others 2005), but changing climate may constrain fu­
                                    ture riparian communities leading to unanticipated outcomes.
                                       The long-term effects of wildfire on macroinvertebrate communities and food
                                    webs remain speculative, largely because direct evidence from empirical studies of
                                    that temporal extent simply does not exist. The results clearly depend, however, on
                                    the myriad interactions between disturbance, terrestrial succession, and watershed
                                    process that directly and indirectly influence the legacy of materials and linkages
                                    within, and between terrestrial and aquatic systems (Dale and others 2005; Milner
                                    and others 2007, 2008; Pettit and Naiman 2007).

               Fish Population Responses

                                       Stream environments can change quickly during or following a fire (e.g., a single
                                    flood event) and may be catastrophic in ecological terms (including local extirpa­
                                    tion of organisms in individual stream reaches). Concomitantly, indirect effects of
                                    wildfire often initiate or constrain processes, and responses can extend for decades
                                    and even centuries. Wildfire clearly plays an important role in supply of food and
                                    materials and the heterogeneity of channel conditions that contribute to the mosaic
                                    and productivity of habitats (Reeves and others 1995; May and Gresswell 2003;
                                    May and Lee 2004). Although direct and indirect effects of wildfire can induce fish
                                    mortality, the long-term consequences for fish populations and assemblages will
                                    ultimately depend on the legacies of material, biota, and the associated physical
                                    and ecological processes that shape them. Understanding these changes ultimately
                                    requires a population-level perspective.
                                       The response of fish populations to the direct and indirect effects of wildfire has
                                    been a focus of considerable interest in the last two decades. Because fires are hard
                                    to predict, most of the early research was opportunistic. In some cases, wildfires
                                    burned in watersheds where pre-existing population data facilitated before-after
                                    comparisons (e.g., Novak and White 1990; Rinne and Neary 1996; Rieman and
                                    others 1997), but inference was also gained from comparisons among burned and
                                    unburned streams, or the temporal trajectory of populations associated with the
                                    immediate effects of fire (Minshall and Brock 1991; Rieman and others 1997).
                                    Initial research focused principally on description of changes in distribution and
                                    abundance of extant populations or segments of populations (Rieman and others
                                    1997; Gresswell 1999), but subsequent syntheses considered a broader context of
                                    population and ecological processes (Rieman and Clayton 1997; Dunham and oth­
                                    ers 2003; Heck 2007).
                                       Although historic information suggested that direct effects of fire could pro­
                                    duce substantial fish mortality (Minshall and Brock 1991; Rinne and Neary 1996;
                                    Rieman and others 2007), we know of no examples of population extirpation asso­
                                    ciated with immediate effects of wildfires. In general, population level implications
                                    of wildfire appear to depend on longer-term processes.
                                       Reductions in abundance, contraction in distribution, and even local extirpa­
                                    tion have been reported with the indirect effects of large fires (Bozek and Young
                                    1994; Rinne and Neary 1996; Gresswell 1999; Rieman and others 1997; Rinne and
                                    Carter 2008). Extreme effects, including local extirpations, have most often been
                                    observed in the southwestern United States (Rinne and Neary 1996). Negative
                                    consequences are related to diminished water quality associated with postfire ash
                                    flows, loss of habitat connectivity during periods of drought and intermittent flows,
                                    violent postfire flooding, and loss of food base and habitat (Rinne 2003, 2004;
                                    Rinne and Carter 2008). Fish populations in the Southwest may be especially


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                    vulnerable because the spring and early summer fire season is followed by mon­
                    soon in late summer (Rinne 2004). When heavy rains follow severe fire, and heavy
                    ash or “slurry flows” have been reported (Rinne and Neary 1996).
                        The potential for a severe disturbance is coupled with the fact that many of
                    remaining native fish populations in the Southwest are limited to small streams
                    isolated from any source of immigration (Brown and others 2001). In fact, many
                    fishes in the region have been formally listed as threatened or endangered under
                    ESA, and therefore, there is substantial concern that wildfires could negatively
                    influence persistence. In some cases, rescue efforts have been initiated to cap­
                    ture surviving fish during, or immediately following, a fire and move them to a
                    secure environment (e.g., hatchery) until habitat conditions in the burned water­
                    shed stabilized (Brooks 2006; A. Unthank, USDA Forest Service Regional Office,
                    Albuquerque, NM personal communication).
                        Despite the potentially deleterious consequences, population collapses have not
                    been ubiquitous in the aftermath of even very large fires. In some cases, fire had
                    little apparent effect (Gresswell 1999; Riggers 2001; Jakober 2002). In others,
                    abundance was seriously depressed, and reach-level extirpation occurred; how­
                    ever, populations rebounded relatively quickly (e.g., 1-6 years; Novak and White
                     1990; Rieman and others 1997; Jakober and Dentino 2003). The emerging context
                    of disturbance ecology and metapopulation dynamics and documented population
                    resurgence resulted in a hypothesis of recovery strongly mediated by the expres­
                    sion of migratory life histories and by dispersal from refugia not influenced by the
                    fire and subsequent events (Rieman and Clayton 1997; Rieman and Dunham 2000;
                    Dunham and others 2003).
                        Recent research has sustained this view. In an extensive study of 32 water­
                    sheds that burned in large fires on the Boise National Forest between 1986 and
                     1994, Burton (2005) found that even where reach or broader-scale extirpation
                    of fishes had occurred, recolonization through dispersal was complete. Howell
                    (2006) reported rapid (within 4 years) recovery of rainbow and steelhead popula­
                    tions through immigration from habitats not influenced by postfire disturbances.
                    Debris flows actually provided new habitat for Chinook salmon by destroying a
                    culvert and promoting access to new areas above the former barrier (Howell 2006).
                    Similarly, fire-flood generated debris fans in the Middle Fork Salmon River creat­
                    ed new habitat used by spawning Chinook salmon within months of the events (R.
                    Thurow USDA Forest Service, Rocky Mountain Research Station, Boise Idaho,
                    personal communication of unpublished data). Examples of rapid responses now
                    extend beyond the North American continent, and recovery of native fishes within
                    24-36 months of extirpation following extensive postfire sediment flows has been
                    documented in Australia (Lyon and O’Conner 2008).
                        In fact, evidence that fishes exhibit resilience to fire is unmatched by recovery
                    from anthropogenic disturbance (Neville and others 2009). Dunham and others
                    (2007) contrasted two levels of postfire disturbance (burn-and-debris-flow and
                    burn-only) with unburned streams in the Boise River basin, but severity of distur­
                    bance did not have substantial influence on the distribution of either rainbow trout
                    (O. mykiss) and tailed frogs (Ascaphus truei) within 10 years following fire. It ap­
                    peared that even if effects from wildfire (e.g., elevated summer water temperature)
                    continued for a decade or more, human activities that reduce the capacity of organ­
                    isms to respond to disturbance may be a greater threat to persistence than wildfire
                    (Dunham et al 2007). Similarly, Neville and others (2009) found no evidence of
                    genetic bottlenecks associated with fire related disturbance in 55 streams affected
                    by the Boise fires, but genetic diversity decreased in relation to human caused mi­
                    gration barriers (i.e., impassable road culverts).


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                                       The potential spread of nonnative species facilitated by fire-related disturbance
                                    is another important issue for some dwindling native fish populations (Dunham
                                    and others 2003). Because stream temperature can affect the relative distribution
                                    and interaction of native and nonnative species (e.g., McHugh and Budy 2005;
                                    Rieman and others 2006; Benjamin and others 2007; McMahon and others 2007),
                                    it has been suggested that warming of streams affected by wildfire may lead to
                                    expansion of nonnative species (e.g., brook trout or brown trout Salmo trutta) and
                                    concomitant contraction of native species, like bull trout S. confluentus and cut­
                                    throat trout (Dunham and others 2007; Isaak and others 2010). Results of a recent
                                    study in the Bitterroot River watershed where bull trout and westslope cutthroat
                                    trout co-occur with nonnative brown trout, brook trout, and rainbow trout suggest­
                                    ed that native salmonids were resilient to fire (Sestrich and others 2011). Although
                                    nonnative trout invaded 4 of 17 stream sections within the burned area, the inva­
                                    sion rate was similar in sections that did not burn. Habitat conditions declined, but
                                    native trout populations actually exceeded pre-disturbance levels 3 years follow­
                                    ing the fire (Sestrich and others 2011).
                                       To this point, the emphasis has been on dispersal and migration as key mecha­
                                    nisms behind population-level responses of fishes to fire, but research examining
                                    sublethal effects of habitat changes provides some evidence that phenotypic plas­
                                    ticity and adaptation to the effects of fire are mechanisms that may contribute
                                    to population resilience as well. In one recent study, habitat characteristics and
                                    growth of coastal cutthroat trout (O. clarkii clarkii) were evaluated in severely
                                    and moderately burned watersheds and an unburned control (Heck 2007). Stream
                                    temperature increased following the removal of riparian vegetation during the fire,
                                    and growth of fish in burned watersheds was greater than in the unburned control.
                                    Increased water temperatures and a longer growing season may have triggered a
                                    bottom-up response resulting in an increased growth of cutthroat trout, but longev­
                                    ity decreased (Heck 2007). Apparently, survival in these headwater streams was
                                    limited by the maximum size of the individual trout, and faster growing individu­
                                    als reached the critical point at an earlier age. In a study of nine tributaries of the
                                    Boise River (i.e., three each of reference, burned, and burned with channel reorga­
                                    nization), there was a direct relationship between growth and maturation rate, and
                                    level of disturbance 10 years following fire (A. Rosenberger, University of Alaska,
                                    personal communication of unpublished data). Such adaptation could be critical to
                                    persistence of some isolated populations (Letcher and others 2007).


   Summary, Implications, and Conclusions

                                       Wildfire can have dramatic effects on streams and on populations of native fish­
                                    es. Mortalities have been associated with the direct effects of severe fires, but these
                                    consequences have been most frequently observed in relatively small streams and
                                    over limited extent (1-2 km). Indirect effects linked to the physical and ecological
                                    process occurring after a fire can extend over 10s to even 100s of km of stream,
                                    however, and effects may last for decades, and potentially even centuries. Wildfire
                                    and associated disturbances have been, and likely will continue to be, a proximate
                                    cause of extirpation for small populations of native fishes. In general, however, the
                                    effects of wildfire are far less dramatic. In some cases, the effects of wildfires have
                                    been difficult to measure, and in others, populations that were initially depressed
                                    have rebounded dramatically, even increasing in abundance or extent relative to
                                    prefire conditions.



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                        Gresswell (1999) suggested that over much longer time scales (decades to
                    millennia), fish were well adapted to disturbances occurring at the frequency of
                    wildfire. Recent evidence suggests that effects of disturbance in individual habitat
                    patches are greatest on individuals and local populations that are least mobile, and
                    early speculation to that effect (Warren and Liss 1980; Rieman and Clayton 1997;
                    Gresswell 1999) has been supported by recent findings. Because habitat fragmen­
                    tation is directly linked to the ability of fish to move among disparate portions of a
                    stream network, this factor alone may be much more critical to the persistence of
                    western salmonids than disturbance related to wildfire. There is a growing body of
                    evidence that watershed characteristics including size, complexity (number and ar­
                    rangement of tributaries), connectivity, and management history play a major role
                    in the population structure and resilience at multiple levels of biological organiza­
                    tion across disturbance-prone landscapes (Wofford and others 2005; Neville and
                    others 2006; Guy and others 2008).
                       Clearly, context shapes the effects of wildfire on populations and communities
                    of native fishes. Fish are most vulnerable to both direct and indirect effects of fire
                    where populations are restricted to relatively small areas of habitat, and risk is
                    greatest in isolated stream segments or small networks in steep, confined drain­
                    ages where severe fires are likely to burn a large proportion of the headwaters and
                    riparian corridor. Where populations are relatively large, have access to diverse,
                    well-connected habitats and/or the capacity to adapt to changing environments,
                    vulnerability is lessened; in many cases, the capacity and even the productivity of
                    habitat can even be improved following wildfire (e.g. Malison and Baxter 2010).
                       The differences in context are evident among individual populations and wa­
                    tersheds across the landscape. Some populations within a basin may be highly
                    vulnerable to any form of disturbance, but others are much less so (e.g., Guy and
                    others 2008; Peterson and others 2008; Neville and others 2009). Populations of
                    Chinook salmon, bull trout, and other species that migrate over large expanses of
                    habitat in the Pacific Northwest and northern Rocky Mountains have fared well in
                    response to the major fires of recent decades. Managers in these systems may tend
                    to worry less about wildfire than the more chronic effects of watershed develop­
                    ment. They may even see wildfire as beneficial for creating or expanding new
                    habitats (e.g., Howell 2006). In contrast, managers concerned with remnant popu­
                    lations of native fishes isolated by invasive species and dewatered stream channels
                    in the central Rocky Mountains and the Southwest may view the next wildfire as
                    the catalyst for local extirpation, or even species level extinction (e.g., Brown and
                    others 2001; Rinne 2004; Brooks 2006).
                       Large disturbances will likely continue in all of these regions. The watersheds of
                    the Rocky Mountains and interior west have been shaped by disturbances linked to
                    wildfire, large storms, and the flux, routing, and storage of water (in groundwater,
                    snow and ice), sediment, and wood. On evolutionary time scales, large fires, mass
                    erosion events, floods, and even local extinctions have likely been common (e.g.,
                    Bennett 1990; Reeves and others 1995; Meyer and Pierce 2003), and yet many
                    species and populations of fishes have persisted and adapted (Gresswell 1999).
                    Management might alter the frequency and magnitude of particular disturbance
                    processes, but it likely cannot eliminate large and intense watershed events (e.g.,
                    Kirchner and others 2001; Istanbullouglu and others 2002). In fact, frequency and/
                    or magnitude of some disturbances may even increase with changing climate (e.g.,
                    McKenzie and others 2004; Westerling and others 2006). Furthermore, the extent
                    of thermal habitats for coldwater salmonids and the connectivity among refugia
                    are expected to decline, further increasing the vulnerability of some populations



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                                    (Rieman and others 2007; Williams and others 2009; Haak and others 2010; Isaak
                                    and others, 2010).
                                        So how can managers respond to the challenges posed by changing fire regimes
                                    and the conservation of native fishes and diverse aquatic ecosystems? In general,
                                    options can be categorized as management before, during, and after fire (Dale and
                                    others 2001; Dunham and others 2003), but a framework for monitoring and ad­
                                    aptation is critical in all cases (Dunham and others 2003). Management before
                                    fire includes maintaining or restoring the resistance or resilience to disturbance
                                    before the next disturbance occurs. Conditions contributing to resistance and re­
                                    silience in populations emerge repeatedly in the discussion above and elsewhere
                                    (e.g., Gresswell 1999; Dunham and others 2003; Bisson and others 2003; Rieman
                                    and Isaak 2010). Conservation or restoration of relatively large networks of habitat
                                    and the physical and ecological processes that maintain them, the broad expres­
                                    sion and adaptation of life histories, and the potential for connections within, and
                                    among populations are all critical. In essence, resilience will depend on a spatial
                                    and temporal structure and diversity in populations and habitats that can absorb or
                                    benefit from the effects of fire.
                                        In some cases only remnant habitats exist and reconnection or expansion to sup­
                                    port resilience and adaptive potential is not possible or desirable (e.g., the potential
                                    invasion of nonnative species). The only alternative may lie in attempts to change
                                    the character of disturbance. For example, by reducing the extent or grain of severe
                                    fire, even small populations may have some chance of persisting. Considerable
                                    discussion has focused on the management of fuels through prescribed fire or thin­
                                    ning as a tool for altering the severity of fire, if not its extent (Reinhardt and others
                                    2008; Rieman and others 2010). Continued debate about the potential utility of
                                    such efforts is related to the tradeoffs between the potentially damaging effects of
                                    management relative to the effects of the fires (Rhodes and Baker 2008; Rieman
                                    and others 2010) that may occur with, or without that management (Littell and
                                    others 2009).
                                        If the conditions supporting the resilience and adaptation of populations cannot
                                    be created before a large fire occurs, managers are left with limited options. They
                                    might attempt to suppress or mitigate effects during or after the fire. Although
                                    extraordinary measures could make the difference between extinction and per­
                                    sistence (e.g., Brown and others 2001), there is some question whether postfire
                                    watershed remediation can even influence the kinds of events that might actually
                                    threaten populations (Backer and others 2004). Regardless of their efficacy, these
                                    actions can be extraordinarily expensive and necessarily will be limited in the ex­
                                    tent or number of populations, streams, or watersheds that might be considered.
                                    Concomitantly, there are other activities (e.g., salvage logging) that can be detri­
                                    mental to particularly vulnerable populations in the postfire environment (Beschta
                                    et al 2004; Karr and others 2004; Reeves and others 2006).
                                        Clearly, better information is needed to understand where and how the condi­
                                    tions in forests, watersheds, and native fish populations transition from those that
                                    may benefit from and are resilient to the effects of wildfire, to those that are vul­
                                    nerable to those effects. At what point is a population too small or too isolated to
                                    persist? Can we actually influence the character of fire to alter that balance? How
                                    do we weigh the threats and benefits of aggressive management? Peterson and oth­
                                    ers (2008), Dare and others (2009), and Rieman and others (2010) offer some tools
                                    that may help refine this discussion and offer some approaches that can begin to
                                    answer these questions. Further collaboration between researchers and managers
                                    could extend this process. In the interim, the basic concepts of resilience outlined
                                    repeatedly throughout this review provide a critical foundation for the future.


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   Pro£teding^—Eire Effects on Rare and Endangered
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                 Does Wildfire Threaten Extinction for Salmonids?
               Responses of Redband Trout and Bull Trout Following
                  Recent Large Fires on the Boise National Forest
                   Bruce Rieman, Danny Lee, Gwynne Chandler, and Deborah Myers

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  Introduction                                                       apparent threat to sensitive species. Such concerns have
                                                                     galvanized new efforts to reduce fuel loads and stand den­
      The potential for wildfire to impact aquatic ecosystems        sities through mechanical treatment and the use of pre­
  and their associated threatened, endangered, or sensitive          scribed fire. These efforts create a quandary for biolo­
  species is of increasing concern. Recent (since 1988) large-       gists and managers working with aquatic systems. The
  scale fires followed by dramatic hydrologic disturbances           long-term negative effects of timber harvest activities on
  spark much of this interest. Broad swaths of western for­          aquatic ecosystems are well documented (see papers in
  est lands, where fire suppression and past silvicultural ac­       Meehan 1991 and Salo and Cundy 1987; Henjum et al.
  tivities have radically altered vegetation structure and fuel      1994), The effects of fire on fish are more equivocal. Do
  loads, are ripe for high-intensity fires. The potential seems      large fires really threaten extinction for many existing
  greatest in warm/dry habitat types that historically were          salmonid populations? What influences the risk?
  dominated by frequent, but low intensity bums. Intercon­                Large fires in the Boise River basin on the Boise Na­
  nected. fuel-laden stands may now link areas that histori­         tional Forest in 1992 and 1994 provided an opportunity to
  cally burned less frequently or uniformly into large, ho­          examine these questions relative to populations of two sen­
  mogeneous areas that are vulnerable to high-intensity,             sitive salmonids. Bull trout (Salvelinus confluentus) is a
  stand replacing events (Agee 1988; Henjum et al. 1994).            category-one species under the Endangered Species Act
  Recent fires in the Pacific Northwest seem to confirm these        (ESA), and redband or interior rainbow trout
  expectations.                                                      (Oncorhynchus myldss) is recognized as a species of spe­
      Wildfires influence aquatic ecosystems both directly           cial concern by the Idaho Department of Fish and Game.
  and indirectly. Direct effects include heating or abrupt           Some isolated redband populations have been petitioned
  changes in water chemistry (Minshall et al. 1989;                  for formal listing under ESA. Both species inhabit streams
  McMahon and de Calesta 1990). Indirect effects include             caught within fires described as among the most destruc­
  changes in hydrologic regime, erosion, debris flows,               tive ever observed on the Forest We initiated work on
  woody debris loading and riparian cover ( Swanson and              the responses of these fishes to wildfire and related ef­
  Lienkaemper 1978; Brown 1989; Megahan 1991; Bozek                  fects in 1992. The work was planned as long term and
  and Young 1994). Intense fires and related events have             much is incomplete. Our preliminary results and the body
  killed fish (Bozek and Young 1994) and even caused lo­             of literature regarding the disturbance and recovery of
  cal extinctions (Propst et al. 1992; Rinne 1996). Conceiv­         aquatic communities provide a base, however, to initiate
  ably, large and intense fires could threaten populations of        the discussion.
  sensitive salmonids such as bull trout, chinook salmon,
  steelhead, and others that are depressed from other causes.
  Historical fires, however, were a natural and potentially          Study Area and Species Background
  important part of the disturbance regime for terrestrial and
  aquatic systems (Reeves et al. 1995). Large fires supplied             The Boise River Basin is contained almost wholly
   woody debris and triggered hydrologic events and debris           within the southern batholith section of the northern Rocky
   flows that transported coarse substrates to stream chan­          Mountain physiographic province. The geology is domi­
  nels. These processes may well have provided the materi­           nated by granitic rock of the Idaho Batholith. Stream flows
  als that maintained productive habitats for fish and other         are dominated by snowmelt, but summer thunderstorms
  organisms (Swanson et al. 1990; Reeves et al. 1995).               also occur. Mean annual air temperature at 1,600 m is
       The magnitude and intensity of recent fires heighten          about 5® C. Forest habitat types (Steele et al. 1981) are
  concerns regarding foresl/ecosystem health, the potential          predominantly Douglas-fir (Pseudotsuga menziesit), and
  loss of valuable wood fiber and private property, and the
                                                                                       Rvsd Plan -00001754
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Ponderosa pine (Pinus ponderosa) at low and mid eleva­                the Boise River basin provided a general comparison of
tions and subapline Hr (Abies asiocarpa) at higher eleva­             fish densities and species compositions expected in simi­
tions.                    ?     .       _                             lar waters. The two watersheds are similar in landscape
    In five days of August, 1992, lightning-ignited fires             characteristics (Table 1). Both drain into the Boise River
on the Forest and adjacent lands burned 105,000 hect­                 basin above Arrowrock reservoir, and both are open to
ares within a contiguous area along the South and Middle              movement of fish to and from the larger basin. Both sup­
Forks of the Boise River (Figure 1). High fuel loading                port the same vertebrate communities, which include bull
and extended drought contributed to high fire intensity.              trout, redband trout, sculpin (Cottus spp), tailed frogs
Nearly complete loss of vegetative cover occurred                     (Ascaphus truei), aad transient populations of mountain
throughout much of the area (Maloney et al. 1995).                    whitefish (Prosopium williamsoni) and several cyprinids.
    We selected two watersheds as primary study sites                     We also began studies on a redband trout population
within the 1992 bum area. Sheep Creek and Rattlesnake                 in a third watershed, Cottonwood Creek, in 1992. The
Creek. Bum intensities were particularly high in some                 Cottonwood Creek watershed was unaffected by the 1992
segments of the riparian corridors. Preliminary surveys               fires, but burned extensively under very similar condi­
in intensely burned reaches found little surviving emer­              tions in 1994. Although Cottonwood Creek is smaller
gent vegetation, numerous dead fish, no live fish or other            than Sheep Creek or Rattlesnake Creek, it is in a similar
vertebrates, and no or very few macro invertebrates. Popu­            setting (Table 1). The stream is isolated from the Boise
lation estimates were not available prior to the fire, but            River in most years by an impassable culvert and does
previous surveys conducted by the Boise National Forest               not support bull trout. Redband trout were abundant and
and Idaho Department of Fish and Game showed that bull                found tiuoughout the stream in 1992 and 1993.
trout and redband trout were common in both systems.                      Redband trout are native to the Boise River basin and
In addition, extensive fish population surveys throughout             may represent remnant populations of the anadromous




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 Figure 1. Map of study streams and bum intensity for the 1992 and 1994 fires in the Boise River basin, Idaho. Stream reaches and sites
 designated for sampling are shown by number or letter (EF = East Fork Sheep Creek, DC = Devils Creek, LR = Little Rattlesnake Creek).
                                                                                            Rvsd Plan - 00001755
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  Table 1. Characteristics of watersheds for study streams influ­   tion of above ground vegetation. High intensity was de­
  enced by the 1992 and 1994 fires on the Boise National Forest.
                                                                    fined as areas where the canopy was completely consumed
                      Wateished    Mean        Max       Min        leaving only black needles or needleless trees and leaf­
                                  Stream       Basin     Basin      less hardwoods and brush. Moderate intensity was de­
  Watershed           Area (Ha)   Gradient   Elevation Elevation    fined as areas with 50 to 100% scorched canopy. Scorched
                                    (%)         (m)       (m)       canopy was recognized as fire killed needles and leaves
  Sheep Creek           11,315       6.5      2771       1048       that remained on the trees and brush.
  Rattlesnake Creek     11.539       4.4      2482        988           We surveyed the study streams by foot in the Septem­
  CottonwocxJ Creek      5,824       7.3      2216        975       ber following the fires. We qualitatively mapped fire in­
                                                                    tensity within the riparian zone along the main stream
  rainbow trout or steelhead that inhabited the basin prior         reaches described below. Although virtually the entire
  to isolation by downstream dams. Redband trout are com­           lengths of streams within each watershed were influenced
  mon throughout the basin, inhabiting streams of all sizes         by the fires, some areas were more strongly altered than
  (Rieman and McIntyre 1995), Redband trout in the inte­            others. We classified each reach as either high or low in­
  rior sub-basins of the Columbia River basin typically ex­         tensity effect based on the predominant condition of emer­
  hibit both resident and migratory life-history patterns. The      gent vegetation. We considered high intensity burn
  resident form resides in natal tributaries or watersheds          reaches as those where most leaves and needles along the
  (like Sheep Creek and Rattlesnake Creek) throughout life,         length of the reach were consumed in the fire. In many
  while the migratory form may spawn and rear for some              cases whole trees, shrubs, and downed wood were also
  period in a tributary system before moving to a larger river      consumed by the fire. In most cases fire intensity mapped
  or lake to mature. Both forms are thought to exist through­        for the adjacent forest was also high.
  out the Boise River basin but detailed life-history studies
  have not been done. Watersheds that are isolated from             Distribution and Abundance of Fish Sheep
  the main river by natural or human made barriers (cul­
  verts, dams) support only the resident form.                      Creek and Rattlesnake Creek. We initiated sampling
       Bull trout are also found throughout the Boise River         to describe the distribution and abundance of fishes in mid
  basin, and also exhibit migratory and resident life-history       September following the 1992 fire. Snorkeling and
  patterns (Rieman and McIntyre 1995). Bull trout are less          electrofishing were used in Sheep Creek in 1992, but sam­
  abundant than redband trout, with fish found in less than         pling was limited to electrofishing in Rattlesnake Creek
  half of the waters inventoried throughout the basin               that year. Snorkeling was the primary method used to
   (Rieman and McIntyre 1995). Individual adult and sub­            describe distribution and abundance in subsequent years
  adult bull trout may range widely, but spawning and ju­           in both systems. All snorkeling was conducted from the
   venile rearing appear to be restricted to the colder head­       last week of August through the middle of September in
   waters of larger watersheds (Rieman and McIntyre 1995).          each year. All electrofishing was conducted from the
   In the Sheep Creek and Rattlesnake Creek watersheds,             middle of September through the first week of October in
   for example, juvenile bull trout would be expected in            each year.
   roughly the upper third of the available stream reaches.             Each stream was stratified into reaches representing
   Resident bull trout may remain within their natal tribu­         distinct channel segments of similar gradient, confinement
   taries throughout life. Migratory forms may rear for two         and discharge. Reaches were contiguous and varied in
   or three years in the headwater streams before moving            length from 1 to 3.3 km, covering most of the perennial
   into the larger rivers, lakes, or reservoirs to mature           streams in each watershed (Figure 2), The last reach in
   (Rieman and McIntyre 1993). Once mature, the adults              Sheep Creek was below a bedrock cascade that was a bar­
   may make repeated, annual, spawning migrations. The              rier to fish passage. We found no fish in the stream above
   resident and migratory forms can be distinguished by vir­        the cascade and assume that all of the potential fish habi­
   tue of size; migratory adults typically are much larger than     tat was below that point. Some suitable habitat existed in
   the resident adults. Both forms can occur in the same            the stream above the last reach in Rattlesnake Creek, but
   populations (Rieman and McIntyre 1993).                          the channel was small and we believe that more than 90
                                                                     % of the habitat available to fish was within our sampled
                                                                    area.
  Methods                                                                Snorkeling or electrofishing was completed in seven
                                                                    reaches in 1992, but included eight or nine reaches in sub­
  Fire and Watershed Effects                                         sequent years. Our snorkel methods followed those out­
                                                                     lined by Thurow (1994). Fish were recorded in three
     The Boise National Forest mapped bum intensity                  length groups (< 75 mm, 75 to 150 mm and > 150 mm).
  throughout the fire perimeters in the fall immediately fol­        In the first year one to three sites about 50 m in length
  lowing each event Bum intensity was based on condi­                were sampled in each reach. In the following years 15 to

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                                                                       Electrofishing was used initially to survey for presence
                                                                       of fish after the fire in Rattlesnake Creek when high tur­
                                                                       bidity, low water temperatures, and limited time pre­
                                                                       empted further snorkel sampling. Electrofishing was con­
                                                                       tinued to provide more detailed size and growth informa­
                                                                       tion and as a measure of relative abundance when snor­
                                                                       keling was not possible. A single site of 80 to 150 m was
                                                                       fished in each sampled reach. Eleclrofishing data were
                                                                       summarized in the same format as the snorkel data and
                                                                       are reported here only when snorkel data were unavail­
                                                                       able.
                                                                           We did not have pre-fire data for Sheep and Rattle­
                                                                       snake creeks for comparison with post-fire fish response.
                                                                       We summarized similar density information for streams
                                                                       sampled throughout the Boise River basin in 1993 and
                                                                       1994 as outlined by Rieman and McIntyre (1995). We
                                                                       used the cumulative frequency distribution for all of the
                                                                       sampled densities as a base for interpretation of the num­
                                                                       bers observed in the burned reaches.

                                                                       Cottonwood Creek. Sampling in Cottonwood Creek was
                                                                       initiated in September 1992, two years before the fire, as
                                                                       part of an independent project. All sampling in this sys­
                                                                       tem was conducted by electrofishing in five to 10 sites,
                                                                       each approximately 100 m long, distributed through the
                                                                       length of the stream (Figure 2). Sampling was designed
                                                                       to provide complete population estimates using block nets
                                                                       and multiple pass removal methods. We present only the
                                                                       density estimates from the catch per-area-sampled to de­
                                                                       scribe the trends in distribution and abundance of the
                                                                       redband trout found in this stream.


                               REACH                                   Results


                                                                       General Observations of Fire and Watershed Effects
Figure 2. Distribution and number of redband trout sampled in
Sheep Creek from 1992 to 1995. The shaded bar under the figure              The 1992 and 1994 fires burned with moderate or high
for 1992 designates the reaches with high intensity burns in the
riparian area. Dark portions of the histograms represent fish less     intensity throughout much of the three study watersheds
than 75rnrn which are prcdominanlly young-of-the-year; open            (Figure 1). Along the stream channels we classified high
portions represent larger fish. The * designates electrofishing data   intensity effects in four of the nine study reaches in Sheep
summarized when snorkel data were not available. NS designates
no sample available. The dashed horizontal lines represent the         Creek, six of IQ reaches in Rattlesnake Creek, and six of
50% and 75% cumulative frequency (i.e. 75% of sites less than) for     the 10 sites in Cottonwood Creek (Figures 2, 3, and 6
sampled numbers in similar stream reaches throughout the Boise         below). Data on channel and habitat responses following
River Basin.
                                                                       the fires have not been summarized, but important effects
                                                                       in the flow, sediment, and temperature regimes of each
                                                                       stream were evident in the first year following each event.
20 sites ranging from about 3 to 15 m in length were snor-
                                                                       Increased surface erosion and large pulses of fine sedi­
keled in each reach. The sampling after 1992 was de­                   ments occurred throughout each system. In many cases
signed to provide complete population estimates for each               pools were virtually filled with new material, although
reach. For the purposes of this paper, however, we report              pools in higher gradient channels often remained relatively
only the sampled densities for two size groups to demon­               free of sediment. Debris flows producing pulses of both
strate trends in the distribution and the abundance of ju­
                                                                       fine and coarse sediments and woody debris occurred in
venile and older fish.                                                 at least one small tributary channel in each watershed. In
    Single pass electrofishing was conducted with a back­              reaches with high intensity bum effects shading from ri­
pack shocker in both stream systems in all years.                      parian cover was virtually eliminated. Woody debris in
                                                                        stream channels wRVsdplans
                                                                                                              '0OOO1757
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       In subsequent years the effects of altered hydrology
  and delivery of sediments and coarse debris were clearly
  evident. Channels were highly dynamic. Some habitats
  for fish were lost or altered by the loss of old wood and
  filling of pools with sediments, while others were created
  by the formation of new pools, channels and undercut
  banks in response to the recruitment of new wood from
  fire killed trees. Debris flows scoured some small high
  gradient channels dramatically simplifying habitats within
  them or in the larger stream immediately below the
  confluence with those channels. Debris flows also deliv­
  ered a substantial volume of coarse materials that did or
  are likely to contribute to complexity of channels down­
  stream.
       Riparian vegetation was not killed along the intensely
  burned reaches. Although cover from emergent vegeta­
  tion was lost immediately after the fires, resprouting from
  roots has been prohounced and the canopy from vegeta­
  tion immediately adjacent to the channel increased sub­
  stantially in following years in all intensely burned
  reaches.

  Distribution and Abundance of Fish
                                                                            80
       Six stream reaches were sampled in Sheep Creek and                   70                                            1995
  six reaches in Rattlesnake Creek immediately following                    60                A
  the 1992 fires. Eight or nine reaches were sampled in                     50
                                                                            40
  each stream in subsequent years. In 1992 densities of                     30
  redband trout and bull trout were very low or nonexistent
  in reaches that were intensely burned (Figures 2,3,4, and                 10
                                                                             0
  5). Dead fish were observed in all four of the intensely                       1   2    3   LRS   4   5    6   7    8    9
  burned reaches in Sheep Creek and no live fish could be
  found in reach eight of Sheep Creek or in reaches six                                             REACH
  through eight in Rattlesnake Creek. We could not sample
  reach nine of Rattlesnake Creek in 1992 or 1993. How­            Figure 3. Distribution and number of redband trout sampled in
  ever, because bum intensity appeared to be especially high       Rattlesnake Creek from 1992 to 1995. The shaded bar under the
  in this reach, and because similar or less intensely burned      figure for 1992 designates the reaches with high intensity bums in
                                                                   the riparian area. Dark portions of the histograms represent fish
  reaches downstream were apparently defaunated, we be­            less than 75mm which are predominantly young-of-the-year;
  lieve it unlikely that many if any fish persisted in that        openportionsrepresentlargerfish. The* designates electrofishing
  reach immediately after the fire. Redband trout persisted        data summarized when snorkel data were not available. NS
                                                                   designates no sample available. The dashed horizontal lines
  in relatively high numbers in reaches immediately adja­          represent the 50% and 75% cumulative frequency (i.e. 75% of
  cent to the intensely burned reaches in both the Sheep           sites less than) for sampled numbers in similar stream reaches
  and Rattlesnake watersheds (Figures 2 and 3). Bull trout         throughout the Boise River Basin.
  persisted in modest numbers in the adjacent reaches of
   Sheep Creek (Figure 4). In Rattlesnake Creek, however,
  only a few individuals were found in a single downstream             Both bull trout and redband trout were found in the
  reach (Figure S). Spawning and initial rearing of bull trout     intensely burned reaches of Sheep Creek and Rattlesnake
   is restricted to the higher, colder, reaches of streams         Creek in 1993 and subsequent years. Densities of redband
   throughout the Boise River Basin (Rieman and McIntyre           trout fluctuated among years throughout both streams and
   1995) and was likely limited to the area above reach seven      were strongly influenced by variation in the number of
   in Rattlesnake Creek. We found juvenile bull trout only         juvenile fish (Figures 2 and 3). Although variation was
   in the upper reaches of both streams. For that reason we        pronounced, by 1995 the densities in most stream reaches
   believe that virtually the entire juvenile and resident adult   including those strongly influenced by the fires were high
   population of bull trout was eliminated by the fire in this     incomparison to other streams throughout the Boise River
   watershed.                                                      Basin (Figures 2 and 3). Very high numbers of juvenile
                                                                   redband trout in Devil’s Creek in 1993 and 1994 and in

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                                                                      the large fish indicated that a migratory life-history had
                                                                      persisted in the Rattlesnake Creek population. The ex­
                                                                      tended movement pattern for this life history implies that
                                                                      both sub-adult and adult fish were outside the Rattlesnake
                                                                      Creek watershed during the fire, but had returned to re­
                                                                      produce in the fall.
                                                                          Five sites were sampled in Cottonwood Creek in 1992
                                                                      and 12 sites in later years. The numbers of redband trout
                                                                      were relatively high throughout the stream in 1992 and
                                                                      1993. Immediately following the fire in 1994 densities
                                                                      in the five intensely burned sites were much lower than




Figure 4, Distribution and number of bull trout trout sampled in
Sheep Creek from 1992 to 1995. The shaded bar under the figure
for 1992 designates the reaches with high intensity bums in the
riparian area. Dark portions of the histograms represent fish less
than 150mm which are considered juveniles (Rieman and McIntyre
1995): open portions represent larger fish. The * designates
electrofishing data summarized when snorkel data were not
available, NS designates no sample available. The dashed
horizontal lines represent the 50% and 75% cumulative frequency
(i.e. 75% of sites less than) for sampled numbers in similar stream
reaches throughout the Boise River Basin.



many of the lower or mid reaches of both streams in 1994                                          REACH
was particularly striking. The increase in numbers for
the higher reaches (7, 8 in Sheep Creek; 7, 8,9 in Rattle­
snake Creek) was driven primarily by movement of older                Figure 5. Distribution and number of bull trout trout sampled in
                                                                      Rattlesnake Creek from 1992 to 1995. The shaded bar under the
individuals with little recruitment of young fish,                    figure for 1992 designates the reaches with high intensity bums
    The relatively large numbers of young bull trout ob­              in the riparian area. Dark portions of the histograms represent fish
served in reach nine of Rattlesnake Creek (Figure 5) was              less than 15Qmm considered juveniles (Rieman and McIntyre
                                                                      1995); open portions represent larger fish. The * designates
initially puzzling in light of the believed defaunation of            electrofishing data summarized when snorkel data were not
the upper part of this stream. In late August of 1994,                available. NS designates no sample available. The dashed
however, we observed five large (>400 mm) adult bull                  horizontal lines represent lhe50% and75% cumulative frequency
                                                                      (i.e, 75% of sites less than) for sampled numbers in similar stream
trout holding in reach four. The timing and presence of               reaches throughout the Boise River Basin.


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  in preceding years or the adjacent sites (Figure 6). In
  1995 fish were again relatively abundant in all reaches,
  and in most cases at densities comparable to those prior
  to the fire. Juvenile fish were less important in 1995 than
  earlier years, however.


  Discussion

      Fires that burned in the Boise River basin in 1992 and
  1994 exanplify large and intense events that would have
  been rare historically, but seem more likely to occur in
  the future. Both fires profoundly altered fish populations
  and habitat. We found evidence of extensive direct mor­
  tality, as well as increased erosion, debris torrents, and
  other indications of likely effects on the productivity and
  stability of available habitat and these populations. Habitat
  and populations appeared to be very dynamic following
  the fires, and the effects are likely to persist for years or
  decades (see Minshall et al. 19S9).
       Despite the catastrophic appearance of the effects, the
  short term recovery of bull trout and redband trout popu­
  lations has been dramatic. Fish were present in the
  defaunated reaches within 1 year, and numbers approached
  those in unaffected stream reaches in 1 to 3 years. In
  some reaches, juvenile densities were very high suggest­
  ing that recruitment might even have benefited from the
  effects of fire. At least in the short term, populations of
  redband trout and bull trout within the Boise River basin
  appear to have the ability to adapt to, and recover from,
  changes in their environments associated with intense
  wildfire.                                                                                    SITE
       Two mechanisms were important in the short-term
  recovery that we observed: 1) refounding of defaunated
  reaches through dispersal from local or internal refuges;       Figure 6. Distribution and number of redband trout sampled in
                                                                  Cottonwood Creek from 1992 to 1995. The shaded bar under the
  and 2) refounding through complex life history and over­        figure for 1994designates the sites with high intensity bumsin the
  lapping generations.                                            riparian area. Dark portions of the histograms represent fish less
                                                                  than 75mm which are predominantly young-of-the-year; open
                                                                  portions represent larger fish. All sites were sampled by
  Local Refuges. Despite the broad scale and intensity, the       electrofishing. NS designates no sample available.
  fires in these watersheds left a definite mosaic of intensely
  burned, lightly burned, and unbumed areas. Some tribu­
  tary streams retained intact riparian vegetation, while some
  mainstem sections displayed a patchwork of bum inten­           Creek, where redband trout persisted in patches through­
  sity in the riparian zone. In Cottonwood Creek, for ex­         out the stream, numbers and age structures t^proached
  ample, we found depauparate reaches interspersed with           prebum conditions in the first year. Fish were reestab­
  areas supporting very high densities of fish. In Sheep          lished in depauparate reaches by dispersal from both up­
  and Rattlesnake creeks, we found high densities immedi­         stream and downstream sources over relatively short dis­
  ately below long reaches that were devoid of fish. Fish         tances. In Sheep and Rattlesnake creeks, where redband
  were wholly eliminated from reaches in smaller streams          trout were apparently eliminated in the upper reaches,
  such as Devil’s Creek, and from the upper portions of           recolonization must have occurred through dispersal from
  Sheep and Rattlesnake creeks. Although fish were                downstream sources over longer distances and a longer
  strongly affected, the fires of 1992 and 1994 did not pro­      time frame. Although fish were present in substantial
  duce a uniform or complete elimination of fish or disrup­       numbers in the severely affected reaches within the first
  tion of habitat.                                                year, numbers and age stmctures continued to vary over
      Recolonization of the affected reaches was influenced       the period of study. Our observations are consistent with
  by the proximity, and direction of refuges. In Cottonwood       other studies of recolonization in fish populations follow­
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ing major disturbance and defaunation. In general, where          tion. Similar results have been reported for salmonid
internal refiiges (i.e. sites of persistence within the spa­      populations influenced by wildfire (Novak and White
tial extent of the population) exist, recolonization occurs       1989) and other disturbances (Titus and Mosegaard 1992;
rapidly. Recovery often is evident in a few years (Meffe          Armstrong et al. 1994). Strong support is also found in
and Sheldon 1990; Niemi etal.1990; Yount and Niemi 1990;          life-history theory for salmonids (Gross 1991; Thorpe
Lambert! et al. 1991; Detenbeck et al. 1992; Bayley and           1994 b) and other species (Poff and Ward 1990).
Osborne 1993) or even weeks (Sheldon-and Meffe 1995).                 Theory proposes the persistence of multiple life-his­
     The mechanism and rate of recolonization is strongly         tory strategies as a mechanism stabilizing populations in
influenced by the local environment (Sheldon and Meffe            variable environments (Gross 1991; Thorpe 1994 b) but
 1995). Mechanisms that stimulate recovery or compen­             also as a mechanism that leads to full exploitation of, and
sate forbabitat losses might be triggered or enhanced by          may be dependent on, a complex of available habitats
the disturbance event (Bisson et al. 1996; Minshall et al.        (H^ey 1994; Lichatowich and Mobrand 1995). We ex­
 1989). For example, we observed high densities for               pect that diverse life-histories are maintained because of
young-of-the-year redband trout in several reaches influ­         an evolutionary history in variable environments (Poff and
enced by the fires or related hydrologic effects. This is         Ward 1990). Spawning and rearing habitats for bull trout
 not consistent with a concept of fire as a catastrophic event,   are distributed primarily in higher elevation, colder wa­
 causing only negative changes in habitat conditions (i.e.        tersheds. Because high elevation areas throughout the re­
 loss of riparian cover, increased water temperatures and         gion were more likely to experience mixed or high inten­
 fine sediments). In small, cold streams, increased solar         sity fires (Arno 1980) many populations have experienced
 exposure may translate to warmer water, increased pri­           this pattern of disturbance. We should expect that, in an
 mary production (Minshall et al. 1989), and ultimately           evolutionary sense, bull trout are well acquainted with
 faster growth or higher carrying capacities for juvenile         large, intense fires. The existence of complex life histo­
 fish (Murphy and Meehan 1991). Similar positive re­              ries such as the mixed migratory behaviors and overlap­
 sponses in growth and production have been observed for          ping generations found in the Boise River basin could be
 other salmonids following large natural disturbances             the expression of strategies that have emerged because of
 (Bisson et al. 1988) Although the fires killed fish and          the disturbance of fire and associated hydrologic events.
 may depress production in some life stages for some time,        We also expect the expression of complex life-histories
 they also may have created the potential for important           to be tied to the template of the available habitats (Healey
 compensation within these populations.                            1994; Thorpe 1994 a; and also see Turner et al. 1995 for
     In summary, broadly distributed habitats suitable for        discussion of larger scales). If the spatial and temporal
 these fishes during and after the fire provided for              complexity of habitats is lost the expression of complex
 recolonization. The benefits of spatially redundant and          life histories can be lost as well.
 complex habitats to the persistence and resilience of popu­           The two pathways we have suggested for the short term
 lations at multiple scales is well established in theory (den    recovery of salmonids influenced by the Boise fires im­
 Boer 1968; Poff and Ward 1990; Sedell et al. 1990) and           ply that the nature of the habitats available to the popula­
 building empirical evidence (e.g. Pearsons et al. 1992).         tions strongly influenced the result The complexity of
                                                                  the landscapes undoubtedly led to the mosaic in burn ef­
Life History. We found evidence with both bull trout and          fects but also a mosaic of pre-fire stream habitat condi­
redband trout that large-scale movements, other than those         tions that provided important refuges within the burn pe­
associated with the simple diffusion of fish from refuges         rimeter. That same complexity of stream habitats, the size
within the stream, influenced recovery. In Rattlesnake             of the basins and the connection of the watersheds to a
Creek we believe that bull trout were nearly if not com­           larger river basin are likely important in the full expres­
pletely eliminated from the upper stream. Had the popula­          sion of diverse life histories. In the short term, these bull
tion been limited to a resident life history, the entire           trout and redband trout populations, seem to have the po­
population could have been lost. We cannot eliminate the           tential for dramatic recovery from very large intense wild­
possibility that some fish survived in local refuges that we       fires. Similar potential in other populations likely depends
did not locate, but the observation of large adults moving         on the quality and extent of available habitats.
into the system in September, strongly suggests that an                We do not know the long term effects of these fires.
adult or subadult component of the population persisted            Fires often trigger increased surface erosion (Megahan
outside the watershed. A similar, though smaller scale             1991) and, if followed by intense storms, debris torrents
effect, may have occurred with redband trout in Little             and channel scour also may be common (Brown et al.
Rattlesnake and Devil’s creeks, where large numbers of             1989; Swanson et al. 1990). In many cases the short term
juvenile fish werefound in streams that had been vacantthe         rate of erosion and sediment delivery following a fire can
yearbefore.                                                        outweigh the effects of toads and timber harvest activi­
    It appears that a complex of life-history patterns also        ties (Megahan 1991). Changes in vegetation and water­
provided a temporal and a spatial hedge against extinc­            sheds influencing hydrologic and temperature regimes and
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 erosion that influence fish habitat may persist for years       through time and space. Species such as bull trout and
 and perhaps decades (Minshall etal. 1989; Brown 1989).          redband trout appear to have been well adi^ted to such
 The long term legacy in many cases, however, can be             pulsed disturbance. The population characteristics that
 positive (Swanson and Lienkaemper 1978; Brown 1989;             provide for resilience in the face of such events, how­
 Swanson et al. 1990; Reeves et al. 1995). Increased in­         ever, likely depend on large, well connected and spatially
 puts of large wood and coarse sediments from dispersed          complex habitats that can be lost through chronic or press
 sources or storm triggered debris flows are also likely to      effects of other management A critical element to resil­
 follow large fires (Brown 1989; Megahan 1991; Reeves            ience and persistence of many populations for these and
 et al. 1995) and have been conunon in our study water­          similar species will be the restoration or maintenance of
 sheds. The larger materials often store fine sediments, and     highly complex, well connected habitats, across a mosaic
 provide the hydraulic complexity necessary for sorting          of streams and watersheds.
 of larger materials that represent critical elements of fish         Throughout the Pacific Northwest the effects of
 habitat. The intensive debris and scour events that gen­        chronic watershed disturbance, the introduction of exotic
 erate the materials are often localized (Megahan 1991)          species, and barriers such as dams, diversions, and road
 and confined to the smaller, high gradient channels             culverts, have resulted in the fragmentation and isolation
 (Swanson et al. 1990). The movement of fine sediments           of salmonid populations and the elimination or serious
 may occur in pulses or waves that are not uniform in time       depression of historic life-history patterns (Rieman and
 or space (Reeves et al. 1995). Although the volumes of          McIntyre 1993; Frisselletal. 1993; Henjumetal. 1994;
 fine sediments can be large they may be relatively short        Lichatowhich and Mobrand 1995). By expanding our
 lived and patchy in relation to the effects of other more       efforts in timber harvest to minimize the risks of large
 chronic disturbances such as roading and timber harvest         fire, we risk expanding what are well established nega­
 activities (Reeves et al. 1995). Others have found that         tive effects on streams and native: salmonids. In general,
 the erosional and hydrologic effects of large fires decline     previous attempts to minimize such effects in any single
 substantially within 10 years (Brown 1989; Beaty 1994).         watershed have led to the dispersal of activities across
 Historically this episodic contribution of coarse debris        broad areas (Reeves et al. 1995). The chronic and wide­
 may have been key to the creation and maintenance of             spread nature of timber harvest and other human related
 complex, instream habitats (Brown 1989;-Swanson and              disturbance has ted to a loss of spatial complexity of
 Lienkaemper 1978; Reevesetal. 1995). Emerging theory             stream environments, that ultimately can be reflected in
 strongly suggests that natural disturbance regimes may           the loss of complexity and diversity and distribution of
 have been critical to the maintenance of such habitats and       populations and life histories (Frissell et al. 1993; Reeves
 the productivity of the associated populations (Reeves et        et al. 1995). We do not expect conventional timber har­
 al. 1995) as well as the genetic and phenotypic diversity        vest activities to produce watershed effects equivalent
 that supports resilience of populations in the short term        even to very large wildfires. It also is not clear that at­
 and adaptation in the long term (Poff and Ward 1990).            tempts to manipulate the structure and processes of whole
 The suppression of fire in recent history could well have        ecosystems (i.e beneficially manipulate the fire regime)
 contributed to the overall decline in productivity of fish       can ever be successful (Baker 1994; Stanley 1995). The
 habitats throughout the region. Arguably the recent fires        perpetuation or expansion of existing road networks, and
 might be viewed as a badly needed “house cleaning” for           other activities might well erode the ability of popula­
 overstocked forests as well as an infusion of materials          tions to respond to the effects of large scale storms and
  critical for the maintenance of productive habitats.            other disturbances that we clearly cannot change.
      So are these fires good or bad for existing populations         There is growing interest for intensive forest manage­
  of native salmonids? As generally seems to be the case          ment to reestablish more natural landscape patterns and
  in ecology the answer depends. Larger and more inten­           disturbance regimes, but the risks and benefits of that
  sive fires may result in local extinctions of very small and    management vary across the landscape. In our haste, for­
  isolated populations. Many species and populations,             est health treatment projects have been justified from all
  however, may still have the ecological diversity neces­         perspectives including the risk of extinction for sensitive
  sary for dealing with this disturbance. Although fire may        species such as bull trout and redband trout There is un­
  create important changes in watershed processes (e.g. sur­      doubtedly a point where the risk of fire outweighs the risk
  face erosion and mass failure) that are often considered        of our management, but that point needs to be discovered
  negative for fish, the spatial and temporal nature of the        through careful evaluation and scientific study not through
  disturbances is important (Reeves et al. 1995). Fire and         the opposing powers of emotional or political rhetoric.
  the associated hydrologic effects can be characterized as        Our experience with the effects of the recent fires is in­
  pulsed disturbances as opposed to the more chronic               complete. The picture that emerges both from our expe­
  “press” effects linked to permanent roads or extended tim­       rience and the available literature, however, suggests that
  ber harvest activities (see Yount and Niemi 1990). The           the consequences of large fires are not as catastrophic as
  effects of fire are more likely to be episodic, dispersed        some have anticipated. Managers must weigh that knowl-
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                                          - Does Wildfire Threaten Extinction for Salmonids? -                                             57

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       MANAGEMENT



                 Wildfire and Native Fish; Issues of Forest Health
                      and Conservation of Sensitive Species

       By Bruce Rieman and Jim Clayton
       ABSTRACT
       Issues related to forest health and the threat of larger, more destructive wildfires have led to major
       ne^v initiatives to restructure and recompose forest conmiunities in the western United States.
       Proposed solutions will depend, in part, on silvicultural treatments and prescribed burnmg. Large
       fires can produce dramatic changes in aquatic systems, including altered sediment and flow
       regimes, fish mortality, and even local extinctions. Responses of salmonid populations to large dis­
       turbances such as fire indicate that complexity and spatial diversity of habitats are important to
       the resilience and persistence of populations. Some populations retain the ecological diversity nec­
       essary to persist in the face of large fires, and natural events such as wildfire have been important
       in creating and maintaining habitat diversity. Although timber harvest and fire can precipitate
       similar changes in watershed processes, we do not necessarily expect the physical and ecological
       consequences of large fires and timber harvest to be the same. We agree that healthy forests are
       fundamental to healthy aquatic ecosystems. In their haste to restore unhealthy forests, however,
       managers must take care to avoid simplistic solutions that compound problems already present in
       the management of aquatic ecosystems and native fishes. Management to restore ecological struC’
       ture, composition, and process is largely experimental and potentially risky. We propose that the
       mosaic of conditions in both terrestrial and aquatic systems provides an opportunity to learn and
       adapt new management without placing key remnant aquatic habitats and populations at risk.

                    nme concerned scientists and managers have                   in structure and composition are symptomatic of more
       jy           Suggested that the increasing risk of unchar­                fundamental changes bi patterns of disturbance and
                    acteristically targe or damaging wildfires in                (>ther ecological processes- Forests that were once
                    forests across the vveitern United States may                mosaics of species, ages, and patterns in crown cover
       threaten the integrity of *vhole landscapes. In response,                 have been simplified. Many are now dominated by
       major initiatives to correct such problems have been                      higher-density, middle-aged stands that are more vul­
       proposed, some of which rely largely on sih'iciiltural                    nerable to pest infestations and fire (Huff et al. 1995;
       activities such as increased timber harvest, thinning,                    Hessburg el al, 1997; Hann et al. 1997). The more homo­
       and prescribed fire. Do these and associated activities                   geneous patterns in \ egetation and the increased fuel
       represent higher or lower risks for native fishes and                     loadings are thought to increase landscape vulnerabili­
       aquatic environments?                                                     ty to larger stand-replacement fires (Agee 1958,199-1;
           iVild fires and forest health have dominated mu di of                  Huff Ct a! 1995). Large fires burning throughout the
       the discussion and interest reg,]rding management of                      West in recent years may have been the result of these
       forested lands in the West in recent years. It Is increas­                changes (e.g., Christensen et al. 19S9; Barbouletos and
       ingly evident that forested landscapes throughout the                      Morelan 1995), although climatic patterns may be
       region have been dramatically altered by past land                         Important as ivell (e.g., Johnson et al. 1995. 1996),
       management activities Selective and extensive timber                          The possibility of uncharacteristically large, damag­
       harvest, silviculture, fire suppression, and grazing pme-                  ing fires and declining forest health holds important
       tices have substantially changed the structure and com­                    implications for land managers Larger fires mean lost
       position of forest communities (Franklin 1992; Lehm-                       timber values, increased threats to prt\ ate property on
        ktihl cl al. 199-1; Hessburg el al. 1997). The general                    an expanding urban-wHd-land interface, and higher
       decline in abundance of large, old trees and old forest                    costs associated with fire suppression Uncharacteristic
        (Henjum et al 1994; Hessburg et al- 19^7) is a familiar                   fires may also threaten properties of ecosystems. Direct
        issue. Hut ec\»logists arc noie recognizing lh.it ch.inges                effects of intense flies and subsequent impacts on hydro­
                                                                                  logic regimes, erosion, debris Hows, woody debris, and
        Uritfc R/chmn is a fcscflrdi           fiii'nlift with the U S. Fan'it    riparian cover can Strongly influence the structure and
.Srrrkt', Siueky AJcjintjiM RiwarJt StutWu, 3)6 E                    Pufsc, tU    function of aquatic systems (Swanson 1931; Megahan
S.37O2, 21)3/373 4340. FAX 20S/373-439i;                                           1991, Bozekand Young 199-1) Intense fires and the associ­
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I til 1 refiru'QtiiieFoi i .ii r).                                               pcra»uri*4. brgij sedimefit pulsus* nnJ <l;bris flows)
6 ♦ Fistierfes                                                                                                                 Vtil. 22 Nd 11
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result in direct mortality of fish (Minshall and Brock
1991; Bozek and Young 1994; Rinne 1996) and other
aquatic organisms (Rinne 1996), and even extinction of
local populations (Propst et al. 1992; Rinne 1996).
      Concern about such severe possibilities has focused
interest on active vegetation management, galvanizing
efforts to actively restructure or recompose forest com­
munities (Barbouletos and Morelan 1995; see other papers
in Eskew 1995). Managers have justified these initia­
tives by citing the spectrum of potential social, economic,
and ecological costs. For example, some managers ha ve
argued that changing fire patterns represent one of the
 most important threats to the persistence of native,
 threatened, endangered, or sensitive species such as
 bull trout (Salvelinus con/liientus), chinook salmon (Oii-
 corhynchus tshawytscha), and redband/rainbow trout
 (O. mykiss). Given the general decline of many native
 fishes throughout the West (Williams etal. 1989; Nehl-
 sen et al. 1991; Lee et al. 1997) and the seemingly perva­
 sive nature of forest health problems, it may be prudent
 to proceed quickly with active vegetation management
 in all "unhealthy" forests. But such management carries
 costs and risks that also must be considered.
      Forest health and ecosystem management initiatives
 seek to recreate a structure and composition in forest
 communities that is more consistent with natural dis­
 turbance regimes. Although prescribed and natural fires
 can play an important role (Carlson et al. 1995; Huff et
 al. 1995), silvicultural activities that include thinning and
 harvest will be desirable where feasible. Although wild­
  fire and timber harvest both can result in changes to
  watershed processes that conceptually are similar (e.g.,
  increased surface erosion and water yield), they also
  may differ fundamentally. Disturbance by fire affects
  ecosystems in complex ways, but activities that reduce
  the risk of fire, insect, or pathogen outbreaks by chang­
  ing vegetation structure and composition, and fuel man­
  agement also lead to complicated effects. Mimicking
  natural disturbance may not be as easy as hoped.                Wildfires may trigger major debris flows, floods, and erosion that
       We believe that managers often hold overly simplis­        can significantly harm or even destroy sma'I fish populations and
   tic views of the forest health problem. In our experi­         other aquatic biota.
  ence, some believe that forest health can be improved
   simply by managing vegetation through silvicultural            overall ecosystem health. Pathways to forest health
   treatments that manipulate structure and composition.          decline were largely a result of vegetation manipula­
   While this viewpoint is attractive because it provides         tions. Can't those pathways be retraced?
   some clear direction for managers, key elements of                Perhaps, but ecological function does not follow
   large ecosystems such as soil and watershed processes          directly from structure. Rather, both structure and func­
   can be discounted. Land management activities influ­           tion emerge from the underlying process (Bradshas\'
   ence many ecosystem components, and clearly more               1996). In other words, how we get where we wish to go
    than the forests have changed. In other cases managers        may be just as important as where we wish to go. Sihu-
    recognize that forest attributes are part of a larger eco­    cultural and prescribed fire management tools can lead
    system, but still seem to imply that treating symptoms        to the goal of restoring stand structure a.-ad composi­
    (terrestrial vegetation) will lead to a cascade of solu­      tion, but such restoration may have mixed implication.s
    tions. Put simply, restoring terrestrial vegetation to a      for restoring other aspects of failing ecosystems such as
    more natural condition should lead to improvements in         fishes and their habitat;
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                                                                                                   Rvsd Plan - 00001766
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   We do not question the need to manage landscapes and          of management activities. The implications of the changed
forests in tways more consistent xvith natural patterns of       disturbance regime at the landscape scale are not easily
disturbance (scnsw Attiwill 1994). We suggest the issue is       interpreted. However, a wealth of information exists about
not whether to,do something or nothing, but rather to            natural and management induced disturbances as they
weigh the risks o.f our actions as objectively as possible. To   affect physical processes on mountain slopes.
that end, we believe it is useful to consider some of the           Tciuperattire—Chc\nges in stream temperature are con­
physical and biological processes likely to Influence streams,   trolled by the amount of energy (heat) exchange and the
fish habitats, and populations after large wildfires or man­     mass of water in the stream. While many processes affect
agement intended to reduce the probability of such fires.        energy exchange, including evaporative cooling and con­
                                                                 ductive transfer with substrate, the controlling factor is
Physical Processes                                               solar radiation (Brown 1969). There is anecdotal evidence
      The intensity and distribution of natural disturbance      of dramatic, short-term temperature elevations associated
  and ecosystem responses to disturbance are strongly influ­     with fire in small streams (Minshall and Brock 1991). In
  enced by landscape attributes. Swanson et al. (1988) sug­      addition to latitude, slope, aspect, frequency of cloudy sky,
  gest that land form position and slope gradient affect flow    and time of year, incoming radiation is correlated with
  of energy and matter (water, solutes, and particulate mat­     shading provided by streamside vegetation and terrain-,
  ter) and, therefore, influence the pattern and Intensity of    and, therefore; is subject to charige from fire (Helvey 1972;
  disturbance by flow processes.. Thus, natural barriers such    Amaranthus et al. 1989) or logging (Brown and Krygier '
  as ridges and valley bottoms control the spread, of fire, and 1970; Meehan 1970; Patton 1973). Loss of shading can
  slope and channel gradients dictate the velocity and travel   cause mean annual maximum temperatures to rise by as         .
  distance of sediment movement The result is a somewhat        much as 15®C (Brown and Krygier 1970). The effects of
  predictable, although dynamic, patchiness of-disturbance      canopy loss on stream temperature by fire or logging dis­
■ at the landscape scals/ constrained by land form and elope    turbance may be approximately equal if the fire consumes
  gradients. Disturbance due to inanagement activities likely ’ the canopy. However, many fires don't consume canopy
  is less constrained because of homa® ability to circumvent    foliage, and conifer needles may be retained following
  natural barriers. Swanson et al. (1990) suggSst that this has crown fires for up to a year. In addition, standing tree
  led to creation of new landscape disturbance patterns in the  boles adjacent tRvsdplanc- 0000i1767 many
  Pacific Northwest with little regard for the ecologic design  year's. Streamside vegetation Recovery is usually rapid after
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logging or a fire unless soil is compacted during timber         slope results in a disruption of Subsurface water transport,
harvest and yarding. Recovery of streamside vegetation is        bringing water to the surface where flow is concentrated,
generally faster in moist coastal ecosystems than in drier       and velocities are much higher (Megahan 1972). Other rea­
inland systems, and recovery is faster at lower elevations       sons include disruption of soil structure and vegetation
than higher ones (Beschta et al. 1987).                          rooting; sidecasting of loose, unconsolidated roadfill; in­
     Erosion—Disturbance by fire, harvest activities, and        creased connections between roads and streams by gully
road construction invariably results in greater erosion and      formation and slides; and oversteepened cutslopes. Accel­
sediment production; however, the severity and longevity         erated sediment production from roads depends on how
of increase is highly dependent on site properties and the       recent constructionwas and on whether road design fea­
kind of disturbance. At the broad scale, erosional processes     tures that mitigate erosion such as special drainage fea­
differ due to lithology, land form, and local climate. Con­      tures, structures, revegetation, and surfacing treatments ■
sequently, landscapes are predisposed to variation in ero­       were incorporated. Acceleration factors for sediment produc­
sional processes and efficiencies of sedirnent transport dur­    tion range from tens to hundreds of times over natural rates
ing times of relative stability and after disturbance. A         in forested areas, based oh various studies in the mountain
thorough discussion that distinguishes these process dif­        west (Furniss et al. 1991). Typically, sediment production
 ferences in natural landscapes can be found in Swanston         rates decline by an order of rhagnitude within three years of
 (1991) arid Megahan (1991).                                     construction; however, these accelerated rates remain for
      Disturbances that change the way a slope handles water     the life of the road. Secondary surface erosion on mass fail­
 are likely to result in more erosion and to persist longer than ures is often chronic and may be as damaging to stream biota
 disturbances that reduce cover. Fire consumption of forest      as episodic inputs from mass failures because the sediment
 floor or removal of soil cover during log skidding general­     particles are finer and are delivered throughout a long time.
 ly increases surface erosion rates. Effects are usually short­
 lived (a few years), although harsh sites may nOt reestablish
 effective ground cover for more than a decade (Megahan et
 al. 1995). In contrast, fire-induced water repellence
 (DeBano et al. 1970) increases the risk of surface rilling,
 "slurry flows" (Rinne 1996), debris flows, and hypercon­
 centrated flood events by reducing the infiltration capacity
 of soils. While reduced infiltration due to fire-induced
 water repellence is brief—usually a few years^—channel
 recovery (reestablishing soil and mature vegetation) after           Surface and mass-erosion risk are increased after fire or
 debris flows or floods may take decades (Megahan 1991)           logging, and rates and recovery times are generally similar.
 or even centiiries (Benda 1985). These effects are most          Fire-induced water repellence may greatly increase the
  common in headwater basins, although structure and habi-        likelihood of flooding, surface soil rilling, and hypercon­
  tai in receiving streams may be altered for long periods        centrated flow events in first- and second-order channels.
  through deposition and scour (Swanston 1991).                   This elevated risk diminishes rapidly with time, but accel­
      Timber harvest and fire both increase the likelihood of     erated erosion and channel scour can be dramaflc when
  mass erosion on sites. The presence of roots and tree stems     high-intensity summer rainstorms hit recent burns if soils
  imparts a measure of strength to soils, decreasing the like­    are water-repellent. Sediment production from logging and.
  lihood of mass failure (Ziemer and Swanston 1977; Gray          fire accelerates at similar rates. Increases may range from
  and Megahan 1981). This is particularly important in collu­     10- to 100-fold and usually decline to natural levels within
  vial soils because frequent erosion and deposition in these     a decade (Megahan 1980). Rapid erosion from road distur­
  sites provide little time for soil development and pedo-        bance is typically greater than accelerated erosion from fire
  genic processes such as weathering and organic matter           or logging disturbance and persists for the life of the road.
  accretion to promote soil structure and increase resistance     Effective road placement and design features can mitigate
  to mass erosion. Soil strength declines as roots decay and      erosion from roads, but studies clearly identify accelerated
   typically reaches a minimum in 5-10 years after distur­        sediment production from roads to be larger and more
  bance, but buttressing by large trees may last for several      chronic than sediment production from fire or logging.
  decades after mortality. Vegetation loss also results in            Stream/lozo—Water yield and timing of peak and low
   decreased water removal from soil by transpiration. Higher      flows also are affected by disturbance. Harvesting and fire
   antecedent soil moisture during rainfall or snowmelt increas­   may alter the spatial pattern of snow deposition and redistri­
   es the probability of flooding and the occurrence of shallow,  bution, and change interception, evaporation, rate of snow­
   rapid landslides, and can activate flowing water ta ephemeral   melt, and storage of water in soil by decreasing transpira­
   dravvs. in cohesionless soils, "sapping" failures (Megahan      tion. Changes in water yield after disturbance depend on
   and Bohn 1989) and channel headcutting may greatly accel­       climatic factors, vegetation changes, and soil properties.
   erate sediment production from ephemeral draws.                 Typically, the largest increases in yield occur on sites that
       Road construction causes the most severe disturbance to     received precipitation or snowmelt during the growing sea­
   soils on slopes, far overshadowing fire and logging as a        son, sites that were fully vegetated and had a large change,
   cause of accelerated erosion (Swanson and Dymess 1975;          in transpiration, and on deep soils with a high water-holding •
    Beschta 1978; Reid and Dunne 1984). Perhaps the major          capacity. In the West, water yield increases after vegetation
    reason is that the excavation required to build a road on a    disturbance range fromnot detectable to 40% in the first year
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(Chamberlin vl ol. 1991); typical recovery to prcdislurbance       influenced by the intensity and sex erity of the fire, w hith
levcb tuke 30-50 years. Peak flows average 20% higher after        will, in turn, be influenced by p.meins of living vegetation,
a forest is cut in small patches in a snownieh-dominated           fuel loads, fire weather, and terrain, Small stre.ims are more
regime (Troendle and King 1955), Effects of roads on streatn-      likely to be influenced stronger than larger streams. Even
flow response are varied. Peak flows and flow duration have        when largo regions are burned, the mos.atc of conditions
either increased, decreased, or remained unchanged in              across streams will produce a patchwork of disturbance
basins after road construction (King and Tennyson 1951;            effects (e.g., Minshall and Brock 1991) The effects of fires
Iones and Grant 1996). Maximum effects on fish habitat             on xvalershed and ecological precesses may be evident foi
(botlr beneficial and detrimental) probably occur when dis­        decades (Minshall el al 1939, Minshall and Brock 1991; Hunt­
turbance sheri peak flows or low flows.                            ington 1995). but they may not necessarily be catastrop!ile.
     IVdtcr Chemistry—Stream chemistry changes have been                Studies of fish papulations after l.irge dishirbanr- s nr
documented after disturbance by fire or togging. Short-term        experimental defaunation haxe
(1-3 yenrs) elevated concentrations of dissoh'ed nitrate,          concluded that population recov
cations, and alkaliruty have been reported. With the excep­        ery can occur quickly, frequently
 tion of extreme conditions during or immediately following        within a fexv years (Niemi et al.
 fires across some small streams (Minshall et al. 1989; Rinne       1990; Detenbeck et al. 1992).
 1998), such changes are inconsequential to aquatic biota.         weeks (Sheldon and Meffe 19951,
 Downstream eutrophication, particularly in takes and reser­       or even days (Peterson and Bay­
voirs, may be a concern that we do not consider in this paper.      ley 1993), To consider risks and
                                                                    tradeoffs associated with large
Biological Processes and Fishes                                     fires and management designed
    The effects of large fires on fishes are direct and indi­       to mitigate those fires, xve should
rect. Direct effects may result from changes in water tem­          consider cliaracleristics of popula­
perature and chemistry v.ilnshall et al. 1939; McMahon and          tions and habitats likely to influ­
de Calesta 1990; Minshall and Brock 1991) Direct effects may        ence biological responses. Two
include mortality' and displacement of individuals, but few         elements seem important; (1) re­
studies have documented the extent of these responses               founding of affected streams or
(McMahon and de Calesta 1990). Clearly, fires can result in         reaches through dispersal from
immediate mortalities (KtcMahon and de Calesta 1990;                local Of internal refugia and (3)
Minshall and Brock 1991; Rieman et al, 1997), but actual            stabilizing effects that emerge
mechanisms and interactions are poorly understood (Min-             from complex life histories and
shall et al. 1939; Minshall and Brock 1991; Bozek and Young         overlapping generations in fish
1994) and may be highly variable. Rieman et al. (1997) noted        populations.
areas where no live fish and numerous dead fish xvere found                     —Rieman et al. (199*)
immediately after an intense fire burned through riparian           followed responses of three rain­
corridors of two streams in Idaho. In a third stream in a           bow [rout and hvo bull trout pop­
similar setting and immediately followmg a similar fire,            ulations in three watersheds after
 fish densities were depressed in intensely burned reaches,          txvo of the largest, most-intense
but no areas were devoid of fish. Minshall et al. (1939) sug­        fires recorded in Baise National
 gested that changes in water temperature and water chem­            Forest, Idaho, Despite the large
 istry during or immediately after the Yellowstone fires            sizes, the fires in these wateriheds left an assortment of
 were relatively minor. Minshall and Brock (1991) suggest­           intensely burned, lightly burned, and unbumed areas that
 ed such effects tvere more likely to be important in smaller        immediately and directly influenced fish distributions. In
 rather Ihait larger screams. Rinne (1996) found no significant      one stream, depauparate teaches were interspersed xvith
 reduction in densities of fish as a direct result of a large        areas supporting high densifies of fish. Ln hvo strt'.xms,
 fire burning across three headwater streams in Arizona.             moderate or high densities of fijh were found immediately
      Indirect effects of large fires are somewhat better under­     below long (2 km-5 km) reache: devoid of fish. Fish may
 stood and can be dramatic. Bozek and Young (1994) noted             h.xx'e been completely eliminated from some smaller tribu­
 mortalities of Yellowstone cutthroat trout {Ortiorhyiiditts         tary streams. In years after the fires, debris flcnxs occuTTed
 chirki huusferij associated with increased suspended sedi­          in tributary streams of each watershed. Although popula­
 ments in streams two years after large fires in the Greater         tions xvere depressed, fires in 1992 and 1994 did no! pro­
 Yellowstone ecosystem. Floods and debris flows triggered            duce a uniform or complete eliminatiun of fish or d:sr op­
 by fires and subsequent storm evenls have apparently                tion of habitat. Rather, fish numbvrs increased symewh.xt
 eliminated fish from stream reaches Ln Montana (Novak               dramatically, often exceeding ti-.w.- h 'lj TSti the Firt or those
  and VS’hite 1939) and Idaho. Others have documented the             in streams not influenced by fir.* tic. , an i t .d 1 -^y
  l-jcal extinction of small populations of Salmonids after               Population responses after die Lf r-c. xccre apparent
  similar events (Propst et al. 1993; Rinne 1996),                    ly influenced by the prosence er refugia (re. l..iblta:s or
      A general conclusion is that large fires can, in the short      stream reaches that supported concenlT.!Irens of firh during
  term, result in substantial mottaLity and even local exiinc-        and after the fires). In one svsiem v,; ere fi>li persisted in
  Lions, However, the result may be largely a function of scale
  The relative magnitude of an effect is likely to be strongly                              RV^dPlan - 00001769;"
  10 ♦ Fishehes
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    rei.’ J.il'lJhhvd 111 dt’p.itipLir.He reiiclii?^ by dispcri.’I
                                                                    06/21/22 USDC Colorado Page 263 of 341
                                                                   While (1939| pr,icidir evidence that salmonid populatinns.
tfiim bi'iih !ipsir<Ani .inJ d<nvrstrv4ni s*nirct‘s ovvr short              severely depressed by Ube eftects nf hre*, pemistext thruugh
            i .c:. Io [U p utluTstAMms u'here hsh were apparenllx           the presence nf a nugr.itory Idchishtry form. In esxdncc. al
L'lifTiiniilpJ tn thi,' upper rejdies .ind seme iribuliifieit.              though flies caused severe niottaliiy or evert uilminatcd the
rLeotfiiiizphco rmisl h.ive oecuTrvJ throa^h dispers.i! fhMn                fish in some streams, popul-itions persisted becausrt some
             ifU-'.iMi SPiin'es over longof disLincei .mJ time.             (iieinbers h.id migraied outsi.te o! the afleeled area, reluming
      Ti t.- mechjinUm and wk’ of tecolonUation ore hkvly b*                liter to sp.iun. Life history p.iKem apparently powided
hv ipfliM.-need b) tlx' local envitonm^-nf (Sheldon and                     both a fempor.i! .md spatial hedge agalnSi Oxtinctnin; had
Meh-’ IV'JT) Meeb.mlritiis that slimulate recovery or com-                  these pnpulations been restricted to nonnugr.Ttiiry forms,
poFi.iite for habitat loises might even be triggered or en-                 they might well be extinct Ssniibr results h ive been reported
h.in- cd t*) the disturbance [BisSon et al 193S, 1997, Mm-                  f.ir s.tlmonld populations imluenced bt other disturbances
                                      shallct al l^SVy Although             iTitus and Morieganrd 1992: Armstrong ct n) 199-1)
                                       some scientist.^ have reported            Comple.v life histories maybe the result of historical
                                       degradation of juvenile habitats     p.itierris of disturbance. For evimple, spawning and rear­
                                       after fire (Mmsh.itl et al J9S9),    ing h,ibif,xls of bull trout aie distfibulw! primarily lin cold­
                                       such cliangi's also may result in    er, higher-elevation watersheds (Rieman and McIntyre
                                       inert’ased production Rieman          1995). Because high-elevation areas throughout the region
                                       cl af (1997) found high dcuci-       were more likely to experience mixed or high-inienslty
                                       ties fur young-of-the-year trout     fires (Arno 19S?). we mighi expect that, in sn evolutionary
                                       in several re.'tches one and two     sense, bull trout and similarly distributed species are well
                                       years after the Boiae fires hi ah    acquainted with large, intense fires. The existence of com­
                                       of the waiershcda directly            plex life histones such as the mixed migratory behaviors
                                       influenced by the fires. Tn          and overlapping genemlions found in the Boise River
                                       Small, very cold streams, in­        basin could be the expression of strategies that have
                                       creased solar exposure may           emerged because of periodic disturbances like fire.
                                       result in warmer waler, in­               The broad expression of life histories appears depen­
                                       creased primary and secondary         dent on the heterogeneity and connectivity of habitats.
                                       production (Minshall et al            Migraforx patiems require access to networks of streams
                                       19S9. Wtnshan and Brock 19911,        llxat may extend from bund teds of meters to hundreds of
                                       and hsier grtnvih or higher           kilometers (Bjornn and Mallet 1964; Fausch and Young
                                       carrying capacities for juvenile      1993) Although different forms may' occur in the same
                                       fish (Murphy and Meehan               streams or iva Mr sheds, midence exists that some
                                        1991). Similar positive respons­     differences hai r emerged as adaptations to. or phenotypic
                                       es in growth and production           e.xpneasions against, fl template of heterogeneous habitats
                                       have been observed for other          (Healey 1994, Healey and Prince 1995; Lichatowich and
                                       salcnonids after large dislut-        Mobrand 1993) K the spatial a.id temporal complexity of
                                       bances (Bisson et al. 19SS)           habitats is lo.xt the expressio:; of complex life histories
                                        Although fires may kill Tish and     m-ny be lost as well.
                                        depress production in some life           Tffc Ejfrftl-i ^At,7i!ffgfwtiTif-’l* refugia and the expression
                                        stages for some lime (Minr.h.itt     of life hisiories are critical to the recovery and pcrslsicncc
  Btre^maide vsgetdtlon
  grows below (he badly                 Ct ol. 1959). they also m.ny cre­    of fishes influenced by large hces, the condition of avail­
  burned Irew in fjll Cnfak             ate the potential for important      able habitats and effects of pa-t management should be
  PiycUe ftdtJbnii forest,              compensation and subsequent          key ctements influencing evaluations of risk The potential
  ahnf a lite dut'ng summer             dispersal within or among pop        effects of management on the ability of populations to re­
  199-1                                 uhtions Tlie importance of           spond to largp dtiturbanccs must be weighed Throughout
                                        spatially redundant and com-          the Pacific Northwest, the effects of chronic watershed
  pfjv nr heterogeneous habitats to the persistence of popu-                 disturbance by toad-building end timber harvest. Inlro-
  tations b well vitablished in theory (den Boer 1965. Our-                  duced species, and barriers such as d.ims. diversions, and
  tiing fl al 1992), and there is growing empirical support                   toad culverts have resulted In fragmented, isolated salmo­
  ie.g IVarsoru etal. 1992) A complex, well-dispersed net                     nid populations and the elimination or restriction of lifc-
  V. Oft. of habtlala is likely to he an important element In the             liisiciry patterns (Rieman and McIntyre 1993; Frissell et si
  p.-tslstence of fishes during and after large fires.                        1997) The status of native fishes has been negatively asso­
         Life l/isfjry—Miiny salmonidi exhibit a suite of life lus-           ciated with indices of human-related disturbance such
   s.iry tor ms that include varied patterns of movement, age                 the density of roads (Lee et a! 1997). Although the media
  O’, i tuning of maturity, and h.ibitat utihiation (Northcote                nisms arc vatied, the risks orc dear. Through efforts to
   1 ' i Thorpe 1^911.1994b). Multiple forms (i.e. resident                   intensely manage land and asiociated activities such as
          : I’.-ipr-iior-,) may occur in pro.vimiiy to e.tch other, per­      timber harvest, we risk expanding the disruption of w.ite;
       I •» V - vn in sympalry. Th-? diversity and plasticity of Lfe          sheds and populations of native fishes In general,
   I                have been viewed os stabilizing mechanisms for            attempts to minimize such effects in any- single walershed
   1 .p.il.ifjons in s jfiable environments (Cross 1991; Thorpe               have led To the dispers.il of disruptive sctivittei across
     ! ' - [ I* Fo: example, Rjem.m el al (1997) and Nov.ik and               broad areas (Reeves ct nt 1995, Tlie chronic n.iture of land
    .-..'.’••t’ai l>jr                                                                                                             Fiibciles * 11

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[n..tn.i(;cniunt And pthi.T huftian-rel.ili d dislurb.intc> lixs    and blot, igtcal SV stems I bmenct. tn- du nut expect con-
l(M to       ^p.Tiinl cnmpk'xiiy of strc.tm cnvirontnctHs ihaf      lentioiMl umber h.irvesi .m,l mad in prodineeffeel.sequal
ultiniAk'ly mA / be rufluck'd in the loss of complMity.             to fire. Also cleat tn that ntiemptc to m.impul.ile the slrur-
di^-ersny nnd distriliutinn of poputibons and life hiiloriL-s       htre, cirmptt-iiiion. and ptice^se- 01 wbnte ecosystems are
iVrisscU Cl al. 1993, Beeves ci al 1995) That loss might            largely experimental (hiker I'J'^’-l Manley 1995, Kttrtmtns
well orude the ability of populations to respond to the             1996) In h.wle, managers |vwe jiistihixl .ictions by cl ting
elfects of lAfge fl ri's as wel! as lar^e storm'S, floods, and      such .concerns as risks to biokigiial communities and sensr-
other )i4titral events that we catvtot hope to cool ml              hx e fishes. Undoubtedly, ease* wist where th,? risks of
                                                                    l.'tge fires outweigh the risks ot intensive nvinagement,
Conctustons and Future Direction                                    bill it lose Willi be clarified only thcsnr^b cafefol evaluation
    The tradeoffs behveen \ egetation miinagement and               Flecnuse past management and huni.in dixtorbance have
leildfjre are not simple In some cases short-term rates of          led to much <henge in kTrestrktl and aqiialic ecosystems,
erosion and sedimeni delivery after a fire may be larger            We suspect ibat hwested bndsc,ipes most in need of
than the effects of roads and timber harvest After a fire,          reslor.iLion mil often coincide with w.iwtsbeds and aqual­
change? In vegetation and ir.itersheds influencing hydro            It systems In similar condition (Quigley pt ,il. 1996) That
logic and temperature regimes and erosion may persist for           pattern could represent both p0renh.1l cunflicts and oppen-
years, perbapi decades. However, the long-term legacy can           11 mi lies for managers struggling x,'ith issues of forest
fie important. Substantial inputs of large wood and coarse          health, wildfire, and sensitive fishe,
aediments also are bkel v to follow large (ires (Brown 19S9,             Where Important, but depressed and small or isolated
Reeves et al. 1995; Young 1994). Tlie larger maleri.ils often       poputations of sensltli'e hsbi's persist in landscapes at
store fine sediments and provide the hydraulic complexity           tugb risk of uiicharacterisitc ivilditre. populations are
necei-sarv fi.*r sorting substrates ini porta nt to fish habitat    Ihrejitened both by out m.inagenient and the lack of it, In
After fires, intense debris flow and scout events that gen­         these crrcumstance* rnanagement should proceed only
erate Sediment are often localized (Meg,ahan 1991) and pre­         with the greatest possible care. 5ib cultural prescriptions
vail primarily in smaller, htgh-gradicrd channels (Swansnn          that do pot require new or reoan<tucted toad systems and
et al 1990). Although the volumes of fine sediments cart he         th.li emphasize prpscfibed hre or low-impact logging and
large, they may be relatively short-lived and patchy in             yarding systems would be clear pnortfies Restoring water­
relation to the effects of other morp-chronic disturbances          shed processes through the stahiltz.ilion and obUteratiop of
associated with roads and timber harvest (Reeves cl al              roads, hill slope stabilization, and revegetation of ripari­
 199.?) Hjstotjcally. the episvidic contfibutlon of coarse          an areas could be key elements in any plan Careful
debt Li may have been key to the creation, and maintenance          watershed and hydrologic analyses .ire required to weigh
of complex instieain habitats [Swanson and Lienkaemper              any tradeoffs
 197S; Reeves et al. 1995). Emerging theory' supports the                Where populshuns persist in a thatrix ol healthy water­
 ide? that natural drsturbances have been cnhcal to the             sheds and productive bnbiUits mixed with those in poorer
 maintenance of such habitats, the productivity of Kssocinb         condttiori, the opportunity for mnif progressive and adap­
 ed populations (Reeves cl al 1995; Bisson et al 199?), and          tive management is greater, Becs .iw healthier populations
 the broad expression of life histories. Recent fire sup pres       art* rnorr likely in persist in ihe (,icd of even targe frres. the
 sion could well have contrihuttd to the overall decline In          need lo restruchde forest.^ k* unlikely tn be an imiTiCubatv
 pmdiictivitv of fish habit.iSs throughout Ihe region                prioiilv from an aquatic perspecti'-e and. potentially, is a
      Large fires can produce local extinctions of small, isolat­    threat In many cases the extent oJ tlw forest health prob­
 ed poputati<>ns. However, many species and popuLi tions             lem is large, and not alt lands can hi? iiealcd in the foresee­
 may stilE have the ecological diversity necessary to persist        able future, even If tradeoffs were cleat We suggest that
 .Although wildfires may create important cltanges tn water­         logical priorities be in ivatershed , th,it an? either less or
 shed processes often considered harmful for fish or fish            not imporhint in terms of aqh.vtk biological dn ersily or
 habitats, the spatial and temporal nature of disturbance is         critical populations or that have been so strongly* Altered
 important, f ire and the asswiated hy drulogic effects can          through past munagemenl that furlhar losses are likely to
 be rhar.icterired a.s "pulsed"' disturhances (srusii Vount          be mioLir. PrioriEising aclivilies in these areas offers several
 and Niemi 1990) os opposed to the more chronic or "press'           adv.mt.vgei First, because m a nag j men I of large systems is
 effects linked to permanent road netvsorks. Species sudi os         largely expertrncnia). new ,ipproaches van be tested with­
  bull trout and redband trout oppear to have been well              out placing key aquatic systems at further risk. Second,
  adapted to such putsed disturbance. The population ch.ir-          successfully reeswbltshirg more natural p.ittems and
  aelefistics that provide for resihence in the face of such          pmcefses could k-ad to long-term restofation of more
  events, benvever, likely depend on large, wvll-connefted, .and     complex, productive aquatic habitab The long-term
  spjtiallyi complex habitats that can be lost through chronic       restoration of a mitri* of whole watershed* could ulti-
  i-riects of other managemeni Critical elements to rvsilience        niaielv lead to ilw v, ider dr^'rmwtyTi id h.ibiias ncct'issatx'
  .and persistence of m.my populations for these and similar          to support ,1 broader expression ot .i^o.iltc biological dn er-
  speews will be maintaining and restoring complex habitats           iity The potential lor success mi Jht 1i>? subsi.mtt.illy
  ■ictOj-s a network of streams ,w.d waier^hedi. Inleniive            gte.Ker it forest teaior.ition projects i.xctuded the oblitera­
   kind man.igement could make th.n a difficult job.                  tion of parltcubrly d-inuging mads. Tliml. working in Ihe
      Fue and management-related disnirbaixes m.ry cause inv          matrix would represent progress toward reducing the con-
   port ml. .ind in some respects similar, ch.inge-. in physical      tinttth of fuels, dimimihin-’the rt»*       ‘m lviracterHtlc.illy
  I 7 * Fishene*                                                                            Rvsd Plan - 000017,71^
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largi? fires. .'»nd restoring biological diversity in teirv^tnal       Pri'Leedirtgsol th.’ I vis n.iiii'o.iJ s.ki, uflure workshop.
systunis (seitiir Carey and Curtis iSf'Jft)                            U.S Forvsi Seivkv, Riu ki, Moinu.mi f uresi and ICmge
    llu' approach rve sriggcst svlll requite a broader per-            Lxpertmeiif Station. KM*GTR'2< l urt Collins. CO.
speclit e As managers attempi (o lesiore nmre natural p-it-         Iteoda, C t. |9S?. [Mineadcin ni cli.moels susceptible to
lerris In furests (and aL|ualk ecosystemsh both the dislribu           debris flow and debris tloeds. Page;. 195-2(11 lu Proceed­
lion and inlensity of ncln iiies should be guided by a                 ings, intcmatieiijl sympo^iuni eit erosion, debris flow, and
li^ndscape purspucltve of nsk and [’’pporluniiy /\ stfalegk            disaster pmventibin Erosion Ci'iiirel Eugmerring Socielv.
viMon of historical condition and variation, ciifrent pat­             Saho, Jap.in
                                                                    Beschta, R I 19’5 (.ongderin p.iltcrns nf sediment produc-
terns. and long-term potential will be critical II is unre­
                                                                       uon fnUmx'ing mad construction .ind logging In the Oregon
alistic lo hope to return all landscapes to their histortcal
                                                                       Coiist R.inge. Water Retour Res 14i6) I.Olt-1,016
c*,nJitions from either an aquatic or forest perspective.
                                                                    Bcsclila. R. L., K, t. Bl!by, C W. Brown, 1.. B. lioltby, and
I’riorttiiing efforts that minimize risks to remaining ele­
                                                                       T- D- Flolsira. 19S7 Stream lemr^raiuru .ind aquatic h.rbi-
ments icbile maximizing learning and opportunities to ere              lai lishcflci and forestry interactions. Pages 191-232 in
ate something more hmcticn.il will be key to progress. As              E. O SjIii ,ind T W Cundy, eds Streamside managt’ment
 managers learn to create mote natural patterns and reslotv            forestry and fisheries intersctioiu. University of Washington
critical processes through active mani{»ulalions of forests            institute of Forest Resources, conlribuliun no. 57, Sc.vttle
and ivatersheds, landscape management that incoepocates             Bisson, P. A., G. H Reeves. K. L Rltby, and R. Naiman. 1997
 planned disturbances could conceivably replace a system ot            FA'sired future conditions’ I’.tges 44174 hi D. P. Stouder,
 iv.itershed and ripnrran reserves as the Solution for mainialn-       r A Bisson, and R Naiman, eds P.ictfic salmon and their
 ing aquatic diversity and ecological (unction tn forested             irt oxystems. Chapman and Hall. \etv lork,
 ecosvstems (Reeves et al. 1995; Carey et ai 1996). Liihmately.     Bisson, F A., J. 1-. Nielsen, and J. W. Ward, 1933, Summer
 we believe that healtliy forests and healthy aquatic commu­           prod lie tio.n nt coho salmon ss tocked in Mount St 11 elens
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 lin l'h?2), not competing Issues in resource allocation               5oc. 117322-335
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Gressweli. Uiayiic Minshall. and John hinnc for providing
                                                                        from delayed etiecis of fire in the Ctedter Yellowstone
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     fVi L G E4kew. ed Forest health through silviculture            den liner, P J           ^preadin^ «f rl.?* an * stabLlizjlion of
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    scdfvi. Oikos 63 169-17?                                                  |■□lo^ttal fire behavior and related smoke production
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    mem Stattun, KM GTR-2b7, fott Callms, CO-                                dance wlltitn m.Kiaged and uimvided l.tniiscape? on the
Fausebu K. D., and M. h. 3 cuing. 1'705. EvoluTiarurily Sign ill             Cleanvater Natinn.d Forest. Id.ihn U.S. Forest Service East­
    can’ units and movemenl of residenl stream fishes, a cau-                side Ecosystem Management rrnject. final fepod, order no,
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                                                                                                                                      Articles



  Understanding Processes
  and Downstream Linkages
  of Headwater Systems

 TAKASHI GOMI, ROY C. SIDLE, AND JOHN S. RICHARDSON




                                                                                                                                                         Downloaded from http://bioscience.oxfordjournals.org/ by guest on July 4, 2016
      eadwater systems, the areas from which water

 H      originates within a channel network, are characterized
        by interactions among hydrologic, geomorphic, and biolog­
                                                                        Headwaters differ from down­
 ical processes that vary from hillslopes to stream channels and        stream         REACHES BY THEIR CLOSE
 from terrestrial to aquatic environments (Hack and Goodlett
 1960). Although hydrologic, geomorphic, and biological                 COUPLING TO               hillslope          PROCESSES,
 processes in headwater systems have been studied for the
                                                                        MORE TEMPORAL AND SPATIAL VARIATION,
 last 50 years and much knowledge related to these systems is
 available (Hack and Goodlett 1960, Hewlett and Hibbert                 AND      their need             FOR DIFFERENT MEANS
 1967, Likens et al. 1977), the roles of headwater streams
 within the watershed and the linkages from headwater to                OF PROTECTION FROM LAND USE
 downstream systems are poorly understood. Headwater sys­
 tems are critical areas for nutrient dynamics and habitat for
 macroinvertebrates, fish, and amphibians within watersheds         larger watersheds need to be recognized in both conceptual
 (Meyer and Wallace 2001). Because of their geographical            and field studies. Therefore, our objectives for this article are
 isolation, headwater systems also support genetically isolated     to review characteristics of and differences in processes be­
 species; thus, they support an important component of bio­         tween headwaters and larger watershed systems; we also
 diversity in watersheds. For instance, new and endangered          demonstrate spatial and temporal variations of hydrologic,
 species are often found in headwater streams because such          geomorphic, and biological processes in headwater systems
 streams are relatively unexplored (Dieterich and Anderson          and the linkages of headwaters to downstream systems.
 2000). Therefore, understanding the spatial and temporal              Our primary focus is on steep headwater systems in forested
 variations of hydrologic, geomorphic, and biological processes     areas (> 4-degree gradient channels). Geomorphic time and
 in headwater systems is the key to comprehending the diversity     space scales in this study are up to 1000 years and 100 square
 and heterogeneity of riparian and riverine ecosystems.             kilometers (km2), respectively. Thus, we do not consider the
    Headwater systems are also important for understanding          effects of glaciation, tectonics, volcanism, and Holocene cli­
 and protecting downstream ecosystems, because they are in­         mate change, although we acknowledge that the landforms
 timately linked. However, because headwater streams are
 small and numerous, the roles of headwater systems are typ­
 ically underestimated and inadequately managed compared
                                                                     Takashi Gomi (e-mail: gomi@interchange.ubc.ca) is a forest hydrologist and
 with larger downstream systems. Furthermore, management            a postdoctoral research fellow in the Departments cfGeography and Forest Re­
 practices for protecting and restoring headwaters are differ­      sources Management, 1984 West Mall, University ofBritish Columbia, Van­
 ent from those for larger systems, because headwater sys­           couver, BC, Canada, V6T1Z2. Roy C. Sidle is a hydrcgeomorpholcgist and pro­
 tems have greater drainage density and different land use          fessor at the Disaster Prevention Research Institute, Kyoto University, Gokasho,
                                                                     Uji, Kyoto 611-0011, Japan. John S. Richardson is an aquatic and riparian zone
 types and intensities. Consequently, for the roles and down­
                                                                     ecologist and associate professor in the Department ofForest Sciences, University
 stream linkages of headwater systems to be understood, in­          ofBritish Columbia, 2424 Main Mall, Vancouver, BC, Canada, V6T1Z4. ©
 herent differences between processes in headwater systems and      2002 American Institute ofBiological Sciences.



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Articles

(e.g., glaciated U-shaped valleys) set the template for process       ties in downstream reaches (Rice et al. 2001). Large amounts
rates in headwater systems.                                           of allochthonous organic matter are transported from head­
   The flow of sediment and woody debris from episodic                water tributaries (Cummins et al. 1983, Webster et al. 1999,
landslides has a direct effect on headwater channels in moun­         Kiffney et al. 2000). Movement of detrital material and in­
tainous regions (Dietrich and Dunne 1978, Benda and Cundy             vertebrates from headwater reaches supports the downstream
1990, Whiting and Bradley 1993). The zones of initiation              food web; this in turn alters productivity, population density,
and deposition of these mass movements often both occur               and community structure of stream biota in downstream
within headwater systems (Sidle et al. 1985), and the processes       reaches (Wipfli and Gregovich 2002).
of mass movement affect the accumulation and distribution
of woody debris throughout the channel network. Channel               Conceptual structures
reach types (e.g., cascades, steps, and pools) in headwater           of stream ecosystems
channels vary because of sediment supply, larger substrate, ex­       Many conceptual studies have demonstrated the functional
posed bedrock, and woody debris (Montgomery and Buff­                 relationships of scales and processes in geomorphology, hy­
ington 1998, Halwas and Church 2002). Furthermore, hy­                drology, and biology that contribute to our understanding of
drologic processes in hillslopes and zero-order basins                stream ecosystems. Recognition of stream systems as a con­
(unchannelized hallows) control stream-flow generation                tinuum was a major advance in developing a functional and
(Tsukamoto et al. 1982, Sidle et al. 2000) and stream chem­           dynamic perspective from upstream to downstream systems




                                                                                                                                         Downloaded from http://bioscience.oxfordjournals.org/ by guest on July 4, 2016
istry (Likens et al. 1977). The expansion and shrinkage ofwet-        (Hynes 1975,Vannote et al. 1980). Understanding and orga­
ted areas and stream channels in response to changing pre­            nization of temporal and spatial scales and their causality have
cipitation conditions significantly modify subsurface flow            affected paradigms in modern science and land use man­
paths (Hewlett and Hibbert 1967). Such changes affect land­           agement. In geomorphology, Schumm and Lichty’s compre­
slide probability in hillslopes (Sidle et al. 1985), as well as or­   hensive paper (1965) first demonstrated the dependent and
ganic matter and nutrient fluxes from terrestrial to aquatic en­      independent processes of landform evolution at various tem­
vironments (Dieterich and Anderson 1998).                             poral and spatial scales. Church and Mark (1980) discussed
   Biological processes in headwater systems also respond to          proportional characteristics of landforms and their behaviors
the complex interactions of geomorphic and hydrologic                 at different scales.
processes at various temporal and spatial scales (Hynes 1975,            The functional relationships among geomorphic processes
Meyer and Wallace 2001). Leaf litter and woody debris from            in space and time are recognized as controls on the continu­
riparian zones and hillslopes (allochthonous input, that is,          ity of material transport in stream ecosystems. The equilib­
originating from outside the stream channels) are important           rium concept of geomorphology (Leopold et al. 1964), which
sources of food and habitat for biota in small streams                demonstrated the relationship between sediment supply and
(Richardson 1992, Wallace et al. 1999). Relatively large sub­         transport, led to the development of the geomorphic per­
strate and woody debris in headwater channels modify chan­            spective of fluvial processes in a continuum from upstream
nel hydraulics and provide sediment storage sites (Zimmer­            to downstream reaches. For instance, Hey (1979) suggested
man and Church 2001); this in turn alters habitat types and           that a process-response model with functional linkages from
accumulation of organic matter (Webster et al. 1999). Stream-         upstream to downstream systems is needed to explain and pre­
and storm-flow generation processes modify organic matter             dict channel responses to a set of input conditions. Sedi­
dynamics (Kiffney et al. 2000), as well as biological commu­          ment budgets and routing were used to describe the spatial
nity structure and life cycles of aquatic fauna in headwater          and temporal linkages of sediment movement along channels
channels (Dieterich and Anderson 2000).                               (Dietrich and Dunne 1978). Additionally, Wolman and Mil­
   Because the spatial extent of headwater systems makes up           lar (1960) and Dunne (1991) demonstrated temporal and spa­
a major portion (70% to 80%) of the total catchment area (Si­         tial linkages between hydrologic and geomorphic processes
dle et al. 2000, Meyer and Wallace 2001), headwater systems           with respect to rainfall-landslide thresholds and channel
are important sources of sediment, water, nutrients, and or­          network development. Benda and Dunne (1997a, 1997b) ex­
ganic matter for downstream systems. Sediment produced in             amined the occurrence of mass movement in hillslopes and
headwater systems moves through channel networks and al­              related sediment routing processes through a channel network
ters channel morphology (Hogan et al. 1995, Benda and                 from a stochastic viewpoint; they concluded that continuity
Dunne 1997a, 1997b). Floods induce scour and deposit sed­             and discontinuity of sediment transport occur within wa­
iment along channels, thus damaging riparian vegetation               tersheds because of changes in valley width and channel gra­
(Swanson et al. 1998). Sediment transported fTom headwa­              dient.
ter tributaries creates various channel environments (Gregory            Continuity and discontinuity of biological processes fTom
et al. 1991, Nakamura et al. 2000) and modifies patterns of           upper to lower reaches have been discussed in the context of
channel morphology, riparian structure, and hyporheic ex­             heterogeneity of habitat, population, and community dy­
change (exchange of water between saturated sediment sur­             namics. The river continuum concept (Vannote et al. 1980)
rounding the open channel and the channel itself; Wondzell            depicts upstream linkages and downstream adjustment of
and Swanson 1999), as well as macroinvertebrate communi­              stream ecosystems, based on changes in channel morphology


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                                                                                                                      ► Articles

 through streams and rivers (Leopold et al. 1964). Based on the
 river continuum concept,Ward and Stanford (1983,1995) de­
 veloped a serial discontinuity concept, whereby a dam or
 channel morphology (e.g., confined headwaters, meandering
 and braided reaches) disconnects the upstream to down­
 stream continuum. In a separate attempt to characterize
 stream ecosystems, others have shown how surface and sub­
 surface flow interactions along channel corridors are im­
 portant to nutrient cycling and biotic communities (Newbold
 et al. 1982, Stanford and Ward 1993). A hierarchical classifi­
 cation of stream ecosystems was proposed to examine con­
 tinuity and discontinuity of impacts on stream biota at dif­
 ferent scales within watersheds (Frissell et al. 1986). Patch
 dynamics, formed by microtopographic attributes, may in­
                                                                   Figure 1. Structural di)ferences between headwater and
 dicate the fragmentation of habitat and community structure
                                                                   network systems. Arrows show the movement of sedi­
 in stream ecosystems (Pringle et al. 1988). Disturbances (e.g.,
                                                                   ment, water, nutrients, and organic material. Solid and
 landslides, debris flows, floods, and droughts) may control the




                                                                                                                                        Downloaded from http://bioscience.oxfordjournals.org/ by guest on July 4, 2016
                                                                   broken lines show perennial and intermittent streams,
 patch distribution of organisms in and around stream systems
                                                                   respectively.
 (Townsend 1989, Gregory et al. 1991). Montgomery (1999)
 demonstrated that geomorphic processes set the templates of
 biological processes of disturbance, the river continuum, and     morphic, and biological processes in headwater systems cas­
 patch dynamics in his process domain concept.                     cade from hillslopes to streams (figure 1), and because hill­
    Although the importance of channel network structure for       slopes and streams are tightly coupled, material transport
 material dynamics has gradually been recognized (Johnson          within headwater systems thus can be predicted as processes
 et al. 1995, Benda and Dunne 1997b, Meyer and Wallace             from hillslopes to stream channels. In contrast, material rout­
 2001, Rice et al. 2001), when most of the earlier conceptual      ing in larger watersheds is controlled by the channel net­
 and field studies were conducted, watershed processes were        work structure, because numerous headwaters are nested
 assumed to be linear, and thus network structures such as trib­   within it. Therefore, network structure must be considered in
 utary pattern, density, and junction effects were disregarded.    predicting material transport in larger watershed systems
 The river continuum concept (Vannote et al. 1980) evokes not      (figure 1; Fisher 1997). Nevertheless, processes from head­
 a network (branching shape), but a linear concept from up­        waters to downstream systems are often discontinuous because
 per to lower stream reaches. Similarly, the nutrient spiraling    of changes in valley width, tributary junction angle, sub­
 concept (Newbold et al. 1982) presents a more complex, but        strate size, and channel gradient (Benda and Cundy 1990,
 still linear, abstraction of solute dynamics in stream ecosys­    Ward and Stanford 1995, Bravard and Gilvear 1996, Rice et
 tems within channels and hyporheic zones (Fisher 1997).           al. 2001).
 However, Minshall and colleagues (1985) and Johnson and               Headwater systems contain four topographic units with dis­
 colleagues (1995) observed that landform attributes, such as      tinctive biological and hydrological processes (Hack and
 tributary junctions in channel networks, affect the river con­    Goodlett 1960): (1) hillslopes; (2) zero-order basins; (3)
 tinuum concept. Kirkby (1993) and Robinson and colleagues         ephemeral or temporal channels emerging from zero-order
 (1995) demonstrated the importance of channel networks in         basins, termed “transitional” channels; and (4) first- and
 drainage basins for understanding and forecasting flow            second-order stream channels depending on linkages from
 regimes, sediment transport processes, and landform evolu­        hillslopes to channels (figure 2). Hillslopes have either di­
 tion. Fisher (1997) noted that a paradigm shift from linear to    vergent or straight contour lines, typically with no channel­
 network (branched shape) systems is necessary to under­           ized flow. A zero-order basin is defined as an unchannelized
 stand the processes and linkages of physical and biological dy­   hollow with convergent contour lines (Tsukamoto et al.
 namics in stream ecosystems. Benda and colleagues (1997b)         1982). Colluvial material, that is, debris transported by grav­
 and Rice and colleagues (2001) emphasized the importance          ity from adjacent hillslopes, typically fills such hollows. Al­
 of channel network structure to understand the longitudinal       though saturated overland flow may be observed in zero-or­
 variations in sediment movement and aquatic environments.         der basins and at the foot of hillslopes during storms, biological
                                                                   activity in such hillslopes and zero-order basins is terrestrial
 Headwater and network systems. The watershed net­                 (Hack and Goodlett 1960).
 work can be partitioned into two systems, headwater and net­          Channels with defined banks may emanate from zero­
 work systems, on the basis of process characteristics. Struc­     order basins (Tsukamoto et al. 1982); if channels exist at the
 tural differences and the continuous versus discontinuous         outlet of these basins, they represent the headmost definable
 nature of processes are critical for distinguishing between       channels with temporary or ephemeral flow. Temporary
 headwaters and larger watershed systems. Hydrologic, geo-         channels have more or less continuous flow at least 4 to 5


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                                                                                          Size of headwater systems. In the
                                                                                         river continuum concept (Vannote et al.
                                                                                          1980), headwater streams were defined as
                                                                                         first- to second-order channels, based on
                                                                                         Strahler’s (1957) channel classification.
                                                                                         However, there are potential problems
                                                                                         with such classifications: (1) stream or­
                                                                                         ders depend on scales of maps; (2) stream
                                                                                         orders are modified by basin-scale topog­
                                                                                         raphy (e.g., steep mountains versus
                                                                                         plains); and (3) stream orders are not
                                                                                          suitable for explaining hydrologic, geo-
                                                                                         morphic, and biological processes, as well
                                                                                         as the importance of headwater streams.
                                                                                         Meyer and Wallace (2001) noted that
                                                                                         most detailed topographic maps did not
                                                                                         include most headwater channels that




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Figure 2. Processes and structures in headwater systems. Four topographic units          might be found in field inventories. Thus,
compose headwater systems (bold type): hillslopes, zero-order basins, transitional       “headwaters” defined by Strahler’s system
channels (temporary or ephemeral channels emergingfrom zero-order basins), and and the river continuum concept pose
first- and second-order stream channels. DOC, dissolved organic carbon; CPOM,            ambiguities related to identification and
coarse particulate organic matter; FPOM, fine particulate organic matter.                interpretation of the sizes of headwater
                                                                                         systems.
months in an average year, whereas ephemeral channels flow             Processes fTom hillslopes to streams are important for
only for several days during wet periods (Dieterich and An­        defining the downstream limits of headwater systems. For in­
derson 2000). Thus, temporary and ephemeral channels em­           stance, the transition from mass movement-dominated to flu­
anating from zero-order basins typically cannot support the        vial process-dominated reaches occurs in headwater streams
complete life cycles of the juvenile stages of aquatic macro­      of Oregon for drainage areas up to 1.0 km2 (figure 3a; Benda
invertebrates, except for those species with a long diapause       and Dunne 1987). The major causes for the deposition of de­
stage or other strategies for tolerating absence of surface flow   bris flows are decreasing channel gradient, abrupt tributary
(Anderson 1997, Meyer and Wallace 2001). Despite the in­           junction, and flow divergence (Benda and Cundy 1990).
ability to support macroinvertebrates, such channels are in­       Swanson and colleagues (1998) also noted that drainage ar­
tegral parts of channel networks and have distinct roles (e.g.,    eas from 0.01 to 1 km2 (1 to 100 ha) are appropriate for dis­
temporary storage of organic matter; Dieterich and Ander­          tinguishing headwater streams based on physical and bio­
son 1998,2000, Halwas and Church 2002); thus, we call such         logical processes. Using digital elevation models (DEMs),
streams transitional first-order channels, or simply transitional  Montgomery and Foufoula-Georgiou (1993) demonstrated
channels (figure 2). Transitional channels may gradually or        that a shift from colluvial to alluvial geomorphic processes oc­
abruptly begin from zero-order basins, depending on con­           curred from 0.1 to 1.0 km2. However, digital elevation mod­
centration (critical length) of saturated overland flow, infil­    els have limitations related to identifying headwater swales.
tration-excess overland flow, and seepage erosion (by means        With developments in laser altimetry, DEMs with contour in­
of return flow). Such channels may also contain discontinu­        tervals less than or equal to 2 meters can be developed; such
ous segments prior to entering first-order channels (Mont­         precision will facilitate identification of geomorphic hollows
gomery and Dietrich 1989).                                         and other features.
   First-order streams are the uppermost, unbranched chan­             Variation of discharge in drainages less than 1 km2 was
nels with either perennial flow or sustained intermittent flow     greater than for drainages larger than 1 km2, based on the rep­
(more than 4 to 5 months during an average year). First-           resentative elementary area concept (figure 3B; Woods et al.
order channels may directly emanate from the outlet of zero­        1995). Researchers (Wood et al. 1988, Woods et al. 1995)
order basins, depending on flow generation mechanisms              have noted that hydrologic processes within a 1 km2 area are
(e.g., springs and seeps). Second-order (one branch) or even       governed by hillslope processes related to soil depth, topog­
higher order (multiple branch) streams may be considered           raphy, rainfall intensity, and vegetation. Such site factors cre­
headwater streams, depending on degree of coupling be­             ate greater variation of unit area discharge. In contrast, hy­
tween hillslopes and channels (e.g., transport distance of de­     drological response in basins greater than 1 km2 is more
bris flow), which is discussed later in this article. Both first­  affected by routing processes and the structure and extent of
and second-order channels may have intermittent reaches (dry       the floodplain.
parts), depending on groundwater level and volume of allu­             The findings of such studies indicate that the largest
vium (sediment deposited by flowing water).                        drainage area of headwater systems is likely 1 km2 (figure 3a,


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                                                                 al. 1995). Geomorphic processes in headwaters are largely sto­
                                                                 chastic, whereas more chronic processes related to routing of
                                                                 sediment, water, and wood are common in channel network
                                                                 systems (Benda and Dunne 1997a, 1997b). Such different hy-
                                                                 drogeomorphic processes between headwater and network
                                                                 systems also modify biological community structure and
                                                                 distribution as well as recovery processes of stream biota
                                                                 from disturbances (Rice et al. 2001).

                                                                 Hydrogeomorphic processes
                                                                    Headwater systems. Water inputs of headwater systems are
                                                                 unique, compared with larger watershed systems. Because
                                                                 headwaters occupy the highest positions in catchments, pre­
                                                                 cipitation and snow accumulation in headwaters are gener­
                                                                 ally greater than in lower elevation zones (table 1). Rainfall
                                                                 inputs vary greatly among headwater systems; thus, isolated
                                                                 precipitation is typically observed more in headwater systems




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                                                                 than in the overall watershed. The relative temporal fluctu­
                                                                 ation of peak flows in headwaters is greater than in larger wa­
                                                                 tersheds (table 1, figure 3b; Robinson et al. 1995, Woods et al.
                                                                 1995). Water inputs strongly affect hillslope and channel
                                                                 conditions because of the close coupling of hydrologic and
                                                                 geomorphic processes within confined and steep valleys of
                                                                 headwater systems (figure 2; Sidle et al. 2000). Stream tem­
                                                                 perature and water chemistry in headwater channels are
 Figure 3. Downstream changes of hydrologic, geomorphic,         closely related to soil pore structure and bedrock fractures in
 and biological processes. Shaded area indicates ranges of       hillslopes and zero-order basins. Subsurface discharge from
 each parameter. (a) Transition from debris flow-domi­           hillslopes contributes base flow and storm flow to headwa­
 nated to alluvium-dominated processes occurs at                 ter channels, initiates certain erosion processes, and is im­
 drainage areas rangingfrom 0.1 to 1.0 km2 (Benda and            portant for the development of headwater topography (Dunne
 Dunne 1987). (b) Variation of unit area discharge is            1991).
 greater within basins less than 1.0 km2 (Woods et al.              Storm flow responds rapidly to intense rainfall in head­
 1995). (c) Number of woody debris dams in headwater             waters because of their relatively small storage capacity and
 streams without mass movement is greater, compared              shorter flow paths. Storm flow generation in headwater chan­
 with larger watershed systems, because relatively small         nels is also affected by the responses of hillslopes and zero­
 woody debris can form dams. (d) Ratio in coarse particu­        order basins to changing antecedent moisture conditions
 late organic matter (CPOM > 1 mm) and fine particulate          (figure 4; Hewlett and Hibbert 1967, Sidle et al. 2000). Storm
 organic matter (0.5 pm < FPOM < 1 mm) may rapidly               flow is primarily generated by direct runoff from saturated
 decease in drainage areas greater than 1.0 km2, because         riparian areas and channel interception during lower an­
 CPOM is retained more in headwater streams and                  tecedent moisture conditions. Throughflow from the soil
 greater amounts ofFPOM are transported from head­               matrix at the foot of hillslopes and riparian areas gradually
 waters.                                                         increases with increasing wetness of the basins. During wet
 3B). Although we suggest a relative upper size limit (1 km2)    conditions, zero-order basins with relatively shallow soils
 for headwater systems, depending on the region, process­        start contributing surface runoff, and preferential flow fTom
 based criteria are more important for the definition of head­   hillslopes augments storm flow. Zero-order basins and pref­
 water systems than simply catchment area (Whiting and           erential flow paths are major contributors to storm flow dur­
 Bradley 1993, Montgomery 1999). In the following sections,      ing very wet conditions (Sidle et al. 2000). Transitional chan­
 we review hydrologic, geomorphic, and biological processes      nels emerging from zero-order basins typically flow during
 in headwaters (< 1 km2 in drainage area) and network systems    such storms, when the storms are preceded by very wet con­
 (> 1 km2 in drainage area).                                     ditions (figure 4). During rain and rain-on-snow events,
                                                                 nearly saturated conditions in hydrologically responsive ar­
  Hydrogeomorphic and                                            eas (e.g., zero-order basins) may induce slope failure (Sidle
  biological processes                                           et al. 1985). During the dry seasons, however, intermittent
 Different magnitudes and frequencies of hydrologic processes    (dry) reaches may be found in headwater channels, depend­
 occur in headwaters and large watershed systems (Woods et       ing on groundwater level and depth of alluvium.


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 Table 1. Characteristics of hydrologic, geomorphic, and biological processes in headwater and network systems,
 particularly in forested mountains in the Pacific Northwest.
 Process           Characteristic                   Headwater system                                    Network system
 Hydrology         Precipitation                    Greater precipitation
                                                    Greater snow accumulation                           Lower snow accumulation
                   Heat dynamics                    Canopy closure                                      Canopy open
                                                    Dependent on groundwater flow
                   Flow generation                  Subsurface and groundwater flow in                  Saturated overland and return flows in flood
                                                    zero-order basins and hillslopes                    plain, riparian zones
                                                                                                        Tributary outflows
                   Flow regime                      Smaller absolute discharge volume                   Larger absolute discharge volume
                                                    Greater variation of unit-area peak discharge       Smaller variation of unit-area peak discharge
                                                                                                        Synchronized or desynchronized outflows
                   Hyporheic zone                   Smaller volume                                      Greater lateral and vertical volume
                   Stream chemistry                 Soil pores, bedrock fractures, lithology            Tributary outflows, hyporheic exchange
                                                    Flow path in hillslopes and zero-order basin
 Geomorphology     Morphology                       Higher mean altitde                                 Lower mean altitude
                                                    Steeper gradient and confined valley                Lower gradient and wider valley




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                   Dominant sediment movement       Episodic mass movement                              Chronic bedload movement
                   Channel reach type               Colluvial, cascade, step pool, bedrock              Step pool, pool riffle, ripple dune
                   Roughness element                Woody debris, boulder, bed form (e.g., step)        Woody debris, logjams, bed form (e.g., bar)
 Biology           Energy input                     Allochthonous and lateral (from hillslope) input    Autochthonous and tributary outflows
                   Organic matter                   CPOM > FPOM                                         CPOM < FPOM
                                                    DOC from groundwater flows and leaching             DOC from tributaries and in-stream processing
                   Nutrient source                  Groundwater, riparian vegetation                    Tributary outflows, floodplain
                   Dominant functional group        Shredder                                            Gatherer, filterer
                   Disturbance                      Landslides and debris flows                         Flood pulses and bedload movement
                                                    Drought


    DOC, dissolved organic carbon; CPOM, coarse particulate organic matter; FPOM, fine particulate organic matter.




   Landslides and debris flows are dominant geomorphic                            and boulders (table 1; Zimmerman and Church 2001). Chan­
processes in headwater systems (table 1). Such mass move­                         nel depth in headwaters tends to be shallower relative to the
ments transport sediment and woody debris from hillslopes                         average diameters of such channel bed obstructions. Because
to channels and modify stream and riparian conditions. Sed­                       substrate materials are not well sorted, interlocking boul­
iment and woody debris are routed as channelized debris flows                     ders and cobbles modify the stability of channels, forming
and deposited in the downstream reaches of headwater sys­                         channel steps and creating sites for sediment storage (Zim­
tems (Benda and Cundy 1990). Exposed bedrock and less                             merman and Church 2001). Woody debris pieces also store
woody debris typify scour and runout zones (Gomi et al.                           sediment and modify channel roughness, and owing to the
2001). In contrast, massive piles of woody debris and sediment                    narrow channel width, relatively small woody debris pieces
are found in deposition zones of debris flows (Hogan et al.                       and jams have similar functions in headwater channels (Gomi
1995). Logjams at the terminal end of debris flows often                          et al. 2001). Therefore, headwater streams may have more
modify both longitudinal and planimetric profiles of chan­                        woody debris dams than larger watershed systems because
nels (e.g., braiding, forming side channels). Such geomorphic                     smaller woody debris can form these dams (figure 3c). The
processes also alter riparian forest structure; for instance,                     accumulation and distribution of woody debris alter the dis­
alder (Alnus spp.) typically invades scour and deposition dis­                    tribution of channel reach types such as cascades, step pools,
turbance zones created by mass movement in the Pacific                            and bedrock (Montgomery and Buffington 1998, Halwas
Northwest of the United States and Canada. Adjustment of                          and Church 2002).
channel morphology after landslides and debris flows largely                         Network systems. Observations of single headwater sys­
depends on sediment and woody debris inputs. The regen­                           tems cannot be simply extrapolated to network systems where
eration of riparian stands in scour and deposition zones of de­                   upstream contributions dominate base flow and storm flow
bris flows begins to restore the recruitment of woody debris                      generation. Because of the longer routing processes of water
20 to 50 years after mass movement in headwater streams                           and greater storage capacity, peak flows in downstream
(Gomi et al. 2001).                                                               reaches are often attenuated, lost partly to deep percolation
   Channel morphology in headwater systems can be char­                           and desynchronized flows that buffer peaks between head­
acterized by channel obstructions such as large woody debris                      waters and downstream locations. Floodplain and riparian


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 zones also contribute to storm flow generation in larger wa­
 tershed systems. Synchronized outflows from headwaters en­
 hance peak flow in downstream reaches, whereas desyn­
 chronized outflows from headwaters attenuate flood peaks
 (table 1, figure 5; Robinson et al. 1995, Ziemer and Lisle
 1998). Timing of outflows may be altered by hillslope and
 channel storage capacity (e.g., soil and substrate depth),
 amount of deep percolation from headwater systems, rout­
 ing length, woody debris and other roughness elements in
 channels, and riparian vegetation characteristics.
    More regular sediment transport, such as bedload move­
 ment, dominates sediment transport in downstream reaches
 (table 1). Sediment delivery from headwater to downstream
 is often interrupted because sediment is temporarily stored
 in or along the streambed, banks, terraces, and debris fans (Hey
 1979, Benda and Dunne 1997a, Nakamura et al. 2000). Sed­




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 iment transport from tributaries alters patterns in the down­
 stream fining of substrate size (Rice et al. 2001). Sediment
 movement may appear as sediment waves through channel
 networks from headwater to downstream systems (figure 6;           Figure 4. Conceptual view of dynamic, hydrologically
 Benda and Dunne 1997b). Sediment deposits and accumu­              active areas in headwaters. For dry conditions, riparian
 lations induce local aggradation with the fining processes of      zones and direct precipitation on channels are the only
 sediment in the downstream direction. Such processes also          active sites offlow generation. Throughflow from the soil
 modify channel reach types, sinuosity, and formation of side       matrix at the foot of hillslopes and riparian areas gradu­
 channels. Channels may shift laterally as banks erode and bars     ally activates with increasing wetness. Zero-order basins
 form in the unconfined floodplains of downstream reaches.
                                                                     (shaded areas) with relatively shallow soils begin to con­
                                                                    tribute surface runoff (broad white arrows) during wet
 Synchronized and desynchronized landslides and debris flows
                                                                    conditions, while preferential flow (thin black arrows)
 in headwater systems alter the impacts of sediment movement
                                                                    from hillslopes contributes less to stream flow. Water be­
 on geomorphic and biological conditions in downstream
                                                                    gins to flow in transitional channels emergingfrom zero­
 reaches (figure 6). Synchronized landslides and debris flow de­
                                                                    order basins. Zero-order basins and preferential flow ac­
 posits aggregate extensively within confined reaches of down­      tively contribute to storm flow during very wet
 stream channels during relatively short periods. In contrast,      conditions. Figure adapted from Sidle and colleagues
 desynchronized mass movements gradually aggregate in                (2000).
 larger reaches of channels. Sediment transit time from head­
 waters to the main channel depends on the presence of un­          Biological processes
 constrained reaches, tributary junction angles, channel gra­          Terrestrial and aquatic processes in headwater systems.
 dient, timing of various mass movements, and amount of             Because forested headwater streams are typically narrow with
 runoff (Benda and Cundy 1990, Bravard and Gilvear 1996,            closed riparian canopies, biological processes (terrestrial and
 Nakamura et al. 2000).                                             aquatic) in hillslopes and streams are closely linked (figure 2).
   However, sediment transport to downstream reaches is             Retention and routing of organic materials from allochtho­
 not as simple as shown in figure 6. Woody debris often forms       nous inputs (that is, riparian and lateral input of leaf litter and
                                                                    woody debris) are important factors affecting biological
 jam structures in the transition zone between headwaters
                                                                    processes in headwater systems (table 1). Allochthonous en­
 and downstream reaches because of deposits from landslides
                                                                    ergy sources are larger than autochthonous energy sources
 and debris flows, fluvial transport, and recruitment from ri­
                                                                    (e.g., primary production in streams; Bilby and Bisson 1992).
 parian areas (e.g., by wind throw and natural mortality).
                                                                    Because of relatively small discharges and numerous rough­
 Logjams often store sediment for 40 to 50 years until the
                                                                    ness elements (e.g., boulders and woody debris), coarse par­
 structures collapse or channel courses change (Hogan et al.        ticulate organic matter (CPOM > 1 millimeter) tends to be
 1995). Changing valley configurations, channel gradient, and       stored behind in-stream obstructions, retained for longer
 material types also modify sediment transport from headwater       periods in headwater channels, and transformed to smaller
 to downstream systems (Whiting and Bradley 1993, Naka­             particles (Kiffney et al. 2000); such organic matter accumu­
 mura et al. 2000). Spatial distribution of mass movement oc­       lations thus are important sources of food and habitat for
 currence influences sporadic sediment transport throughout         macroinvertebrates (Richardson 1992). The dominant func­
 network systems (Benda and Dunne 1997b).                           tional group of macroinvertebrates in headwater channels


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                                                                             in refugia within lower headwater reaches during
                                                                             high flows (Bryant 1984). Some amphibians (e.g.,
                                                                             tailed frogs [Ascaphus truei]) are also found primar­
                                                                             ily in headwater channels and associated riparian
                                                                             zones.
                                                                                Responses to and recovery from disturbances in
                                                                             headwater systems. The dynamic nature of geo-
                                                                             morphic and hydrologic processes affects the biotic
                                                                             community through disturbances. The frequency,
                                                                             intensity, and duration of disturbances are important
                                                                             factors altering responses and recovery time of ri­
                                                                             parian vegetation, channel morphology, and biolog­
                                                                             ical communities (Townsend 1989, Gregory et al.
                                                                              1991, Swanson et al. 1998). Mass movement is the ma­
                                                                             jor disturbance in headwater channels, though forest
                                                                             fires, floods, and droughts also occur with varying fre­
                                                                             quencies (table 1). The movement of sediment and




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                                                                             woody debris during landslides and debris flows dras­
Figure 5. Synchronization of hydrologic processes in network systems.
                                                                             tically alters in-channel habitat (e.g., pool depth and
 Volumes of outflows in tributaries of watersheds A and B are similar;
                                                                             interval) and macroinvertebrate communities (table
however, peak discharges are different at A3 and B3 because of the dif­
                                                                             1; Lamberti et al. 1991). Because of limited refugia and
ferent arrival time ofpeak flow. Figure adapted from Ziemer and Lisle
                                                                             larger moving particles in relatively confined head­
 (1998).
                                                                             water channels, macroinvertebrates and fish may be
is shredders; they break larger particles into smaller sizes        killed or washed away during peak flows or find refuge locally
(table 1; Cummins et al. 1989). Fungi and bacteria also help        and in downstream reaches (Sedell et al. 1990).
to break CPOM into fine particulate organic matter (0.5 pm              Recovery processes in riparian and stream ecosystems dif­
< FPOM < 1 mm) and dissolved organic carbon (DOC),                  fer according to level of disturbance. For instance, exposed
which can benefit secondary consumers (Heard and Richard­           bedrock is found in scour and runout zones of landslides and
son 1995).                                                          debris flows, and sediment and woody debris accumulations
   Terrestrially derived invertebrates that are associated with     are distributed in deposition zones; this physical template char­
riparian vegetation are important for aquatic biota in head­        acterizes the resistance and resilience of biotic communities
water streams (Wipfli 1997). Riparian canopy closure also           and recovery processes from the disturbances. Either narrow
modifies heat and solar radiation available to stream chan­         bands of even-aged vegetation (typically alder in the Pacific
nels (table 1). Groundwater and subsurface flows fTom hill­         Northwest) or mixed conifer and deciduous riparian corri­
slopes and zero-order basins contribute nutrients (e.g., DOC        dors may be established along headwater channels depend­
and nitrate) and influence water temperature (table 1). Avail­      ing on the level of disturbance (e.g., level of soil damage). Such
ability of nutrients and light as well as water temperature mod­    differences in riparian vegetation modify long-term recovery
ify algal growth; this in turn alters rates of nutrient leaching    processes of the biological communities in headwater ecosys­
and litter decomposition. Headwater hyporheic zones are             tems because of changes in the recruitment of leaf litter,
smaller, and their nutrient exchange is less, than in down­         woody debris, and sediment (Bilby and Bisson 1992, Gomi et
stream reaches (Stanford and Ward 1993). Lateral habitat            al. 2001). Recovery of headwater biotic communities from dis­
diversity in riparian zones may be low because of the confined      turbances may also depend on the continuity of headwater
valleys of headwater streams, whereas longitudinal variation        systems. Aerial dispersal from undisturbed downstream to up­
of habitat may be high because of changes in discharge, chan­       stream reaches is important for recovery. If undisturbed sub­
nel gradient, and sediment supply. Transitional streams             reaches exist in otherwise disturbed upper reaches, inverte­
emerging from zero-order basins are also important habitat          brates and organic matter that drift to disturbed reaches may
and sources of organic matter (Meyer and Wallace 2001).             induce quicker recovery of biotic communities (Lamberti et
   Species composition and life history of vertebrates are          al. 1991).
also unique in headwaters. In the Pacific Northwest, there are          Seasonal drought significantly affects the life cycles and
relatively limited numbers and fewer species of fishes (e.g., cut­  community structure of invertebrates in headwater systems
throat trout [ Oncorhynchus clarki] and bull trout [ Salvelinus     (table 1; Dieterich and Anderson 2000, Muchow and Richard­
confluentus]), because of the topographic harshness (steep          son 2000). Temporary streams with flow duration greater
channel gradients and shallow water). Owing to geographi­           than 4 to 5 months have similar faunal assemblages, whereas
cal isolation, populations of such trout may have unique ge­        life cycles of macroinvertebrates are altered in intermittent
netic characteristics in headwater systems. Adult coho salmon       streams with less than 3 months of flow. During the dry pe­
(Oncorhynchus kisutch) spawn and some juvenile coho reside          riods, aquatic insects move to hyporheic zones, remnant wet­


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 ted pools, and permanently flowing channels (e.g.,
 downstream reaches and other streams). Aquatic
 invertebrates also emerge as adults and other des­
 iccation-resistant forms, largely through diapause.
 During much drier years, first- and second-order
 channels maybe entirely dry and exert greater ef­
 fects on macroinvertebrates.
    Downstream assemblages in network systems.
 Materials from headwater tributaries modify
 downstream biological assemblages and processes
 in channel networks (table 1). Spatial and temporal
 variation of riparian and channel structures, related
 to mass movement as well as flow characteristics
 in headwater tributaries, creates different patterns
 of biological assemblages in channel network sys­
 tems. Changes in channel morphology from con­
 fined headwater systems to braided and mean­
 dering channels in downstream systems may affect
 interaction between riparian and stream ecosys­
 tems, as well as habitat types (Ward and Stanford        Figure 6. Synchronization cfsediment movement in network systems.
  1995). Sediment transport from tributaries af­          Shaded area shows sedimentation caused by landslides and debris flows.
 fects the distribution of substrate sizes and thus       Accumulated sediments from headwater systems may alter the formation
 modifies macroinvertebrate communities (Rice             cf braided and side channels. Figure adapted from Montgomery and
 et al. 2001). Supplies of nutrients and organic          Bujfington (1998).
 matter to larger streams depend largely on in­
 flows from tributaries. Most of the CPOM generated in head­             the biotic community (table 1; Nakamura et al. 2000). Basin­
 water streams (70% to 90%) is transported downstream                    wide drought may increase the number of intermittent reaches
 (Webster et al. 1999, Kiffney et al. 2000, Wipfli and Gre­               and decrease linkages between headwaters and main channels.
 govich 2002). FPOM concentrations typically increase along              However, more refugia such as side channels and undis­
 headwater channels because of biological and physical pro­              turbed tributaries are accessible in downstream reaches than
 cessing (breakdown). Therefore, the CPOM/FPOM ratio                     in confined headwaters (Reice et al. 1990). The effects of dis­
 may decrease rapidly with increasing drainage area: CPOM                turbances in headwater systems on the channel network
 decline is due to lower inputs relative to channel size, and            strongly relate to material routing processes from headwaters
 FPOM increases are due to breakdown processes (table 1, fig­            to downstream reaches.
 ure 3D; Webster et al. 1999). Types of vegetation (deciduous
 and coniferous) related to mass movement and timber har­                Linkages of headwater
 vesting histories in headwater systems may modify the amount             and network systems
 and seasonal variation of CPOM and FPOM export to down­                 The nature and degree of linkages between headwater and
 stream reaches (Kiffney et al. 2000). For instance, leaves from         downstream systems are important aspects of the roles of
 deciduous trees and shrubs typically decompose 2 to 3 months            headwater streams and routing processes of organic and in­
 after entering streams, whereas conifer needles take 200 days           organic matter. The degree of linkage varies spatially and
 to 2 years to be processed by bacteria and macroinverte­                temporally owing to topographic aspects and mass movement
 brates (Gregory et al. 1991). Drifting organic materials and            occurrences; such characteristics relate to long-term geo­
 macroinvertebrates from fishless headwater tributaries sup­             morphic (e.g., glaciation and tectonic) activities and the
 port both growth rates and density of stream vertebrates in             physical characteristics of rock, or lithology. Debris fans and
 downstream systems (Wipfli and Gregovich 2002). Therefore,              floodplains are geomorphic attributes that support the link­
 the food webs and community structures of network water­                ages from headwaters to main channels. Sediment move­
 shed systems maybe modified through the drifting of mate­               ment may be modified by channel gradient, tributary junc­
 rials (invertebrates and detritus) from headwater tributaries.          tion angle, and reach constraints (Benda and Gundy 1990,
    Because disturbances have different characteristics and              Nakamura et al. 2000). Beaver ponds, wetlands, and inter­
 magnitudes, their impacts on biological communities in                  mittent channel reaches also alter the connectivity between
 headwaters and downstream reaches differ. The acute impact              headwater and downstream systems; intermittent channel
 of a single debris flow may destroy biotic communities and              reaches also disrupt this connectivity. In addition, temporal
 habitat in headwater systems. In downstream systems, how­               variation related to mass movement, wind throw, wildfire, and
 ever, collective effects of sediment transport pulses and flood         land use change, as well as their respective recovery processes,
 surges from headwater systems affect riparian vegetation and            affect the degree of connection between headwater and down­


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stream systems. Biologically, connectivity is important for          • Landslides and debris flows that dominate geomorphic
                                                                       processes alter distributions and accumulations of sedi­
species migration, habitat, and refugia (Sedell et al. 1990) and
                                                                       ment and woody debris.
for the flux of organic matter and nutrients (Cummins et al.
 1983).                                                              • Recovery of invertebrate communities after such distur­
   Tributary junctions between headwater and larger chan­              bances depends on drift, migration, and recolonization
                                                                       of biota from undisturbed upper and lower reaches.
nels are very important as network nodes for regulating ma­
terial flows in watersheds, and they have unique hydrologic,         • Succession and conversion from deciduous to conifer­
geomorphic, and biological attributes. Heterogeneity of wa­            ous riparian stands (and vice versa) modify availability
                                                                       of nutrients and light, recruitment of wood and organic
ter, sediment, and woody debris movement is higher at trib­
                                                                       materials, habitat types, and structure of biotic commu­
utary junctions. Abrupt changes in channel gradient and
                                                                       nities.
valley width may cause sediment deposition, including ter­
races and debris fans. Riparian structure at such tributary junc­       The numerous headwater tributaries that flow into down­
tions is complex, because riparian vegetation is frequently de­      stream reaches affect hydrologic, geomorphic, and biological
stroyed by floods, sediment deposition, and scour. Plant seeds       processes and attributes in downstream reaches of channel net­
transported by headwater streams may initiate riparian re­           works in the following ways:
generation. Channel geometry at tributary junctions varies,
                                                                     • Synchronized or desynchronized inflows of water, sedi­
depending on sediment and flow regimes fTom headwater sys­             ments, nutrients, and organic matter from headwater




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tems and their degree of synchronization. Scour pools and              tributaries create a variety of channel conditions and
gravel bars typically form along tributary flow margins, de­           biological assemblages in downstream reaches.
pending on junction angles (Bristow et al. 1993). Such sedi­
                                                                     • Temporal variations of disturbance regimes and riparian
ment and woody debris deposits modify channel forms, for               succession in headwater tributaries alter physical and
example, braiding and side channels. Hydrologic and geo-               biological conditions of channels, as well as input of
morphic variability at tributary confluences also influences           materials (sediment, invertebrates, and detritus), which
habitat types (pool size and distribution as well as substrate         in turn modifies food webs and their productivity in
type) and biological processes in the area of the junction. Habi­      downstream reaches.
tat, and therefore species composition, may be very diverse at       • Connectivity of headwater systems to downstream
confluences, because sediment and woody debris accumula­               reaches affects both the cumulative and dispersed nature
tions form pools, steps, and side channels (Rice et al. 2001).         of material transport processes within watershed sys­
Drifting materials from headwater tributaries also mix at              tems.
junctions. Hyporheic processes may be enhanced at junctions          • Tributary junctions are unique in their physical and bio­
because of the accumulation and exchange of materials, but             logical processes and are important as network nodes.
this subject has not been studied. Both nutrient and gas ex­         • Spatial and temporal variations of processes in head­
change in the hyporheic zone may be significant when sedi­             water systems are critical factors affecting the dynamics
ment and woody debris accumulate and braided channels                  of stream ecosystems, as well as the heterogeneity of
form at confluences.                                                   riparian and riverine landscapes in channel networks.
                                                                        Because the characteristics of headwaters vary as a result
Conclusions
                                                                     of biogeoclimatic factors (e.g., riparian structure, precipita­
Headwater systems are important sources of sediments, wa­
                                                                     tion, discharge, drainage density) and management and dis­
ter, nutrients, and organic matter for downstream reaches. De­
                                                                     turbance regimes, both similarities and differences of processes
spite the significant roles of headwater systems within the
                                                                     among headwater systems are important for evaluating the
channel network, the ecological values of headwater systems
                                                                     role of headwaters within the watershed network. Two gen­
are underestimated, and their processes have been exten­
                                                                     eral types of studies are needed to understand headwater
sively modified by land use (Meyer and Wallace 2001). Process
                                                                     processes and downstream linkages. Process-related studies
characteristics differ between headwaters and larger watershed
                                                                     within headwater systems are essential. Despite the progress
systems, which needs to be considered in establishing man­
agement guidelines. Hydrologic, geomorphic, and biological           in elucidating hydrogeomorphic (Sidle et al. 2000) and bio­
processes in and along hillslopes, zero-order basins, transitional   logical (Richardson 1992, Wallace et al. 1999) processes from
                                                                     hillslopes to stream channels, a better understanding of the
channels, and first- and second-order channels characterize
headwater systems in the following ways:                             functional linkages among wood, sediment, nutrients, and wa­
                                                                     ter in headwater systems is needed to address the relevant
• Processes are tightly linked between hillslopes and chan­
                                                                     ecosystem process. It is also necessary to evaluate the influ­
  nels and from terrestrial to aquatic environments.
                                                                     ence of headwater processes on downstream systems (Benda
• The expansion of hydrologically active areas (e.g., ripari­
                                                                     and Dunne 1997b, Rice et al. 2001, Wipfli and Gregovich
  an zones, zero-order basins, bogs) during periods of
  increasing wetness increases the probability of mass               2002). The connectivity of headwaters to downstream reaches
  movements and alters flow paths between terrestrial and            must be evaluated in future studies to understand cumula­
  aquatic environments.                                              tive effects of changes in headwaters.


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 tion, and management of downstream reaches. Consequently,
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Influence of Headwater Streams on Downstream Reaches in Forested
Areas
Lee H. MacDonald and Drew Coe

        Abstract: The source areas of headwater streams typically compose 60% to 80% of a catchment. This, plus the
        typical increase in precipitation with elevation, means that headwater streams generate most of the streamflow
        in downstream areas. Headwater streams also provide other important constituents to downstream reaches,
        including coarse and fine sediment, large woody debris, coarse and fine organic matter, and nutrients. The
        relative importance of headwater streams as a source of these other constituents is highly variable because the
        amount and quality of each constituent can be modified by in-channel storage, dilution, biological uptake,
        diminution, and chemical transformations. Headwater sources of water, fine sediment, and fine particulate
        organic matter are more likely to be delivered to downstream reaches than coarse sediment, woody debris,
        nutrients, or an increase in water temperatures. The complexity and temporal variability of channel-hillslope
        interactions, in-channel processes, and downstream conditions makes it difficult to rigorously link upstream
        inputs and anthropogenic activities to the condition of downstream resources. These issues may preclude the use
        of adaptive management, particularly in larger basins, as adaptive management implicitly assumes that (1)
        downstream changes can rapidly be detected, (2) management will change rapidly in response to any adverse
        change, and (3) a management change will rapidly improve the affected resource. Since these assumptions may
        be difficult to satisfy—particularly in larger basins—the use of adaptive management must be carefully
        examined before it can be applied at the watershed scale. For. SCI. 53(2):148 168.

        Keywords:         streamflow, sediment, large woody debris, cumulative watershed effects, adaptive management



           eadwater streams     compose the uppermost por­     severe disturbance (Montgomery and Dietrich 1989, Istan-



H         tions of the stream network. Headwater streams
          typically represent from 60 to 80% of the total
          stream length within a catchment (Schumm 1956, Shreve
 1969), and they drain 70 to 80% of the total catchment area
                                                               bulluoglu et al. 2004), but such changes do not alter the
                                                               general location of a stream within a landscape and usually
                                                               do not alter stream order.
                                                                   The downstream end of headwater channels is more
(Sidle et al. 2000, Meyer and Wallace 2001). The small size    ambiguous, but in this article the lower boundary is defined
of headwater streams means that they are particularly re­      as the colluvial-alluvial transition point. When the drainage
sponsive to natural and anthropogenic disturbances such as     area is 1 km2 or less, colluvial (hillslope) processes domi­
debris flows, changes in vegetative cover, changes in sedi­    nate channel form and in-channel fluxes. As the drainage
ment inputs, and changes in organic matter inputs (Benda et    area increases from 1 km2 to 10 km2, alluvial processes
al. 2005, Hassan et al. 2005a, Richardson et al. 2005). The    become an increasingly dominant control on channel mor­
preponderance of headwater streams, when combined with         phology and fluxes (Montgomery and Foufoula-Georgiou
their sensitivity and potential linkages to downstream re­     1993, Brummer and Montgomery 2003, Stock and Dietrich
sources, means that headwater streams are of increasing        2003). Some authors have suggested that a drainage area of
interest to scientists and resource managers (Whiting and      1 km2 and a channel slope of 20 to 30% defines this
Bradley 1993, Gomi et al. 2002, JAWRA 2005).                   colluvial-alluvial transition point (Montgomery and
    By definition, headwater streams begin where surface       Foufoula-Georgiou 1993, Woods et al. 1995, May and
runoff is sufficiently concentrated to cause scour and dis­    Gresswell 2004), but variations in climate, geology, and
tinct banks (Dietrich and Dunne 1993). This surface runoff     other factors means that this transition can occur when the
may occur only during storm events or snowmelt (“ephem­        drainage area is as small as 0.1 to 0.3 km2 (Benda and
eral”), seasonally (“intermittent”), or continuously (“peren­  Dunne 1997a) or as large as 10 km2 (Madsen 1994, Brum-
nial”). Headwater channels can be distinguished from hill­     mer and Montgomery 2003). For the purposes of this article
slope rills because they are relatively persistent features on headwater channels are defined as any channel with a drain­
the landscape and generally occur in strongly convergent       age area of up to 10 km2. In the Pacific Northwest this upper
areas. The channel head or the initiation point for headwater  limit corresponds to streams that are up to about 10 m wide
channels can migrate in response to large storm events or      (Brummer and Montgomery 2003).



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    Given their location in the landscape, the hydrologic,       drainages. The strength of the linkages between headwater
geomorphic, and biological characteristics of headwater          catchments and downstream conditions are important for
streams result from a dynamic mix of colluvial and alluvial      justifying the regulation of headwater streams, and for pre­
processes. In downstream channels the channel conditions         dicting the magnitude and timing of cumulative watershed
and material fluxes are again a complex integration of the       effects (CWEs).
fluxes and processes from both upslope and upstream, but             Similarly, the magnitude and timing of the connectivity
the hillslopes adjacent to higher-order channels generally       between headwater streams and downstream reaches di­
play a much smaller role in terms of streamflow, sediment        rectly affects the extent to which adaptive management can
yields, nutrient fluxes, aquatic productivity, and aquatic       be applied in larger catchments. Adaptive management is
biodiversity.                                                    increasingly touted as the most practical approach for re­
    The management of headwater channels is important            source management given the complexities and uncertain­
because they drain the vast majority of the catchment area,      ties in predicting management impacts at the watershed
and they are a critical source of water, sediment, fine and      scale (Stednick et al. 2004). In larger watersheds the suc­
coarse organic matter, and nutrients (Gomi et al. 2002).         cessful use of monitoring and adaptive management de­
They also are the first source of aquatic life as one makes      pends to a large extent on the strength of the linkages
the transition from hillslopes into the channel network.         between upstream and downstream resources, and the re­
From a regulatory perspective, headwater streams have been       sponsiveness of downstream resources to a specified change
largely ignored despite their potential effect on downstream     in upstream management. Hence, the final objective of this
reaches. Towns and cities generally are located adjacent to      article is to assess the validity of the assumptions implicit in
larger streams and rivers, and laws such as the Clean Water      the use of adaptive management at the watershed scale, and
Act initially focused on regulating point sources, maintain­     the relative detectability of anthropogenic effects on down­
ing water quality in these larger streams for domestic use,      stream channel conditions.
and sustaining fisheries. It was not until 1972 that the Clean       The following sections discuss the extent to which head­
Water Act explicitly addressed nonpoint pollution sources,       water streams are connected to downstream areas with
such as hillslope erosion. Similarly, state-level forest prac­   respect to discharge, coarse and fine sediment, coarse and
tice regulations focused on perennial, fish-bearing streams      fine organic matter, temperature, and nutrients. Most of the
until the late 1980s or early 1990s.                             examples are drawn from forested streams from northern
    The wider recognition of the importance of headwater         California up through British Columbia, as this is where
streams is relatively recent (Jackson et al. 2001, Gomi et al.   these issues are particularly controversial and much of the
2002, Halwas and Church 2002, Jackson and Sturm 2002,            recent research has been conducted. The final section ad­
Benda et al. 2005, Hunter et al. 2005). Relative to higher-      dresses the implicit assumptions and constraints on using
order channels, there have been much fewer studies on the        adaptive management at the watershed scale.
conditions and instream dynamics of headwater streams
despite their relative predominance in terms of drainage
                                                                 Contribution of Headwater Streams to
area and total stream length. Although most paired-water­
shed studies have been conducted at the scale of headwater
                                                                 Downstream Runoff
streams, these typically have focused on the watershed-scale         The contribution of headwater streams to downstream
changes in streamflow and sediment yields and treated the        runoff is critical for water supply as well as the transport of
watershed as a black box. Few studies have rigorously            sediment, coarse and fine organic matter, and nutrients
examined the extent to which headwater streams control           (Moore and Wondzell 2005). Approximately 95% of the
downstream conditions, despite the conceptual recognition        runoff in a channel is generated on hillslopes (Knighton
of headwater-downstream linkages (e.g., Vannote et al.           1998). Since first-order channels compose the vast majority
 1980, Benda et al. 2004b). Hence, the purpose of this article   of the drainage network, it follows that headwater streams
is to review existing knowledge with respect to:                 are usually the primary source of streamflow.
                                                                     The delivery of water from hillslopes to channels can
1.   How well are headwater streams connected to down­
                                                                 occur as surface flow, subsurface stormflow, or groundwa­
     stream areas in terms of the generation and delivery of
                                                                 ter (Dunne and Leopold 1978, Novotny and Olem 1994). In
     discharge, coarse and fine sediment, coarse and fine
                                                                 headwater catchments the delivery of water to the channel
     organic matter, temperature, and nutrients?
                                                                 and hence the magnitude and timing of peak flows are
2.   To what extents do natural disturbances and anthro­         controlled primarily by hillslope processes (Dunne 1976).
     pogenic activities alter the connectivity between hill­     In a 1 km2 basin the time to peak flow can vary from about
     slopes, headwater streams, and downstream areas?            25 min when Horton (infiltration-excess) overland flow is
3.   To what extent are downstream conditions controlled         the dominant runoff process, to 1 hour for saturation over­
     by the inputs from headwater streams as compared to         land flow, and over 18 hours when subsurface stormflow is
     colluvial processes from the adjacent hillslopes and        the dominant runoff process (Dunne 1976). Horton overland
     the intervening riparian and fluvial processes?             flow is rare in forested areas in the western United States,
                                                                 and water from the hillslopes is delivered to the channel
    The answers to these three questions are important be­       network primarily by subsurface stormflow (McGlynn et al.
cause they determine the extent to which downstream con­         2004, McNamara et al. 2005) and secondarily by saturation
ditions are affected by management activities in headwater       overland flow.

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    The amount and timing of hillslope runoff varies as the              band and therefore be subjected to rain or rain-on-snow
channel network expands and contracts under different                    rather than a mixture of rain and snow; the ability for an
moisture conditions (Hewlett and Nutter 1970, Hunter et al.              entire basin to be simultaneously at or near peak snowmelt
2005), and the hillslopes become hydrologically connected                rates; and the potential for runoff from different portions of
or disconnected from the stream network (McNamara et al.                 a basin to be synchronized.
2005). During dry periods, hydrologic connectivity is pri­                  As basin size increases, the magnitude and timing of
marily restricted to wet convergent areas and the riparian               storm runoff are increasingly controlled by the structure and
zones immediately adjacent to the channel (McGlynn et al.                morphology of the drainage network and valley bottoms
2004). Subsurface stormflow is only generated under rela­                rather than hillslope-scale runoff processes (Robinson et al.
tively wet conditions, and the delivery of this water to the             1995, Gomi et al. 2002, McGlynn et al. 2004). As a hypo­
stream channel is increasingly viewed as threshold-depen­                thetical example, the maximum channel length in a 100 km2
dent. In humid forested catchments recent studies indicate               basin will be on the order of 15 to 20 km. During high flows
that subsurface stormflow only occurs when rainfall ex­                  the mean water velocity should be around 1.5 m s 1, so the
ceeds about 20 to 55 mm under wet antecedent conditions                  average water molecule might spend several hours in the
(Weiler et al. 2005). Hillslopes with shallower soils tend to            channel before reaching the basin outlet. Depending on the
have lower thresholds (Weiler et al. 2005, Tromp-van                     dominant runoff process, the travel time for water in the
Meerveld and McDonnell 2006), and the entire hillslope                   stream is comparable to the time lag between precipitation
may not be hydrologically connected to the stream until the              (or snowmelt) and the input of water into the stream chan­
deepest soils wet up. This means that even though hillslopes             nel. With increasing basin size the in-channel travel time
compose most of the drainage area, complete hillslope­                   increases and the hillslope runoff processes become pro­
stream connectivity may only occur a couple of times per                 gressively less important in defining the magnitude and
year in drier, rain-dominated forested areas, and only during            timing of stormflow hydrographs.
spring snowmelt in snow-dominated areas (McGlynn and                        In larger basins rainfall and snowmelt inputs will exhibit
McDonnell 2003, Weiler et al. 2005, McNamara et al.                      greater spatial variability, and the peak flows from the
2005).                                                                   various sub-basins are more likely to be desynchronized.
    The variability and complexity in hillslope-stream con­              Larger basins generally will have more potential water
nectivity helps explain why headwater streams can have                   storage in and on the banks and floodplains. With increasing
higher peak flows per unit area and greater variability than             basin size there is more potential for transmission losses, but
their downstream counterparts (Figure 1) (Woods et al.                   in most mountainous environments these generally are as­
1995, Gomi et al. 2002). The higher peak flows in headwa­                sumed to be negligible (Table 1). Transmission losses can
ter basins can be attributed to several factors, including the           be substantial when a stream flows across a coarse-textured
general tendency for precipitation to increase with increas­             alluvial fan or alluvial plain (Herron and Wilson 1999,
ing elevation; the greater potential for an entire basin to be           Woods et al. 2006), in karst terrane, and in semi-arid envi­
simultaneously affected by an intense rain event; the poten­             ronments when the water table is below the deepest portion
tial for the entire basin to fall within a narrow elevation              of the stream channel.




                Figure 1. Unit area peak flows with a recurrence interval of four years versus catchment area for 477 gauging
                stations in Washington state.


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Table 1. Generalized relative likelihood of the storage, transformation, and delivery of eight different constituents from headwater streams to
downstream reaches

                                                     Likely magnitude of
                                                                                                                   Means of
         Constituent                    Storage         Transformation           Delivery                          delivery
 Discharge                       Low                   Low                   High                 All flows, minimal delay
 Fine sediment (<2 mm)           Low to moderate       Low                   Moderate to high     All flows, but predominantly high flows
 Coarse sediment (>2 mm)         High                  Moderate to high      Low to moderate      High flows and mass wasting events
 Large woody debris              High                  Low to moderate       Low                  Mass wasting or extremely high flows
 Coarse particulate              Moderate              High                  Moderate             Primarily high flows and mass wasting
   organic matter
 Fine particulate                Low to moderate       Moderate              Moderate to high     All flows, especially high flows
   organic matter
 Nutrients                       High                  High                  Low to moderate      All flows
 Temperature                     Low                   High                  Low to moderate      Low flows




    Because stream channels are relatively efficient convey­              100% in large catchments (62-559 km2) as compared to
ers of water, particularly at higher flows, any change in                 a 50% increase in catchments smaller than 1.0 km2 (Jones
runoff induced by management activities in headwater ba­                  and Grant 1996). Other researchers used different statis­
sins is likely to affect downstream runoff (Table 1). The                 tical methods to analyze the same data set and found no
aggregation of various management-induced changes in                      significant increases in peak flows in the same large
flow from different headwater areas can result in a cumu­                 catchments (Thomas and Megahan 1998, Beschta et al.
lative watershed effect (CWE), and the magnitude of this                  2000). A decreasing change in the size of peak flows with
effect depends primarily on the changes in flow resulting                 increasing catchment size could be attributed to increased
from each management activity, and only secondarily on                    floodplain storage, greater spatial and temporal variabil­
how these changes in flow are transmitted downstream                      ity in rainfall and snowmelt, greater variability in basin
(MacDonald 2000).                                                         characteristics (e.g., geology, soils, vegetation, and
    The management-induced changes in flow can be diffi­                  drainage network structure), and the tendency for per­
cult to assess in large forested watersheds for several rea­              centage area disturbed to decrease with increasing basin
sons. First, paired-watershed studies have shown that the                 size (Megahan and Hornbeck 2000, Beschta et al. 2000).
combination of forest harvest and roads can increase the                  In the snowmelt-dominated Rocky Mountains, the
size of peak flows, decrease the size of peak flows, or have              changes in flow due to harvesting 24% of a nearly 17 km2
no significant effect (Harr and McCorison 1979, Austin                    basin were similar to the values observed in small head­
 1999, Moore and Wondzell 2005). The majority of studies                  water basins (Troendle et al. 2001).
conducted in small (i.e., 10-300 ha), rain-dominated catch­                   A third problem is the decline in measurement accu­
ments in the Oregon Cascades and along the Pacific Coast                  racy in larger basins because streamflows usually are
have shown that extensive forest harvest increases the size               measured in natural channels rather than with carefully
of the average storm peak flow by about 13 to 44% (Moore                  engineered flumes or weirs. A lower accuracy limits our
and Wondzell 2005). In snowmelt-dominated areas forest                    ability to detect significant change (see section on adap­
harvest generally increases the annual maximum peak flows                 tive management). A final limitation is that treatments
by about 40%, but values can range up to 87% (Troendle                    such as forest harvest do not persist over time due to
and King 1987, King 1989, Moore and Wondzell 2005).                       vegetative regrowth. In larger basins, treatments tend to
Both field (Toman 2004) and modeling (Wigmosta and                        be spread out over longer time periods and regrowth will
Perkins 2001) studies indicate that road runoff can increase              reduce both the magnitude of the changes in streamflow
peak stormflows in small headwater streams by up to 500%,                 and the number of storms or years that can be compared
but studies in larger basins generally have not been able to              (Austin 1999, Jones 2000).
document a road-induced increase in peak stormflows. This                     We conclude that headwater streams are the dominant
variability means that an understanding of the underlying                 source of runoff. This water is generally conveyed to down­
causal processes is needed to predict the hydrologic re­                  stream areas (Table 1), and in-channel processes become
sponse of different headwater basins to a given set of                    increasingly important with increasing basin size. Manage­
management activities.                                                    ment-induced changes in runoff have been repeatedly de­
    A second difficulty is whether the results from small                 tected in small experimental watersheds, but it is much more
watersheds can be extrapolated to larger basins, as most                  difficult to detect the effects of forest management on runoff
paired-watershed studies have been conducted at the head­                 in larger basins due to the spatial and temporal variations in
water scale. The combined effect of forest harvest and roads              precipitation and snowmelt, transmission and storage losses,
on runoff is still controversial in basins larger than about 10           the uncertainties in quantifying the site-scale changes in
to 20 km2, especially where rain-on-snow events generate                  runoff, measurement errors, and the difficulty of rapidly
the largest floods. A 1996 article, for example, claimed that             imposing a given treatment while maintaining a comparable
forest harvest and roads increased peak flows by up to                    untreated control.

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Hillslope Sediment Production and Delivery                                 100 per square kilometer (Dietrich and Dunne 1978,
                                                                          Montgomery and Dietrich 1989, Benda 1990), and the
    While hillslope runoff is usually delivered to headwater
                                                                          average cycle of infilling and failure has been estimated
channels by subsurface flowpaths, sediment is transported
                                                                          at 5,000-6,000 years (Dietrich et al. 1982, Benda and
into headwater channels and downstream reaches by surface
                                                                          Dunne 1987, Reneau and Dietrich 1991). In some geo­
processes (Benda and Dunne 1997a, b, Istanbulluoglu et al.
                                                                          logic terranes (e.g., the Franciscan formation in north­
2004). The proportion of hillslope erosion that is delivered
                                                                          western California), mass wasting in the form of deep-
to channels varies with the transport process, proximity to
                                                                          seated earthflows can be the dominant process for deliv­
the stream channel, flowpath characteristics, sediment par­
                                                                          ering hillslope sediment to the stream network (Kelsey
ticle size, level of disturbance, and the magnitude of runoff
                                                                           1978).
and erosion events (Dietrich et al. 1982, Wemple et al.
                                                                             The delivery of sediment from a mass wasting event to a
1996, Reid and Dunne 1996, Benda and Dunne 1997a, b,
                                                                          headwater channel depends on its location relative to the
Croke and Mockler 2001, Sidle et al. 2004, Istanbulluoglu et
al. 2004). Similarly, the ability of headwater streams to                 channel network and the travel distance of the landslide or
deliver sediment to downstream reaches is a function of                   debris flow. Colluvial hollows often are immediately above
channel type, transport process, transport capacity, and sed­             the heads of first-order channels, so landslides or debris
iment particle size (Knighton 1998, Bunte and MacDonald                   flows in colluvial hollows typically have to travel only a
1999, Hassan et al. 2005a). The delivery of sediment to                   short distance before entering the channel network, and
stream channels generally can be classified as discrete (e.g.,            often connect colluvial hollows to first-order channels
debris flows) or relatively chronic (e.g., soil creep or the              (Montgomery and Dietrich 1989, Istanbulluoglu et al.
storm-by-storm delivery of sediment from roads).                          2004). Inner gorges are steep and parallel to the channel
    Mass wasting accounts for 60% to more than 90% of                     network, so mass failures in this landform also have a high
long-term sediment inputs in many headwater catchments in                 probability for delivering water and sediment to the channel
the Pacific Northwest (Swanson et al. 1982, Benda and                     network (Paulson 1997). By combining data from two field
Dunne 1987, Raines 1991, Paulson 1997, Brardinoni et al.                  studies (Benda and Cundy 1990, Robison et al. 1999), we
2003, Benda et al. 2005). At a larger scale, mass wasting                 found that the median travel distance for 473 landslides and
accounted for 86% of the total sediment yield for a 187 km2               debris flows in Oregon and northwestern Washington was
catchment in northwestern California (Raines 1991) and 44                 just under 250 m, although 5% had a travel distance in
to 98% of the total sediment yield for catchments in north­               excess of 1,300 m (Figure 2).
western Washington with drainage areas of 12 to 140 km2                      Mass wasting events deliver both fine and coarse sedi­
(Paulson 1997).                                                           ment to the channel network (Reid and Dunne 1996). Shal­
   In headwater catchments the dominant mass wasting                      low mass wasting processes, such as translational slides,
processes are either translational slides or debris flows,                typically remove the soil profile down to bedrock, so the
and these typically originate in colluvial hollows and                    particle-size distribution of this material is similar to the
inner gorge landforms (Dietrich and Dunne 1978, Benda                     particle-size distribution of the soil profile (Reid and Dunne
et al. 2005). The density of colluvial hollows in northern                 1996). In the Oregon Coast Range, the particle-size distri­
California and the Oregon Coast Range range from 22 to                    bution of the sediment stored in first- and second-order




                Figure 2. Cumulative frequency distribution of landslide and debris flow runout distances (n = 473) (Benda and
                Cundy 1990, Robison et al. 1999).


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channels was almost identical to the particle-size distribu­
tion of the material stored in colluvial hollows (Benda and
Dunne 1987). The larger clasts delivered into headwater
streams by debris flows and deep-seated mass wasting often
exceed the flow competence and remain in the channel as
lag deposits (Brummer and Montgomery 2003).
    Sediment inputs by shallow mass wasting generally are
episodic in nature. The recurrence interval of these events
decreases with distance downstream because of the rapid
increase in the number of landslide-prone landforms—such
as colluvial hollows—with increasing scale (Figure 3). The
likelihood of disturbance (e.g., fire or timber harvest) or an
exceptionally large storm event also increases with increas­
ing catchment size (Benda and Dunne 1997a). If erosion
events were completely random, annual sediment inputs and
sediment yields should be progressively less variable with
increasing scale. In fact, the large frontal storms that trigger
mass wasting events in the Pacific Northwest tend to occur
                                                                           Figure 4. Coefficient of variation for annual sediment yields versus
over relatively large areas, and a compilation of sediment                 basin area (Bunte and MacDonald 1999).
yield data from different regions shows little change in the
variability of annual sediment yields with increasing basin
size (Figure 4).                                                          frequency. In the Oregon Coast Range, road-induced mass
   Land use activities can increase both the frequency and                failures traveled three times as far as the mass failures in a
magnitude of mass wasting and surface erosion. In forested                mature forest, and the road-induced mass failures increased
areas, timber harvest and roads can increase the amount of                the amount of sediment being delivered to the channel
sediment being produced from mass wasting by 3 to 16                      network by nearly five times relative to mature forests (May
times (Swanson and Dyrness 1975, Montgomery et al.                        2002).
2000, Guthrie 2002, May 2002), and the amount of sedi­                        The chronic sources of sediment in headwater channels
ment being delivered to the channel network by 0.6 to 138                 include soil creep, bank erosion, and surface erosion (Rob­
times (Guthrie 2002, Brardinoni et al. 2003, Hassan et al.                erts and Church 1986, Hassan et al. 2005a). Estimated soil
2005a). The management-induced increases in the amount                    creep rates are 0.001 to 0.01 m yr 1 for the Oregon Coast
of sediment being delivered to the channel network are due                Range, 0.002 m yr 1 for the Oregon Cascades, and 0.02
to an increase in travel distance as well as an increase in               m yr 1 for Northern California (Dietrich and Dunne 1978,




               Figure 3. Predicted recurrence intervals for landslides and debris flows versus catchment area under undis­
               turbed conditions in the North Fork of Smith Creek, Oregon. The average recurrence interval for a 3 km2
               catchment was reported as 50-100 years (Benda and Dunne 1997a), so a value of 75 years was used here. The
               recurrence interval for the sixth-order catchment was reported as less than a decade, and a value of 10 years was
               used here.

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Swanson et al. 1982, Benda et al. 2005). The volume of                   generally is fine-grained (sand-sized or smaller) (Megahan
sediment that is delivered to the stream network from soil               and Hornbeck 2000, Ramos-Scharron and MacDonald
creep depends on the creep rate, soil depth, and drainage                2005), and this material is particularly detrimental to many
density (Dietrich and Dunne 1978, Roberts and Church                     aquatic organisms (Waters 1995).
1986).                                                                       There are fewer data on the delivery of sediment from
   The high infiltration rates in most undisturbed forested              roads to the stream network than on road sediment produc­
catchments mean that rainsplash, sheetwash, and rilling                  tion. Studies in the western United States have reported that
typically generate no more than a small fraction of the                  from 18% to 75% ofthe roads are hydrologically connected
sediment that is delivered from hillslopes to headwater                  to the stream network (Coe 2006). A recent analysis of these
channels (Roberts and Church 1986, Hassan et al. 2005).                  connectivity data indicates that the percentage of roads
Even if overland flow does occur, the dense vegetative                   connected to the stream network is directly proportional to
cover and high surface roughness minimize overland flow                  the mean annual precipitation (Figure 5) (Coe 2006). The
velocities and sediment transport capacity (Dietrich et al.              presence of engineered drainage structures—such as water­
1982, Libohova 2004).                                                    bars, rolling dips, or relief culverts—can decrease the pro­
   Overland flow and the associated surface erosion pro­                 portion of roads that are connected to the stream network by
cesses are common on unpaved forest roads, and the result­               about 40% (Figure 5). The small size of the particles being
ant road surface erosion rates are commonly two or more                  eroded from roads means that the hydrologically connected
orders of magnitude higher than the surface erosion rates in             roads also will be delivering sediment to the stream
undisturbed areas (Megahan and Kidd 1972, Reid and                       network.
Dunne 1984, Luce and Black 1999, MacDonald et al. 2004).                     High-severity wildfires in forested basins can increase
Road erosion rates in the western United States have been                the production and delivery of sediment by several orders of
estimated at up to 101 kg m 2 yr 1 for heavily trafficked                magnitude (Moody and Martin 2001, Wondzell and King
roads in western Washington (Reid and Dunne 1984), but                   2003, Benavides-Solorio and MacDonald 2005). This in­
more typical values are from 0.2 to 2.0 kg m 2 yr 1 (Mac­                crease is due to the severe reduction in infiltration rates, the
Donald and Stednick 2003). In the Oregon Coast Range,                    high overland flow velocities due to the loss of ground
sediment production from different road segments followed                cover and surface roughness, and the large increase in
a log-normal distribution, indicating that most of the road-             drainage density due to the headward extension of the
related sediment is being derived from a relatively few                  channel network (DeBano et al. 1998, Robichaud et al.
segments. Road sediment is of particular concern because it              2000, Wondzell and King 2003, Istanbulluoglu et al. 2004,




                   Figure 5. Percentage of roads connected to the stream channel network versus mean annual precipitation
                   (Coe 2006).


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Libohova 2004). In the Colorado Front Range most of the                 can deposit sediment in channels with gradients of up to
sediment from high-severity fires is due to channel incision            25%, or continue to transport sediment when the channel
(Moody and Martin 2001, Pietraszek 2006), and this is why               slope is as low as 3% (Benda et al. 2005). In general, most
convergent hillslopes tend to produce several times more                of the sediment from debris flows is deposited in channels
sediment per unit area than planar hillslopes (Benavides-               that are third-order or higher (Benda and Dunne 1987,
Solorio and MacDonald 2005). The increase in drainage                   Benda 1990, May 2002, Benda et al. 2005). As noted
density greatly increases the hillslope-stream connectivity             earlier, the transport process also will affect the size of the
(Libohova 2004), and most of the sediment from high-se­                 sediment being transported from the hillslope to the
verity fires is available for transport to downstream reaches           channel.
(Moody and Martin 2001, Pietraszek 2006). In contrast,                     The sediment transport capacity of headwater channels,
postfire erosion rates after moderate- and low-severity fires           and hence the delivery of sediment to downstream reaches,
are one or more orders of magnitude lower than for sites                is limited by the high flow resistance due to large clasts,
burned at high severity because the protective litter layer             large woody debris, and vertical bedforms such as channel
and soil organic matter is not completely consumed and                  steps (Montgomery and Buffington 1997, Curran and Wohl
there is correspondingly less rainsplash, soil water repel­             2003, Benda et al. 2005). The high roughness in headwater
lency, and overland flow (Robichaud et al. 2000, Neary et               channels provides flow resistance, which reduces sediment
al. 2005).
                                                                        entrainment and makes it more difficult to predict sediment
                                                                        transport rates (Hassan et al. 2005a).
Connectivit^y of Sediment from Headwater                                   The entrainment and transport of sediment in stream
Channels to Downstream Reaches                                          channels can be divided into three phases (Ashworth and
   The delivery of sediment from headwater channels to                  Ferguson 1989, Hassan et al. 2005a), and these represent
downstream reaches depends on the transport process, chan­              different degrees of upstream-downstream connectivity
nel type, transport capacity, and sediment particle size. In            (Figure 6). In phase I, sand-sized or finer material is trans­
steep headwater catchments, debris flows can be the dom­                ported over a stable bed, and this can deliver fine sediment
inant process for delivering sediment to first- and second-             to downstream reaches at relatively low flows (Ashworth
order channels as well as the predominant source of sedi­               and Ferguson 1989). In phase II the entrainment and trans­
ment (Benda and Dunne 1987, Benda 1990, May 2002,                       port of the bed material is size-selective, and in phase III the
Benda et al. 2005). Debris flows typically erode the collu­             entire bed is mobilized, resulting in a high degree of up­
vium and alluvium stored along the axis of a hollow or                  stream-downstream connectivity. The coarse nature of the
headwater channel, and in the Oregon Coast Range they can               bed material in many headwater streams means that phase II
entrain from 2 to 15 m3 of sediment per meter of channel                and especially phase III transport are relatively infrequent,
length (Benda 1990, May 2002). Debris flows typically                   particularly in channels with strongly structured bedforms
deposit sediment when tributary junction angles exceed 70               (e.g., step-pool channels) (Grant et al. 1990, Hassan et al.
degrees (Benda and Cundy 1990) and channel slopes are                   2005).
less than 10% (Benda et al. 2005). However, debris flows                   These three phases of sediment transport mean that fine




                    Figure 6. Schematic diagram of the different phases of bedload transport and sediment connectivity
                    versus shear stress (adapted from Hassan et al. 2005).

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sediment is more readily delivered to downstream reaches                   headwater streams. Alternatively, empirical models derived
than coarser particles (Table 1). Nevertheless, large                      from tracer studies can be used to estimate the downstream
amounts of fine sediment can be stored in headwater chan­                  travel distance and delivery of sediment. The best model
nels in the lee of large boulders, behind large woody debris,              developed from 50 studies explained 43% of the variability
under the surface armor layer, in the channel margins, and                 in mean annual travel distance as a function of tracer par­
on floodplains and terraces (Grant et al. 1990, May and                    ticle size and bankfull channel width:
Gresswell 2003b, Benda et al. 2005). In a small ephemeral
channel in western Washington, only 35% of the fine                                log10T = 2.30 + 0.819 log10 W - 0.611 log10D,     (1)
(0.063-0.5 mm) and 10% ofthe coarse (0.5-2.0 mm) sand
particles were transported more than 95 to 125 m (Duncan                   where T is the mean annual travel distance in m yr    1 , W is
et al. 1987). These low proportions were attributed to the                 the bankfull channel width in m, and D is the particle size
effects of large woody debris on sediment storage and                      in mm (Bunte and MacDonald 2002). The significance of
transport rates (Duncan et al. 1987).                                      bankfull width is consistent with other analyses of tracer
   Recent studies have documented the important role of                    studies (Beechie 2001) and the cross-correlations between
large woody debris with respect to the storage and transport               channel width and other variables, such as channel slope
of sediment in headwater channels (Keller and Swanson                      and flow depth (Knighton 1998).
 1979, Megahan 1982, Chesney 2000, May and Gresswell                          Equation 1 indicates that the mean annual travel distance
2003b, Gomi and Sidle 2003). In the Pacific Northwest and                  for a 3 m-wide headwater stream will vary from several
Alaska, large woody debris stored an average of 0.5 m3 of                  kilometers for a particle that is only 0.05 mm in diameter to
alluvial sediment per meter of channel, and the range of                   only a few tens of meters for a particle that is 64 mm in
values was from 0 to 2.9 m3 m 1 (Megahan 1982, Chesney                     diameter (Figure 7). Both Figure 7 and our understanding of
2000, May and Gresswell 2003b, Gomi and Sidle 2003).                       sediment transport processes indicate that there is likely to
There may be very little sediment stored in channels that                  be a long lag in the delivery of larger particles to down­
have been recently scoured by debris flows (May and Gres-                  stream reaches, and this lag increases as channel size de­
swell 2003b), but the amount of stored sediment will in­                   creases and particle size increases (Table 1). Particle abra­
crease over time as sediment is delivered to the channel by                sion will decrease travel times by decreasing particle sizes,
colluvial processes and the sediment storage capacity in­                  and for weaker rock types this particle breakdown can
creases with the recruitment of woody debris (May and                      greatly increase sediment delivery from headwater streams
Gresswell 2003b).                                                          to downstream reaches (Benda and Dunne 1997b). The
   Sediment transport models developed for larger alluvial                 sediment derived from unpaved roads also has a relatively
channels typically overpredict sediment transport rates in                 high likelihood of being delivered to downstream areas
headwater streams by at least an order of magnitude (Has­                  because it is predominantly sand-sized or smaller. Much of
san et al. 2005a). This overprediction can be attributed to                the sediment derived from high-severity wildfires is likely
the greater form roughness and sediment storage capacity in                to be delivered to downstream reaches because it is largely


                         100000


                    E
                    o    10000
                    u
                    c
                    ra
                    w
                           1000



                            100 ■


                                                                                                          ♦   0.05 mm
                                  A                                                                       ■   2,0 mm
                             10
                                                                                                          A   64 mm
                                  s:
                                                                                                          X   512 mm



                                                                             10                                         100
                                                         Bankfull channel width (m)
                   Figure 7. Predicted mean annual sediment travel distance for four different particle sizes as a function of
                   bankfull channel width. The model explains 43% of the variability in mean annual sediment travel
                   distance.


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derived from rill and channel erosion (Moody and Martin                 drainage area is less than 50 km2 (Benda et al. 2004a). The
2001, Pietraszek 2006). High-severity wildfires also greatly            probability of a confluence effect is estimated to be greater
increase the size of peak flows, and hence the sediment                 than 50% when the ratio of tributary to mainstem drainage
transport capacity (Helvey 1980, Istanbulluoglu et al. 2004).           area exceeds 0.012 (Figure 8) (Benda et al. 2004a).
                                                                           Alluvial effects occur when sediment from a tributary is
Downstream Effects of Sediment Inputs                                   transported to a mainstem channel by high flows (e.g., phase
                                                                        III sediment transport), and these effects can include
    The delivery of sediment through the channel network                changes in gradient, sediment deposition, a change in sub­
can affect water quality, channel morphology, and aquatic
                                                                        strate size, and channel instability. The scale domain for
organisms in downstream reaches, but the magnitude and
                                                                        alluvial effects is when tributary drainage areas are greater
type of these effects depend in part on whether the sediment            than 10 km2 and mainstem drainage areas are greater than
delivery is episodic or chronic (Waters 1995, Gresswell                 500 km2 (Figure 8) (Benda et al. 2004a).
 1999, Trombulak and Frissell 2000). Many of the docu­
                                                                           Once a slug of sediment is delivered to a higher-order
mented impacts from headwater areas are due to high-mag­
                                                                        channel, the resulting sediment wave can move downstream
nitude, low-frequency disturbances that transport large
                                                                        via translation, dispersion, or a combination of the two
slugs of sediment from hillslopes or headwater streams to a
                                                                        (Lisle et al. 2001). Translation means that the sediment
downstream reach. Such episodic inputs can induce debris
                                                                        wave moves downstream as a single mass, but this is rare
fans, valley terrace formation, channel avulsions, coarse
                                                                        except when the sediment is fine-grained and the flow is
sediment deposits, substrate fining, increased bedload trans­
                                                                        tranquil (i.e., subcritical) (Lisle et al. 2001). In a purely
port, and channel aggradation (Madej and Ozaki 1996, Lisle
                                                                        dispersive sediment wave the upstream edge and wave apex
et al. 2000, Miller and Benda 2000, Sutherland et al. 2002,
Benda et al. 2004a, May and Lee 2004). The effects of these             do not travel downstream (Lisle et al. 2001). Because dis­
episodic inputs tend to be most pronounced at the conflu­               persion is the dominant process, the amplitude of sediment
ence of headwater streams with larger channels, as these                waves tends to decrease rapidly over time, making them
locations are characterized by sharp changes in sediment                difficult to detect unless the wave is relatively young or the
supply, wood loading, and transport capacity. These con­                sediment input is large relative to the channel dimensions
fluence effects can include sediment deposition, a change in            (Lisle et al. 2001). Dispersion may be unimportant if the
substrate size, and changes in channel morphology above                 large clasts delivered by mass wasting or other processes
and below the confluence (Benda et al. 2004a). Because the              exceed the flow competence of the receiving channel
processes that deliver sediment depend on both the tributary            (Brummer and Montgomery 2006). The movement of a
and mainstem drainage area, the likelihood of a confluence              sediment wave can initiate a cycle of channel aggradation
effect, such as a debris fan, increases as the ratio of the             and degradation (Madej and Ozaki 1996, Miller and Benda
tributary drainage area to the mainstem drainage area in­               2000, Sutherland et al. 2002), while the selective transport
creases (Figure 8) (Benda et al. 2004a). In humid environ­              and abrasion of material can induce downstream fining
ments, debris flows typically affect the mainstem when the              (Sutherland et al. 2002).
tributary drainage area is less than 1 km2 and the mainstem                There is less evidence in the literature on how the low




                  Figure 8. Process domains and the probability for confluence effects as a function of the tributary
                  drainage area relative to the mainstem drainage area for humid regions of the Pacific Northwest (Benda
                  et al. 2004a). The bold line represents a probability of 0.50 for a confluence effect.

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magnitude, chronic delivery of sediment from hillslope           directly the effects of current management activities on
sources can affect downstream reaches, as a change in            sediment production in headwater areas, explicitly link
sediment load often is accompanied by other changes, such        these sources to the channel network, evaluate sediment
as a loss of riparian cover or a change in the amount of large   routing, and then document whether there is a resulting
woody debris (Everest et al. 1987). As indicated by Table 1      downstream physical and/or biological response. Efforts to
and Equation 1, fine sediment is more likely to be delivered     correlate disturbance indices with downstream conditions
to downstream areas than coarse sediment. Numerous stud­         will need to explicitly consider hillslope-channel connectiv­
ies have linked an increase in fine sediment loads to changes    ity rather than simply using watershed-scale means or totals.
in macroinvertebrate populations and, to a lesser extent,        The identification of a downstream response may be diffi­
changes in fish habitat and fish populations (Everest et al.     cult because of the temporal variability in downstream
 1987, Waters 1995, Suttle et al. 2004). The overall trends      conditions and the potential effect of infrequent catastrophic
for macroinvertebrate populations show that a shift in the       erosion events or longer-term processes, such as Pleistocene
substrate due to increasing fine sediment loads will tend to     glaciation or tectonic uplift, relative to contemporary hill­
decrease taxa richness and abundance; decrease the abun­         slope erosion (Church and Slaymaker 1989, Kirchner et al.
dance and richness of sensitive taxa such as Ephemeroptera,      2001, Ferrier et al. 2005).
Plecoptera, and Tricoptera; and increase the number of
oligochaetes and burrowing chironomids (Waters 1995).
                                                                 Production and Delivery of Large Woody
    These changes in the macroinvertebrate populations are a
concern because they can directly affect the amount and
                                                                 Debris to Headwater Channels
type of prey available to high-value fisheries. Large in­           Large woody debris (LWD) can play an important role in
creases in fine sediment loads also are a concern because of     modifying channel hydraulics, regulating sediment flux, and
their potential adverse effect on spawning and rearing hab­      controlling channel morphology and aquatic habitat (Mont­
itat (Everest et al. 1987). At low sediment loads most of the    gomery and Buffington 1997, Curran and Wohl 2003, Lan­
fine sediment in the channel is either on the channel margins    caster et al. 2003, May and Gresswell 2003b, MacFarlane
or in the matrix of the bed material (Carling and Reader         and Wohl 2003, Hassan et al. 2005b). The connectivity of
 1982, Lisle and Hilton 1999). As the fine sediment supply       LWD from hillslopes to headwater channels depends pri­
exceeds the storage capacity of the bed matrix, the fine         marily on the processes by which wood is recruited and
particles form surficial patches on the bed surface and in       transported.
pools (Lisle and Hilton 1999). In northwestern California            In headwater catchments LWD is recruited through mass
and in Colorado, both the sediment supply and the lithology      wasting, tree mortality, windthrow, and bank erosion
were found to affect the filling of pools with fine sediment     (Keller and Swanson 1979, Martin and Benda 2001, Benda
(Schnackenberg and MacDonald 1998, Lisle and Hilton              et al. 2002, May and Gresswell 2003a). The relative impor­
1999).                                                           tance of each process varies with local conditions and
    Relatively few studies in forested areas have documented     stream size. In southeastern Alaska, bank erosion and tree
a significant relationship between downstream channel con­       mortality were the primary sources of LWD in catchments
dition and watershed-scale indices of sediment supply, such      of 0.6-1.7 km2, while mass wasting accounted for less than
as percent area harvested, road density, or equivalent roaded    3% of the total wood recruitment (Martin and Benda 2001).
(or clearcut) area (McGurk and Fong 1995, MacDonald et           Bank erosion and tree mortality also were the primary
al. 1997, Schnackenberg and MacDonald 1998, Faustini and         sources of LWD in northwestern California (Benda et al.
Kaufmann 2003, Cover et al. 2006). These studies can help        2002). In contrast, landslides delivered more than half of the
identify potential problems and possible causes, but they        wood pieces to second-order streams in the Oregon Coast
generally do not quantify the various sediment sources or        Range (May and Gresswell 2003a). In third-order streams in
provide the process-based analyses needed to guide regula­       the same area, windthrow accounted for 60% of the wood
tors and resource managers. At the headwater scale, paired-      pieces, while mass wasting contributed only 10% (May and
watershed studies have shown that road construction can          Gresswell 2003a). In general, recruitment from mass wast­
increase sediment loads by 100 to 200% (Brown and Kry-           ing becomes less important and recruitment from bank
gier 1971, Rice et al. 1979), but many of these studies were     erosion becomes more important with increasing drainage
done when standards for road design, construction, and           area (Keller and Swanson 1979, Martin and Benda 2001).
maintenance were less stringent than present standards (e.g.,       The dominant recruitment process controls which and
more frequent drainage, full bench construction, limitations     how much of the hillslopes are connected to headwater
on wet season use, and outsloping). Recent paired water­         channels and the frequency of hillslope-channel interac­
shed studies in northwestern California have demonstrated        tions. In the Oregon Coast Range, the median source dis­
that increases in suspended sediment loads were primarily        tance for LWD was 40 m for a variety of mass wasting
controlled by postharvest increases in the volume of stream­     processes, 20 m for windthrow, 18 m for tree mortality, and
flow during storms (Lewis et al. 2001). Although increases       2 m for bank erosion (May and Gresswell 2003a). This
in suspended sediment were attributed to the watershed area      indicates that mass wasting has a higher spatial connectivity
occupied by roads, there was little field evidence of sedi­      relative to the other LWD recruitment processes, but the
ment delivery from newly constructed roads (Lewis et al.         temporal connectivity of individual hillslopes may be much
2001).                                                           lower because landslides and debris flows are so infrequent.
    In summary, there is a need for studies to measure           Individual tree mortality has a lower spatial connectivity

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because transport distances are less, but the temporal con­      Inputs and Downstream Delivery of Organic
nectivity is much higher because the LWD inputs are more         Matter and Nutrients
frequent and evenly spaced over time.
                                                                     The small size of headwater streams means that they are
                                                                 almost completely shaded in forested areas. The large
                                                                 amounts of canopy cover mean that autochthonous (i.e.,
Delivery of LWD from Headwater Channels to
                                                                 inputs generated within the stream) production is usually
Downstream Reaches                                               quite low (Gomi et al. 2002, Richardson et al. 2005), and up
    The delivery of LWD from headwater channels to down­         to 90% of the organic matter inputs are derived from hill­
stream reaches depends on the disturbance regime and high        slope and riparian sources (Fisher and Likens 1973). In
flows in the headwater channel, as well as the number and        addition to LWD, the primary organic matter inputs include
size of LWD (Table 1) (Hassan et al. 2005b). The transport       dissolved organic carbon (DOC), coarse (>1 mm) particu­
of LWD from headwater channels typically is associated           late organic matter (CPOM), and to a much lesser extent,
with debris flows or extreme floods (May 2002, Abbe and          fine particulate organic matter (FPOM) (Gomi et al. 2002,
Montgomery 2003, Benda et al. 2005, Hassan et al. 2005b),        Richardson et al. 2005). The coarse particulate organic
but fluvial transport in headwater channels is relatively rare   matter is predominantly leaves and needles, and this mate­
because the LWD tends to be large relative to the channel        rial can be rapidly transformed into FPOM by fungi, inver­
dimensions and size of peak flows (Bilby and Bisson 1998,        tebrates, fragmentation, and abrasion (Richardson et al.
May and Gresswell 2003a). A meta-analysis of 10 studies          2005). Total organic matter inputs per unit stream area are
found that the normalized loading of LWD (i.e., pieces per       high relative to downstream reaches (Richardson et al.
unit channel length divided by channel width) was greatest       2005). Primary production within the stream becomes more
in channels less than 5 m wide (Hassan et al. 2005b). These      important as drainage area and channel size increase (Bilby
results mean that the residence time of LWD in headwater          1988, Richardson et al. 2005).
channels is primarily a function of the decay rate rather than       The delivery of organic matter from headwater streams
the transport rate (Keller and Swanson 1979, Lancaster et al.    to downstream reaches is controlled by many of the same
2003, Hassan et al. 2005b).                                      transport processes as water and sediment (Table 1). Much
    Debris flows are the most important transport mecha­         of the DOC exported from headwater streams is derived
nism for LWD in first- through third-order channels (Abbe        from leaching of the forest litter, and the transport of DOC
and Montgomery 2003), but fluvial transport becomes more         is directly coupled with the transport of water. FPOM typ­
important as channel size increases (Hassan et al. 2005b).       ically represents the largest component of organic matter
Wood in mid-sized streams (i.e., third-order) tends to move      exports (Bilby and Likens 1980), as FPOM is generated by
as a congested mass (Braudrick et al. 1997), while in fourth­    the rapid breakdown of CPOM and is more readily trans­
order and larger channels LWD is more likely to be selec­        ported than CPOM (Table 1). FPOM and CPOM have lower
tively transported. The travel distance of LWD in these          specific gravities than similar-sized sediment particles, so
larger streams is a function of the ratio of wood length to      these organic materials are more easily transported down­
both the mean channel width and the mean radius of the           stream.
channel curvature (Braudrick et al. 1997).                          Although FPOM and CPOM can be readily transported
    The complex interactions between sediment and LWD            by streamflow, the high roughness and abundant LWD in
affect the likelihood and magnitude of downstream effects.       headwater channels means that much of this organic matter
The entrainment of LWD can reduce debris flow velocities,        can be stored in the channel, on floodplains, or on terraces
runout lengths, and facilitate sediment deposition (May          (Table 1). The downstream delivery of FPOM and CPOM is
2002, Lancaster et al. 2003, Bunn and Montgomery 2004).          primarily a function of whether the stream has access to this
Higher LWD loadings increase the amount of sediment that         material rather than the transport capacity. This means that
can be stored in the channel as well as on floodplains and       FPOM and CPOM are exported from headwater streams
terraces (Montgomery et al. 2003). A greater sediment            primarily during high flows (Table 1). Large amounts of
storage capacity can help store sediment inputs from hill­       organic matter also can be transported downstream on a
slopes and release this material as somewhat smoother            much more episodic basis by debris flows or other mass
fluxes of fluvially transported sediment (Massong and            wasting processes (Richardson et al. 2005).
Montgomery 2000, Lancaster et al. 2001, Bunn and Mont­               Forest management can alter the inputs of organic matter
gomery 2004). Hence, the delivery of sediment and LWD to         in several ways. In the absence of buffer strips, timber
downstream channels by debris flows can be moderated or          harvest decreased allochthonous inputs of organic matter to
decreased by higher wood loadings in headwater channels          small streams in western Washington by 80% (Bilby and
(Lancaster et al. 2001, May and Gresswell 2003b, Bunn and        Bisson 1992). Algal production increased by 60%, but the
Montgomery 2004). Conversely, a reduction in LWD load­           total organic matter inputs in the unlogged sites were still
ing due to forest harvest, fire, or other causes can result in   more than 50% higher than in the logged sites (Bilby and
a more direct coupling between the fine sediment inputs into     Bisson 1992). Timber harvest in riparian areas also can shift
headwater reaches and the delivery of this sediment to           species composition from conifers to hardwoods (Richard­
downstream areas (Lancaster et al. 2001, May and Gress-          son et al. 2005), although some states—such as Oregon and
well 2003b, Bunn and Montgomery 2004).                           Washington—allow riparian areas to be converted from

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hardwoods to conifers. A change from conifers to nitrogen­       Most of the downstream delivery of P will occur in partic­
fixing species such as red alder can increase in-channel         ulate forms during high flows (Newbold et al. 1983).
productivity and decrease the total organic matter input            The delivery of N and P is of greatest concern when there
from terrestrial sources (Piccolo and Wipfli 2002). Timber       are downstream oligotrophic lakes and reservoirs, as the
harvest also may increase the downstream delivery of or­         accumulation of these nutrients can lead to water quality
ganic matter by increasing mass wasting (Montgomery et al.       degradation and changes to aquatic ecosystems (Dunne and
2000, May 2002, Richardson et al. 2005) and reducing the         Leopold 1978). The complexities of channel processes,
amount of storage by reducing wood recruitment (Richard­         when combined with the diversity of nutrient sources and
son et al. 2005).                                                inputs, makes it very difficult to link specific management
    Nutrient production and delivery are particularly com­       activities in forested areas to downstream nutrient fluxes or
plex because of the high potential for uptake and transfor­      concentrations (Feller 2005). In most cases the cumulative
mation (Table 1). Stream water chemistry and nutrient            delivery of nutrients from forested areas is very small rel­
availability are strongly influenced by geologic weathering,     ative to the inputs from agricultural and urban areas (Dunne
particularly in areas with younger soils derived from non­       and Leopold 1978, EPA 1997, Carpenter et al. 1998).
crystalline rocks (Feller 2005). Geologic weathering is an
important source of potassium, magnesium, and calcium.
Atmospheric deposition is an important source of com­            Downstream Trends in Stream Temperature
pounds such as sulfate, nitrogen (N), and mercury (Schuster
et al. 2002, Feller 2005). Nutrients can be leached from             Stream temperature typically increases in the down­
organic material such as litterfall, but the relative impor­     stream direction (Moore et al. 2005). The cooler tempera­
tance of nutrient inputs from hillslope leaching rapidly         tures in headwater reaches are due to the high proportion of
diminishes in the downstream direction as streamflow in­         canopy cover, the preponderance of cooler subsurface
creases (Feller 2005). Nitrogen, and especially phosphorus       stormflow, and cooler air temperatures at higher elevations
(P), are of primary concern because they typically limit         (Moore et al. 2005). Localized cooling can occur in down­
aquatic productivity (Goldman et al. 1990).                      stream reaches due to an increase in shading, groundwater
    Nitrogen and phosphorus fluxes into and from headwater       inputs, hyporheic exchange, and thermal stratification in
streams are controlled by runoff processes, chemical reac­       pools (Nielsen et al. 1994, Moore et al. 2005).
tions, and biological uptake and transformations in the soils,       Timber harvest, wildfire, grazing, windthrow, tree mor­
groundwater, and channels. Most of the nitrogen transported      tality, agriculture, urbanization, and debris flows can de­
from forests to streams is in the form of nitrate (Vitousek et   crease the amount of canopy cover and increase summer
al. 1979), but the amounts are relatively small in most          water temperatures (Johnson and Jones 2000, Poole and
undisturbed forest ecosystems (Feller 2005). An increase in      Berman 2004, Moore et al. 2005). The magnitude of the
nitrogen inputs to headwater streams will not necessarily        temperature increase is generally proportional to the de­
increase primary productivity because light is often the         crease in riparian shade. Riparian management zones often
limiting factor (Bisson 1982).                                   are designed to limit the decrease in stream shading and
    Phosphorus concentrations in streams are typically very      resulting temperature increases (Brown and Krygier 1970),
low due to the rapid biological uptake and ease of chemical      but narrow riparian zones may allow the stream to be
bonding (Hem 1970, Feller 2005). Most of the phosphorus          exposed (Jackson et al. 2001). In forested headwater
entering into aquatic ecosystems in forested areas will be in    streams, complete clearing can increase the maximum an­
the form of orhophosphates and either sorbed onto soil           nual stream temperature by up to 16°C (Brown and Krygier
particles or incorporated into organic compounds (Mac­           1970), but most studies in the Pacific Northwest have found
Donald et al. 1991). Any processes or management activi­         that forest harvest increases the maximum stream tempera­
ties that increase the delivery of organic matter and            ture by no more than 5°C (Moore et al. 2005). In some cases
sediment—particularly fine sediment—to the stream chan­          clearcutting to the edge of a stream had no significant effect
nel will increase the input of phosphorus.                       on water temperatures, and the absence of a significant
    Once in the stream, nutrients can be adsorbed by mineral     increase was attributed to the shading provided by large
and organic surfaces, oxidized by organisms or light, un­        accumulations of logging slash plus cooler post-harvest air
dergo chemical transformation, used by primary producers         temperatures (Jackson et al. 2001). If stream temperatures
such as algae, and microbially transformed by processes          do increase due to forest harvest, studies show that from 5
such as nitrification (Table 1) (Feller 2005). The concept of    to more than 20 years are required for stream temperatures
nutrient spiraling refers to the uptake, transformation, and     to recover to preharvest levels. Larger streams usually re­
transport of nutrients in the downstream direction. In head­     quire a longer time to recover (Moore et al. 2005).
water channels the majority of inorganic N is typically              An increase in stream temperature induced by forest
removed or transformed in a few minutes or hours, or within      harvest can be transmitted downstream, or it can quickly
tens or hundreds of meters (Peterson et al. 2001). The time      diminish once the stream enters a forested reach with ex­
and distance necessary for nitrogen uptake or transforma­        tensive shading (Table 1) (Moore et al. 2005). The rate of
tion increases in the downstream direction because of the        downstream cooling in a well-shaded reach can be quite
increase in water depth and discharge (Alexander et al.          rapid due to the combination of groundwater inputs, hypo-
2000). The rapid uptake of P within streams also results in      rheic exchange, and heat conduction to the substrate (Story
little downstream transport of dissolved P (Feller 2005).        et al. 2003). One study in the interior of British Columbia

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found more than 4°C of cooling in the first 150 m below a             The difficulty is that in each case there can be a tremen­
clearcut (Story et al. 2003).                                     dous amount of uncertainty in how a given policy or man­
   The potential for upstream temperature increases to af­        agement activity in an upslope or upstream area will affect
fect downstream water temperatures is limited by the cool­        aquatic resources. This uncertainty stems from the wide
ing effects associated with groundwater inflows, inflows          variability of site conditions, the variability in how a given
from tributaries that have not been subjected to manage­          activity is carried out, the uncertainty with respect to future
ment-induced increases in temperature, hyporheic ex­              storm events, and the inability to adequately characterize all
change, heat conduction to the streambed, and evaporative         of the controlling processes and site factors. The uncertainty
cooling (Table 1) (Moore et al. 2005). One study showed           increases as one attempts to predict the effects of multiple
that stream temperature increases at the mouth of a 325 km2       activities over space and time, and how the effects of these
catchment were correlated with a cumulative harvest index         activities are accumulated and transmitted downstream
(Beschta and Taylor 1988), but this was before the require­       (MacDonald 2000). The implication is that it can be very
ments for riparian buffers (Moore et al. 2005). The effects       difficult to predict accurately the effects of policies and
of forest management on water temperatures continues to be        management activities at the watershed scale.
an active topic for research, but the increasing requirements         Given this uncertainty, regulators and land managers are
for buffer strips and retaining riparian cover mean that          increasingly turning to an adaptive management process
increases in maximum water temperatures due to forest             (Gray 2000). Adaptive management refers to the iterative
harvest generally are becoming less frequent, smaller in          process of initiating one or more sets of activities, monitor­
magnitude, and more localized.                                    ing the effect of those activities on the resource(s) of con­
    Downstream water temperatures also can increase due to        cern, and then adjusting management actions in response to
the indirect effects of timber harvest and other land use         any observed change (Walters 1986) (Figure 9).
activities. For example, aggradation from management-in­              Adaptive management implicitly assumes that (1) there
duced mass wasting can lead to a wider, shallower channel         is a direct linkage between the management actions being
that is more susceptible to solar radiation warming (Moore        implemented and the resource of concern; (2) any adverse
et al. 2005). An increase in fine sediment may clog channel       change in the resource of concern can be detected within a
substrate, thereby reducing hyporheic exchange and its as­        reasonable time frame; (3) if an adverse change is observed,
sociated cooling. Alternatively, extreme aggradation may          a change in management can be rapidly implemented; and
result in subsurface flow and cooler water temperatures           (4) the management change will rapidly lead to the desired
when the flow reemerges further downstream (McSwain               change in the resource of concern. Adaptive management is
 1987).                                                           a very effective process for situations that meet these crite­
                                                                  ria, and examples can range from managing one’s bank
                                                                  balance to weed control in a newly established forest plan­
Detecting Headwater Effects on Downstream
                                                                  tation. However, the use of adaptive management at the
Reaches and Implications for Adaptive
                                                                  watershed scale can be much more problematic because
Management                                                        these four criteria may not be easily satisfied (Figure 9).
    The reviews in the previous sections highlight the diver­
sity and complexity of headwater-downstream interactions                                     Lag in recovery
for water, sediment, large wood, particulate organic matter,                                                   Improved
                                                                             Change in
nutrients, and water temperature. These sections also sum­                                                      resource
                                                                            management
marized how management activities in headwater areas                                                           condition
might affect each of these constituents, and the extent to                                                   Lack of explicit
                                                                                                           monitoring programs
which a change in the headwaters might be transmitted
downstream and affect some downstream resource of con­                       Change          Monitoring
cern. A strong understanding of headwater-downstream in­                     detected
teractions is necessary under the National Environmental                                    No change/
Protection Act, as this explicitly requires federal agencies to                              Possible
                                                                     Lack of
evaluate and consider the environmental impacts of their                                    degradation
                                                                   criteria for
actions in decisionmaking. More specifically, federal agen­        changing
                                                                  management                                        Data
cies are required to consider the cumulative effect of their                                                     collection
actions when added to other past, present, and reasonably             other                                                 Potential
foreseeable future actions (CEQ 1997). Many states have            confounding                                            influence of
laws that require similar environmental assessments for              factors                                              other factors
                                                                                                                           (e.g., large
actions taken by state agencies. Similarly, the Clean Water              Difficulty of                                       floods)
Act regulates both point and nonpoint sources of pollution,               detecting
                                                                           change        analysis                 Temporal
and the associated regulations provide an explicit process                                                       and spatial
                                                                                                      Lag in
for controlling pollution on a watershed scale when water                                             down­      variability
quality standards are not being met (MacDonald 2000). A                                              stream
                                                                                                    response
watershed-scale approach also may be necessary when de­
veloping habitat conservation plans for aquatic species un­       Figure 9. Schematic of the adaptive management cycle (solid arrows).
der the Endangered Species Act.                                   Dashed arrows indicate potential breaks or failures.

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    The first assumption presumes that there is a direct            defined by a P value of 0.05, which means that there is less
linkage between the management actions being imple­                 than a 5% chance that a difference is due to chance. For
mented and the resource of concern. This linkage is often           adaptive management to be an effective strategy, one must
relatively clear at the headwater scale, but as watershed           be able to detect rapidly an adverse change so that manage­
scale increases there is an increase in the number of man­          ment can be adjusted (Figure 9). One also wants high
agement activities as well as the number and complexity of          power, which is the likelihood of detecting change when
the controlling processes. It therefore becomes increasingly        there really is a change. Conceptually, the minimum detect­
difficult to link a given management activity to the condi­         able change depends on the magnitude of the change due to
tion of a downstream resource (Figure 9). For example, a            management activities relative to the temporal variability,
decline in anadromous fish populations could be due to a            measurement uncertainty, specified level of significance,
degradation of spawning habitat and lower fry emergence             and desired power (Figure 10). It is beyond the scope of this
rates, a degradation of rearing habitat and a reduction in          article to discuss quantitatively each of these components,
escapement, competition with introduced species, changes            but managers typically underestimate the magnitude of nat­
in streamflow, the presence of dams or other migration              ural variability and overestimate their ability to detect a
barriers, an increase in mortality while the fish are in the        statistically significant change.
ocean, overfishing, climate change, disease, or a combina­              The difficulty of detecting change can be illustrated by
tion of these and other factors. Even if one can document           calculating how many years of annual sediment data are
that an increase in fine sediment is causing a decline in           needed pre and post-treatment to detect a specified percent­
spawning habitat, one must then determine the relative role         age change. In undisturbed basins the typical coefficient of
of each possible sediment source, and identify which man­           variation (CV, where the CV is equal to the standard devi­
agement actions need to be altered and where. If the in­            ation divided by the mean) for annual sediment yields is 70
crease in fine sediment can be attributed to an increase in         to 100% (Bunte and MacDonald 1999). If we ignore the
bank erosion, for example, one must then determine                  relatively large measurement uncertainty and assume the
whether the increase in bank erosion is due to an increase in       CV to be 100%, a 0.05 level of significance, and a power of
the size of peak flows, an exceptionally large storm event, a
decrease in bank vegetation, or some combination of fac­
tors. In most cases there will not be one obvious cause, and
this makes it very difficult to definitively link particular
management actions to the condition of a downstream re­
source. The difficulty of making such linkages increases
almost exponentially with increasing spatial scale due to
both the increase in the number of processes that must be
considered and the increase in the number and type of
management activities.
    The second implicit assumption is that change can be
detected within a reasonable time frame. The first problem
with this assumption is that monitoring data usually are very
limited because there are so few resources devoted to mon­
itoring. Yet the simple truism is that, “If you aren’t moni­
toring, you aren’t managing.” (S. Swanson, University Ne­
vada at Reno, personal communication, 1992). In other
words, if one isn’t qualitatively or quantitatively evaluating
the effects of one’s actions, it’s difficult to claim that one is
actually managing a particular resource or activity. It clearly
is not possible to monitor everything everywhere all of the
time, so monitoring programs have to be carefully designed
and focused (MacDonald et al. 1991). The development and
implementation of a monitoring program also can be hin­
dered by the lack of rigorous methods and criteria for
evaluating key resources, such as the quality of spawning
habitat, the quality of rearing habitat, or the amount, loca­
tion, and size of large woody debris in different environ­
ments and channel types. The different stakeholders and
resource managers must also agree a priori on what type and
magnitude of change is needed to trigger a specified change
in management. In the absence of an explicit monitoring
program and explicit criteria for decisionmaking, adaptive
management is not a viable option (Figure 9).
    The second problem is that significant change may be            Figure 10. Schematic of the various factors that control the minimum
very difficult to detect. In most cases significant change is       detectable effect.


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80%, one needs 17 years of pretreatment data and 17 years          paving. However, if the problem is an increase in stream
of posttreatment data to detect a 100% increase in annual          temperature due to a loss of riparian canopy or a change in
sediment yields (Loftis et al. 2001). With only 5 years of         the size of peak flows due to forest harvest, the time lag for
pretreatment and 5 years of posttreatment data, the mini­          recovery will probably be quite slow because it depends on
mum change that can be detected under these same condi­            the rate of forest regrowth. Bank erosion may recover rel­
tions is a 250% increase. Change can be detected more              atively quickly if it is due to overgrazing, but not if it is
rapidly if some of the variability in the parameter of interest    caused by an increase in the size of peak flows.
can be accounted for by another variable, such as annual               The second time lag is the time needed to transport the
precipitation or the sediment yields from a comparable             constituent of concern to the location of interest. This time lag
control watershed (Loftis et al. 2001).                            can be negligible in the case of peak flows or certain param­
    Because most resources are highly variable over time           eters such as turbidity, but much longer in the case of coarse-
and space, resource managers can expect to detect only             textured sediment. The third lag is the amount of time needed
relatively large changes within any reasonable length of           for the resource to recover. Macroinvertebrates can quickly
time (Loftis et al. 2001). Current environmental regulations       recover from a toxic chemical spill if there is a healthy com­
and best management practices (BMP) were developed in              munity upstream, but the recovery of a resident fish population
response to the more obvious declines in resource condition,       may take several generations. If a possible consequence of
and as regulations become more stringent we are trying to          management is the extinction of a desired species or popula­
detect progressively smaller changes. The implication is           tion, adaptive management is not a viable option.
that it will become increasingly difficult to detect significant       Each of these time lags and potential consequences must be
changes at the watershed scale, and to link these changes to       evaluated to determine whether adaptive management is a
specific management actions. An important caveat on the            viable approach (Figure 9). In general, all three of these time
adaptive management process is that the inability to detect        lags must be relatively short for adaptive management to be
a significant change does not necessarily mean that no             effective in minimizing resource damage. However, if society
change has occurred, as many monitoring programs have              is willing to accept some resource degradation, adaptive man­
relatively low statistical power.                                  agement may be a viable option across larger time and space
    The third assumption underlying adaptive management            scales. For example, the progressive development and appli­
is that the resource of concern will respond rapidly to a          cation of forestry-related BMP in the Pacific Northwest has
change in management. The validity of this assumption will         been an adaptive management process. The problem is that
vary widely with stream type, the type of change imposed           each iteration of this adaptive management cycle required a
by management actions, and the resource of concern (Mont­          certain amount of resource degradation to trigger another
gomery and MacDonald 2002). Some water quality param­              round in the development and imposition of BMPs. The ac­
eters, such as turbidity, change rapidly in response to a          ceptability of this degradation is a political and social issue, but
storm event, and these changes are rapidly transmitted             one also has to consider the extent to which this degradation is
downstream. However, many decades may be required be­              reversible. Certain management activities are largely irrevers­
fore a change in riparian management affects the amount of         ible, such as urbanization or the construction of high-value
LWD in a stream channel. A long lag in resource response           infrastructure projects (e.g., highways, dams, or ski resorts).
will preclude the use of adaptive management, or result in         The listing of numerous salmonid populations in the Pacific
an extended period of adverse effects before there is a            Northwest under the Endangered Species Act indicates a fail­
change in management and a positive effect on resource             ure of at least some of the regulatory systems designed to
condition (Figure 9).                                              protect these populations. Both failures and successes must be
   Watershed scale also can affect the magnitude and tim­          critically examined to determine the conditions under which
ing of a resource response. The overall tendency is for            adaptive management can be an effective strategy for protect­
downstream resources to become less responsive to man­             ing aquatic resources.
agement changes as watershed size increases because of the
greater potential for time lags (storage), dilution, and uptake
                                                                   Conclusions
or transformations (Table 1). As one example, the deposi­
tion of sediment in a first-order channel due to a road                The hillslopes draining to headwater streams account for
crossing may exhibit little or no time lag between a change        most of the catchment area and generate the majority of the
in management (e.g., armoring a fillslope or installing wa­        streamflow. In most cases the streamflow from headwater
terbars just before the crossing) and a decrease in the            channels is efficiently routed to downstream areas. This
amount of sediment being deposited. The initial deposit also       means that management-induced changes in streamflow
may be rapidly removed by high flows. In larger watersheds         will accumulate downstream, but the changes in peak flows
there is more likely to be a substantial time lag between          at the headwater scale generally will be diminished in the
efforts to decrease sediment inputs in headwater streams           downstream direction because of dispersion, dilution, stor­
and the amount of sediment in a downstream location.               age, and desynchronization. Similarly, turbidity, fine sedi­
    These examples suggest that resource response times            ment, dissolved organic carbon, and particulate organic
depend on at least three potential time lags. The first time       matter can be readily transported downstream, and for these
lag is the rate at which the causal process recovers. If the       constituents it may be possible to directly link a change in
causal process is surface erosion from unpaved forest roads,       headwater inputs to downstream conditions.
erosion can be rapidly reduced by building new waterbars or            There is a much weaker link between upstream inputs

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and downstream fluxes for coarse sediment, large woody                  supply to channel networks from landsliding and debris flows.
debris, nutrients, and stream temperatures. The poorer con­              Water Resour. Res. 33(12):2849-2863.
nectivity is due to a combination of in-channel storage,              Benda, L., and T. Dunne. 1997b. Stochastic forcing of sediment
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      Ecosystem Representation in the Rio Grande National Forest

      These comments address the role of ecosystem representation in the Rio Grande
      National Forest's land management planning process. As explained below and
      illustrated by the accompanying maps and data, the Rio Grande hosts numerous
      ecosystem types that are poorly represented in the National Wilderness Preservation
      System (NWPS) both regionally and nationally. Given the central importance of
      ecosystem diversity to conserving biological diversity and satisfying the requirements of
      the 2012 National Forest System Land Management Planning Rule, 36 C.F.R. part 219,
      the upcoming plan revision process presents a crucial opportunity for the Rio Grande to
      increase the diversity of ecosystems that are protected as part of the NWPS or through
      other special designations. Most immediately, the Forest Service should incorporate
      ecosystem representation into its assessment of the need and opportunity for
      additional designated areas.

          I.       Ecological Importance of Ecosystem Representation in Wilderness and Other
                   Protected Areas

      Wilderness and other protected conservation areas are the cornerstones of most
      regional, national, and international efforts to conserve biological diversity and
      ecological processes of natural ecosystems (Bertzky et al. 2012). Research has shown
      that protected areas reduce the loss, degradation, and fragmentation of natural habitats
      (Bruner et al. 2001; Naughton-Treves et al. 2005) and slow the rate of extinction of
      threatened species that occur therein (Butchart et al. 2012). Conversely, federal public
      lands in the United States that are managed for a variety of uses including mining,
      logging, and motorized recreation - and not primarily for conservation purposes - do
      not have the same benefits. Recognizing the central importance of protected areas in
      conserving biological diversity, the International Convention on Biological Diversity
      recommends that at least 17% of the world's terrestrial areas be conserved by 2020
      (Woodley et al. 2012). To that end, the NWPS already serves as the world's largest
      national system of highly protected conservation areas.1

      Wilderness and other protected areas, however, can help achieve biodiversity targets
      only if they are located in the right places - that is, if they are ecologically representative
      of terrestrial ecosystems. This "representation" approach assumes that for protected
      areas to conserve genetic, species, and community diversity - as well as the
      composition, structure, function, and evolutionary potential of natural systems - they
      must encompass the full variety of ecosystems (Olson & Dinerstein 1998; Margules &

      1 The NWPS contains 21 million hectares in 690 units, covering nearly 1/5 of what the International Union
      for Conservation of Nature (IUCN) classifies as "category 1 areas," or the most natural and highly
      protected areas worldwide. By contrast, the IUCN classifies general Forest Service matrix lands as "GAP
      Status 3" - "Area having permanent protection from conversion of natural land cover for the majority of
      area. Subject to extractive uses of either broad, low-intensity type (eg. Logging) or localized intense type
      (eg. Mining)." - which is not considered a "protected" category for biodiversity purposes.

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      Pressey 2000). In other words, protection of distinct ecological communities in turn
      protects the species that rely on them and the natural ecological processes that are
      characteristic of those ecosystems (Rodrigues et al. 2004; Bunce et al. 2013). According
      to the Convention on Biological Diversity, the percentage of terrestrial ecosystems
      protected by 2020 (with a target of 17%) is one indicator of how well ecosystems are
      represented throughout the global network of protected conservation areas (Woodley
      et al. 2012).

      Despite its importance, our analysis of ecosystem representation in the NWPS (Dietz et
      al. 2014 (In revision)) - which is described in detail below - shows that the NWPS suffers
      from a significant under-representation of many ecosystems. Over 20% (117) of the 553
      types of unique ecosystems occurring on federal lands in the contiguous United States
      are not included in the NWPS. Even more concerning is that less than half of those 553
      ecosystems are more than nominally represented: only 244 ecosystem types have at
      least 5% of their federal land area protected in the NWPS. And at a more reasonable
      20% target for biodiversity conservation purposes, that number falls to only 113
      ecosystems with at least 20% of their federal land area protected in the NWPS. 95% of
      that diversity was achieved by 1994, and wilderness designations over the past 15 years
      have added only 1 new ecosystem type above the 20% threshold. Moreover, there is
      not a clear correlation between how rare an ecosystem is on federal lands and how well
      it is represented in the NWPS. We found that there are many ecosystem types that are
      common on federal lands (covering over 100,000 hectares) but are poorly represented
      in the NWPS.

      As we commemorate the 50th anniversary of the Wilderness Act (signed into law on
      September 3, 1964), it is important to begin to remedy this under-representation of
      ecosystems in the NWPS. Human population growth, climate change, and pressure for
      development and extraction of natural resources make wilderness and other protected
      areas increasingly vital to conserve biological diversity. Given those pressures and
      stressors, we must establish a network of connected wilderness and other protected
      areas that represent the full expression of ecosystem diversity.

         II.      Regulatory Requirements to Evaluate Ecosystem Representation

      Given the regional, national, and global importance of ecosystem representation in the
      NWPS and other protected areas, the 2012 National Forest System Land Management
      Planning Rule requires the Forest Service to evaluate and incorporate ecosystem
      representation into its forest assessment and planning processes. Indeed, protecting
      ecosystem diversity is a central purpose of forest planning under the rule:

               Plans will guide management of [National Forest System] land so that
               they are ecologically sustainable and contribute to social and economic
               sustainability; consist of ecosystems and watersheds with ecological
               integrity and diverse plant and animal communities; and have the

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             capacity to provide people and communities with ecosystem services and
             multiple uses that provide a range of social, economic, and ecological
             benefits for the present and into the future.

      36 C.F.R. § 219.1(c) (emphasis added).

      To satisfy the 2012 Planning Rule's ecosystem diversity mandate, forests are first
      required to identify and evaluate existing designated areas, including wilderness, and
      the potential need and opportunity for additional designated areas as part of the
      assessment phase. Id. § 219.6(b)(15). In doing so, the assessment “should identify and
      evaluate available information to answer questions such as: . . . Are there specific land
      types or ecosystems present in the plan area that are not currently represented or
      minimally represented?" Forest Service Handbook (FSH) 1909.12, ch. 10, § 14(1)(4)(c).

      Next, during the plan development or revision phase, the Forest Service is required to
      “[i]dentify and evaluate lands that may be suitable for inclusion in the [NWPS] and
      determine whether to recommend any such lands for wilderness designation." 36 C.F.R.
      § 219.7(c)(2)(v). In evaluating potential wilderness areas, the agency must, among other
      things, “[e]valuate the degree to which the area may contain ecological, geological, or
      other features of scientific, educational, scenic, or historical value." FSH 1909.12, ch. 70,
      § 72.1(4); see also 16 U.S.C. § 1131(c)(4) (wilderness, as defined by the Wilderness Act
      of 1964, “may also contain ecological, geological, or other features of scientific,
      educational, scenic, or historical value"). “Such features or values may include[ r]are
      plant or animal communities or rare ecosystems," with “rare" being “determined locally,
      regionally, nationally, or within the system of protected designations." FSH 1909.12, ch.
      70, § 72.1(4)(a).

      In addition to identifying and evaluating areas to recommend for wilderness
      designation, the 2012 Planning Rule also requires the agency to “[i]dentify existing
      designated areas other than [wilderness] and determine whether to recommend any
      additional areas for designation." 36 C.F.R. § 219.7(c)(2)(vii). Those special designations
      may include, for example, ecological areas, botanical areas, or Research Natural Areas
      (RNAs), which are designed to “[m]aintain a wide spectrum of high quality
      representative areas that represent the major forms of variability . . . that, in
      combination, form a national network of ecological areas for research, education, and
      maintenance of biological diversity . . . [and s]erve as a baseline area for measuring long­
      term ecological changes." Forest Service Manual 4063.02; see also 36 C.F.R. § 219.19
      (Forest Service may designate RNAs as part of planning process).

      Complementing the requirement to consider ecosystem representation in determining
      suitability for wilderness and other special designations, the 2012 Planning Rule directs
      that plans generally provide for ecological sustainability and integrity and “the diversity
      of plant and animal communities and the persistence of native species." 36 C.F.R.
      §§ 219.8-219.9. The Forest Service cannot satisfy those substantive mandates without

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      adequately protecting ecosystem diversity in the plan area. For example, plans “must
      include plan components, including standards or guidelines, to maintain or restore the
      diversity of ecosystems and habitat types[, including r]are . . . plant and animal
      communities." Id. § 219.9(a)(2). With conflicting management and resource demands
      and human-caused stressors such as climate change that threaten ecosystem diversity
      and integrity, plans simply cannot restore or maintain the diversity of plant and animal
      communities absent a robust network of protected areas that adequately represent that
      diversity.

      Collectively, these various procedural and substantive mandates commit the agency to a
      meaningful evaluation and consideration of under-represented and rare ecosystems
      throughout the planning process, starting with the assessment of the need and
      opportunity for additional designated areas. In doing so, the agency is required to use
      “the best available scientific information." Id. § 219.3. As described in the methodology
      section below, we believe our analysis of ecosystem representation represents the best
      available scientific information, and we encourage the Forest Service to incorporate it
      into its assessment, wilderness evaluation, and the broader planning process.

          III.      Methods and Analysis of Ecosystem Representation

      To inform the Rio Grande National Forest's assessment of the need and opportunity for
      additional designated areas, we conducted an analysis of ecosystem representation in
      wilderness at the national- and forest-level scales to provide the best available scientific
      information.

      According to the U.S. Geological Survey (USGS), the contiguous United States contains
      565 terrestrial, non-developed ecosystems. In this study, we analyzed representation of
      those ecosystems by comparing their areas in the NWPS with their areas on federal land
      at both the national and forest levels in order to calculate a percent representation:

                 Equation 1: (area of ecosystem in the NWPS/area cf ecosystem on federal
                 land)*1002

                 Equation 2: (area of ecosystem in the NWPS on the Rio Grande NF/area of
                 ecosystem on the Rio Grande NF)*100

      We conducted these calculations at the finest scale for which consistent, spatially-
      explicit vegetative land-cover data is available: the 6th level of the National Vegetation




      2 We used federal land, as opposed to all land, within the contiguous United States to better assess where
      ecosystems are under-represented on lands potentially available for wilderness designation.


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      Classification System (NVCS 2008).3 That data is from the USGS Gap Analysis Program
      (GAP) national land-cover data version 2 at 30-meter resolution (USGS 2011).

      We obtained spatial data of the NWPS from the University of Montana College of
      Forestry and Conservation's Wilderness Institute at wilderness.net, which maintains the
      most up-to-date spatial data on wilderness areas. To map federal land area, we used the
      U.S. Protected Areas Database (PAD-US) version 1.3 (USGS 2012), which includes
      geographic boundaries, land ownership, land management, management designation,
      parcel name, area, and protection category.4

      We overlaid the NWPS and all federal lands with land-cover data in a Geographic
      Information System (ArcGIS 10.2) to calculate and compare the total area of each
      ecosystem within the NWPS and federal land. We then calculated the percent of each
      ecosystem within the NWPS based on all area occurring on federal land (Equation 1,
      above).5 This was part of a national assessment that we conducted (Dietz et al. 2014 (in
      revision)).

      We did the same calculations at the forest level. We extracted land-cover data and
      clipped it to the forest boundary, and then calculated the percent of each ecosystem
      within the Rio Grande National Forest's four existing wilderness areas based on all
      federal land area occurring on the Forest (Equation 2, above).

      Next we classified representation for each scale into four classes (<5%, 5-9.9%, 10­
      19.9%, >20%) and mapped them across the entire national forest. We considered
      ecosystems with <19.9% of their total area in the NWPS as inadequately represented.

      We then brought the Colorado inventoried roadless areas data for the Rio Grande
      National Forest into Arc and created a new shapefile that included only the inventoried
      areas. This allowed us to focus our analysis on the areas that are potentially suitable for
      wilderness designation by tabulating the area of each ecosystem occurring within each
      roadless area (see attached matrix, Table 2 “Ecosystem Composition of Colorado
      IRAs.xlsx”). Values within the matrix are the estimated acres of each ecosystem
      occurring within each roadless area unit.




      3 The NVCS classifications are as follows: 1) Class; 2) Subclass; 3) Formation; 4) Division; 5) Macrogroup; 6)
      Group (a.k.a. ecological system, to which we refer in this study as “ecosystem”); 7) Alliance; and 8)
      Association.


      4 The PAD-US is a national inventory of terrestrial and marine protected areas that are managed to
      preserve biological diversity and other natural, recreation, and cultural uses.

      5 For example, when we say "boreal aspen-birch forest has 19% representation in NWPS,” we mean that
      19% of all federal land encompassing that ecosystem type is protected as wilderness in the NWPS.

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      We used these data to calculate the proportion (%) of each roadless area that is
      composed of ecosystems inadequately represented in the NWPS by each of the 3 lower
      representation classes (<5%, 5-9.9%, 10-19.9%) and for both scales of representation
      (Table 1).

         IV.     Results

      Our analysis shows that a significant number of inventoried roadless areas on the Rio
      Grande National Forest contain high proportions of inadequately represented
      ecosystem types at both the forest-level and national scales (Tables 1 & 2; Maps 2 & 3).
      We found that under-represented ecosystems (at both representation levels) cover over
      50% of the acreage of 22 of the 53 inventoried roadless areas in the forest, and over
      80% of 7 of the 53 areas. The ecosystem under-representation problem is particularly
      acute at the forest level, where severely under-represented ecosystem types (<5%)
      cover over 40% - and up to 71% - of the acreage of 10 of the 53 inventoried roadless
      areas.

      More broadly, our analysis shows that inadequately represented ecosystem types cover
      over 40% of the Rio Grande National Forest at both the national and forest levels of
      representation. (Table 3, Tabs 2 & 3).

      At the forest level, our analysis found that only 11 of the 31 ecosystem types found on
      the Rio Grande are adequately represented (Table 3, Tabs 1 & 2; Map 3). In total, under­
      represented ecosystem types span over 43% of the forest area and approximately
      788,000 acres. Ecosystem types with less than 5% representation at the forest level
      comprise over 23% of the entire Rio Grande, while ecosystem types with less than 10%
      representation at that scale cover 27% of the forest.

      The story is similar at the national scale, with a total of 21 inadequately represented
      ecosystem types covering over 41% and 742,000 acres of the Rio Grande (Table 3, Tab 3;
      Map 2). Further, only 6% of these under-represented ecosystems are protected in
      wilderness nationally.

      Notably, two of the most prevalent ecosystems on the Rio Grande are under­
      represented both at the forest and national levels (Table 3, Tabs 2 & 3). The Southern
      Rocky Mountain Montane-Subalpine Grassland covers over 191,000 acres of the forest,
      yet only 3.4% of the ecosystem is protected as wilderness. The Rocky Mountain Aspen
      Forest and Woodland spans 209,000 acres on the Rio Grande, only 28,000 of which are
      protected in the forest's wilderness.

      The attached maps and tables depict these results in detail, showing the following:

      Map 1 “Colorado Roadless Areas, Rio Grande National Forest”: Depicts each unit
      (polygon) in the Colorado Roadless Area inventory, with the Upper Tier units outlined in

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      black with hash marks, other Colorado Roadless Areas outlined in blue with hash marks,
      and the forest boundary shaded deep green.

      Map 2 “Ecosystem Representation on the Federal Level“: Color depiction of the results
      of Equation 1 (above), showing the level of representation in the NWPS of each
      ecosystem type at the national scale. For example, areas shown in red depict
      ecosystems that are represented in the NWPS at less than 5% of all available federal
      land. [Colorado Upper Tier Roadless Ares outlined in black with cross-hatching; other
      Colorado Roadless Areas outlined in blue with cross hashing]

      Map 3 “Ecosystem Representation on the Forest Level”: Color depiction of the results of
      Equation 2 (above), showing the level of representation in the NWPS of each ecosystem
      type at the forest level. [Colorado Upper Tier Roadless Ares outlined in black with cross­
      hatching; other Colorado Roadless Areas outlined in blue with cross hashing]

      Table 1 “Rio Grande IRAs Representation Table”: Proportion (%) of each inventoried
      roadless area composed of under-represented ecosystem types on the Rio Grande
      National Forest based on national- and forest-level representation. Representation of
      each ecosystem type was quantified based on all available area on federal land and the
      individual forest. All ecosystems with <20% representation in the NWPS at each scale
      were broken into 3 levels of representation (<5%, 5-9.9%, and 10-19.9%). This table
      allows one to prioritize roadless area units by proportion of land area that is composed
      of under-represented ecosystems, at three levels.

      Table 2 “Ecosystem Composition of Colorado IRAs”: Values within the matrix are the
      estimated acres of each ecosystem type occurring within each roadless area unit. This
      table depicts the specific ecosystem composition of each unit.

      Table 3, Tabs 1-3 “Rio Grande National Forest Ecosystems Representation”: These tables
      depict which ecosystems are under-represented at the forest-level and national scales.
      Tab 1 shows a complete list of ecosystem types found on the Rio Grande National
      Forest, and the proportion of each type in the NWPS at the forest-level and national
      scales. Tabs 2 and 3 show representation breakdowns at the three levels (<5%, 5-9.9%,
      and 10-19.9%) at the forest-level and national scales.

         V.      Recommendations

      Sufficient ecosystem representation in the NWPS and other protected areas is crucial to
      achieving ecological integrity of the diverse plant and animal communities found in the
      Rio Grande National Forest. As described above and depicted in the attached maps and
      tables, our analysis shows that under-representation of ecosystems in the NWPS is a
      significant problem on the Rio Grande. Thus, the planning process presents the Forest
      Service with a critical opportunity to prioritize protection of ecosystem diversity and
      begin to remedy the under-representation of numerous ecosystem types in the NWPS.

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      To that end, we urge the Rio Grande National Forest to use the representation
      information in the attached tables and maps and described above throughout the
      planning process. Most immediately, the information should be used to assess the need
      and opportunity for additional designated areas. Following the assessment, the
      information also should be used to evaluate areas that may be suitable for inclusion in
      the NWPS,6 and to determine which areas to carry forward for NEPA analysis and,
      ultimately, which areas to recommend for wilderness designation. In addition, the forest
      should use the information more broadly in its planning process and determinations
      whether to designate or recommend for designation other areas such as RNAs,
      ecological or botanical areas, etc. As described above, we believe that this information is
      the best available science on ecosystem representation, which the agency is legally
      required to use in its planning process.

      If you have any questions about the analysis or data, or would like to have the data in
      another format, please contact Phil Hartger (phil_hartger@tws.org ).




      6For example, Region 5 has made exceptional efforts to incorporate our analysis into the wilderness
      evaluation processes for the Inyo, Sequoia, and Sierra National Forests. The Region's wilderness team
      prepared a data summary for each inventoried unit, ranked by percent composition of under-represented
      ecosystems, to assess the relative opportunities in each unit to enhance ecosystem diversity. Those
      summaries are attached hereto.

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MAP 3: ECOSYSTEM -REPRESENTATION ON THE FOREST LEVEL,
             RIO g^RaNde national forest




                                         Rio Grande National Forest

                                         Colorado Roadless Areas
            N                            Upper Tier

                                         Colorado Roadless Areas

                                  Rio Grande NF, Representation in NWPS

                                         < 5%

                                         5 - 9.9%

                                         10 - 19.9
0     10   20    30   40
                        Miles            > 20%
                                                                      Rvs
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                           Rio Grande National Forest, underrepresented Ecological Systems ("Ecosystems")

                                            Federal Representation                                  Forest Representation
Colorado Roadless Unit              < 5%     5 - 9.9% 1 10 - 19.9%   < 20%              1    < 5%    5 - 9.9% 110 - 19.9%   < 20%
Butterfly                           21.7        2.7        60.8       85.1                   49.4      23.9      13.9       87.2
Spectacle Lake                       1.2       32.0        50.9       84.1                   64.8      16.3       4.2       85.4
Taylor Canyon                        0.3       35.3        48.1       83.7                   54.7      14.7      15.3       84.7
Cotton Creek                         8.2       16.4        58.3       82.8                   40.7      29.3      14.6       84.6
Ute Pass                             7.1       22.6        51.8       81.4                   71.1       8.8      3.3        83.2
Dorsey Creek                         0.1       13.1        67.3       80.6                   45.2       3.3      33.5       82.0
Miller Creek                        25.7        8.5        46.0       80.2                   45.2      19.1      17.4       81.7
Hot Springs                          0.0       20.5        59.1       79.6                   29.7       1.5      47.0       78.3
Conejos River / Lake Fork            0.0        8.5        70.5       79.0                   43.5      12.7      18.0       74.2
Pole Creek                           6.7       14.4        57.2       78.3                   22.8       1.2      49.4       73.4
Sawlog                               0.2        9.8        62.2       72.2                   15.1       7.0      49.8       71.9
Crestone                            17.3       11.3        41.6       70.1                   37.4      12.7      21.0       71.0
Antora Meadows / Bear Creek          0.3        4.4        62.1       66.8                   44.7       1.5      24.2       70.4
Elkhorn Peak                         1.9        3.8        59.9       65.5                   33.0       0.6      34.4       68.0
Tewksberry                           0.2        8.9        55.3       64.4                   37.2       8.2      22.3       67.7
La Garita                            8.3        9.2        45.0       62.4                   48.3      9.8       8.7        66.7
Four Mile Creek                      0.1       13.6        48.3       62.0                   27.9      19.0      17.5       64.4
Middle Alder                         0.8       13.4        47.6       61.8                   25.7      11.2      21.6       58.5
Spruce Hole / Sheep Creek            2.5        3.5        53.9       59.9                   26.5       4.2      27.6       58.3
Trout Mountain / Elk Mountain        1.1        5.7        50.8       57.7                   16.7      11.2      26.6       54.5
Beaver Mountain                      0.8        6.7        49.4       56.9                   14.3       7.7      32.4       54.4
Bennet Mountain / Blowout / Willo    1.0        4.7        48.8       54.5                   35.7       1.0      16.8       53.5
Alamosa River                        0.3        5.5        45.0       50.8                   11.3       2.3      33.5       47.1
Fox Creek                            0.2        3.7        40.8       44.6                    3.6      13.4      29.4       46.4
Wason Park                           0.3        1.7        31.9       33.9                   21.9       2.3      17.8       41.9
Wightman Fork / Upper Burro          0.0        0.4        32.7       33.2                   12.6       2.9      21.1       36.6
Lower East Bellows                   0.1        4.3        28.6       32.9                    2.8       4.2      28.4       35.4
Chama Basin                          0.1        3.1        28.8       32.1                   20.5       3.5      10.0       33.9
Snowshoe Mountain                    0.0        2.5        29.4       32.0                    0.5       0.4      32.8       33.7
Box / Road Canyon                    0.4        2.8        22.8       25.9                   9.8        0.0      22.5       32.3
Tobacco Lakes                        0.0       22.7         2.0       24.8                    1.3       1.5      23.5       26.3
Cumbres                              0.0        4.1        20.3       24.4                    7.1       1.4      16.2       24.7
Lake Fork                            0.0        0.4        23.2       23.7                   13.9       1.5      8.5        23.9
Copper Mountain / Sulphur            0.0        3.8        18.6       22.4                    4.5       1.0      16.6       22.2
Silver Lakes / Stunner               0.0        1.4        18.3       19.8                    4.7       0.2      16.2       21.2
Wightman Fork To Lookout             0.0        0.6        19.1       19.7                    1.3       0.0      19.7       21.1
Deep Creek / Boot Mountain           0.0        0.5        18.8       19.4                    2.9       0.7      17.4       21.0
Willow Mountain                      0.0        0.8        17.7       18.5                    0.6       0.7      18.5       19.8
Ruby Lake                            0.0        2.0        16.4       18.4                    3.5       0.5      15.7       19.7
Bristol Head                         0.0        1.1        16.3       17.4                    4.2       1.8      12.5       18.5
Sheep Mountain                       0.0        0.2        14.5       14.7                    6.0       3.0       6.4       15.4
Fox Mountain                         0.0        1.1        13.4       14.5                    6.8       0.0       7.0       13.8
Big Buck / Kitty / Ruby              0.0        0.2        12.4       12.6                    1.9       0.0      9.2        11.2
Pole Mountain / Finger Mesa          0.0        0.5         9.8       10.3                    2.2       0.0       8.9       11.1
Kitty Creek                          0.0        0.1         6.5        6.6                    1.6       0.0       5.1        6.7
Red Mountain                         0.0        0.9         4.6        5.5                    1.2       1.9      3.4         6.5
Gibbs Creek                          0.0        0.7         4.4        5.0                    1.9       0.1       3.8        5.8
Sulphur Tunnel                       0.0        0.2         4.4       4.6                     0.2       0.6      4.8         5.6
Gold Creek / Cascade Creek           0.0        1.0         3.1        4.1                    1.6       1.6       1.4        4.6
Stunner Pass / Dolores Canyon        0.0        1.0         2.1       3.1                     0.3       0.0       3.8        4.1
Beartown                             0.0        0.1         1.7        1.7                    0.5       0.0       1.6        2.1
Indian Ridge                         0.0        0.0         1.3        1.3                    0.1       0.0       1.8        1.8
Summit Peak / Elwood Pass            0.0        1.1         0.0        1.1                    0.0       0.0       1.4        1.4




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Values are the estimated acres of each ecosystem occuring within each Idaho Inventoried
                                     Roadless Area                                      Colorado Roadless Rule Areas


                                                                                                                             Spruce Hole /                            Conejos River /       Summit Peak /       Stunner Pass /       Wightman Fork Silver Lakes /
Ecosystem                                                                              Chama Basin         Cumbres                                Fox Creek                                                                                                              Tobacco Lakes
                                                                                                                             Sheep Creek                              Lake Fork             Elwood Pass         Dolores Canyon To Lookout              Stunner


Inter-Mountain Basins Aspen-Mixed Conifer Forest and Woodland                                        392               213                 158                  66                  62                      0                    0                 2                14                   0
Rocky Mountain Aspen Forest and Woodland                                                         6,010               1,840             2,540                  1,558               433                       0                53                 993               829                16
Rocky Mountain Lodgepole Pine Forest                                                                   0                 0                    0                   2                     0                   0                    0                 0                 3                   0
Rocky Mountain Subalpine Dry-Mesic Spruce-Fir Forest and Woodland                                4,866               4,133                 552                1,980                 22                    459             1,068                1,405             1,244              806
Rocky Mountain Subalpine Mesic Spruce-Fir Forest and Woodland                                    3,191               1,498                 511                1,015                 30                    143             1,489                1,160             2,165              790
Rocky Mountain Subalpine-Montane Limber-Bristlecone Pine Woodland                                      0                 4                    0                158                      0                   1                    0                 7                11                   0
Southern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest and Woodland                           84               151                   95                812                  61                      0                    1                 2                27                   0
Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and Woodland                               25                39                 433                    6                 27                      0                    0                 0              123                    0
Southern Rocky Mountain Ponderosa Pine Woodland                                                        0                19                   86                111                  12                      0                    0                 0                10                   0
Colorado Plateau Pinyon-Juniper Woodland                                                               0                 0                    0                  0                      0                   0                    0                 0                 0                   0
Southern Rocky Mountain Pinyon-Juniper Woodland                                                        0                 0                    5                  8                      0                   0                    0                 0                 0                   0
Rocky Mountain Lower Montane Riparian Woodland and Shrubland                                           0                 0                   18                  0                      0                   0                    0                 0                 0                   0
Rocky Mountain Subalpine-Montane Riparian Woodland                                                     0                 0                   91                  0                      0                   0                    0                 0                 0                   0
Southern Rocky Mountain Montane-Subalpine Grassland                                                   47                82                 923                  87                  92                      0                    9                75                60               52
Rocky Mountain Gambel Oak-Mixed Montane Shrubland                                                      0                 0                 165                   0                      0                   0                    0                 0                 2                   0
Rocky Mountain Lower Montane-Foothill Shrubland                                                        0                 0                    0                  0                      0                   0                    0                 0                 0                   0
Rocky Mountain Subalpine-Montane Mesic Meadow                                                        743               474             1,182                    65                      0                   7                33                   73                48               87
Rocky Mountain Alpine-Montane Wet Meadow                                                         3,191               1,191                 516                  26                  44               1,472                   75                 758               245               135
Rocky Mountain Subalpine-Montane Riparian Shrubland                                              1,312                 422                 244                  63                  87                    608               101                 338               329               374
Inter-Mountain Basins Montane Sagebrush Steppe                                                         0                 0                    0                  0                      0                   0                    0                 0                 0                   0
Inter-Mountain Basins Semi-Desert Shrub Steppe                                                         0                 0                    0                  0                      0                   0                    0                 0                 0                   0
Rocky Mountain Alpine Fell-Field                                                                     194                 0                    0                  0                      0                  82                    2                60                71               45
Rocky Mountain Alpine Turf                                                                            74                 1                    0                  0                      0                 316                    0                88                68               50
Rocky Mountain Cliff, Canyon and Massive Bedrock                                                     266               107                   30                 46                      0                   0                83                 353               240               106
Rocky Mountain Alpine Bedrock and Scree                                                              687                36                    0                  0                      0                 105                13                 254               137                97
Cultivated Cropland                                                                                    0                 0                    1                  0                      0                   0                    0                 0                 0                   0
Introduced Upland Vegetation - Perennial Grassland and Forbland                                       30                 0                    1                  0                      0                   0                    0                 0                 0                   0
Recently Logged Areas                                                                                266               129                   18                  0                      0                  36                25                   29                 5               66
Open Water (Fresh)                                                                                     5                65                    3                 44                      0                   0                    4                 2                52              687




                                                                                                                                                                                                                  Rvsd Plan - 00001822
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Values are the estimated acres of each ecosystem occuring within each Idaho Inventoried
                                     Roadless Area                                      Colorado Roadless Rule Areas
                                                                                                                                                                                                                                                                        Copper
                                                                                       Gold Creek /                                                                                                                              Snowshoe
Ecosystem                                                                                                  La Garita           Tewksberry         Fox Mountain        Gibbs Creek         Kitty Creek         Wason Park                            Red Mountain        Mountain /
                                                                                       Cascade Creek                                                                                                                             Mountain
                                                                                                                                                                                                                                                                        Sulphur
Inter-Mountain Basins Aspen-Mixed Conifer Forest and Woodland                                          0                 73                 399                  45                   0                   2                 15               518                    8                167
Rocky Mountain Aspen Forest and Woodland                                                               8               1,733            1,400                270                     17                  51            1,945                4,553              137                   772
Rocky Mountain Lodgepole Pine Forest                                                                   0                 23                  12                   8                   7                   4                 18               173                    0                  0
Rocky Mountain Subalpine Dry-Mesic Spruce-Fir Forest and Woodland                                  224                 1,527                812            3,153                    787                 910            3,140                8,125            1,667                1,176
Rocky Mountain Subalpine Mesic Spruce-Fir Forest and Woodland                                      347                 1,684            1,426              1,648                    519                 273            2,140                9,886             414                 1,465
Rocky Mountain Subalpine-Montane Limber-Bristlecone Pine Woodland                                      0                620                   0                   3                   0                   0                597              1,645                  10                  1
Southern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest and Woodland                            0                867                 742              186                     23                  29                472               909                   22                 37
Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and Woodland                                0               1,033            1,175                339                      2                   8                286              1,305                   0                 73
Southern Rocky Mountain Ponderosa Pine Woodland                                                        0                897                 169                   2                   0                   0                302               236                    2                  0
Colorado Plateau Pinyon-Juniper Woodland                                                               0                   3                  0                   0                   0                   0                  0                 0                    0                  0
Southern Rocky Mountain Pinyon-Juniper Woodland                                                        0                875                   6                   0                   0                   0                 51                  7                   0                  0
Rocky Mountain Lower Montane Riparian Woodland and Shrubland                                           0                   0                  0                   0                   0                   0                  0                 0                    0                  0
Rocky Mountain Subalpine-Montane Riparian Woodland                                                     0                   0                  0                   0                   0                   0                  0                 0                    0                  0
Southern Rocky Mountain Montane-Subalpine Grassland                                                 18                 1,120                322                  19                  14                   7            3,811                2,158                   6                 79
Rocky Mountain Gambel Oak-Mixed Montane Shrubland                                                      0                   0                  0                   0                   0                   0                  1                  0                   0                  0
Rocky Mountain Lower Montane-Foothill Shrubland                                                        0                   0                  0                   0                   0                   0                  0                 0                    0                  0
Rocky Mountain Subalpine-Montane Mesic Meadow                                                       60                    21                 24              103                      0                   0            1,071                 318                   12                 94
Rocky Mountain Alpine-Montane Wet Meadow                                                            87                   12                   5                  75                   1                  65            1,242                 245               139                   168
Rocky Mountain Subalpine-Montane Riparian Shrubland                                                 83                   46                  72              120                     26                  39            1,471                 643               246                   632
Inter-Mountain Basins Montane Sagebrush Steppe                                                         0                   0                  0                   0                   0                   0                  6                 11                   0                  0
Inter-Mountain Basins Semi-Desert Shrub Steppe                                                         0                   2                  0                   0                   0                   0                  2                  1                   0                  0
Rocky Mountain Alpine Fell-Field                                                                       0                  0                   0                   5                   5                  20                825                47               156                    65
Rocky Mountain Alpine Turf                                                                             0                  11                  0                   0                   0                  18            1,402                   13              169                    54
Rocky Mountain Cliff, Canyon and Massive Bedrock                                                       6                 70                   9              108                     22                   3                471                89               145                   203
Rocky Mountain Alpine Bedrock and Scree                                                             16                     5                  0                  18                   3                 102            1,172                    6             434                    136
Cultivated Cropland                                                                                    0                   0                  0                   0                   0                   0                  0                 0                    0                  0
Introduced Upland Vegetation - Perennial Grassland and Forbland                                        0                   0                  8                   0                   0                   0                  0                 0                    0                  0
Recently Logged Areas                                                                                  8                   0                  1                  15                   4                   0                 21                12                   13                 27
Open Water (Fresh)                                                                                     0                  4                  15                   3                   6                   0                  5                11                   10                  0




                                                                                                                                                                                                                Rvsd Plan - 00001823
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Values are the estimated acres of each ecosystem occuring within each Idaho Inventoried
                                     Roadless Area                                      Colorado Roadless Rule Areas
                                                                                                           Pole Mountain / Big Buck / Kitty /                  Box / Road                              Lower East
Ecosystem                                                                              Ruby Lake                                              Beartown                            Bristol Head                            Sawlog           Sheep Mountain Lake Fork
                                                                                                           Finger Mesa     Ruby                                Canyon                                  Bellows
Inter-Mountain Basins Aspen-Mixed Conifer Forest and Woodland                                       112                 28                0                0                 26                   58                 29             207                 0                0
Rocky Mountain Aspen Forest and Woodland                                                            723              3,448              554               39                101              5,153                  101            1,451              296             1,430
Rocky Mountain Lodgepole Pine Forest                                                                   6                 2                0                0                  0                   16                  0              14                 9               12
Rocky Mountain Subalpine Dry-Mesic Spruce-Fir Forest and Woodland                                  2,090             6,900            1,986              533                392             8,278                   301             952               753             2,066
Rocky Mountain Subalpine Mesic Spruce-Fir Forest and Woodland                                      2,676             4,628            1,848              536                479              6,225                  723            1,435            1,281             2,751
Rocky Mountain Subalpine-Montane Limber-Bristlecone Pine Woodland                                    46                  0                0                0                  0                  642                  6             327               171              270
Southern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest and Woodland                         122                  0                0                0                 19                  481                 60            1,329                6                4
Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and Woodland                             191                  0                0                0                 20                  245                211            1,044                7               10
Southern Rocky Mountain Ponderosa Pine Woodland                                                      12                  0                0                0                  8                  205                 19             798                 0                0
Colorado Plateau Pinyon-Juniper Woodland                                                              0                  0                0                0                  0                    0                  0               0                 0                0
Southern Rocky Mountain Pinyon-Juniper Woodland                                                       0                  0                0                0                  0                    4                  1              20                 0                0
Rocky Mountain Lower Montane Riparian Woodland and Shrubland                                          0                  0                0                0                  0                    0                  0               0                 0                0
Rocky Mountain Subalpine-Montane Riparian Woodland                                                    0                  0                0                0                  0                    0                  0               0                 0                0
Southern Rocky Mountain Montane-Subalpine Grassland                                                  77                842              674                2                135              1,596                  122            2,649              125             1,017
Rocky Mountain Gambel Oak-Mixed Montane Shrubland                                                     0                  0                0                0                  2                    0                  0                2                0                0
Rocky Mountain Lower Montane-Foothill Shrubland                                                       0                  0                0                0                  0                    0                  0               0                 0                0
Rocky Mountain Subalpine-Montane Mesic Meadow                                                        77                419              122                2                  1              1,664                   49              86                29              646
Rocky Mountain Alpine-Montane Wet Meadow                                                             98                546               53              53                   0              2,221                    0              12                59              199
Rocky Mountain Subalpine-Montane Riparian Shrubland                                                 316              5,410            1,408              218                 19             3,982                    26              78                73             1,079
Inter-Mountain Basins Montane Sagebrush Steppe                                                        0                  0                0                0                  0                    7                  0                4                3                0
Inter-Mountain Basins Semi-Desert Shrub Steppe                                                        0                  0                0                0                  0                    0                  0               0                 0                0
Rocky Mountain Alpine Fell-Field                                                                     22              1,832               71                2                  0              1,065                    0                0               20              304
Rocky Mountain Alpine Turf                                                                           31             13,676            2,866              951                  0             9,605                     2                0               32              212
Rocky Mountain Cliff, Canyon and Massive Bedrock                                                     12                425              102                4                  2              1,390                   50                7               81              270
Rocky Mountain Alpine Bedrock and Scree                                                             187              5,464              165               55                  0              2,992                    0                0              123              331
Cultivated Cropland                                                                                   0                  0                0                0                  3                    0                  0                0                0                0
Introduced Upland Vegetation - Perennial Grassland and Forbland                                       0                  0                0                0                  0                    1                  0                0                0                0
Recently Logged Areas                                                                                  6               174               13                1                  0                  191                 16              13                 3               47
Open Water (Fresh)                                                                                     2                 3                2                0                  0                   33                  9                0                0                0




                                                                                                                                                                                                         Rvsd Plan - 00001824
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Values are the estimated acres of each ecosystem occuring within each Idaho Inventoried
                                     Roadless Area                                      Colorado Roadless Rule Areas
                                                                                                                             Antora
Ecosystem                                                                              Four Mile Creek Taylor Canyon         Meadows / Bear Ute Pass           Elkhorn Peak        Dorsey Creek        Butterfly         Miller Creek         Cotton Creek        Crestone
                                                                                                                             Creek
Inter-Mountain Basins Aspen-Mixed Conifer Forest and Woodland                                       14                  10               44              69               217                 120                   10                   24              129                  236
Rocky Mountain Aspen Forest and Woodland                                                           383                 141            4,657              63              3,113               1,545                 210                  81               175                 1,160
Rocky Mountain Lodgepole Pine Forest                                                                77                  29            7,871             963              2,180                552                  116                   14                  11               116
Rocky Mountain Subalpine Dry-Mesic Spruce-Fir Forest and Woodland                                1,288                 453            3,043             389               672                 429                  176                   95              125                 1,053
Rocky Mountain Subalpine Mesic Spruce-Fir Forest and Woodland                                    1,835                 394            1,780             973              1,326                104                    8                   19                  89               586
Rocky Mountain Subalpine-Montane Limber-Bristlecone Pine Woodland                                  487                 107              396             192               311                     28                24                   15                  77               264
Southern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest and Woodland                        985             983                  339             763                   67                  51               446                  304              334                  884
Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and Woodland                          1,155                 481              368             837                   86                  47                27                   10              170                  273
Southern Rocky Mountain Ponderosa Pine Woodland                                                  1,330            2,044                 583            1,770                  84                   0                30                   64              237                  542
Colorado Plateau Pinyon-Juniper Woodland                                                             0                   0                0               0                    0                   0                 0                    0                   0                 0
Southern Rocky Mountain Pinyon-Juniper Woodland                                                      7                  11               50             609               196                      0                 0                    0              162                 1,199
Rocky Mountain Lower Montane Riparian Woodland and Shrubland                                         0                   0                0               0                    0                   0                 0                    0                   0                  1
Rocky Mountain Subalpine-Montane Riparian Woodland                                                   0                   0                6             129                    2                   0                11                   17                  14                  1
Southern Rocky Mountain Montane-Subalpine Grassland                                              2,275            1,263                 906            1,736              819                     76               323                   52              620                  473
Rocky Mountain Gambel Oak-Mixed Montane Shrubland                                                    4                   5               10               3                    0                   4               403                  267                  23                  6
Rocky Mountain Lower Montane-Foothill Shrubland                                                      0                   0                0               0                    0                   0                 1                    0                   0                 0
Rocky Mountain Subalpine-Montane Mesic Meadow                                                        9                   4              457              35               164                     14                25                   55                  96                35
Rocky Mountain Alpine-Montane Wet Meadow                                                            12                   5              101               0                   71                   4                31                   22                   0                32
Rocky Mountain Subalpine-Montane Riparian Shrubland                                                101                  14              858              19               437                     61                12                    0                   3                67
Inter-Mountain Basins Montane Sagebrush Steppe                                                      26                  69              381             117                   86              323                   10                    0                   4                 0
Inter-Mountain Basins Semi-Desert Shrub Steppe                                                       0                   0                0               0                    0                   0                 0                    0                   0                  1
Rocky Mountain Alpine Fell-Field                                                                     0                   0               35               0                    0                   0                 0                    0                   0                  6
Rocky Mountain Alpine Turf                                                                           0                   0              349               0               279                     10                 0                    0                   0                18
Rocky Mountain Cliff, Canyon and Massive Bedrock                                                   107                   4               70               6               134                      0                 0                    0                   0                 8
Rocky Mountain Alpine Bedrock and Scree                                                              0                   0              461               0               210                      5                 0                    0                  0                 18
Cultivated Cropland                                                                                  0                   0                3               0                    0                   0                 0                    0                   0                 0
Introduced Upland Vegetation - Perennial Grassland and Forbland                                      0                   0                0               0                    0                   0                 0                    0                   0                 0
Recently Logged Areas                                                                                0                   0                1               0                    7                   0                 0                    0                   0                 8
Open Water (Fresh)                                                                                   2                   0                0               0                    0                   0                 0                    0                   1                  1




                                                                                                                                                                                                         Rvsd Plan - 00001825
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Values are the estimated acres of each ecosystem occuring within each Idaho Inventoried
                                     Roadless Area                                      Colorado Roadless Rule Areas
                                                                                                                                                                                                               Bennet
                                                                                                                                                                                                               Mountain /
                                                                                                                                                                                                               Blowout /
                                                                                                                              Trout Mountain Beaver                                       Wightman Fork                             Deep Creek /                             Willow
Ecosystem                                                                              Pole Creek         Hot Springs                                                 Middle Alder                             Willow Creek /                           Spectacle Lake
                                                                                                                              / Elk Mountain       Mountain                               / Upper Burro                             Boot Mountain                            Mountain
                                                                                                                                                                                                               Lion Point /
                                                                                                                                                                                                               Greenie
                                                                                                                                                                                                               Mountain
Inter-Mountain Basins Aspen-Mixed Conifer Forest and Woodland                                        17                 70                495                  292                    2                    4                  636                  41               190                   26
Rocky Mountain Aspen Forest and Woodland                                                            105                 75              8,345                 1,751              808                1,728                 16,120              2,898                 105                 1,646
Rocky Mountain Lodgepole Pine Forest                                                                  0                   3               598                    12                  29                    2                    5                  42                    0                 0
Rocky Mountain Subalpine Dry-Mesic Spruce-Fir Forest and Woodland                                   90                   11             5,547                 1,831             1,523               1,595                  6,523              5,746                      0              3,930
Rocky Mountain Subalpine Mesic Spruce-Fir Forest and Woodland                                       50                    3             6,808                  872               399                  655                  9,393              4,446                      3              2,600
Rocky Mountain Subalpine-Montane Limber-Bristlecone Pine Woodland                                    11                  66               100                    66              138                      46                  451              496                       0                20
Southern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest and Woodland                         169                  16             1,379                  792              1,033                 276                  3,992               391                       6                75
Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and Woodland                             46                    2             2,399                  549               400                      89               2,875               181                  161                    7
Southern Rocky Mountain Ponderosa Pine Woodland                                                     99                   25             1,347                  169               725                      15               1,643                   35                    9                11
Colorado Plateau Pinyon-Juniper Woodland                                                              0                   0                    0                  0                   0                    0                    0                   0                    0                 0
Southern Rocky Mountain Pinyon-Juniper Woodland                                                      59                   0               355                    60                  42                    2                  535                   0                    0                 0
Rocky Mountain Lower Montane Riparian Woodland and Shrubland                                          0                   0                    7                  0                   0                    0                    2                   0                    1                 0
Rocky Mountain Subalpine-Montane Riparian Woodland                                                    0                   2                    3                  0                   7                    0                    5                   0                    0                 0
Southern Rocky Mountain Montane-Subalpine Grassland                                                 184                 178             3,999                  395               315                      81               2,361              1,685                  44                   39
Rocky Mountain Gambel Oak-Mixed Montane Shrubland                                                     0                   0                10                     0                   0                    0                    5                   0                    5                 0
Rocky Mountain Lower Montane-Foothill Shrubland                                                       0                   0                    0                  0                   0                    0                    0                   0                    0                 0
Rocky Mountain Subalpine-Montane Mesic Meadow                                                        37                  14               606                   54                    5               107                     123             1,026                      0               151
Rocky Mountain Alpine-Montane Wet Meadow                                                              0                   0               177                   16                    1             1,249                  2,784              3,403                      9               745
Rocky Mountain Subalpine-Montane Riparian Shrubland                                                   1                   0               595                   43                    7               452                  1,831              3,627                  87                  551
Inter-Mountain Basins Montane Sagebrush Steppe                                                       10                   0                    3                  0                   0                    0                    8                   7                    0                 0
Inter-Mountain Basins Semi-Desert Shrub Steppe                                                        0                   0                    0                  0                   0                    0                    0                   0                    0                 0
Rocky Mountain Alpine Fell-Field                                                                      0                   0                    2                 0                   0                    35                  560              763                       0                 4
Rocky Mountain Alpine Turf                                                                            0                   0                    1                  4                   0                   21                  924             1,944                      0                14
Rocky Mountain Cliff, Canyon and Massive Bedrock                                                      2                   0                85                  139                    7               152                     193              291                       0                93
Rocky Mountain Alpine Bedrock and Scree                                                               0                   0                    7                 20                   0               132                     874              525                       0                21
Cultivated Cropland                                                                                   0                   0                    7                  0                   0                    0                    0                   0                    0                 0
Introduced Upland Vegetation - Perennial Grassland and Forbland                                       0                   0                    0                  0                   0                    0                    0                   0                    1                 0
Recently Logged Areas                                                                                 0                   0                24                   10                    0                    8                  132                  66                    0                30
Open Water (Fresh)                                                                                    1                   0                    2                 0                   0                     0                   16                   2                    0                13




                                                                                                                                                                                                                 Rvsd Plan - 00001826
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 Values are the estimated acres of each ecosystem occuring within each Idaho Inventoried
                                      Roadless Area                                        Colorado Roadless Rule Areas

Ecosystem                                                                                  Alamosa River        Sulphur Tunnel       Indian Ridge         Cataract       Cochetopa Hills

Inter-Mountain Basins Aspen-Mixed Conifer Forest and Woodland                                          230                    3                       0              0                  0
Rocky Mountain Aspen Forest and Woodland                                                             1,560                   43                      12              0                  0
Rocky Mountain Lodgepole Pine Forest                                                                     0                    4                       0              0                  0
Rocky Mountain Subalpine Dry-Mesic Spruce-Fir Forest and Woodland                                      853                  884                     502              0                 12
Rocky Mountain Subalpine Mesic Spruce-Fir Forest and Woodland                                        1,331                  565                     732              0                  1
Rocky Mountain Subalpine-Montane Limber-Bristlecone Pine Woodland                                        2                    5                       0              0                     0
Southern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest and Woodland                            111                    3                       0              0                     0
Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and Woodland                               459                     0                       0              0                     0
Southern Rocky Mountain Ponderosa Pine Woodland                                                        27                     0                       0              0                     0
Colorado Plateau Pinyon-Juniper Woodland                                                                    0                 0                       0              0                     0
Southern Rocky Mountain Pinyon-Juniper Woodland                                                             9                 0                       0              0                     0
Rocky Mountain Lower Montane Riparian Woodland and Shrubland                                                4                 0                       0              0                     0
Rocky Mountain Subalpine-Montane Riparian Woodland                                                          0                 0                       0              0                     0
Southern Rocky Mountain Montane-Subalpine Grassland                                                        50                31                       9              0                     0
Rocky Mountain Gambel Oak-Mixed Montane Shrubland                                                           0                 0                       0              0                     0
Rocky Mountain Lower Montane-Foothill Shrubland                                                             0                 0                       0              0                     0
Rocky Mountain Subalpine-Montane Mesic Meadow                                                              60                21                      13              0                     0
Rocky Mountain Alpine-Montane Wet Meadow                                                                    5                24                       0              0                     0
Rocky Mountain Subalpine-Montane Riparian Shrubland                                                        49                56                     137              0                     0
Inter-Mountain Basins Montane Sagebrush Steppe                                                              0                 0                       0              0                     0
Inter-Mountain Basins Semi-Desert Shrub Steppe                                                              0                 0                       0              0                     0
Rocky Mountain Alpine Fell-Field                                                                            0                 3                      21              2                     0
Rocky Mountain Alpine Turf                                                                                  0                12                      26              5                     0
Rocky Mountain Cliff, Canyon and Massive Bedrock                                                           85               171                       4              0                     0
Rocky Mountain Alpine Bedrock and Scree                                                                     0                17                     161              6                     1
Cultivated Cropland                                                                                         0                    0                    0              0                     0
Introduced Upland Vegetation - Perennial Grassland and Forbland                                             0                    0                    0              0                     0
Recently Logged Areas                                                                                       0                    0                    0              0                     0
Open Water (Fresh)                                                                                         10                    0                    0              0                     0




                                                                                                                                            Rvsd Plan - 00001827
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                                                                              Rio Grande NF        Rio Grande NF Non­ All Rio Grande   % Rio Grande   % Coverage, Rio
Ecological Group ("Ecosystem")
                                                                              Wilderness (Acres)   Wilderness (Acres) NF (Acres)       Wilderness     Grande Forest Area


Representation @ < 20%
Rocky Mountain Subalpine-Montane Limber-Bristlecone Pine Woodland                     4,044               17,524            21,569          18.8               1.2
Rocky Mountain Subalpine-Montane Mesic Meadow                                         7,832               36,940           44,772           17.5               2.5
Rocky Mountain Aspen Forest and Woodland                                             28,744              180,349           209,094          13.7              11.6
Recently LoggedAreas                                                                  2,809               21,751            24,560          11.4               1.4
Southern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest and Woodland           3,615               63,607            67,222           5.4               3.7
Rocky Mountain Lodgepole Pine Forest                                                  1,801               43,089            44,890          4.0               2.5
Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and Woodland               2,069               56,698            58,767           3.5               3.3
Southern Rocky Mountain Montane-Subalpine Grassland                                   6,478              184,796           191,274           3.4              10.6
Introduced Upland Vegetation - Perennial Grassland and Forbland                         2                   126               128            1.6              0.0
Rocky Mountain Gambel Oak-Mixed Montane Shrubland                                       22                 1,812             1,833           1.2              0.1
Inter-Mountain Basins Montane Sagebrush Steppe                                          39                 3,590             3,629           1.1              0.2
Southern Rocky Mountain Ponderosa Pine Woodland                                        634                63,099            63,733           1.0               3.5
Rocky Mountain Lower Montane-Foothill Shrubland                                         3                   567               571           0.6               0.0
Southern Rocky Mountain Pinyon-Juniper Woodland                                        244                46,843           47,087           0.5               2.6
Rocky Mountain Subalpine-Montane Riparian Woodland                                      2                   516               518           0.4               0.0
Colorado Plateau Pinyon-Juniper Woodland                                               0                    180               180           0.0               0.0
Rocky Mountain Lower Montane Riparian Woodland and Shrubland                           0                    412               412           0.0               0.0
Inter-Mountain Basins Semi-Desert Grassland                                            0                   1,265             1,265          0.0               0.1
Inter-Mountain Basins Semi-Desert Shrub Steppe                                         0                   6,470             6,470          0.0               0.4
Inter-Mountain Basins Active and Stabilized Dune                                       0                     1                 1            0.0               0.0
Total                                                                                58,339              729,636           787,975          7.4               43.7

Representation @ < 10%
Southern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest and Woodland           3,615               63,607            67,222          5.4                3.7
Rocky Mountain Lodgepole Pine Forest                                                  1,801               43,089            44,890          4.0               2.5
Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and Woodland               2,069               56,698            58,767          3.5                3.3
Southern Rocky Mountain Montane-Subalpine Grassland                                   6,478              184,796           191,274          3.4               10.6
Introduced Upland Vegetation - Perennial Grassland and Forbland                         2                   126               128           1.6               0.0
Rocky Mountain Gambel Oak-Mixed Montane Shrubland                                       22                 1,812             1,833          1.2               0.1
Inter-Mountain Basins Montane Sagebrush Steppe                                          39                 3,590             3,629          1.1               0.2
Southern Rocky Mountain Ponderosa Pine Woodland                                        634                63,099            63,733          1.0                3.5
Rocky Mountain Lower Montane-Foothill Shrubland                                         3                   567               571           0.6               0.0
Southern Rocky Mountain Pinyon-Juniper Woodland                                        244                46,843           47,087           0.5               2.6
Rocky Mountain Subalpine-Montane Riparian Woodland                                      2                   516               518           0.4               0.0
Colorado Plateau Pinyon-Juniper Woodland                                               0                    180               180           0.0               0.0
Rocky Mountain Lower Montane Riparian Woodland and Shrubland                           0                    412               412           0.0               0.0
Inter-Mountain Basins Semi-Desert Grassland                                            0                   1,265             1,265          0.0               0.1
Inter-Mountain Basins Semi-Desert Shrub Steppe                                         0                   6,470             6,470          0.0               0.4
Inter-Mountain Basins Active and Stabilized Dune                                       0                     1                 1            0.0               0.0
Total                                                                                14,910              473,072           487,981          3.1               27.1




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Representation @ < 5%
Rocky Mountain Lodgepole Pine Forest                                      1,801     43,089    44,890        4.0       2.5
Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and Woodland   2,069     56,698    58,767        3.5        3.3
Southern Rocky Mountain Montane-Subalpine Grassland                       6,478    184,796   191,274        3.4       10.6
Introduced Upland Vegetation - Perennial Grassland and Forbland             2         126       128         1.6       0.0
Rocky Mountain Gambel Oak-Mixed Montane Shrubland                           22       1,812     1,833        1.2       0.1
Inter-Mountain Basins Montane Sagebrush Steppe                              39       3,590     3,629        1.1       0.2
Southern Rocky Mountain Ponderosa Pine Woodland                            634      63,099    63,733        1.0        3.5
Rocky Mountain Lower Montane-Foothill Shrubland                             3         567       571         0.6       0.0
Southern Rocky Mountain Pinyon-Juniper Woodland                            244      46,843    47,087        0.5       2.6
Rocky Mountain Subalpine-Montane Riparian Woodland                          2         516       518         0.4       0.0
Colorado Plateau Pinyon-Juniper Woodland                                    0         180       180         0.0       0.0
Rocky Mountain Lower Montane Riparian Woodland and Shrubland                0         412       412         0.0       0.0
Inter-Mountain Basins Semi-Desert Grassland                                 0        1,265     1,265        0.0       0.1
Inter-Mountain Basins Semi-Desert Shrub Steppe                              0        6,470     6,470        0.0       0.4
Inter-Mountain Basins Active and Stabilized Dune                            0          1         1          0.0       0.0
Total                                                                     11,295   409,465   420,759        2.7       23.3




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                              Inyo NF Wilderness Inventory Areas
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   Background
   The Wilderness Society comments indicated the Wilderness Evaluation process should consider
   the suitability of Wilderness Inventory Areas with under-represented and rare ecosystems. The
   Wilderness Society utilized several sets of available information at the national scale to identify
   under-represented ecosystems in the National Wilderness Preservation System (NWPS).
   The National Vegetation Classification System Group 61 data was used to identify the set of
   thirty-six ecological groups within the Inyo NF. For each ecological group on the forest, they
   provided two calculations: the percentage of an ecological group's total area that is within the
   NWPS; the percentage of an ecological group's area within the Inyo NF that is within designated
   wilderness. The ecological groups were divided into four classes of representation, which are
   termed categories A through D below.
   Category A is ecological groups on the Inyo NF that have less than five percent of their area
   protected within the NWPS:
   1. Great Basin Xeric Mixed Sagebrush Shrubland- 3% protected in NWPS
   2. Inter-Mountain Basins Big Sagebrush Shrubland-3% protected in NWPS
   3. Inter-Mountain Basins Semi-Desert Shrub Steppe-2% protected in NWPS
   4. Inter-Mountain Basins Mixed Salt Desert Scrub - 2% protected in NWPS
   Category B is ecological groups on the Inyo NF that have between five and ten percent of their
   area protected within the NWPS:
   1. Great Basin Foothill & Lower Montane Riparian Woodland and Shrubland- 9% protected in
       NWPS
   2. Inter-Mountain Basins Montane Sagebrush Steppe - 7% protected in NWPS.
   Category C is ecological groups on the Inyo NF that have between ten and twenty percent of
   their area protected within the NWPS. The Wilderness Society indicated it considers
   ecosystems with less than twenty percent of its total area in the NWPS as inadequately
   represented2.
   1. Great Basin Pinyon-Juniper Woodlands -14% cf ecosystem protected in NWPS
   2. Rocky Mountain Aspen Forest and Woodland -12% of ecosystem protected in NWPS.
   Category D is ecological groups on the Inyo NF that have more than twenty percent of their
   area protected within the NWPS, and are not discussed further.
   Data Management and processing
   1. Eight of thirty-six ecological types were not considered in this summary because their label
      indicated they are developed land.
   2. Area size information was converted from hectares to acres.
   3. Ecosystems in each category were ranked by size, largest to smallest.



   1 The National Vegetation Classification System website indicates the ecological context for Group 6 data:
   regional mesoclimate, geology, substrates, hydrology and disturbance regimes.
   2 The twenty percent representation threshold is based on Society for Conservation Biology and Convention
   on Biological Diversity targets (personal communication with Matt Dietz).

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   4. Ecosystems in each category with less than 1,000 total acres on all Inyo NF non-wilderness
      lands were not included in this summary.
   5. For each category, the acres for the ecological groups in that category were summed for
      each wilderness inventory unit.
   6. The percentage of each wilderness inventory unit's total area comprised of "under­
      represented" ecological groups was calculated for each of the Categories A-C.

   The table below summarizes the Wilderness Society representation data for each wilderness
   inventory area listed in the polygon column:
   General location: 1988 Forest Plan management area labels describe the general location of
   the inventory unit, and whether the unit is adjacent to designated wilderness.
   Size: The area in acres indicated is the "parent polygon".
   Category A: The summary first displays the percentage of the wilderness inventory unit
   comprised of Category A ecological groups, and the types of type of ecological groups in
   Category A within the inventory unit. Any ecological groups with more than 1,000 acres in an
   inventory unit is highlighted in bold font.
   Category B: The summary first displays the percentage of the wilderness inventory unit
   comprised of Category B ecological groups, and the types of type of ecological groups in
   Category B within the inventory unit. Any ecological groups with more than 1,000 acres in an
   inventory unit is highlighted in bold font.
   Category C: Next, the summary displays the percentage of the wilderness inventory unit
   comprised of Category C ecological groups, and the types of ecological groups in Category C
   within the inventory unit. Any ecological groups with more than 1,000 acres in an inventory
   unit is highlighted in bold font. The difference between Category B and Category C for most
   inventory units is largely attributed to the addition of Great Basin Pinyon-Juniper Woodland in
   Category C acreage.
   Note: The percent of the wilderness inventory unit comprised of Category B ecological groups
   includes the area of Category A ecological groups (the names of the Category A ecosystems,
   however, are not listed again under Category B). The percent of the wilderness inventory unit
   comprised of Category C ecological groups includes the area of both Category A and B
   ecological groups
   Inyo NF Representation: The percentage of a unit's area comprised of ecological groups with
   less than twenty percent total acreage for the ecological group on the Inyo NF in designated
   wilderness. The twenty percent representation is the only category displayed for Inyo NF
   because only six of fifty-five wilderness inventory units have more than 1,000 acres of
   ecological groups with less than twenty percent of their total acreage on the forest in
   designated wilderness. The ecological groups in this category include:




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                              Inyo NF Wilderness Inventory Areas
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    •   Inter-Mountain Basins Mixed Salt Desert Scrub
    •   Great Basin Xeric Mixed Sagebrush Shrubland
    •   Inter-Mountain Basins Semi-Desert Shrub Steppe



   Wilderness
   Inventory      National Vegetation Classification System summary
   Units
        944       General location: Benton-Casa Diablo Management Area
                  Size: 7,629 acres
                  Category A: 40% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 61% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                      • Inter-Mountain Basins Montane Sagebrush Steppe
                  Category C: 100% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodlands
                  Inyo NF representation: This inventory unit does not contain any ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
        995       General location: Benton-Casa Diablo Management Area
                  Size: 5,806 acres
                  Category A: 2% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                  Category B: 35% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe


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                     •   Great Basin Foothill & Lower Montane Riparian Woodland and Shrubland
                  Category C: 98% percent of the inventory unit is comprised of ecological groups
                  which have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodlands
                  Inyo NF representation: This inventory unit does not contain any ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
      1012        General location: Glass Mountain and Benton-Casa Diablo Management Areas
                  Size: 40,368 acres
                  Category A: 10% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                  Category B: 32% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                     • Great Basin Foothill and Lower Montane Riparian Woodland and
                         Shrubland
                  Category C: 75% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                     • Rocky Mountain Aspen Forest and Woodland
                  Inyo NF representation: Less than one percent of the area of this inventory unit
                  contains ecological groups with less than twenty percent of their area on the Inyo
                  NF in designated wilderness.
      1039        General location: Glass Mountain Management Area
                  Size: 11,026 acres
                  Category A: 3% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Great Basin Xeric Mixed Sagebrush Shrubland



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                  Category B: 20% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                      • Inter-Mountain Basins Montane Sagebrush Steppe
                      • Great Basin Foothill and Lower Montane Riparian Woodland and
                          Shrubland
                  Category C: 97% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: This inventory unit does not contain any ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
      1068        General location: Glass Mountain Management Area
                  Size: 12,311 acres
                  Category A: 20% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                  Category B: 63% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                      • Inter-Mountain Basins Montane Sagebrush Steppe
                      • Great Basin Foothill and Lower Montane Riparian Woodland and
                          Shrubland
                  Category C: 93% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                     • Rocky Mountain Aspen Forest and Woodland
                  Inyo NF representation: Less than one percent of the area of this inventory unit
                  contains ecological groups with less than twenty percent of their area on the Inyo
                  NF in designated wilderness.
      1072        General location: Mono Basin and Glass Mountain Management Areas
                  Size: 7,574 acres



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                  Category A: 57% percent of the inventory unit is comprised of the following
                  ecological groups, which have less than five percent of their total area protected
                  in the NWPS:
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                  Category B: 57% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Great Basin Foothill and Lower Montane Riparian Woodland and
                                 Shrubland
                  Category C: 69% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                     • Rocky Mountain Aspen Forest and Woodland
                  Inyo NF representation: This inventory unit does not contain any ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
      1080        General location: South Sierra Management Area
                  Size: 1,137 acres adjacent to South Sierra Wilderness
                  Category A: 39% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                  Category B: none
                  Category C: 52% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                     • Rocky Mountain Aspen Forest and Woodland
                  Inyo NF representation: This inventory unit does not contain any ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
      1081        General location: South Sierra Management Area
                  Size: 5,413 acres adjacent to Golden Trout Wilderness
                  Category A: 8% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                         • Inter-Mountain Basins Big Sagebrush Shrubland


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                  Category B: none
                  Category C: 27% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                     • Rocky Mountain Aspen Forest and Woodland
                  Inyo NF representation: This inventory unit does not contain any ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
      1092        General location: Golden Trout Management Area
                  Size: 4,552 acres adjacent to Golden Trout Wilderness
                  Category A: 1% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                  Category B: 1% of this inventory unit is comprised of ecological groups which have
                  less than ten percent of their total area protected in the NWPS. Ecological groups
                  in category B include:
                      • Great Basin Foothill and Lower Montane Riparian Woodland and
                                 Shrubland
                  Category C: 23% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                     • Rocky Mountain Aspen Forest and Woodland
                  Inyo NF representation: This inventory unit does not contain any ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
      1098        General location: Owens Valley Escarpment Management Area
                  Size: 1,476 acres adjacent to John Muir Wilderness
                  Category A: None
                  Category B: Less than one percent of this inventory unit is comprised of ecological
                  groups which have less than ten percent of their total area protected in the
                  NWPS. Ecological groups in category B include:
                     • Great Basin Foothill and Lower Montane Riparian Woodland and
                         Shrubland
                  Category C: 5% of the inventory unit is comprised of ecological groups which have
                  less than twenty percent of their total area protected in the NWPS. Ecological


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                  groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                     • Rocky Mountain Aspen Forest and Woodland
                  Inyo NF representation: This inventory unit does not contain any ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
      1099        General location: Owens Valley Escarpment Management Area
                  Size: 1,092 acres adjacent to John Muir Wilderness
                  Category A: None
                  Category B: Less than one percent of this inventory unit is comprised of ecological
                  groups which have less than ten percent of their total area protected in the
                  NWPS. Ecological groups in category B include:

                     •   Great Basin Foothill and Lower Montane Riparian Woodland and
                         Shrubland
                  Category C: 13% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                     • Rocky Mountain Aspen Forest and Woodland
                  Inyo NF representation: This inventory unit does not contain any ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
      1106        General location: Owens Valley Escarpment Management Area
                  Size: 1,408 acres adjacent to John Muir Wilderness
                  Category A: 2% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                  Category B: 4% of this inventory unit is comprised of ecological groups which have
                  less than ten percent of their total area protected in the NWPS. Ecological groups
                  in category B include:
                      • Great Basin Foothill and Lower Montane Riparian Woodland and
                                 Shrubland
                  Category C: 17% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                     • Rocky Mountain Aspen Forest and Woodland

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                  Inyo NF representation: This inventory unit does not contain any ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
      1108        General location: Owens Valley Escarpment Management Area
                  Size: 2,100 acres adjacent to John Muir Wilderness
                  Category A: Less than one percent of the inventory unit is comprised of the
                  following ecological groups, which have less than five percent of their total area
                  protected in the NWPS:
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                  Category B: Less than one percent of this inventory unit is comprised of ecological
                  groups which have less than ten percent of their total area protected in the
                  NWPS. Ecological groups in category B include:

                     •   Great Basin Foothill and Lower Montane Riparian Woodland and
                                Shrubland
                  Category C: 5% of the inventory unit is comprised of ecological groups which have
                  less than twenty percent of their total area protected in the NWPS. Ecological
                  groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                      • Rocky Mountain Aspen Forest and Woodland
                  Inyo NF representation: This inventory unit does not contain any ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
      1109        General location: Owens Valley Escarpment Management Area
                  Size: 1,319 acres adjacent to John Muir Wilderness
                  Category A: 5% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                  Category B: 5% of this inventory unit is comprised of ecological groups which have
                  less than ten percent of their total area protected in the NWPS. Ecological groups
                  in category B include:
                      • Great Basin Foothill and Lower Montane Riparian Woodland and
                                 Shrubland
                  Category C: Ten percent of the inventory unit is comprised of ecological groups
                  which have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                     • Rocky Mountain Aspen Forest and Woodland

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                   Inyo NF representation: This inventory unit does not contain any ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1110         General location: Owens Valley Escarpment Management Area
                   Size: 1,650 acres adjacent to John Muir Wilderness
                   Category A: 2% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                       • Great Basin Xeric Mixed Sagebrush Shrubland
                   Category B: 2% of this inventory unit is comprised of ecological groups which have
                   less than ten percent of their total area protected in the NWPS. Ecological groups
                   in category B include:
                       • Great Basin Foothill and Lower Montane Riparian Woodland and
                                  Shrubland
                   Category C: 6% of the inventory unit is comprised of ecological groups which have
                   less than twenty percent of their total area protected in the NWPS. Ecological
                   groups in Category C include:
                       • Great Basin Pinyon-Juniper Woodland
                       • Rocky Mountain Aspen Forest and Woodland
                   Inyo NF representation: 7% of this inventory unit contains ecological groups with
                   less than twenty percent of their area on the Inyo NF in designated wilderness.
      1112         General location: Owens Valley Escarpment Management Area
                   Size: 4,949 acres adjacent to John Muir Wilderness
                   Category A: 33% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Great Basin Xeric Mixed Sagebrush Shrubland
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                       • Inter-Mountain Basins Semi-Desert Shrub Steppe
                       • Inter-Mountain Basins Mixed Salt Desert Scrub
                   Category B: 35% of this inventory unit is comprised of ecological groups which
                   have less than ten percent of their total area protected in the NWPS. Ecological
                   groups in category B include:
                      • Inter-Mountain Basins Montane Sagebrush Steppe
                      • Great Basin Foothill and Lower Montane Riparian Woodland and
                                  Shrubland
                   Category C: 46% of the inventory unit is comprised of ecological groups which


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                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                      • Rocky Mountain Aspen Forest and Woodland
                   Inyo NF representation: 23% of the area of this inventory unit contains ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1115         General location: Owens Valley Escarpment Management Area
                   Size: 3,485 acres adjacent to John Muir Wilderness
                   Category A: 82% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Great Basin Xeric Mixed Sagebrush Shrubland
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                       • Inter-Mountain Basins Semi-Desert Shrub Steppe
                       • Inter-Mountain Basins Mixed Salt Desert Scrub
                   Category B: 84% of this inventory unit is comprised of ecological groups which
                   have less than ten percent of their total area protected in the NWPS. Ecological
                   groups in category B include:
                      • Inter-Mountain Basins Montane Sagebrush Steppe
                      • Great Basin Foothill and Lower Montane Riparian Woodland and
                          Shrubland
                   Category C: 100% of the inventory unit is comprised of ecological groups which
                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                   Inyo NF representation: 5% of the area of this inventory unit contains ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1116         General location: Owens Valley Escarpment Management Area
                   Size: 2,437 acres adjacent to John Muir Wilderness
                   Category A: 55% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Great Basin Xeric Mixed Sagebrush Shrubland
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                       • Inter-Mountain Basins Semi-Desert Shrub Steppe
                       • Inter-Mountain Basins Mixed Salt Desert Scrub
                   Category B: 61% of this inventory unit is comprised of ecological groups which

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                   have less than ten percent of their total area protected in the NWPS. Ecological
                   groups in category B include:
                      • Inter-Mountain Basins Montane Sagebrush Steppe
                      • Great Basin Foothill and Lower Montane Riparian Woodland and
                          Shrubland
                   Category C: 98% of the inventory unit is comprised of ecological groups which
                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                   Inyo NF representation: 2% of the area of this inventory unit contains ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1140         General location: Coyote Management Area
                   Size: 75,299 acres adjacent to the John Muir Wilderness
                   Category A: 13% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Great Basin Xeric Mixed Sagebrush Shrubland
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                       • Inter-Mountain Basins Semi-Desert Shrub Steppe
                       • Inter-Mountain Basins Mixed Salt Desert Scrub
                   Category B: 29% of this inventory unit is comprised of ecological groups which
                   have less than ten percent of their total area protected in the NWPS. Ecological
                   groups in category B include:
                      • Inter-Mountain Basins Montane Sagebrush Steppe
                      • Great Basin Foothill and Lower Montane Riparian Woodland and
                                  Shrubland
                   Category C: 65% of the inventory unit is comprised of ecological groups which
                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                      • Rocky Mountain Aspen Forest and Woodland
                   Inyo NF representation: 2% of the area of this inventory unit contains ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1147         General location: Rock Creek-Pine Creek Management Area
                   Size: 1,351 acres adjacent to John Muir Wilderness
                   Category A: 22% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the

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                   NWPS:
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                   Category B: None
                   Category C: 37% of the inventory unit is comprised of ecological groups which
                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                      • Rocky Mountain Aspen Forest and Woodland
                   Inyo NF representation: This inventory unit does not contain any ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1148         General location: Rock Creek-Pine Creek Management Area
                   Size: 1,756 acres adjacent to John Muir Wilderness
                   Category A: 7% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                   Category B: 8% of this inventory unit is comprised of ecological groups which have
                   less than ten percent of their total area protected in the NWPS. Ecological groups
                   in category B include:
                       • Great Basin Foothill and Lower Montane Riparian Woodland and
                                  Shrubland
                   Category C: 19% of the inventory unit is comprised of ecological groups which
                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                      • Rocky Mountain Aspen Forest and Woodland
                   Inyo NF representation: This inventory unit does not contain any ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1154         General location: Rock Creek-Pine Creek Management Area
                   Size: 5,243 acres adjacent to John Muir Wilderness
                   Category A: 8% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                       • Inter-Mountain Basins Mixed Salt Desert Scrub
                   Category B: 10% of this inventory unit is comprised of ecological groups which
                   have less than ten percent of their total area protected in the NWPS. Ecological

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                   groups in category B include:
                      • Great Basin Foothill and Lower Montane Riparian Woodland and
                                 Shrubland
                   Category C: 54% of the inventory unit is comprised of ecological groups which
                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                      • Rocky Mountain Aspen Forest and Woodland
                   Inyo NF representation: This inventory unit does not contain any ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1155         General location: Rock Creek-Pine Creek Management Area
                   Size: 3,498 acres adjacent to John Muir Wilderness
                   Category A: 1% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                   Category B: 3% of this inventory unit is comprised of ecological groups which have
                   less than ten percent of their total area protected in the NWPS. Ecological groups
                   in category B include:
                       • Great Basin Foothill and Lower Montane Riparian Woodland and
                                  Shrubland
                   Category C: 35% of the inventory unit is comprised of ecological groups which
                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                      • Rocky Mountain Aspen Forest and Woodland
                   Inyo NF representation: This inventory unit does not contain any ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1156         General location: Convict-McGee Management Area
                   Size: 5,129 acres adjacent to John Muir Wilderness
                   Category A: 22% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                   Category B: 24% percent of this inventory unit is comprised of ecological groups
                   which have less than ten percent of their total area protected in the NWPS.
                   Ecological groups in category B include:

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                      •   Great Basin Foothill and Lower Montane Riparian Woodland and
                                 Shrubland
                   Category C: 57% of the inventory unit is comprised of ecological groups which
                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                      • Rocky Mountain Aspen Forest and Woodland
                   Inyo NF representation: This inventory unit does not contain any ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1159         General location: Mammoth Escarpment Management Area
                   Size: 14,833 acres adjacent to John Muir Wilderness
                   Category A: 11% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                   Category B: 11% of this inventory unit is comprised of ecological groups which
                   have less than ten percent of their total area protected in the NWPS. Ecological
                   groups in category B include:
                      • Great Basin Foothill and Lower Montane Riparian Woodland and
                                  Shrubland
                   Category C: 27% of the inventory unit is comprised of ecological groups which
                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                      • Rocky Mountain Aspen Forest and Woodland
                   Inyo NF representation: This inventory unit does not contain any ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1161         General location: Reds Meadow-Fish Creek Management Area
                   Size: 1,656 acres adjacent to Ansel Adams Wilderness
                   Category A and B: Almost none of this area is comprised of ecosystems which
                   have less than ten percent of their total area protected in the National Wilderness
                   Preservation System:
                   Category C: 2% of the inventory unit is comprised of ecological groups which have
                   less than twenty percent of their total area protected in the NWPS. Ecological
                   groups in Category C include:
                       • Great Basin Pinyon-Juniper Woodland
                       • Rocky Mountain Aspen Forest and Woodland

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                   Inyo NF representation: This inventory unit does not contain any ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1164         General location: Reds Meadow-Fish Creek Management Area
                   Size: 1,017 acres adjacent to Ansel Adams Wilderness
                   Categories A, B and C: Almost none of this area is comprised of ecosystems which
                   have less than ten percent of their total area protected in the National Wilderness
                   Preservation System:
                   Inyo NF representation: This inventory unit does not contain any ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1179         General location: Walker-Parker Management Area
                   Size: 7,212 acres adjacent to Ansel Adams Wilderness
                   Category A: 10% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                   Category B: 10% of this inventory unit is comprised of ecological groups which
                   have less than ten percent of their total area protected in the NWPS. Ecological
                   groups in category B include:
                      •   Great Basin Foothill and Lower Montane Riparian Woodland and
                                 Shrubland
                   Category C: 51% of the inventory unit is comprised of ecological groups which
                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                      • Rocky Mountain Aspen Forest and Woodland
                   Inyo NF representation: This inventory unit does not contain any ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1195         General location: Mono Basin Management Area
                   Size: 2,008 acres adjacent to Ansel Adams Wilderness
                   Category A: 21% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                   Category B: none
                   Category C: 68% of the inventory unit is comprised of ecological groups which

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                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                      • Rocky Mountain Aspen Forest and Woodland
                   Inyo NF representation: This inventory unit does not contain any ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1208         General location: Lee Vining Management Area
                   Size: 2,516 acres adjacent to Ansel Adams Wilderness
                   Category A: 1% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                   Category B: none
                   Category C: 2% of the inventory unit is comprised of ecological groups which have
                   less than twenty percent of their total area protected in the NWPS. Ecological
                   groups in Category C include:
                       • Great Basin Pinyon-Juniper Woodland
                       • Rocky Mountain Aspen Forest and Woodland
                   Inyo NF representation: This inventory unit does not contain any ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1211         General location: Lee Vining Management Area
                   Size: 1,949 acres adjacent to Ansel Adams Wilderness
                   Category A: 4% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                   Category B: 4% of this inventory unit is comprised of ecological groups which have
                   less than ten percent of their total area protected in the NWPS. Ecological groups
                   in category B include:
                       • Great Basin Foothill and Lower Montane Riparian Woodland and
                                  Shrubland
                   Category C: 34% of the inventory unit is comprised of ecological groups which
                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                      • Rocky Mountain Aspen Forest and Woodland
                   Inyo NF representation: This inventory unit does not contain any ecological

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                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1232         General location: Inyo Mountains Management Area
                   Size: 3,205 acres adjacent to South Sierra Wilderness
                   Categories A and B: Almost none of this area is comprised of ecosystems which
                   have less than ten percent of their total area protected in the National Wilderness
                   Preservation System.
                   Category C: 9% of the inventory unit is comprised of ecological groups which have
                   less than twenty percent of their total area protected in the NWPS. Ecological
                   groups in Category C include:
                       • Great Basin Pinyon-Juniper Woodland
                   Inyo NF representation: This inventory unit does not contain any ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1236         General location: Inyo Mountains Management Area
                   Size: 73,178 acres; a portion is adjacent to the Inyo Mountains Wilderness
                   Category A: 32% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Great Basin Xeric Mixed Sagebrush Shrubland
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                       • Inter-Mountain Basins Semi-Desert Shrub Steppe
                       • Inter-Mountain Basins Mixed Salt Desert Scrub
                   Category B: 44% of this inventory unit is comprised of ecological groups which
                   have less than ten percent of their total area protected in the NWPS. Ecological
                   groups in category B include:
                      • Inter-Mountain Basins Montane Sagebrush Steppe
                      • Great Basin Foothill and Lower Montane Riparian Woodland and
                                  Shrubland
                   Category C: 80% of the inventory unit is comprised of ecological groups which
                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                   Inyo NF representation: 7% of the area of this inventory unit contains ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.
      1242         General location: White Mountains Management Area
                   Size: 10,084 acres



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                   Category A: 8% of the inventory unit is comprised of the following ecological
                   groups, which have less than five percent of their total area protected in the
                   NWPS:
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                       • Inter-Mountain Basins Montane Sagebrush Steppe
                   Category B: 14% of this inventory unit is comprised of ecological groups which
                   have less than ten percent of their total area protected in the NWPS. Ecological
                   groups in category B include:
                      • Inter-Mountain Basins Montane Sagebrush Steppe
                   Category C: 25% of the inventory unit is comprised of ecological groups which
                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                   Inyo NF representation: Less than one percent of the area of this inventory unit
                   contains ecological groups with less than twenty percent of their area on the Inyo
                   NF in designated wilderness.
      1246         General location: White Mountains Management Area
                   Size: 43,230 acres
                   Category A: 43% percent of the inventory unit is comprised of the following
                   ecological groups, which have less than five percent of their total area protected
                   in the NWPS:
                        • Great Basin Xeric Mixed Sagebrush Shrubland
                        • Inter-Mountain Basins Big Sagebrush Shrubland
                        • Inter-Mountain Basins Semi-Desert Shrub Steppe
                        • Inter-Mountain Basins Mixed Salt Desert Scrub
                   Category B: 48% of this inventory unit is comprised of ecological groups which
                   have less than ten percent of their total area protected in the NWPS. Ecological
                   groups in category B include:
                      • Inter-Mountain Basins Montane Sagebrush Steppe
                      • Great Basin Foothill and Lower Montane Riparian Woodland and
                                  Shrubland
                   Category C: 96% of the inventory unit is comprised of ecological groups which
                   have less than twenty percent of their total area protected in the NWPS.
                   Ecological groups in Category C include:
                      • Great Basin Pinyon-Juniper Woodland
                   Inyo NF representation: 8% of the area of this inventory unit contains ecological
                   groups with less than twenty percent of their area on the Inyo NF in designated
                   wilderness.


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